                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF FLORIDA
                      WEST PALM BEACH DIVISION

IN RE: ZANTAC (RANITIDINE)                                 MDL NO. 2924
PRODUCTS LIABILITY LITIGATION                               20-MD-2924

                                             JUDGE ROBIN L. ROSENBERG
                                /   MAGISTRATE JUDGE BRUCE E. REINHART


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       Plaintiffs bring this consolidated class action on behalf of themselves and all others

similarly situated against the defendants named herein (collectively, “Defendants”) and seek

damages and equitable relief to remedy the harms caused by Defendants’ unlawful design,

manufacture, marketing, packaging, labeling, handling, distribution, storage, and/or sale of over-

the-counter (“OTC”) and prescription ranitidine-containing medications, including those sold

under the brand-name Zantac (collectively, “Ranitidine-Containing Products”). Based upon

personal knowledge as to Plaintiffs’ own conduct, and upon information and belief, including

through investigation of counsel, as to all other matters, Plaintiffs allege as follows:

                                        INTRODUCTION

               From 1983 until 2020 when Ranitidine-Containing Products were pulled from

shelves following the U.S. Food & Drug Administration’s (“FDA”) confirmation of “unacceptable

levels” of a known carcinogen, Defendants made billions of dollars by uniformly deceiving

millions of consumers into purchasing and ingesting a defective, misbranded, adulterated, and

harmful drug that would not have been available for sale in the U.S., and that consumers would

not have purchased nor ingested, but for Defendants’ unlawful conduct alleged herein. Through

their actions, omissions, and failures in the design, manufacture, marketing, packaging, labeling,

handling, distribution, storage, and/or sale of Ranitidine-Containing Products, each Defendant in

the pharmaceutical supply chain violated federal law and/or state law, as detailed below. As a

direct and proximate result of Defendants’ unlawful conduct alleged herein, consumers, including

Plaintiffs and the Class (defined below), suffered economic losses and now face an increased risk

of developing cancer, which will require them to endure costly medical monitoring, treatments,

and/or medications for the rest of their lives, and to live with the fear of developing cancer.




                                                  1
                Zantac was one of the most widely prescribed and OTC heartburn and indigestion

medications on the market. It was the first-ever “blockbuster” drug to reach $1 billion in sales.

Zantac’s unprecedented sales were made possible only because of a deceptive and unlawful

scheme to defraud consumers regarding the purported safety of Ranitidine-Containing Products

and to conceal from consumers the known dangers and risks associated with the use of these

products.

                As alleged herein, the Brand-Name Manufacturer Defendants (defined below)

engaged in a national, pervasive, and decades-long campaign of uniform misrepresentations and

omissions designed to conceal the inherent dangers and risks associated with ranitidine use and to

mislead consumers into believing that Zantac was safe for human consumption. Through product

labels and packaging; print, TV, radio, and online advertising; Internet websites; and social media,

the Brand-Name Manufacturer Defendants uniformly represented to consumers and health

professionals that Zantac was safe, e.g., so safe that it could be used frequently, for chronic

conditions, and for fast relief with nitrite- and nitrate-rich foods (i.e. foods that induce heartburn).

                These representations were false, deceptive, and misleading when made, and they

omitted material facts known to Defendants regarding the true risks of Ranitidine-Containing

Products. Contrary to the Brand-Name Manufacturer Defendants’ misrepresentations, ranitidine

is a dangerous chemical that is unsafe and unfit for human consumption. The ranitidine molecule

itself is unstable and – under normal conditions – degrades into high levels of N-




                                                   2
Nitrosodimethylamine (“NDMA”), a chemical the World Health Organization (“WHO”) has

described as “clearly carcinogenic.”1

               NDMA was discovered through the manufacture of rocket fuel. Its only use today

is to cause cancer in laboratory animals. While any exposure to NDMA can be harmful, the FDA

has set the maximum allowable daily limit of NDMA to 96 nanograms (ng). For reference, one

filtered cigarette contains between 5 to 43 ng of NDMA. Tests of ranitidine revealed NDMA

levels as high as 304,500 ng per tablet, which is 3,171 times the maximum daily limit. For

reference, “the typical recommended dose of ranitidine for therapy of peptic ulcer disease in adults

is 150 mg twice daily or 300 mg once nightly for 4 to 8 weeks, and maintenance doses of 150 mg

once daily.”2 Thus, consumers of Ranitidine-Containing Products have likely been exposed to

staggering levels of carcinogenic NDMA during the relevant period.

               The breakdown of the ranitidine molecule into NDMA under normal conditions is

exacerbated in the environment of the human stomach and other organs. The presence of nitrite-

and nitrate-rich foods, i.e., heartburn-inducing foods, exacerbates the breakdown process even

further. Thus, contrary to the Brand-Name Manufacturer Defendants’ misrepresentations, Zantac

was not safe for human consumption.

               The NDMA levels resulting from the breakdown of the unstable ranitidine molecule

under normal conditions, as well as when combined with gastric fluid and nitrite- and nitrate-rich

foods, are sufficiently high to expose consumers to unreasonable and unacceptable health risks.


1
    R.G. Liteplo et al., Concise International Chemical Assessment Document 38: N-
Nitrosodimethylamine, WORLD HEALTH ORGANIZATION (2002), https://www.who.int/ipcs/
publications/cicad/en/cicad38.pdf.
2
    LiverTox: Clinical and Research Information on Drug-Induced Liver Injury [Internet],
Ranitidine, NAT’L INST. DIABETES & DIGESTIVE & KIDNEY DISEASES (Updated Jan. 25, 2018),
https://www.ncbi.nlm.nih.gov/books/NBK548867/.

                                                 3
To make matters worse, however, the breakdown process of ranitidine into NDMA is accelerated

and/or exacerbated by exposure to normal levels of heat found during the manufacturing,

transportation, and/or storage processes. Each Defendant in the pharmaceutical supply chain failed

to: (a) comply with Current Good Manufacturing Practices (“cGMPs”) to ensure their products

met safety, quality, purity, identity, and strength standards; (b) conduct stability testing of their

Ranitidine-Containing Products to assess the stability characteristics of those products and ensure

bioequivalence; (c) take necessary steps to ensure proper manufacture, transportation, handling,

and storage of their Ranitidine-Containing Products so as to avoid exposure to heat; and (d) to

disclose these material facts to consumers.

               Defendants knew or should have known that ranitidine is an unstable molecule that

breaks down under normal conditions into dangerous NDMA, and that this breakdown process is

made worse when ranitidine is used in the directed manner or when it is exposed to heat. Indeed,

in 1981 – two years before Zantac hit the market – Dr. Silvio de Flora published the results of

experiments exposing ranitidine to human gastric fluid in combination with nitrites, which showed

“toxic and mutagenic effects[.]”3 As a result, Dr. de Flora cautioned that “it would seem prudent

to . . . suggest[] a diet low in nitrates and nitrites, by asking patients not to take these at times

close to (or with) meals[.]” Id.

               Brand-Name Manufacturer Defendant GSK (as defined herein), the originator of

the ranitidine molecule, had actual knowledge of this study. Rather than investigate the concerns

raised in Dr. de Flora’s study to ensure its product was safe and not harmful to users, GSK

attempted to discredit the study. Two weeks after its publication, GSK responded to Dr. de Flora’s


3
   Silvio de Flora, Cimetidine, Ranitidine and Their Mutagenic Nitroso Derivatives, 318 LANCET
8253, 993-94 (Oct. 31, 1981).

                                                 4
findings, claiming that the levels of nitrite needed to induce the production of NDMA were

unrealistic and not likely to be experienced in the real world and, thus, the results had no “practical

clinical significance.”4 Numerous other studies raised concerns over ranitidine and cancerous

nitroso compounds. GSK attempted to parry these studies with its own studies that were clearly

rigged in order to avoid reaching the same undeniable conclusion: ranitidine breaks down into

carcinogenic NDMA when used in the manner Defendants directed. In the study that was

presented to the FDA for approval of Zantac, however, GSK admitted that ranitidine could convert

into NDMA and cause cancer, but GSK dismissed this risk because Ranitidine-Containing

Products were purportedly intended to be used for a short-term period. These material facts were

known, or should have been known, by each Defendant, which was duty-bound to investigate the

potential dangers and risks associated Ranitidine-Containing Products and to ensure that such

products were safe for human consumption.

               Despite Defendants’ knowledge of these material facts regarding the dangers and

risks associated with the use of Ranitidine-Containing Products, which were well known and

widely available to the scientific community but not the public, Defendants did not disclose to

consumers, including Plaintiffs and the Class, that their Ranitidine-Containing Products were

unsafe, that the ranitidine molecule breaks down into carcinogenic NDMA at levels that exceed

the maximum daily limit, that ranitidine should not be used for long-term periods, or that ranitidine

should not be consumed with nitrite- and nitrate-rich foods. To the contrary, Defendants made

affirmative misrepresentations to Plaintiffs and the Class regarding each of these material facts



4
   Excerpted from the Summary Basis of Approval submitted to the FDA to obtain approval of
Zantac in the early 1980s. This document was obtained through a Freedom of Information Act
request to the FDA.

                                                  5
and the safety of ranitidine in general, which further created a duty for Defendants to disclose these

material facts.

                  In 2019, Valisure LLC and ValisureRX LLC (“Valisure”), an analytical pharmacy,

ran tests on Zantac and discovered the link between ranitidine and NDMA and that ranitidine itself

is unstable and can break down into NDMA, particularly in the environment of the stomach. On

September 13, 2019, Valisure filed a citizen petition with the FDA asking the agency to recall all

products that contain ranitidine. Valisure provided copies of the petition to the WHO and

International Agency for the Research of Cancer (“IARC”). Less than a month later, in early

October 2019, the FDA ordered testing on Ranitidine-Containing Products and specified the

protocols for such testing. Within days of the FDA’s announcement, certain Brand-Manufacturing

Defendants recalled all their Ranitidine-Containing Products in the United States and

internationally. On November 1, 2019, the FDA announced that its recent testing showed

“unacceptable levels” of NDMA in Ranitidine-Containing Products and requested that all

manufacturers recall their Ranitidine-Containing Products. Ultimately, on April 1, 2020, the FDA

called for a withdrawal of all Ranitidine-Containing Products in the United States, citing

unacceptable levels of NDMA in those drugs.

                  By designing, manufacturing, distributing, packaging, labeling, marketing, and/or

selling Ranitidine-Containing Products without adequate testing or labels and warnings; failing to

ensure the proper conditions for the manufacture, transportation, handling, and storage of

Ranitidine-Containing Products; and misrepresenting and not disclosing material facts regarding

the safety of Ranitidine-Containing Products and the dangers and risks associated with their

intended use, Defendants violated federal and/or state law and common law, as alleged herein.




                                                  6
               As a direct and proximate result of Defendants’ violations of law, Plaintiffs and

other members of the Class have suffered economic losses through their purchase of a product that

should not have been available for sale in the U.S. and which they would not have purchased, but

for Defendants’ unlawful conduct. As a direct and proximate result of Defendants’ violations of

law, Plaintiffs and other members of the Class who ingested Ranitidine-Containing Products face

an increased risk of developing cancer and will be forced to pay for and endure lifelong medical

monitoring, treatments, and/or medications, and to live with the fear and risk of developing

additional health consequences, such as cancer.

               As detailed below, Plaintiffs, individually and on behalf of the Class assert, claims

for violation of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C.

§1962(c)-(d), the Magnuson-Moss Warranty Act (“MMWA”), 15 U.S.C. §2301, et seq., and state

consumer protection laws; breach of implied and express warranties; fraud; negligence; strict

liability for design defects, manufacturing defects, and failure to warn; battery; and unjust

enrichment.

               As detailed below, Plaintiffs, individually and on behalf of the Class, seek redress

to compensate for their economic losses, to provide for the medical monitoring they require, and

to deter the type of misconduct that caused to the damages suffered by Plaintiffs and the Class.

                                 JURISDICTION AND VENUE

               This Court has original subject-matter jurisdiction over this action under 28 U.S.C.

§1331 (federal question) and 18 U.S.C. §1964 (civil remedies). This Court also has subject matter

jurisdiction over this action pursuant to 28 U.S.C. §1332, as amended by the Class Action Fairness

Act of 2005 28 U.S.C. §1332(d)(2), because (a) there are at least 100 class members; (b) the matter

in controversy exceeds $5 million, exclusive of interest and costs; and (c) at least one Plaintiff is


                                                  7
a citizen of a different state than at least one Defendant. In addition, this Court has supplemental

jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. §1367.

                This Court has personal jurisdiction over Defendants under Fla. Stat. Ann. §48.193

and 18 U.S.C. §1965(b) and (d).          This Court also has pendent personal jurisdiction over

Defendants.

                In addition and/or in the alternative, Defendants and/or their agents or alter egos

each have significant contacts with each of the States and territories of the United States because

they designed, manufactured, tested, marketed, labeled, packaged, handled, distributed, stored,

and/or sold Ranitidine-Containing Products within each of the States and territories of the United

States, and/or they derived revenue from the sale of their Ranitidine-Containing Products in each

of the States and territories of the United States, through the purposeful direction of their activities

to the States and territories of the United States and purposeful availment of the protections of the

laws of the States and territories of the United States, such that personal jurisdiction would be

proper in those States and territories under traditional notions of fair play and substantial justice.

                In addition and/or in the alternative, the district to which each Plaintiff’s action may

be remanded upon conclusion of these pretrial proceedings pursuant to 28 U.S.C. §1407(a) will

have personal jurisdiction over the Defendants who themselves or through an agent or alter ego

are incorporated within that district, have a principal place of business in that district, or conduct

a substantial amount of business in that district, such that they are essentially at home in that district

and, thus, that personal jurisdiction would be proper in that district under traditional notions of fair

play and substantial justice.

                Venue is proper in this District under 28 U.S.C. §1391(b) because a substantial part

of the events or omissions giving rise to Plaintiffs’ claims occurred in this District. Defendants


                                                    8
designed, manufactured, tested, marketed, labeled, packaged, handled, distributed, stored, and/or

sold Ranitidine-Containing Products, and otherwise conducted extensive business, within this

District. In addition and/or in the alternative, venue is proper under 28 U.S.C. §1407(a) and the

Conditional Transfer Orders of the Judicial Panel on Multidistrict Litigation.

                                             PARTIES

I.     PLAINTIFFS

               Plaintiff Anthony McGhee (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Alabama. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC Zantac and ranitidine syrup and Zantac tablets and capsules, from

approximately 2013 to 2020 to treat allergies, from CVS and a U.S. Department of Veterans

Affairs (“VA”) hospital in Alabama. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Daffeney Austin (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Alabama. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2016 to 2019 to treat acid reflux, from Walmart


                                                  9
in Alabama. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Dennis Hall (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Alabama.     Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules, and ranitidine tablets and capsules, from

approximately 2004 to 2016 to treat acid reflux and gastroesophageal reflux disease (“GERD”),

from a Rite Aid, Dalton Pharmacy, Mike’s Pharmacy, Family Dollar, Winn-Dixie, and Dollar

General in Alabama. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-


                                                 10
Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Gentrell Eatman (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Alabama.    Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules, from approximately 2013 to 2017 to treat severe

heartburn, from a Walgreens, CVS, and Publix in Alabama. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Jeremy Hilton (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Alabama. Plaintiff purchased and used Ranitidine-Containing Products, including OTC and

prescription Zantac tablets and capsules and ranitidine tablets and capsules, from approximately

1995 to 2012 to treat acid reflux, from a Walmart, Hokes Bluff Pharmacy, Hugh’s Pharmacy,

Physician’s Apothecary, Ballplay Grocery, and Dollar General in Alabama. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion


                                                 11
of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Lashonnah Gaitor (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Alabama. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription Ranitidine tablets and capsules, from approximately 2015 to 2016 to treat acid reflux

and heartburn, from a Walgreens in Alabama. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Linda Burns (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Alabama.     Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2014 to 2020 to treat indigestion, stomach bloating and acid reflux, from Walmart


                                                 12
and Lake Martin Pharmacy in Alabama. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Sally Jackson (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Alabama. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules, from approximately 2008 to 2019 to treat acid reflux and heartburn, from a

Dollar General and Walmart in Alabama. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.


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               Plaintiff Tammy Smith (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Alaska.    Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 1989 to 2019 to treat ulcers, GERD, heartburn, and indigestion, from a Safeway

pharmacy in Alaska; military base commissaries in Texas, Louisiana, Missouri, and Alaska; and a

Walmart in Arizona. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Armando Tapia (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Arizona. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

Zantac tablets and capsules, Zantac injection, ranitidine tablets and capsules, from approximately

2007 to 2019 to treat severe acid reflux, from Mariposa Community Pharmacy and Food City

Pharmacy in Arizona. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff


                                                14
purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Zantac tablets, capsules, and injections

had Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Juan Montanez (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Arizona.    Plaintiff purchased and used Ranitidine-Containing Products, including OTC

ranitidine tablets and capsules, from approximately 2013 to 2020 to treat heartburn and acid-reflux

from a Safeway or Sam’s Club in Arizona. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Monica Costello (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Arizona. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2010 to 2018

to treat stomach issues, from a CVS in Arizona. As a direct and proximate result of Defendants’


                                                 15
breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Tangie Sims (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Arizona. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules and ranitidine tablets and capsules, from approximately 2007 to 2020 to treat

heartburn, from a Walgreens, Walmart, Safeway, and Fry’s Grocery Store in Arizona. As a direct

and proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.




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               Plaintiff Andy Green (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Arkansas. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules and prescription ranitidine tablets and capsules, from

approximately 1980 to 2019 to treat acid reflux, from a Walgreens and Walmart in Arkansas. As

a direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Tina Culclager (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Arkansas.    Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC ranitidine tablets and capsules, from approximately 2015 to 2019 to treat

acid reflux, from a Walmart and Walgreens in Arkansas. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied


                                                 17
warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Cesar Machado (for the purpose of this paragraph, “Plaintiff”), is a citizen

of California. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules from approximately 2016 to 2020, to treat gastritis, from Costco in California.

As a direct and proximate result of Defendants’ breaches of express and implied warranties,

wrongful acts, fraudulent misrepresentations and omissions, and negligence in connection with

their development, design, manufacture, marketing, sale, handling, storage, distribution, and

promotion of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested

Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff

would not have purchased nor used Ranitidine-Containing Products had Defendants not breached

their express and implied warranties, and misrepresented, omitted, concealed, and/or failed to

timely disclose the risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff

has suffered concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Golbenaz Bakhtiar (for the purpose of this paragraph, “Plaintiff”), is a

citizen of California. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2000 to 2019 to treat acid reflux and GERD, from Albertson’s, Walgreens, Ralph’s,

and Target in California. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff


                                                18
purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Kang Lim (for the purpose of this paragraph, “Plaintiff”), is a citizen of

California. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules and ranitidine tablets and capsules from approximately 2005

to 2019, to treat gastritis from Kaiser, Walgreens, and CVS in California. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Lynette Newton (for the purpose of this paragraph, “Plaintiff”), is a citizen

of California. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2005 to 2019, to treat severe heartburn, from a Kaiser Permanente, and Rite Aid in


                                                 19
California. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Richard Obrien (for the purpose of this paragraph, “Plaintiff”), is a citizen

of California. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules and ranitidine tablets and capsules, from approximately 1998 to 2019, to treat

gastrointestinal problems, from a CVS and Rite Aid in California. As a direct and proximate result

of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.


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               Plaintiff Royal Handy (for the purpose of this paragraph, “Plaintiff”), is a citizen of

California. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

Ranitidine tablets and capsules, from approximately 2015 to 2019 to treat acid reflux and GERD,

from a CVS in California. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Virginia Aragon (for the purpose of this paragraph, “Plaintiff”), is a citizen

of California. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2006

to 2020 to treat heartburn, from a Kaiser, Walmart, and CVS in California. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and


                                                 21
implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Ronald Ragan (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Colorado. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules, and ranitidine tablets and capsules, from approximately

2012 to 2019 to treat acid reflux and heartburn from a Walmart in Colorado. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Jeffrey Pisano (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Colorado. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 1998

to 2020 to treat heartburn, from a Safeway, Walgreens, Walmart, Osco Drug, and Rite Aid in

Colorado. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,


                                                 22
distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Angel Cordero (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Connecticut. Plaintiff purchased and used Ranitidine-Containing Products, including OTC and

prescription Zantac tablets and capsules and ranitidine tablets and capsules, from approximately

2007 to 2019 to treat a sensitive stomach and acid buildup, from a CVS and local convenience

stores in Connecticut. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Eva Swint (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Delaware. Plaintiff purchased and used Ranitidine-Containing Products, including prescription


                                                23
Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2016 to 2019

to treat allergy problems and stomach issues, from a VA in Delaware. As a direct and proximate

result of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

              Plaintiff Jennifer Marks (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Delaware. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC ranitidine tablets and capsules, from approximately 2014 to 2019 to treat reflux and

heartburn, from a Rite Aid and Walmart in Delaware. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks




                                                24
associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Kevin Nelson (for the purpose of this paragraph, “Plaintiff”), is a citizen

of the District of Columbia.     Plaintiff purchased and used Ranitidine-Containing Products,

including prescription ranitidine tablets and capsules, in 2018 to treat acid reflux, from a Med LLC

Pharmacy in Maryland. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Ana Pereira (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Florida. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2018 to 2020 to treat acid reflux, from

American Health Care in Florida. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels


                                                 25
of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Clifton McKinnon (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including Zantac

tablets and capsules, and ranitidine tablets and capsules, from approximately 2008 to 2020 to treat

acid reflux, from Walgreens in Florida. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Daniel Taylor (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2015 to 2020 to treat stomach pain and acid

reflux, from a CVS in Florida. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and


                                                 26
negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Digna Arbizu (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2019 to 2020 to treat stomach pain and acid

reflux, from CVS in Florida. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Gustavo Velasquez (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including OTC


                                                27
Zantac tablets and capsules, from approximately 2000 to 2020 to treat acid reflux, from CVS,

Walgreens, and Publix in Florida. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Hattie Kelley (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2014 to 2018 to treat GERD, from a Walgreens

in Florida, and a CVS in Florida. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-




                                                28
Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Irma Arcaya (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Florida. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2014 to 2020 to treat acid reflux, from a

Suncoast Community Health Centers, Inc. and CVS in Florida. As a direct and proximate result

of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Jeffrey Beauchamps (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

Zantac tablets and capsules, from approximately 2010 to 2018 to treat acid reflux, from a CVS in

Florida. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels


                                                 29
of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Jeannie Black (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2015

to 2020 to treat acid reflux and heart burn, from a Walgreens in Florida. As a direct and proximate

result of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff John Wholey (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Florida. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac and

ranitidine tablets and capsules, and prescription ranitidine (injection), from approximately 1990 to

2019 to treat ulcers from 7-Eleven, Walgreens, and various convenience stores in Massachusetts

and from CVS and a hospital in Florida. As a direct and proximate result of Defendants’ breaches


                                                 30
of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Zantac tablets, capsules,

and ranitidine injections had Defendants not breached their express and implied warranties, and

misrepresented, omitted, concealed, and/or failed to timely disclose the risks associated with the

use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and

proximate result of Defendants’ wrongful conduct.

               Plaintiff Jose Alfredo Contreras (for the purpose of this paragraph, “Plaintiff”), is

a citizen of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules from approximately 2012 to 2017 to treat with acid

reflux, from a CVS in Florida. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.




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               Plaintiff Joshua Winans (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules, from approximately 2000 to 2020 to treat GERD, from CVS, Walgreens,

Walmart, Sam’s Club, and Publix in Florida. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Joyce Taylor (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Florida. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2010 to 2020 to treat heart burn, from multiple

CVS in Florida. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,


                                                 32
concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Kristen Monger, as power of attorney and on behalf of, Alexander Monger,

for the purpose of this paragraph, (“Plaintiff”), is a citizen of Florida. Plaintiff purchased and used

Ranitidine-Containing Products, including prescription ranitidine syrup, from approximately 1999

to 2020 to treat acid reflux, from Nemours Children’s Hospital pharmacy, CVS, and Walgreens in

Florida. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Kristen Monger, as legal guardian and on behalf of, Laura Monger, for the

purpose of this paragraph, (“Plaintiff”), is a citizen of Florida. Plaintiff purchased and used

Ranitidine-Containing Products, including prescription ranitidine syrup, from approximately 1997

to 2020 to treat acid reflux, from a Nemours Children’s Hospital pharmacy, CVS, Walgreens in

Florida. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in


                                                  33
connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA.      Plaintiff would not have purchased nor used Ranitidine-Containing Products,

including prescription ranitidine syrup had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Louise Brooks (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2018 to 2019 to treat acid reflux, from Orange

Blossom Family Health in Florida. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Manuel Rodriguez (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Florida.   Plaintiff purchased and used Ranitidine-Containing Products, including


                                                34
prescription ranitidine tablets and capsules and Zantac tablets and capsules, from approximately

2007 to 2019 to treat stomach pains, from a Walgreens and CVS in Florida. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Maria De Oliveira (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Florida.   Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2014 to 2020 to treat heartburn, from Walmart in Florida. As a direct and proximate

result of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks




                                               35
associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

              Plaintiff Maria Tate (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Florida. Plaintiff purchased and used Ranitidine-Containing Products, including prescription and

OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 1995 to

2015 to treat acid reflux and peptic ulcer disease, from Walmart RX Plus (Advent Health

Hematology and Oncology), and Sam’s Club in Florida. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

              Plaintiff Marva McCall (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC ranitidine tablets and capsules and Zantac tablets and capsules, from approximately 2007

to 2019 to treat acid reflux and heartburn, from a CVS and Walgreens in Florida. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion


                                               36
of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Michael Fesser (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2010 to 2019 to treat heartburn, acid reflux,

and gout from a Walmart in Florida. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Michael Tomlinson (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

Zantac tablets and capsules and prescription ranitidine tablets and capsules, from approximately

2004 to 2019 to treat acid reflux, from a VA pharmacy and Walmart in Florida. As a direct and


                                                 37
proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Moises Egozi (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules, from approximately 1980 to 2019 to treat an upset stomach, from Walgreens

and CVS in Florida. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.




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               Plaintiff Robert Nash (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Florida. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules, and ranitidine tablets and capsules, from approximately 2004 to 2020 to treat

severe heartburn, from gas stations, Dollar General, and Walmart in Texas. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Ricardo Moròn (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules, from approximately 1995 to 2020 to treat heartburn and acid reflux, from

Publix and Walmart in Florida. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,


                                                 39
concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Roy Armstrong (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Florida. Plaintiff purchased and used Ranitidine-Containing Products, including OTC and

prescription Zantac tablets and capsules ranitidine tablets and capsules, from approximately 2006

to 2019 to treat acid reflux and GERD, from Walgreens and CVS in Georgia, and Walgreens in

Michigan and Florida. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Sharon Tweg (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Florida.   Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules, from approximately 2010 to 2019 to treat

heartburn and stomach-related issues, from a Walgreens, CVS, and Publix in Florida. As a direct

and proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their


                                                40
development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Sonia Diaz (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Florida. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2004 to 2020

to treat acid reflux and bloating, from La Farmacia Gabriela in Puerto Rico and Winter Garden

Pharmacy in Florida. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Angela Taylor (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Georgia. Plaintiff purchased and used Ranitidine-Containing Products, including prescription


                                                41
ranitidine tablets and capsules, from approximately 2006 to 2020 to treat acid reflux, heartburn

and stomach ulcer, from Walgreens in Tennessee, and Walgreens and Publix in Georgia. As a

direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Charlotte Sanders (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Georgia. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2014 to 2020 to treat esophagitis

and heartburn, from CVS in Tennessee. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-




                                                 42
Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Cynthia Starr (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Georgia. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2018 to 2020 to treat heartburn, from a Publix

in Georgia. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Earlene Green (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Georgia. Plaintiff purchased and used Ranitidine-Containing Products, including both OTC

and prescription Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 1995 to 2020 to treat acid reflux, heartburn, and GERD, from Walmart in Georgia

and Walgreens in Washington. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff


                                                43
purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Kathy Jeffries (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Georgia.    Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 1998 to 2019 to treat heartburn, stomach acid and esophagus acid, from CVS,

Kroger and Family Dollar in Georgia. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Leon Greene (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Georgia. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2016 to 2020


                                                 44
to treat stomach problems and heartburn, from a Walmart in Georgia. As a direct and proximate

result of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Paula Shells (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Georgia. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2016 to 2019 to treat acid reflux and irritable

bowel syndrome, from CVS in Georgia. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.


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               Plaintiff Sandra Brackins (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Georgia. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2010

to 2019 to treat acid reflux and indigestion from Harvey’s Pharmacy and Walmart in Georgia. As

a direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Tyrone Houston (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Georgia.    Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, until

approximately 2020 to treat heartburn and acid reflux, from a Kroger’s in Georgia. As a direct

and proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and


                                                 46
implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Carol Harkins (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Illinois. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules and ranitidine tablets and capsules, from approximately 2005 to 2020 to treat

heartburn, from a Walmart, Walgreens, Kroger, Sam’s Club, and Costco in Illinois. As a direct

and proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff David Simpson (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Illinois. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC ranitidine tablets, capsules, and syrup, and OTC Zantac tablets and capsules, from

approximately 2003 to 2020 to treat gastrointestinal bleeding, from CVS and Walgreens in Illinois.

As a direct and proximate result of Defendants’ breaches of express and implied warranties,

wrongful acts, fraudulent misrepresentations and omissions, and negligence in connection with

their development, design, manufacture, marketing, sale, handling, storage, distribution, and


                                                47
promotion of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested

Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff

would not have purchased nor used Ranitidine-Containing Products had Defendants not breached

their express and implied warranties, and misrepresented, omitted, concealed, and/or failed to

timely disclose the risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff

has suffered concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

                Plaintiff Denise Guy (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Illinois. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules from approximately 2015 to 2020 to treat heartburn, from Walgreens, Family

Dollar, and Dollar General in Illinois. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

                Plaintiff Heather Re (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Illinois.   Plaintiff purchased and used Ranitidine-Containing Products, including OTC and

prescription Zantac tablets and capsules and ranitidine tablets and capsules, from approximately

2013 to 2020 to treat acid reflux, from CVS, Walgreens, and Sullivan’s Pharmacy in Illinois. As


                                                 48
a direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Jacqueline Hanson (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Illinois.   Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2008 to 2020 to treat heartburn and acid reflux, from Walgreens and CVS in Illinois

and Walgreens and CVS in Tennessee. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.


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               Plaintiff Renee Chatman (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Illinois. Plaintiff purchased and used Ranitidine-Containing Products, including OTC ranitidine

tablets and capsules, from approximately 2010 to 2019 in Illinois. As a direct and proximate result

of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Shannon Williams (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Illinois.   Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2015 to 2019 to treat GERD from

Walgreens and Walmart in Illinois. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-


                                                50
Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Vickie Anderson (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Illinois. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

Zantac tablets and capsules, and ranitidine tablets and capsules, from approximately 2012 to 2020

to treat ulcers and acid reflux, from Walmart and Walgreens located in Illinois. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Alyson Humphrey (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Indiana. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2014 to 2020 to treat nausea and upper-related pain, from a Kroger, Dollar General,

and Dollar Tree in Indiana. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff


                                                51
purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Brenda Henderson (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Indiana.   Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2010 to 2019 to treat heartburn

and GERD, from Walmart in Indiana. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Carol Grimes (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Indiana. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2010

to 2019 to treat ulcers, from Walmart in Indiana. As a direct and proximate result of Defendants’


                                                 52
breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Rebecca Sizemore (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Indiana. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2015 to 2020 to treat stomach problems such as acid reflux, gastritis, and

diverticulitis, from CVS in Indiana. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.


                                                 53
               Plaintiff Teresa Dowler (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Indiana.    Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2014 to 2019 to treat GERD symptoms and an ulcer in her esophagus, from CVS

in Indiana. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Timberly Goble (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Indiana. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2013 to 2020 to treat acid reflux and heartburn,

from Walmart in Missouri and Kentucky, Walgreens in Indiana, and online delivery from

ExactCare. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels


                                                 54
of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Tracy Wells (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Indiana. Plaintiff purchased and used Ranitidine-Containing Products, including both prescription

and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2013

to 2020 to treat acid reflux, from Walmart and CVS in Indiana. As a direct and proximate result

of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Brian Nervig (for the purpose of this paragraph, “Plaintiff”) is a citizen of

Iowa. Plaintiff purchased and used Ranitidine-Containing Products, including prescription and

OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2010 to

2020 to treat an ulcer, from Hy-Vee, Dollar General, and Walgreens in Iowa. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,


                                                 55
fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Tracy Losee (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Iowa.   Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2017 to 2020 to treat acid reflux, from

Walgreens and Express Scripts in Iowa. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Darla Curtis (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Kentucky.     Plaintiff purchased and used Ranitidine-Containing Products, including both


                                                 56
prescription and OTC Zantac tablets and capsules, from approximately the mid-1990s to 2018 to

treat acid reflux and heartburn, from Bluegrass Pharmacy, Walgreens, CVS, Rite Aid, and

Walmart in Kentucky. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Janet Asbury (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Kentucky. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 1991

to 1996 to treat heartburn and acid, from a Kmart and Rite Aid in Kentucky. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the


                                                 57
risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Judy Clark (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Kentucky.    Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2014 to 2019 to treat heartburn and acid reflux, from Kroger and Walmart in

Kentucky. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Jamie McKay (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Louisiana. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2018

to 2019 to treat heartburn and indigestion, from Walmart and Dollar Store in Louisiana. As a

direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion


                                                58
of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Randy Jones (for the purpose of this paragraph, “Plaintiff”) is a citizen of

Louisiana. Plaintiff purchased and used Ranitidine-Containing Products, including OTC and

prescription Zantac and ranitidine tablets and capsules and ranitidine tablets and capsules, from

approximately 2002 to 2020 to treat acid reflux, from Humana mail order and JenCare Senior

Medical Center and Walmart in Louisiana. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Bobbi Marshall (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Maine. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2010 to 2019 to treat GERD and gastroparesis,


                                                 59
from a Holland’s Variety Drug in Maine. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct

               Plaintiff Alberta Griffin (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Maryland. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC ranitidine tablets and capsules and Zantac tablets and capsules, from approximately 2000

to March 2020 to treat acid reflux from Walgreens, CVS, Rite-Aid, and Homecare Delivery in

Maryland. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-




                                                 60
Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Darlene Whittington-Coates (for the purpose of this paragraph,

“Plaintiff”), is a citizen of Maryland.     Plaintiff purchased and used Ranitidine-Containing

Products, including prescription ranitidine tablets and capsules, from approximately 2017 to 2019

to treat digestive and esophageal discomfort, from Annapolis Medical Center in Maryland. As a

direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used ranitidine tablets and capsules had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Ida Adams (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Maryland. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules, from approximately 2010 to 2017 to treat heartburn, from Walmart in

Maryland. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels


                                                61
of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Kelly Spillman (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Maryland. Plaintiff purchased and used Ranitidine-Containing Products, including OTC and

prescription Zantac tablets and capsules and ranitidine tablets and capsules, from approximately

1994 to 2020 to treat acid reflux , from CVS and Walgreens in Maryland, as well as in Delaware.

As a direct and proximate result of Defendants’ breaches of express and implied warranties,

wrongful acts, fraudulent misrepresentations and omissions, and negligence in connection with

their development, design, manufacture, marketing, sale, handling, storage, distribution, and

promotion of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested

Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff

would not have purchased nor used Ranitidine-Containing Products had Defendants not breached

their express and implied warranties, and misrepresented, omitted, concealed, and/or failed to

timely disclose the risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff

has suffered concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Ana Guzman (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Massachusetts.     Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2015 to 2020 to treat stomach

pains and acid reflux, from Walgreens in Massachusetts. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent


                                                 62
misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used ranitidine tablets and capsules had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Jennifer Bond (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Massachusetts. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

ranitidine tablets and capsules, from CVS from approximately 2010 to 2019 in Massachusetts. As

a direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Jose Amado (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Massachusetts.    Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from


                                                63
approximately 2015 to 2018 to treat stomach aches, acid reflux, and heartburn, from a RiteAid and

Walgreens in Massachusetts. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Kirenia Alvarez (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Massachusetts. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

Zantac tablets and capsules from approximately 2016 to 2020 to treat nausea and acid reflux, from

CVS, Walmart, and Rite Aid in Massachusetts. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-




                                                 64
Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Michelle Smith (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Massachusetts. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2015 to 2020 to treat acid reflux and heartburn, from CVS in Massachusetts. As a

direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Arthur Gamble (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Michigan. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2017

to 2018 to treat excessive burping and gas, from Kroger and CVS in Michigan. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-


                                                 65
Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Benny Cope (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Michigan. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2016 to 2019 to treat acid reflux and heartburn,

from an Action Drugs Michigan; and Malek Pharmacy in Michigan. As a direct and proximate

result of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Jerry Hunt (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Michigan. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 1989

to 2019 to treat constant heartburn, from Walgreens, Walmart, Meijer’s, and Sam’s Club in

Michigan. As a direct and proximate result of Defendants’ breaches of express and implied


                                                66
warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Jody Beal (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Michigan. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC ranitidine tablets and capsules, from approximately 2011 to 2009 to treat acid reflux,

from Martin’s Pharmacy, Walmart, and Walgreens in Michigan. As a direct and proximate result

of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.




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               Plaintiff Judy Wilmot (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Michigan. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules during several months in 2019 to treat her irritated digestive system,

from Meijer’s in Michigan. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Lakisha Wilson (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Michigan. Plaintiff purchased and used Ranitidine-Containing Products, including both Zantac

and ranitidine tablets and capsules from approximately 1997 to 2017 to treat acid reflux, GERD,

and ulcers from MedCart, Safari Drugs, Knight Drugs, Rx Care, Direct Rx, Rite Aid, CVS, and

Sav-Max in Michigan. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had


                                                 68
Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Myra Allen (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Michigan. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2010 to 2020 to treat acid reflux from Express

Scripts. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Sabina McClure (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Michigan. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2010 to 2019 to treat acid reflux and GERD

from Eastborn Pharmacy and CVS in Michigan. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,


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sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Brad Hoag (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Minnesota. Plaintiff purchased and used Ranitidine-Containing Products, including both OTC

Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2011 to 2019

to treat heartburn, from a Walgreens and CVS in Minnesota and delivered through Amazon in

Minnesota. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Donald Northrup (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Minnesota. Plaintiff purchased and used Ranitidine-Containing Products, including


                                                 70
prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2000 to 2019 to treat acid-reflux, from Hennepin County Medical Center and

Walmart in Minnesota. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff John Scholl (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Minnesota. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules, from approximately 2005 to 2016 to treat acid reflux, from a Target,

Walgreens, and Walmart in Minnesota. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-


                                                 71
Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Rodriquze Hampton Sr., both in his personal capacity and as a guardian

for Rodriquze Hampton Jr. (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Minnesota. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac syrup and ranitidine syrup, from approximately 2008 to 2020 to treat heartburn,

from a Walgreens in Minnesota and Tennessee; and Children’s Hospital in Minnesota. As a direct

and proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Sandra Erickson-Brown (for the purpose of this paragraph, “Plaintiff”), is

a citizen of Minnesota. Plaintiff purchased and used Ranitidine-Containing Products, including

both prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 1980 to 2017 to treat heartburn, from Walgreens and Walmart in Minnesota. As a

direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion


                                                72
of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Beverley Crosby (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Mississippi.    Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC ranitidine tablets and capsules and Zantac tablets and capsules, from

approximately 2014 to 2020 to treat heartburn, from C&C Drugs and Caleb’s Hometown

Pharmacy in Mississippi. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Celenta Sims (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Mississippi. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2000


                                                 73
to 2020 to treat acid reflux, from Canton Discount Drug Mart and Mississippi Discount Drugs, in

Mississippi. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff David Weatherly (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Mississippi. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2018 to 2020 to treat acid reflux,

from Walmart in Mississippi. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-




                                                74
Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Dorothy King (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Mississippi.     Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2019 to 2020 to treat heartburn

and acid reflux from Walgreens in Mississippi. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff John Rachal (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Mississippi. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules, from approximately 2000 to 2019 to treat acid reflux, from Walmart and

Walgreens in Mississippi. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels


                                                 75
of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Korcis McMillian (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Mississippi. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2013 to 2020 to treat acid reflux

and heartburn, from Walgreens and Rite Aid in Mississippi. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Lora Mauffray (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Mississippi. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC Zantac tablets and capsules, and ranitidine tablets and capsules, from

approximately 2015 to 2019 to treat heartburn, from Walmart in Mississippi. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,


                                                76
fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Martha Summers (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Mississippi. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2007 to 2020 to treat acid reflux,

from a Harps Pharmacy and Walgreens in Arkansas, and a Walgreens in Mississippi. As a direct

and proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Melinda M Johnson (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Mississippi. Plaintiff purchased and used Ranitidine-Containing Products, including


                                                77
prescription ranitidine tablets and capsules, from approximately 2003 to 2019 to treat acid reflux,

from Walmart in Mississippi. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Michelle Tinker (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Mississippi.    Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2014 to 2020 to treat GERD, from

Humana in Mississippi. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-




                                                 78
Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Porter Veolia (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Mississippi.    Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC ranitidine tablets and capsules and Zantac tablets and capsules, from

approximately 2003 to 2020 to treat acid reflux and heartburn, from Walmart in Mississippi. As

a direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Shirley Magee (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Mississippi.    Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, for many

years until 2020 to treat bleeding ulcer, from Walmart in Mississippi. As a direct and proximate

result of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing


                                                79
Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Antrenise Campbell (for the purpose of this paragraph, “Plaintiff”) is a

citizen of Missouri. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC Zantac tablets and capsules ranitidine tablets and capsules from

approximately 1990 to 2013 to treat heartburn and acid reflux, from Walgreens in Missouri. As a

direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Brenda Newcomb (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Missouri. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules from approximately 2016 to 2020 to treat acid reflux,

from Bond’s Pharmacy in Missouri. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and


                                               80
negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Cynthia Gibbs (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Missouri. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules from approximately 2005 to 2019 to treat acid reflux and heartburn,

from Medicine Shoppe and Optum RX (United Healthcare) in Missouri. As a direct and proximate

result of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Elaine Aaron (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Missouri. Plaintiff purchased and used Ranitidine-Containing Products, including prescription


                                                 81
ranitidine tablets and capsules, from approximately 2009 to 2020 to treat acid reflux, from CVS in

Missouri. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Joseph Kellum (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Missouri. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2017 to 2020 to treat acid reflux, from Walmart

and the VA in Missouri. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-




                                                82
Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Lisa Deckard (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Missouri. Plaintiff purchased and used Ranitidine-Containing Products, including OTC and

prescription Zantac tablets and capsules and ranitidine tablets and capsules, from approximately

2013 to 2019 to treat severe heartburn, from Walmart, Walgreens, and Mid-Town Pharmacy in

Missouri. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Lorie Kendall-Songer (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Missouri. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

Zantac tablets and capsules, from approximately 2016 to 2020 to treat acid reflux, purchased from

a Walmart and Price Chopper in Missouri. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed


                                                83
herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Angel Vega (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Montana. Plaintiff purchased and used Ranitidine-Containing Products, including OTC and

prescription ranitidine tablets and capsules and Zantac tablets and capsules, from approximately

2009 to 2017 to treat acid reflex, from Kmart in Montana, and CVS and Walgreens in Connecticut.

As a direct and proximate result of Defendants’ breaches of express and implied warranties,

wrongful acts, fraudulent misrepresentations and omissions, and negligence in connection with

their development, design, manufacture, marketing, sale, handling, storage, distribution, and

promotion of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested

Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff

would not have purchased nor used Ranitidine-Containing Products had Defendants not breached

their express and implied warranties, and misrepresented, omitted, concealed, and/or failed to

timely disclose the risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff

has suffered concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Charles Longfield (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Nebraska. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

Zantac tablets and capsules and prescription generic ranitidine tablets and capsules from

approximately 1994 to 2019 to treat acid reflux, purchased from Walmart in Maryland, Virginia,


                                                 84
and Wyoming and a mail-order pharmacy through the VA hospital while in Iowa. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Gaylord Stauffer (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Nebraska. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

and ranitidine tablets and capsules, from approximately 1997 to 2019 to treat heartburn and

indigestion, from a Sam’s Club in Nebraska and South Carolina and Walmart in Nebraska and

Georgia. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-




                                                  85
Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Cesar Pinon (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Nevada.   Plaintiff purchased and used Ranitidine-Containing Products, including OTC and

prescription Zantac tablets and capsules and ranitidine tablets and capsules, from approximately

2009 to 2020 to treat acid reflux, from a Smith’s in Nevada. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff David Rice (for the purpose of this paragraph, “Plaintiff”), is a citizen of

New Hampshire.       Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2005 to 2020 to treat stomach

pains, from a CVS in New Hampshire and CVS Caremark and Express Scripts mail-order

pharmacies. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff


                                                 86
purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Rafael Bermudez (for the purpose of this paragraph, “Plaintiff”), is a

citizen of New Hampshire.        Plaintiff purchased and used Ranitidine-Containing Products,

including both prescription and OTC Zantac tablets and capsules and ranitidine tablets and

capsules, from approximately 2014 to 2020 to treat acid reflux, from a CVS in Massachusetts and

New Hampshire. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Isabel Barroso (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New Jersey.      Plaintiff purchased and used Ranitidine-Containing Products, including

prescription Zantac and ranitidine tablets and capsules, from approximately 2010 to 2020 to treat


                                                 87
gastritis, from a People’s Pharmacy and Parentini’s Pharmacy in New Jersey. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff James Adamo (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New Jersey. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

Zantac tablets and capsules, from approximately 2008 to 2020 to treat gastritis, from a Walmart in

New Jersey. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.


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               Plaintiff Kenniqua Nolan (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New Jersey.      Plaintiff purchased and used Ranitidine-Containing Products, including

prescription Zantac tablets and capsules, from approximately 2010 to 2011 to treat acid reflux,

from a CVS in New Jersey. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Lynn White (for the purpose of this paragraph, “Plaintiff”), is a citizen of

New Jersey. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules, and ranitidine tablets and capsules, from approximately

1987 to 2019 to treat acid reflux, from a Millers Pharmacy, Walgreens, and Duane Reade in New

Jersey.   As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had


                                                 89
Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Mary Mcmillan (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New Jersey. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2012 to 2019 to treat acid reflux, from a Sheefa Pharmacy, Freedom Pharmacy,

CVS, and Dollar General in New Jersey. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Mary Moronski (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New Jersey.      Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2012 to 2019 to treat acid reflux,

from a Walmart and Walgreens in New Jersey. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and


                                                 90
omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Sayed Eldomiaty (for the purpose of this paragraph, “Plaintiff”), is a

citizen of New Jersey. Plaintiff purchased and used Ranitidine-Containing Products, including

both OTC and prescription Zantac tablets and capsules, and ranitidine tablets and capsules, from

approximately 2012 to 2020 to treat heartburn, from a Walgreens and Rite Aid in New Jersey. As

a direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Carrie Martinez (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New Mexico.       Plaintiff purchased and used Ranitidine-Containing Products, including


                                                 91
prescription ranitidine tablets and capsules, from approximately 2008 to 2015 to treat heartburn,

from a Fairview Pharmacy in New Mexico. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Ernesto Sanchez (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New Mexico. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC ranitidine tablets and capsules and Zantac tablets and capsules, from

approximately 2012 to 2020 to treat acid reflux, from a Walgreens and Walmart in New Mexico.

As a direct and proximate result of Defendants’ breaches of express and implied warranties,

wrongful acts, fraudulent misrepresentations and omissions, and negligence in connection with

their development, design, manufacture, marketing, sale, handling, storage, distribution, and

promotion of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested

Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff

would not have purchased nor used Ranitidine-Containing Products had Defendants not breached

their express and implied warranties, and misrepresented, omitted, concealed, and/or failed to




                                                 92
timely disclose the risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff

has suffered concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff George Tapia (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New Mexico.       Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC ranitidine tablets and capsules Zantac tablets and capsules, from

approximately 2012 to 2020 to treat acid reflux and ulcer, from a Walmart in New Mexico and

Express Scripts mail-order pharmacy. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Inez Mazon (for the purpose of this paragraph, “Plaintiff”), is a citizen of

New Mexico. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2018 to 2019 to treat heartburn, from a

Walgreens in New Mexico. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff


                                                 93
purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Josefina Griego (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New Mexico.       Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, in 2019 to treat reflux, from a Walmart in New Mexico

and Express Scripts mail-order pharmacy. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Phyllis Gallegos (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New Mexico.       Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2018 to 2020 to treat acid reflux,

from a Smith’s pharmacy in New Mexico. As a direct and proximate result of Defendants’


                                                  94
breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Aida Carlo (for the purpose of this paragraph, “Plaintiff”), is a citizen of

New York. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, in 2019 to treat acid reflux, from Express Scripts mail-order

pharmacy while living in New York. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.




                                                 95
               Plaintiff Benny Fazio (for the purpose of this paragraph, “Plaintiff”), is a citizen of

New York.      Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2000 to 2019 to treat acid reflux, from a CVS in New York. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Francis Neary (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New York. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

Zantac tablets and capsules, from approximately 2014 to 2019 to treat acid reflux, from a CVS and

Rite Aid in New York. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,


                                                 96
concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Glorimar Rodriguez (for the purpose of this paragraph, “Plaintiff”), is a

citizen of New York. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC ranitidine tablets and capsules Zantac tablets and capsules, from

approximately 2007 to 2019 to treat stomach pains and burning sensations to the throat, from East

Jerome Pharmacy, Fordham Road Pharmacy, a Family Dollar, and a Walgreens in New York. As

a direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Joseph McPheter (for the purpose of this paragraph, “Plaintiff”), is a

citizen of New York. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC ranitidine tablets and capsules and Zantac tablets and capsules, from

approximately 2011 to 2019 to treat acid reflux and heartburn, from a CVS, Target, and Rite Aid

in New York and CVS Caremark mail-order pharmacy. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent


                                               97
misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Mary Lou Wagner (for the purpose of this paragraph, “Plaintiff”), is a

citizen of New York. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2009 to 2019 to treat acid reflux,

from a Rite Aid in New York. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Mary McCullen (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New York. Plaintiff purchased and used Ranitidine-Containing Products, including both


                                                98
prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 1998 to 2020 to treat stomach problems, from an East New York pharmacy, Katz

Pharmacy, and Avon Pharmacy in New York. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Migdalia Kinney (for the purpose of this paragraph, “Plaintiff”), is a

citizen of New York. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules, from approximately 2012 to 2019 to treat acid

reflux and an ulcer, from Oval Pharmacy in New York. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks


                                                 99
associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Nereida Cordero (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New York. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2015 to 2018 to treat stomach problems

including acid reflux and gastritis, from a CVS in New York. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Phyllis Spuler (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New York. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2016 to 2019 to treat acid reflux, from a Rite

Aid in New York and Aetna mail-order pharmacy. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff


                                                 100
to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Prisca Bae (for the purpose of this paragraph, “Plaintiff”), is a citizen of

New York. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules, from approximately 2003 to 2019 to treat reddening of the face, from a CVS,

Duane Reade, and Walgreens in New York, Florida, and California. As a direct and proximate

result of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Richard Froehlich (for the purpose of this paragraph, “Plaintiff”), is a

citizen of New York. Plaintiff purchased and used Ranitidine-Containing Products, including

OTC Zantac tablets and capsules, from approximately 2016 to 2019 to treat acid reflux, from

Walmart and CVS in New York. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and


                                                101
negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Silomie Clarke (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New York. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC ranitidine tablets and capsules and Zantac tablets and capsules, from

approximately 2015 to 2020 to treat heartburn and acid reflux, from a Walgreens and SilverRod

in New York. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.




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               Plaintiff Steven Murdock (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New York. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2019 to 2020 to treat heartburn and acid reflux,

from a Walgreens in New York. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Yesenia Melillo (for the purpose of this paragraph, “Plaintiff”), is a citizen

of New York. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC ranitidine syrup and Zantac tablets and capsules, from approximately 2018

to 2019 to treat acid reflux, from a Walgreens in New York and NewYork-Presbyterian Brooklyn

Methodist Hospital. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Zantac tablets and capsules and ranitidine


                                                103
syrup had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Acia D’amore (for the purpose of this paragraph, “Plaintiff”), is a citizen

of North Carolina.     Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2018 to 2019 to treat acid reflux,

from a VA pharmacy in North Carolina. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Dennis Robbins (for the purpose of this paragraph, “Plaintiff”), is a citizen

of North Carolina. Plaintiff purchased and used Ranitidine-Containing Products, including both

OTC and prescription Zantac tablets and capsules, ranitidine tablets and capsules, from

approximately 1985 to 2019 to treat heartburn, from a VA pharmacy, Hoods Drugstore, Walmart,

and Sam’s Club in North Carolina. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and


                                                104
negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Julie Turner (for the purpose of this paragraph, “Plaintiff”), is a citizen of

North Carolina.     Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules and Zantac tablets and capsules, from approximately

2015 to 2018 to treat heartburn, from a Wilson’s Community Health Center Pharmacy in North

Carolina. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.




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               Plaintiff Patricia Frazier (for the purpose of this paragraph, “Plaintiff”), is a citizen

of North Carolina. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC ranitidine tablets and capsules and Zantac tablets and capsules from

approximately 2008 to 2015 to treat acid reflux, from a Rite Aid and CVS in North Carolina. As

a direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Sharon Parks (for the purpose of this paragraph, “Plaintiff”), is a citizen of

North Carolina. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC ranitidine tablets and capsules, and Zantac tablets and capsules, from

approximately 2016 to 2019 to treat acid reflux and gastroesophageal reflux disease (GERD), from

a Walmart in North Carolina. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had


                                                 106
Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Teresa Lee (for the purpose of this paragraph, “Plaintiff”), is a citizen of

North Carolina. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac and ranitidine tablets and capsules, from approximately 2016 to 2020

to treat acid reflux, from a Walgreens in North Carolina. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Chris Troyan (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Ohio. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac tablets

and capsules and ranitidine tablets and capsules, from approximately 2002 to 2020 to treat

heartburn and acid reflux, from a Kroger, CVS, and Walgreens in Ohio. As a direct and proximate

result of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,


                                                 107
manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Janett Tillman (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Ohio. Plaintiff purchased and used Ranitidine-Containing Products, including prescription and

OTC ranitidine tablets and capsules, from approximately 2015 to 2019 to treat stomach issues,

from a Sam’s Club and Walmart in Ohio and CVS Caremark mail-order pharmacy. As a direct

and proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Michael Galloway (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Ohio. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from


                                                108
approximately 1989 to 2019 to treat gastric reflux, from Walgreens and Kroger in Ohio. As a

direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Patricia Hess (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Ohio. Plaintiff purchased and used Ranitidine-Containing Products, including both prescription

and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2010

to 2019 to treat indigestion and heartburn, from a CVS, Kroger, and Dollar General in Ohio. As a

direct and proximate result of Defendants’ breaches of express and implied warranties, wrongful

acts, fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.


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               Plaintiff Billy Naab (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Oklahoma.     Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC ranitidine tablets and capsules and Zantac tablets and capsules from

approximately 2000 to 2017 to treat heartburn and acid reflux, from Albertson’s in Idaho, and

Walmart in Oklahoma, Idaho, and Washington. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Demarco Grayson (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Oklahoma. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules from

approximately 2011 to 2020 to treat heartburn, from Walgreens, QuikTrip, and the Indian

Healthcare Resource Center of Tulsa in Oklahoma.            As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing


                                                110
Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

              Plaintiff Kristi Ledbetter (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Oregon.    Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC ranitidine tablets and capsules, from approximately 2013 to 2016 to treat

heartburn, from a Walgreens and Ray’s Food Place in Oregon. As a direct and proximate result

of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

              Plaintiff Carol Loggins (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Pennsylvania. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine syrup, from approximately 2013 to 2020 to treat esophagitis, from a CVS

in Pennsylvania. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in


                                                111
connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

                Plaintiff Elmer Cook (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Pennsylvania.      Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2019 to 2020 to treat severe

heartburn, from a VA pharmacy in Pennsylvania. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

                Plaintiff Felicia Ball (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Pennsylvania.      Plaintiff purchased and used Ranitidine-Containing Products, including


                                                  112
prescription Zantac tablets and capsules and ranitidine tablets and capsules, from approximately

2000 to 2020, to treat irritable bowel syndrome (IBS), from a Giant Eagle Pharmacy in

Pennsylvania. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Joyce Guerrieri (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Pennsylvania.     Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules from approximately 2009 to 2019 to treat acid reflux

from a Rite Aid in New York. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-


                                                 113
Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Nicholas Hazlett (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Pennsylvania. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac and ranitidine syrup and Zantac and ranitidine tablets and capsules,

from approximately 2005 to 2020 to treat acid reflux, from a CVS and Rite Aid in Pennsylvania.

As a direct and proximate result of Defendants’ breaches of express and implied warranties,

wrongful acts, fraudulent misrepresentations and omissions, and negligence in connection with

their development, design, manufacture, marketing, sale, handling, storage, distribution, and

promotion of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested

Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff

would not have purchased nor used Zantac tablets, capsules, and syrup had Defendants not

breached their express and implied warranties, and misrepresented, omitted, concealed, and/or

failed to timely disclose the risks associated with the use of Ranitidine-Containing Products. Thus,

Plaintiff has suffered concrete injury as a direct and proximate result of Defendants’ wrongful

conduct.

               Plaintiff Tammy DeWitt (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Pennsylvania. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules, ranitidine tablets and capsules, from

approximately 1990 to 2020 to treat acid reflux and irritable bowel syndrome (IBS), from a CVS

and Walmart in Pennsylvania. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,


                                                 114
storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Gloria Colon (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Puerto Rico. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC ranitidine tablets and capsules, from approximately 1989 to 2019 to treat reflux, from a

Walgreens and Farmacia Caridad in Puerto Rico. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Annie Johnson (for the purpose of this paragraph, “Plaintiff”), is a citizen

of South Carolina.     Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules from approximately 2013 to 2018 to treat acid reflux,


                                                115
from a CVS in South Carolina. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Jeffery Gunwall (for the purpose of this paragraph, “Plaintiff”), is a citizen

of South Carolina.    Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 1990 to 2019 to treat acid reflux,

from a Walgreens in South Carolina. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.


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               Plaintiff Michael Futrell, both in his personal capacity and as guardian of his minor

child, (for the purpose of this paragraph, “Plaintiff”), is a citizen of South Carolina. Plaintiff

purchased and used Ranitidine-Containing Products, including prescription and OTC Zantac

tablets and capsules, ranitidine tablets and capsules, and Zantac syrup, from approximately 2015

to 2020 to treat indigestion, heartburn, acid reflux, and stomach upset, from a Costco pharmacy in

Georgia, Walmart in South Carolina and Georgia, Walgreens in Florida, and OptumRx and

Express Scripts mail-order pharmacies. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Zantac tablets, capsules,

and syrup had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Sharon Mclellan (for the purpose of this paragraph, “Plaintiff”), is a citizen

of South Carolina.     Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2005 to 2020 to treat heartburn,

from a CVS pharmacy in South Carolina. As a direct and proximate result of Defendants’ breaches

of express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions,

and negligence in connection with their development, design, manufacture, marketing, sale,

handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed


                                                 117
herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff William Hackler (for the purpose of this paragraph, “Plaintiff”), is a citizen

of South Carolina.     Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC Zantac tablets and capsules from approximately 1983 to 2016 to treat acid

reflux, from small local pharmacies in Texas, and CVS, Walmart, and Walgreens in South

Carolina. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Areather Coleman (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Tennessee. Plaintiff purchased and used Ranitidine-Containing Products, approximately

2004 to 2020 to treat gastric reflux, heartburn, and gastroesophageal reflux disease (GERD), from


                                                 118
Kmart, Kroger, Phipps Pharmacy, Walmart, Dollar General, and Jackson Clinic pharmacy in

Tennessee. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Billie Walker (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Tennessee. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2014 to 2019 to treat heartburn, from a

Walgreens in Tennessee. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-




                                                119
Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Eva Broughton (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Tennessee. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

and OTC Zantac tablets and capsules, from approximately 2005 to 2020 to treat acid reflux and

associated gastrointestinal problems, from Walmart in Tennessee. As a direct and proximate result

of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Dale Hunter (for the purpose of this paragraph, “Plaintiff”) is a citizen of

Tennessee.    Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac and ranitidine tablets and capsules, from approximately 1995 to 2019

to treat ulcers and other severe gastrointestinal medical issues, from a Kroger pharmacy, Family

Dollar, Dollar General, and CVS in Tennessee. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed


                                                120
herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Jeffrey Garrett (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Tennessee. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

ranitidine tablets and capsules from approximately 2015 to 2019 to treat indigestion, from a

Walmart in Tennessee. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine tablets and capsules had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Jennifer Fox (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Tennessee. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2019 to 2020, to treat heartburn, from a Fry’s

Pharmacy in Arizona and SmartScripts mail-order pharmacy. As a direct and proximate result of


                                                 121
Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Karen Hunter (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Tennessee. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

ranitidine tablets and capsules, from approximately 1995 to 2019 to treat heartburn, from a

Walmart in Tennessee. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine tablets and capsules had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.




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               Plaintiff Kenneth Hix (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Tennessee.    Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac and ranitidine tablets and capsules, from approximately 2000 to 2019

to treat heartburn, from CVS and Walgreens in Michigan. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Zantac and ranitidine tablets and capsules had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Keshia Paris-Bonner (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Tennessee. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac and ranitidine tablets and capsules, from approximately 2013 to 2020

to treat acid reflux associated with asthma, from Walgreens and CVS in Tennessee. As a direct

and proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Zantac and Ranitidine tablets and capsules had Defendants not breached their


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express and implied warranties, and misrepresented, omitted, concealed, and/or failed to timely

disclose the risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has

suffered concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Lisa Lyle (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Tennessee. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine syrup from approximately 2010 to 2020 to treat acid reflux, from Walgreens and CVS

in Tennessee. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used ranitidine syrup had Defendants not

breached their express and implied warranties, and misrepresented, omitted, concealed, and/or

failed to timely disclose the risks associated with the use of Ranitidine-Containing Products. Thus,

Plaintiff has suffered concrete injury as a direct and proximate result of Defendants’ wrongful

conduct.

               Plaintiff Pam Turner (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Tennessee. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2017 to 2020 to treat stomach issues, from

Food City in Tennessee. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff


                                                124
purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine tablets and capsules had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Rebecca Howard (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Tennessee. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac and ranitidine tablets and capsules, from approximately 2010 to

2019, to treat acid reflux, from Walmart in Tennessee. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Agapito It Aleman (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Texas. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

Zantac tablets and capsules, from approximately 2015 to 2017 to treat stomach issues and acid

reflux, from Walmart in Texas. As a direct and proximate result of Defendants’ breaches of


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express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Anselma Aldaco (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Texas. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

Zantac tablets and capsules and ranitidine tablets and capsules, from approximately 2014 to 2020

to treat a stomach ulcer, from Gaddis Pharmacy and Walmart in Texas. As a direct and proximate

result of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.




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               Plaintiff Christopher Johnson (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Texas.    Plaintiff purchased and used Ranitidine-Containing Products, including

prescription ranitidine tablets and capsules, from approximately 2015 to 2020 to treat acid reflux,

from a CVS pharmacy in Texas. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Darlene Haley (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Texas. Plaintiff purchased and used Ranitidine-Containing Products, including OTC ranitidine

tablets and capsules and Zantac tablets and capsules, from approximately 2017 to 2020 to treat

heartburn, from a Walmart in Texas. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,


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concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Debra Washington (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Texas. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

and prescription Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2015 to 2019 to treat acid reflux, from a CVS pharmacy and Walgreens in Texas.

As a direct and proximate result of Defendants’ breaches of express and implied warranties,

wrongful acts, fraudulent misrepresentations and omissions, and negligence in connection with

their development, design, manufacture, marketing, sale, handling, storage, distribution, and

promotion of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested

Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff

would not have purchased nor used Ranitidine-Containing Products had Defendants not breached

their express and implied warranties, and misrepresented, omitted, concealed, and/or failed to

timely disclose the risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff

has suffered concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Filiberto Garcia (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Texas.     Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac and ranitidine tablets and capsules, from approximately 2010 to 2020

to treat heartburn, from a Walmart in Texas. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed


                                                 128
herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Gina Martinez (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Texas. Plaintiff purchased and used Ranitidine-Containing Products, including prescription and

OTC Zantac and ranitidine tablets and capsules, from approximately 2012 to 2020 to treat

heartburn and acid reflux, from Walgreens, Walmart, and H-E-B in Texas. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Gregory Alan Wayland (for the purpose of this paragraph, “Plaintiff”), is

a citizen of Texas. Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC Zantac and ranitidine tablets and capsules, from approximately 1995 to 2019

to treat chronic pancreatitis, from Randalls grocery, CVS, Kroger, H-E-B, Costco, and Safeway in


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Texas. As a direct and proximate result of Defendants’ breaches of express and implied warranties,

wrongful acts, fraudulent misrepresentations and omissions, and negligence in connection with

their development, design, manufacture, marketing, sale, handling, storage, distribution, and

promotion of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested

Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff

would not have purchased nor used Ranitidine-Containing Products had Defendants not breached

their express and implied warranties, and misrepresented, omitted, concealed, and/or failed to

timely disclose the risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff

has suffered concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff James Bell (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Texas. Plaintiff purchased and used Ranitidine-Containing Products, including prescription and

OTC Zantac and ranitidine tablets and capsules, from approximately 2000 to 2020 to treat

heartburn and chronic rashes and hives, from a CVS pharmacy and Drug Shop Pharmacy in Texas

and Humana mail-order pharmacy. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.


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               Plaintiff Jorge Pacheco (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Texas. Plaintiff purchased and used Ranitidine-Containing Products, including prescription and

OTC Zantac and ranitidine tablets and capsules, from approximately 1977 to 2019 to treat ulcers,

from a VA pharmacy and Walgreens in Texas. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Liliana Del Valle (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Texas. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

Zantac tablets and capsules, from approximately 2016 to 2019 to treat heartburn, from a CVS and

Walgreens in Texas. As a direct and proximate result of Defendants’ breaches of express and

implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,


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concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Maria Eames (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Texas. Plaintiff purchased and used Ranitidine-Containing Products, including prescription and

OTC Zantac and ranitidine tablets and capsules, from approximately 2012 to 2019 to protect

stomach lining from anti-rejection medication after liver failure, from Walmart in Texas and

Humana mail-order pharmacy. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Marianella Villanueva (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Texas. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 1995 to 2020 to treat acid reflux, from an H-E-B, Walmart, CVS, and Family Dollar

in Texas. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in


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connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Marilyn Abraham (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Texas.    Plaintiff purchased and used Ranitidine-Containing Products, including

prescription Zantac tablets and capsules, from approximately 2017 to 2019 to treat acid reflux from

H-E-B and Walmart in Texas. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Ronda Lockett (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Texas. Plaintiff purchased and used Ranitidine-Containing Products, including prescription and


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OTC Zantac tablets and capsules, from approximately 1982 to 2020 to treat a bleeding ulcer and

heartburn, from a CVS, Walgreens, and Walmart in Texas, as well as in Oklahoma. As a direct

and proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Sylvia Yoshida (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Texas. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules and prescription ranitidine tablets and capsules, from approximately 2006 to

2017 to treat heartburn, from a Walmart, Dollar General, and Family Dollar in Texas. As a direct

and proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the




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risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Tina Howard (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Texas. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2010 to 2015 to treat heartburn and gastric

reflux, from a Walmart pharmacy in Texas. As a direct and proximate result of Defendants’

breaches of express and implied warranties, wrongful acts, fraudulent misrepresentations and

omissions, and negligence in connection with their development, design, manufacture, marketing,

sale, handling, storage, distribution, and promotion of Ranitidine-Containing Products as detailed

herein, Plaintiff purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff

to unsafe levels of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing

Products had Defendants not breached their express and implied warranties, and misrepresented,

omitted, concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Tonya Overstreet (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Texas.    Plaintiff purchased and used Ranitidine-Containing Products, including

prescription Zantac tablets and capsules and ranitidine tablets and capsules, from approximately

2010 to 2020 to treat heartburn, from a Save Mart in Texas. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing


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Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Scott Lillywhite (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Utah. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules, from approximately 2003 to 2019 to treat acid reflux, from Walgreens in

California and Utah and Smith’s and Exodus Healthcare in Utah. As a direct and proximate result

of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Teresa Waters (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Utah. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules and ranitidine tablets and capsules, from approximately 2017 to 2020 to treat

acid reflux, from a Walmart and family grocery store in Utah. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent


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misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

              Plaintiff Eric Ragis (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Vermont. Plaintiff purchased and used Ranitidine-Containing Products, including OTC

ranitidine tablets and capsules, from approximately 2010 to 2019 from CVS and Walgreens in

Vermont. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

              Plaintiff Lisa Ragis (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Vermont. Plaintiff purchased and used Ranitidine-Containing Products, including OTC ranitidine


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tablets and capsules, from approximately 2010 to 2019 from CVS and Walgreens in Vermont.

As a direct and proximate result of Defendants’ breaches of express and implied warranties,

wrongful acts, fraudulent misrepresentations and omissions, and negligence in connection with

their development, design, manufacture, marketing, sale, handling, storage, distribution, and

promotion of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested

Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff

would not have purchased nor used Ranitidine-Containing Products had Defendants not breached

their express and implied warranties, and misrepresented, omitted, concealed, and/or failed to

timely disclose the risks associated with the use of Ranitidine-Containing Products. Thus,

Plaintiff has suffered concrete injury as a direct and proximate result of Defendants’ wrongful

conduct.

              Plaintiff Ronald Ragis (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Vermont.    Plaintiff purchased and used Ranitidine-Containing Products, including OTC

ranitidine tablets and capsules, from approximately 2010 to 2019 from CVS and Walgreens in

Vermont. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-




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Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Cheryl Banks (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Virginia. Plaintiff purchased and used Ranitidine-Containing Products, including OTC and

prescription Zantac tablets and capsules and ranitidine tablets and capsules, from approximately

2010 to 2019 to treat acid reflux from Walmart in Virginia. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Karen Foster (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Virginia. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

Zantac and ranitidine tablets and capsules, from approximately 2016 to 2020 to treat a hernia, from

CVS in Virginia and OptumRx mail-order pharmacy. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing


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Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Lynn Costley (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Virginia. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2013 to 2019 to treat acid reflux, from Express

Scripts mail-order pharmacy. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Dan Zhovtis (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Virginia. Plaintiff purchased and used Ranitidine-Containing Products, including OTC Zantac

tablets and capsules and ranitidine tablets and capsules from approximately 2000 to 2019 to treat

heartburn and acid reflux, from Rite Aid in New York, ShopRite in New Jersey, and Walmart in

Virginia. As a direct and proximate result of Defendants’ breaches of express and implied


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warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Renee Clark (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Vermont. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2011 to 2020 to treat acid reflux, from a Rite

Aid and Walgreens in Vermont. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.




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               Plaintiff Bridget Peck (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Washington. Plaintiff purchased and used Ranitidine-Containing Products, including prescription

ranitidine tablets and capsules, from approximately 2012 to 2020 to treat gastroesophageal reflux

disease (GERD), from a Rite Aid and Walgreens in Washington. As a direct and proximate result

of Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Darlene Mohn (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Washington.      Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC ranitidine tablets and capsules, Zantac tablets and capsules, from

approximately 1985 to 2020 to treat stomach issues, from a Safeway, Walgreens, Albertson’s, and

Fred Meyer in Washington. As a direct and proximate result of Defendants’ breaches of express

and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had


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Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Dave Garber (for the purpose of this paragraph, “Plaintiff”), is a citizen of

Washington.    Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac and ranitidine tablets and capsules, from approximately 1990 to 2019

to treat acid reflux and heartburn, from a Chas Market Street Pharmacy and Safeway in

Washington. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Jonathan Ferguson (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Washington. Plaintiff purchased and used Ranitidine-Containing Products, including

OTC Zantac and ranitidine tablets and capsules, from approximately 1996 to 2017 to treat

heartburn, from Walmart, Costco, Walgreens, Kmart, and Safeway in Oregon and Washington.

As a direct and proximate result of Defendants’ breaches of express and implied warranties,


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wrongful acts, fraudulent misrepresentations and omissions, and negligence in connection with

their development, design, manufacture, marketing, sale, handling, storage, distribution, and

promotion of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested

Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff

would not have purchased nor used Ranitidine-Containing Products had Defendants not breached

their express and implied warranties, and misrepresented, omitted, concealed, and/or failed to

timely disclose the risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff

has suffered concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Robert Dewitt (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Washington. Plaintiff purchased and used Ranitidine-Containing Products, including Zantac

and ranitidine tablets and capsules, from approximately 1998 to 2020 to treat heartburn, from a

Costco in Oregon and Washington. As a direct and proximate result of Defendants’ breaches of

express and implied warranties, wrongful acts, fraudulent misrepresentations and omissions, and

negligence in connection with their development, design, manufacture, marketing, sale, handling,

storage, distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Steve Fischer (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Washington. Plaintiff purchased and used Ranitidine-Containing Products, including both


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prescription and OTC Zantac and ranitidine tablets and capsules, from approximately 2006 to 2019

to treat heartburn, from an Albertson’s, Costco, Walmart, Rite Aid, and Bartel Drugs in

Washington. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

               Plaintiff Mynetta Hastings (for the purpose of this paragraph, “Plaintiff”), is a

citizen of West Virginia. Plaintiff purchased and used Ranitidine-Containing Products, including

both OTC and prescription ranitidine tablets and capsules, from approximately 2003 to 2019 to

treat esophageal acid, from a CVS pharmacy in West Virginia and a Walmart in Ohio. As a direct

and proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-

Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the


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risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Tina Andrade (for the purpose of this paragraph, “Plaintiff”), is a citizen

of West Virginia.    Plaintiff purchased and used Ranitidine-Containing Products, including

prescription Zantac and ranitidine tablets and capsules, from approximately 2016 to 2020 to treat

heartburn and acid reflux, from a CVS in West Virginia. As a direct and proximate result of

Defendants’ breaches of express and implied warranties, wrongful acts, fraudulent

misrepresentations and omissions, and negligence in connection with their development, design,

manufacture, marketing, sale, handling, storage, distribution, and promotion of Ranitidine-

Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-Containing

Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have purchased

nor used Ranitidine-Containing Products had Defendants not breached their express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered concrete

injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Samantha Horton (for the purpose of this paragraph, “Plaintiff”), is a

citizen of Wisconsin. Plaintiff purchased and used Ranitidine-Containing Products, including both

prescription and OTC Zantac tablets and capsules and ranitidine tablets and capsules, from

approximately 2007 to 2009 to treat acid reflux, from a Walgreens in Wisconsin. As a direct and

proximate result of Defendants’ breaches of express and implied warranties, wrongful acts,

fraudulent misrepresentations and omissions, and negligence in connection with their

development, design, manufacture, marketing, sale, handling, storage, distribution, and promotion

of Ranitidine-Containing Products as detailed herein, Plaintiff purchased and ingested Ranitidine-


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Containing Products, which exposed Plaintiff to unsafe levels of NDMA. Plaintiff would not have

purchased nor used Ranitidine-Containing Products had Defendants not breached their express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of Ranitidine-Containing Products. Thus, Plaintiff has suffered

concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

               Plaintiff Wendy Quezaire (for the purpose of this paragraph, “Plaintiff”), is a citizen

of Wisconsin.     Plaintiff purchased and used Ranitidine-Containing Products, including

prescription and OTC Zantac tablets and capsules, ranitidine tablets and capsules, from

approximately 2005 to 2020 to treat acid reflux, from a Pick ‘n Save pharmacy and CVS in

Wisconsin. As a direct and proximate result of Defendants’ breaches of express and implied

warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

connection with their development, design, manufacture, marketing, sale, handling, storage,

distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiff

purchased and ingested Ranitidine-Containing Products, which exposed Plaintiff to unsafe levels

of NDMA. Plaintiff would not have purchased nor used Ranitidine-Containing Products had

Defendants not breached their express and implied warranties, and misrepresented, omitted,

concealed, and/or failed to timely disclose the risks associated with the use of Ranitidine-

Containing Products. Thus, Plaintiff has suffered concrete injury as a direct and proximate result

of Defendants’ wrongful conduct.

II.    DEFENDANTS

               Defendants are collectively composed of entities that invented, manufactured,

distributed, labeled, marketed, advertised, distributed, stored, and sold ranitidine.




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       A.      Brand-Name Manufacturer Defendants

               1.     Boehringer Ingelheim (BI)5

               Defendant Boehringer Ingelheim Pharmaceuticals, Inc., is a Delaware corporation

with its principal place of business located at 900 Ridgebury Road, Ridgefield, Connecticut 06877.

Defendant Boehringer Ingelheim Pharmaceuticals, Inc., is a citizen of Delaware and Connecticut.

               Defendant Boehringer Ingelheim Corporation is a Nevada corporation with its

principal place of business located at 900 Ridgebury Road, Ridgefield, Connecticut 06877.

Defendant Boehringer Ingelheim Corporation is a citizen of Nevada and Connecticut.

               Defendant Boehringer Ingelheim USA Corporation is a Delaware corporation with

its principal place of business located at 900 Ridgebury Road, Ridgebury, Connecticut 06877.

Boehringer Ingelheim USA Corporation is a citizen of Delaware and Connecticut.

               Defendant Boehringer Ingelheim International GmbH is a limited liability company

formed and existing under the laws of Germany, having a principal place of business at Binger

Strasse 173, 55216 Ingelheim AM Rhein, Rheinland-Phalz, Germany. Boehringer Ingelheim

International GmbH is a citizen of Germany.

               Defendant Boehringer Ingelheim Promeco, S.A. de C.V. is a foreign corporation

organized and existing under the laws of Mexico with its principal place of business located at

Maiz No. 49, Barrio Xaltocan, Xochimilco, Ciudad de Mexico, 16090 Mexico. Boehringer

Ingelheim Promeco, S.A. de C.V. is a citizen of Mexico.




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    Defendant Boehringer Ingelheim also manufactured generic ranitidine under an Abbreviated
New Drug Application (“ANDA”), ANDA 074662, as well as through its former subsidiary Ben
Venue Laboratories Inc. d/b/a Bedford Laboratories, ANDA 074764. Ben Venue Laboratories
Inc. is no longer in operation.

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               Boehringer Ingelheim Pharmaceuticals, Inc. is a direct or indirect subsidiary of

Boehringer Ingelheim Corporation and Boehringer Ingelheim USA Corporation, which are

themselves wholly owned, directly or indirectly, by Boehringer Ingelheim International GmbH.

Collectively, these entities shall be referred to as “Boehringer Ingelheim” or “BI.”

               2.      GlaxoSmithKline (GSK)

               Defendant GlaxoSmithKline LLC is a Delaware limited liability company with its

principal place of business located at Five Crescent Drive, Philadelphia, Pennsylvania 19112.

GlaxoSmithKline LLC’s sole member is GlaxoSmithKline (America) Inc., a Delaware corporation

with its principal place of business in that state. GlaxoSmithKline LLC is a citizen of Delaware.

               Defendant GlaxoSmithKline (America) Inc. is a Delaware corporation with its

principal place of business located at 1105 North Market Street, Suite 622, Wilmington, Delaware

19801. Defendant GlaxoSmithKline (America) Inc. is a citizen of Delaware.

               Defendant GlaxoSmithKline plc is a public limited company formed and existing

under the laws of the United Kingdom, having a principal place of business at 980 Great West

Road, Brentford Middlesex XO, TW8 9GS, United Kingdom. GlaxoSmithKline plc is a citizen

of the United Kingdom.

               GlaxoSmithKline LLC and GlaxoSmithKline (America) Inc. are subsidiaries of

GlaxoSmithKline plc. Collectively, these entities shall be referred to as “GSK.”

               3.      Pfizer

               Defendant Pfizer Inc. (“Pfizer”) is a Delaware corporation with its principal place

of business located at 235 East 42nd Street, New York, New York 10017. Pfizer Inc. is a citizen

of Delaware and New York.




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               4.      Sanofi

               Defendant Sanofi-Aventis U.S. LLC is a Delaware limited liability company with

its principal place of business located at 55 Corporate Drive, Bridgewater, New Jersey 08807.

Sanofi-Aventis U.S. LLC’s sole member is Sanofi U.S. Services, Inc., a Delaware corporation

with its principal place of business in New Jersey. Sanofi-Aventis U.S. LLC is a citizen of

Delaware and New Jersey.

               Defendant Sanofi US Services Inc. is a Delaware corporation with its principal

place of business located at 55 Corporate Drive, Bridgewater, New Jersey 08807. Sanofi US

Services Inc. is a citizen of Delaware and New Jersey.

               Defendant Sanofi S.A. is a corporation formed and existing under the laws of

France, having a principal place of business at 54 Rue La Boetie, 8th Arrondissement, Paris, France

75008. Sanofi S.A. is a citizen of France.

               Defendant Patheon Manufacturing Services LLC is a Delaware limited liability

company with its principal place of business located at 5900 Martin Luther King Jr. Hwy,

Greenville, North Carolina 27834. Thermo Fisher Scientific, Inc. is the sole member of Patheon

Manufacturing Services LLC. Thermo Fisher Scientific, Inc. is a Delaware corporation with its

principal place of business in Massachusetts. Patheon Manufacturing Services LLC is a citizen of

Delaware and Massachusetts.

               Sanofi-Aventis U.S. LLC and Sanofi US Services Inc. are subsidiaries of Sanofi

S.A.. Patheon Manufacturing Services LLC and Boehringer Ingelheim Promeco, S.A. de C.V.

packaged and manufactured the finished Zantac product for Sanofi. Collectively, these entities

shall be referred to as “Sanofi.”

                                     *          *           *


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               Defendants BI, GSK, Pfizer, and Sanofi, shall be referred to collectively as “Brand-

Name Manufacturer Defendants.” At all relevant times, Brand-Name Manufacturer Defendants

have conducted business and derived substantial revenue from design, manufacture, testing,

marketing, labeling, packaging, handling, distribution, storage, and/or sale of Ranitidine-

Containing Products, including Zantac, within each of the States of the United States, the District

of Columbia, and Puerto Rico.6

       B.      Generic Manufacturer Defendants

               1.      Ajanta

               Defendant Ajanta Pharma USA Inc. is a New Jersey corporation with its principal

place of business located at 440 U.S. Highway 22, Suite 150, Bridgewater, New Jersey 08807.

Ajanta Pharma USA Inc. is a citizen of New Jersey.

               Defendant Ajanta Pharma Ltd. is a corporation organized and existing under the

laws of India with its principal place of business located at 9 Ajanta House Charkop, Kandivili

(West), Mumbai, Maharashtra, India. Ajanta Pharma Ltd. is a citizen of India.

               Ajanta Pharma USA Inc. is a subsidiary of Ajanta Pharma Ltd. Collectively, these

entities shall be referred to as “Ajanta.”

               Defendant Ajanta purchased ranitidine and repackaged and/or relabeled it under

Defendant’s own brand. Therefore, all allegations referring to “Repackager Defendants” apply to

Defendant Ajanta.




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    All references to “States” include the District of Columbia and Puerto Rico.

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                2.     Amerisource

                Defendant Amerisource Health Services, LLC d/b/a American Health Packaging,

is a Delaware limited liability company with its principal place of business located at 2550 John

Glenn Avenue, Suite A, Columbus, Ohio 43217. Amerisource Health Services, LLC’s sole

member is AmerisourceBergen Corporation, a Delaware corporation with its principal place of

business in Pennsylvania. Amerisource Health Services, LLC is a citizen of Delaware and

Pennsylvania.

                Defendant AmerisourceBergen Corporation is a Delaware corporation with its

principal place of business located at 1300 Morris Drive, Chesterbrook, Pennsylvania 19087.

AmerisourceBergen Corporation is a citizen of Delaware and Pennsylvania.7

                Amerisource Health Services, LLC is a subsidiary of AmerisourceBergen

Corporation. Collectively, these entities shall be referred to as “Amerisource.”

                3.     Amneal

                Defendant Amneal Pharmaceuticals LLC is a Delaware limited liability company

with its principal place of business located at 400 Crossing Boulevard, Bridgewater, New Jersey

08807. The sole member of Amneal Pharmaceuticals LLC is Amneal Pharmaceuticals, Inc., a

Delaware corporation with its principal place of business in New Jersey. Amneal Pharmaceuticals

LLC is a citizen of Delaware and New Jersey.

                Defendant Amneal Pharmaceuticals of New York, LLC is a Delaware limited

liability company with its principal place of business located at 50 Horseblock Road, Brookhaven,

New York 11719. The membership interest of Amneal Pharmaceuticals of New York, LLC is


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   Defendant AmerisourceBergen Corporation is also a “Distributor Defendant” and is listed
again under that heading below.

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owned by Amneal Pharmaceuticals, Inc., through an intervening limited liability company.

Amneal Pharmaceuticals of New York, LLC is a citizen of Delaware and New Jersey.

              Defendant Amneal Pharmaceuticals, Inc., is a Delaware corporation with its

principal place of business located at 400 Crossing Boulevard, Bridgewater, New Jersey 08807.

Defendant Amneal Pharmaceuticals, Inc. is a citizen of Delaware and New Jersey.

              Amneal Pharmaceuticals LLC and Amneal Pharmaceuticals of New York, LLC are

subsidiaries of Amneal Pharmaceuticals, Inc. Collectively, these entities shall be referred to as

“Amneal.”

              Defendant Amneal purchased ranitidine and repackaged and/or relabeled it under

Defendant Amneal’s own brand. Therefore, all allegations referring to “Repackager Defendants”

apply to Defendant Amneal.

              4.      Apotex

              Defendant Apotex Corporation is a Delaware corporation with its principal place

of business located at 2400 N. Commerce Parkway, Suite 400, Weston, Florida 33326. Apotex

Corporation is a citizen of Delaware and Florida.

              Defendant Apotex Inc. is a corporation organized and existing under the laws of

Canada with its principal place of business located at 150 Signet Drive, Toronto, Ontario, M9L

1T9 Canada. Apotex Inc. is a citizen of Canada.

              Apotex Corporation is a subsidiary of Apotex Inc. Collectively, these entities shall

be referred to as “Apotex.”

              Defendant Apotex purchased ranitidine and repackaged and/or relabeled it under

Defendant Apotex’s own brand. Therefore, all allegations referring to “Repackager Defendants”

apply to Defendant Apotex.


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               5.      Aurobindo

               Defendant Auro Health LLC is a New Jersey limited liability company with is

principal place of business located at 2572 U.S. Highway 1, Lawrenceville, New Jersey 08648.

The sole member of Auro Health LLC is Aurobindo Pharma USA, Inc., a Delaware corporation

with its principal place of business located in New Jersey. Auro Health LLC is a citizen of

Delaware and New Jersey.

               Aurobindo Pharma USA, Inc. is a Delaware corporation with its principal place of

business located at 279 Princeton Highstown Road, East Windsor, New Jersey 08520. Aurobindo

Pharma USA, Inc. is a citizen of Delaware and New Jersey.

               Defendant Aurobindo Pharma, Ltd. is a corporation organized and existing under

the laws of India with its principal place of business located at Plot No. 2, Maitrivihar, Ameerpet,

Hyderabad-500038, Telangana, India. Aurobindo Pharma, Ltd. is a citizen of India.

               Auro Health LLC and Aurobindo Pharma USA, Inc. are subsidiaries of Aurobindo

Pharma, Ltd. Collectively, these entities shall be referred to as “Aurobindo.”

               Defendant Aurobindo purchased ranitidine and repackaged and/or relabeled it

under Defendant Aurobindo’s own brand. Therefore, all allegations referring to “Repackager

Defendants” apply to Defendant Aurobindo.

               6.      Contract Pharmacal

               Defendant Contract Pharmacal Corp. is a New York corporation with its principal

place of business located at 135 Adams Avenue, Hauppauge, New York 11788. Contract

Pharmacal Corp. is a citizen of New York.




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               7.      Dr. Reddy’s

               Defendant Dr. Reddy’s Laboratories Inc. is a New Jersey corporation with its

principal place of business located at 107 College Road East, Princeton, New Jersey 08540. Dr.

Reddy’s Laboratories Inc. is a citizen of New Jersey.

               Defendant Dr. Reddy’s Laboratories, Ltd. is corporation organized and existing

under the laws of India with its principal place of business located at 8-2-337, Road No. 3, Banjara

Hills, Hyderabad Telangana 500 034, India. Dr. Reddy’s Laboratories, Ltd. is a citizen of India.

               Dr. Reddy’s Laboratories Inc. and Dr. Reddy’s Laboratories, Ltd. are subsidiaries

of Dr. Reddy’s Laboratories SA., a non-party. Collectively, these entities shall be referred to as

“Dr. Reddy’s.”

               Defendant Dr. Reddy’s purchased ranitidine and repackaged and/or relabeled it

under Defendant Dr. Reddy’s own brand. Therefore, all allegations referring to “Repackager

Defendants” apply to Defendant Dr. Reddy’s.

               8.      Geri-Care

               Defendant Geri-Care Pharmaceuticals, Corp. (“Geri-Care”) is a New York

corporation with its principal place of business located at 1650 63rd Street, Brooklyn, New York

11204. Geri-Care is a citizen of New York.

               Defendant Geri-Care purchased ranitidine and repackaged and/or relabeled it under

Geri-Care’s own brand. Therefore, all allegations referring to “Repackager Defendants” apply

Geri-Care.




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               9.     Glenmark

               Defendant Glenmark Pharmaceuticals, Inc., USA is a Delaware corporation with

its principal place of business located at 750 Corporate Drive, Mahwah, New Jersey 07430.

Glenmark Pharmaceuticals, Inc., USA is a citizen of Delaware and New Jersey

               Glenmark Pharmaceuticals, Inc., USA is a subsidiary of Glenmark Pharmaceuticals

Ltd., a non-party, and shall be referred to as “Glenmark.”

               Defendant Glenmark purchased ranitidine and repackaged and/or relabeled it under

Defendant Glenmark’s own brand.          Therefore, all allegations referring to “Repackager

Defendants” apply to Defendant Glenmark.

               10.    Heritage

               Defendant Heritage Pharma Labs Inc. is a New Jersey corporation with its principal

place of business located at 21 Cotters Lane, Suite B, East Brunswick, New Jersey, 08816-2050.

Heritage Pharma Labs Inc. is a citizen of New Jersey.

               Defendant Heritage Pharmaceuticals, Inc. is a Delaware corporation with its

principal place of business located at 21 Cotters Lane, Suite B, East Brunswick, New Jersey 08816-

2050. Heritage Pharmaceuticals, Inc. is a citizen of Delaware and New Jersey

               Heritage Pharma Labs Inc. and Heritage Pharmaceuticals, Inc. are subsidiaries of

Emcure Pharmaceuticals Ltd., a non-party. Collectively, these entities shall be referred to as

“Heritage.”

               11.    Hi-Tech

               Defendant Hi-Tech Pharmacal Co., Inc. (“Hi-Tech”) is a Delaware corporation with

its principal place of business located at 369 Bayview Avenue, Amityville, New York 11701. Hi-

Tech is a citizen of Delaware and New York.


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               12.     Lannett

               Defendant Lannett Co., Inc. (“Lannett”) is a Delaware corporation with its principal

place of business located at 9000 State Road, Philadelphia, Pennsylvania 19136. Lannett is a

citizen of Delaware and Pennsylvania.

               Defendant Lannett purchased ranitidine and repackaged and/or relabeled it under

Defendant Lannett’s own brand. Therefore, all allegations referring to “Repackager Defendants”

apply to Defendant Lannett.

               13.     Mylan

               Defendant Mylan Pharmaceuticals, Inc. is a West Virginia corporation with its

principal place of business located at 781 Chestnut Ridge Road, Morgantown, West Virginia

26505. Mylan Pharmaceuticals, Inc. is a citizen of West Virginia.

               Defendant Mylan Institutional LLC is a Delaware limited liability company with

its principal place of business located at 1718 Northrock Court, Rockford, Illinois 61103. The sole

member of Mylan Institutional LLC is Mylan, Inc., a Pennsylvania corporation with is principal

place of business in that state. Mylan Institutional LLC is a citizen of Pennsylvania.

               Defendant Mylan, Inc. is a Pennsylvania corporation with its principal place of

business located at 1000 Mylan Boulevard, Canonsburg, Pennsylvania 15317. Mylan, Inc. is a

citizen of Pennsylvania.

               Defendant Mylan Laboratories Ltd. is a corporation organized and existing under

the laws of India with its principal place of business located at Plot No. 564/A/22, Road No. 92,

Jubilee Hills 500 034, Hyderabad, India. Mylan Laboratories Ltd. is a citizen of India.




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               Mylan Pharmaceuticals, Inc., Mylan Institutional LLC, Mylan Laboratories Ltd.,

and Mylan, Inc. are subsidiaries of Mylan N.V., a non-party. Collectively, these entities shall be

referred to as “Mylan.”

               Defendant Mylan purchased ranitidine and repackaged and/or relabeled it under

Defendant Mylan’s own brand. Therefore, all allegations referring to “Repackager Defendants”

apply to Defendant Mylan.

               14.    Nostrum

               Defendant Nostrum Laboratories Inc. (“Nostrum”) is a New Jersey corporation

with its principal place of business located at 1370 Hamilton Street, Summerset, New Jersey

08873. Nostrum Laboratories Inc. is a citizen of New Jersey.

               Defendant Nostrum purchased ranitidine and repackaged and/or relabeled it under

Defendant Nostrum’s own brand. Therefore, all allegations referring to “Repackager Defendants”

apply to Defendant Nostrum.

               15.    PAI

               Defendant PAI Holdings, LLC f/k/a Pharmaceutical Associates, Inc., (“PAI”) is a

South Carolina limited liability company with its principal place of business located at 1700

Perimeter Road, Greenville, South Carolina 29605. Upon information and belief, the member(s)

of PAI and the company itself are citizens of South Carolina.

               16.    Par Pharmaceutical

               Defendant Par Pharmaceutical Inc. is a New York corporation with its principal

place of business located at 6 Ram Ridge Road, Chestnut Ridge, New York 10977.                Par

Pharmaceutical Inc. is a citizen of New York.




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               Par Pharmaceutical Inc. is a subsidiary of Endo International PLC, a non-party.

Collectively, these entities are referred to as “Par Pharmaceutical.”

               17.     Perrigo

               Defendant L. Perrigo Co. is a Michigan corporation with its principal place of

business located at 515 Eastern Avenue, Allegan, Michigan 49010. L. Perrigo Co. is a citizen of

Michigan.

               Defendant Perrigo Research & Development Company is a Michigan corporation

with its principal place of business located at 515 Eastern Avenue, Allegan, Michigan 49010.

Perrigo Research & Development Company is a citizen of Michigan.

               L. Perrigo Co., and Perrigo Research & Development Company are subsidiaries of

Perrigo Company, plc., a non-party. Collectively, these entities shall be referred to as “Perrigo.”

               Defendant Perrigo purchased ranitidine and repackaged and/or relabeled it under

Defendant Perrigo’s own brand. Therefore, all allegations referring to “Repackager Defendants”

apply to Defendant Perrigo.

               18.     Sandoz

               Defendant Sandoz Inc. is a Colorado corporation with its principal place of business

located at 100 College Road West, Princeton, New Jersey 08540. Sandoz Inc. is a citizen of

Colorado and New Jersey.

               Sandoz Inc. is a subsidiary of Novartis AG., a non-party, and shall be referred to as

“Sandoz.”




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               19.     Strides

               Defendant Strides Pharma, Inc. is a New Jersey corporation with its principal place

of business located at 2 Tower Center Boulevard, Suite 1102, East Brunswick, New Jersey 08816.

Strides Pharma, Inc. is a citizen of New Jersey.

               Defendant Strides Pharma Global Pte. Ltd. is a corporation organized and existing

under the laws of Singapore with its principal place of business located at 8 Eu Tong Sen Street,

#15-93, The Central, Singapore 059818. Strides Pharma Global Pte. Ltd. is a citizen of Singapore.

               Defendant Strides Pharma Science Ltd. is a corporation organized and existing

under the laws of India with its principal place of business located at Strides House, Bilekahalli,

Bannerghatta Road, Bangalore 560 076, India. Strides Pharma Science Ltd. is a citizen of India.

               Strides Pharma, Inc., Strides Pharma Global Pte. Ltd, and Strides Pharma Science

Ltd. are subsidiaries of Strides Arcolab International Ltd., a non-party. Collectively, these entities

shall be referred to as “Strides.”

               Defendant Strides purchased ranitidine and repackaged and/or relabeled it under

Defendant Strides’s own brand. Therefore, all allegations referring to “Repackager Defendants”

apply to Defendant Strides.

               20.     Taro Pharmaceutical

               Defendant Taro Pharmaceuticals U.S.A., Inc. is a New York corporation with its

principal place of business located at Three Skyline Drive, Hawthorne, New York 10532. Taro

Pharmaceuticals U.S.A., Inc. is a citizen of New York.

               Defendant Ranbaxy Inc. is a Texas corporation with its principal place of business

located at 2 Independence Way, Princeton, New Jersey 08540. Ranbaxy Inc. is a citizen of Texas

and New Jersey.


                                                 160
                Defendant Sun Pharmaceutical Industries, Inc., f/k/a Ranbaxy Pharmaceuticals

Inc., is a Delaware corporation with is principal place of business located at 2 Independence Way,

Princeton, New Jersey 08540. Sun Pharmaceutical Industries, Inc. is a citizen of Delaware and

New Jersey.

                Defendant Sun Pharmaceutical Industries Ltd. is corporation organized and existing

under the laws of India with its principal place of business located at Western Express Highway

Sun House, CTS No 201 B/1 Goregaon East, Mumbai, 400 063 India. Sun Pharmaceutical

Industries Ltd. is a citizen of India.

                Defendant Taro Pharmaceutical Industries Ltd. is a corporation organized and

existing under the laws of Israel with its principal place of business located at 14 Hakitor Street,

Haifa Bay 2624761, Israel. Taro Pharmaceutical Industries Ltd. is a citizen of Israel.

                Taro Pharmaceuticals U.S.A., Inc., Ranbaxy Inc., Sun Pharmaceutical Industries,

Inc. (f/k/a Ranbaxy Pharmaceuticals Inc.), and Sun Pharmaceutical Industries Ltd. are subsidiaries

of Taro Pharmaceutical Industries Ltd. Collectively, these entities shall be referred to as “Taro

Pharmaceutical.”

                21.     Teva

                Defendant Actavis Mid Atlantic LLC is a Delaware limited liability company with

its principal place of business located at 1877 Kawai Rd., Lincolnton, North Carolina 28092. The

membership interest of Actavis Mid Atlantic LLC is owned by Teva Pharmaceuticals U.S.A., Inc.,

either directly or through an intervening limited liability company. Teva Pharmaceuticals U.S.A.,

Inc. is a Delaware corporation with its principal place of business in Pennsylvania. Actavis Mid

Atlantic LLC is a citizen of Delaware and Pennsylvania.




                                                161
                Defendant Teva Pharmaceuticals U.S.A., Inc. is a Delaware corporation with its

principal place of business located at 400 1090 Horsham Road, North Wales, Pennsylvania 19454.

Teva Pharmaceuticals U.S.A., Inc. is a citizen of Delaware and Pennsylvania.

                Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal

place of business located at 400 Interpace Parkway, Building A, Parsippany, New Jersey 07054.

Watson Laboratories, Inc. is a citizen of Nevada and New Jersey.

                Defendant Teva Pharmaceutical Industries Ltd. is a corporation organized and

existing under the laws of Israel with its principal place of business located at 5 Basel Street, Petach

Tikva, Israel, 4951033. Teva Pharmaceutical Industries Ltd. is a citizen of Israel.

                Actavis Mid Atlantic LLC, Teva Pharmaceuticals U.S.A., Inc., and Watson

Laboratories, Inc. are subsidiaries of Teva Pharmaceutical Industries Ltd. Collectively, these

entities shall be referred to as “Teva.”

                22.     Torrent

                Defendant Torrent Pharma Inc. is a Delaware corporation with its principal place

of business located at 150 Allen Road, Suite 102, Basking Ridge, New Jersey 07920. Torrent

Pharma Inc. is a citizen of Delaware and New Jersey.

                23.     Wockhardt

                Defendant Wockhardt USA LLC is a Delaware limited liability company with its

principal place of business located at 20 Waterview Boulevard, Parsippany, New Jersey 07054.

Upon information and belief, the sole member of Wokhardt USA LLC is Wockhardt USA, Inc., a

Delaware corporation with its principal place of business in New Jersey. Wockhardt USA LLC is

a citizen of Delaware and New Jersey.




                                                  162
               Wockhardt USA, Inc. is a Delaware corporation with its principal place of business

located at 135 Route 202/206, Bedminster, New Jersey 07921. Wockhardt USA, Inc. is a citizen

of Delaware and New Jersey.

               Defendant Wockhardt, Ltd. is a corporation organized and existing under the laws

of India with its principal place of business located at Wockhardt Towers, Bandra Kurla Complex,

Bandra (East), Mumbai 400051, Maharashtra, India. Wockhardt, Ltd. is a citizen of India.

               Wockhardt USA LLC and Wockhardt USA, Inc. are subsidiaries of Wockhardt,

Ltd. Collectively, these entities shall be referred to as “Wockhardt.”

               Defendant Wockhardt purchased ranitidine and repackaged and/or relabeled it

under Defendant Wockhardt’s own brand. Therefore, all allegations referring to “Repackager

Defendants” apply to Defendant Wockhardt.

               24.     Zydus-Cadila

               Defendant Zydus Pharmaceuticals (USA) Inc. is a New Jersey corporation with its

principal place of business located at 73 Route 31 North, Pennington, New Jersey 08534. Zydus

Pharmaceuticals (USA) Inc. is a citizen of New Jersey.

               Cadila Healthcare Ltd. is a corporation organized and existing under the laws of

India with its principal place of business located at Zydus Tower, Satellite Cross Roads, Sarkhej-

Gandhinagar Highway, Amedabad 380 015, India. Cadila Healthcare Ltd. is a citizen of India.

               Zydus Pharmaceuticals (USA) Inc. is a subsidiary of Cadila Healthcare Ltd. These

entities operate under the trade name of, and shall be referred to as, “Zydus-Cadilla.”

               Defendant Zydus-Cadilla purchased ranitidine and repackaged and/or relabeled it

under Defendant Zydus-Cadilla’s own brand. Therefore, all allegations referring to “Repackager

Defendants” apply to Defendant Zydus-Cadilla.


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                                        *       *      *

               The Defendants identified in paragraphs 277 to 356 above shall be referred to

collectively as “Generic Manufacturer Defendants.” At all relevant times, Generic Manufacturer

Defendants have conducted business and derived substantial revenue from their design,

manufacture, testing, marketing, labeling, packaging, handling, distribution, storage, and/or sale

of Ranitidine-Containing Products within each of the States.

       C.      Distributor Defendants

               Distributors purchase bulk Ranitidine-Containing Products from Brand-Name

Manufacturer Defendants and Generic Manufacturer Defendants and then sell to Retailer

Defendants. The distributor market is extremely concentrated, with three entities controlling

approximately 92% of the volume: Defendants AmerisourceBergen Corporation; Cardinal Health,

Inc.; and McKesson Corporation.

               1.     AmerisourceBergen

               Defendant AmerisourceBergen Corporation (“AmerisourceBergen”) is a Delaware

corporation with its principal place of business located at 1300 Morris Drive, Chesterbrook,

Pennsylvania 19087. AmerisourceBergen is a citizen of Delaware and Pennsylvania. 8

               AmerisourceBergen purchased ranitidine and repackaged and/or relabeled it under

AmerisourceBergen’s own brand. Therefore, all allegations referring to “Repackager Defendants”

apply to AmerisourceBergen.




8
   Defendant AmerisourceBergen is also a “Generic Manufacturer Defendant” and is also listed
under that heading above.

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               2.      Cardinal Health

               Defendant, Cardinal Health, Inc. (“Cardinal Health”) is an Ohio corporation with

its principal place of business located at 7000 Cardinal Place, Dublin, Ohio 43017. Cardinal

Health, Inc. is a citizen of Ohio.

               Cardinal Health purchased ranitidine and repackaged and/or relabeled it under

Cardinal Health’s own brand. Therefore, all allegations referring to “Repackager Defendants”

apply to Defendant Cardinal Health.

               3.      Chattem

               Defendant Chattem, Inc. (“Chattem”) is a Tennessee corporation with its principal

place of business located at 1715 West 38th Street, Chattanooga, Tennessee 37409. Chattem is a

citizen of Tennessee. Chattem is a wholly owned subsidiary of Sanofi S.A., a French corporation

otherwise described above.

               Chattem purchased ranitidine and repackaged and/or relabeled it under Chattem’s

own brand. Therefore, all allegations referring to “Repackager Defendants” apply to Chattem.

               4.      McKesson

               Defendant McKesson Corporation (“McKesson”) is a Delaware corporation with

its principal place of business located at 6535 North State Highway 161, Irving, Texas 75039.

McKesson is a citizen of Delaware and Texas.

               McKesson purchased ranitidine and repackaged and/or relabeled it under

McKesson’s own brand. Therefore, all allegations referring to “Repackager Defendants” apply to

McKesson.

                                         *      *     *




                                               165
               Defendants, AmerisourceBergen, Cardinal Health, Chattem, and McKesson, shall

be referred to collectively as “Distributor Defendants.”       At all relevant times, Distributor

Defendants have conducted business and derived substantial revenue from their testing, marketing,

labeling, packaging, handling, distribution, storage, and/or sale of Ranitidine-Containing Products

within each of the States.

       D.      Retailer Defendants

               Retailers derived substantial revenue from marketing, handling, distributing,

storing, and selling of Ranitidine-Containing Products within each of the States and territories of

the United States. As described below, many retailers also used their own brand names on

relabeled Ranitidine-Containing Products.       They stand in direct contractual privity with

consumers, insofar as retail pharmacies are the entities that dispensed or sold and received payment

for the adulterated and/or misbranded Ranitidine-Containing Products for which Plaintiffs and

Class members paid.

               1.      Albertson’s

               Defendant Albertson’s Companies, Inc. is a Delaware corporation with a its

principal place of business located at 132 East Lake Street, McCall, Idaho 83638. Albertson’s

Companies, Inc. is a citizen of Delaware and Idaho.

               Defendant Safeway, Inc. is a Delaware corporation with its principal place of

business located at 5918 Stoneridge Mall Road, Pleasanton, California 94588. Safeway, Inc. is a

citizen of Delaware and California.

               Defendant Safeway, Inc. purchased ranitidine and repackaged and/or relabeled it

under Defendant Safeway’s own brand. Therefore, all allegations referring to “Repackager

Defendants” apply to Defendant Safeway, Inc.


                                                166
               Safeway, Inc. is a subsidiary of Albertson’s Companies, Inc. Collectively, these

entities shall be referred to as “Albertson’s.”

               2.      Amazon

               Defendant Amazon.com, Inc. is Delaware corporation with its principal place of

business located at 410 Terry Avenue North, Seattle, Washington 98109. Amazon.com, Inc. is a

citizen of Delaware and Washington.

               3.      Costco

               Defendant Costco Wholesale Corporation (“Costco”) is a Washington corporation

with its principal place of business located at 999 Lake Drive, Issaquah, Washington 98027.

Costco is a citizen of Washington.

               Defendant Costco purchased ranitidine and repackaged and/or relabeled it under

Defendant Costco’s own brand. Therefore, all allegations referring to “Repackager Defendants”

apply to Defendant Costco.

               4.      CVS

               Defendant CVS Pharmacy, Inc. (“CVS”) is a Delaware corporation with its

principal places of business located at One CVS Drive, Woonsocket, Rhode Island 02895.

Defendant CVS is a citizen of Delaware and Rhode Island.

               Defendant CVS purchased ranitidine and repackaged and/or relabeled it under

Defendant CVS’s own brand. Therefore, all allegations referring to “Repackager Defendants”

apply to Defendant CVS.

               CVS is the largest pharmacy healthcare provider in the United States. In 2015,

CVS Health Corporation acquired Target Corporation’s pharmacies and clinics. CVS defined

herein includes any current or former Target Corporation pharmacy.


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                5.      Dollar General

                Defendant Dolgencorp, LLC (“Dollar General”) is a Kentucky limited liability

company with its principal place of business located at 100 Mission Ridge, Goodlettsville,

Tennessee 37072. Dollar General Corporation is the sole member of Dolgencorp, LLC. Dollar

General is a Tennessee corporation with its principal place of business in Tennessee. Dollar

General is a citizen of Tennessee.

                Defendant Dollar General purchased ranitidine and repackaged and/or relabeled it

under Defendant Dollar General’s own brand. Therefore, all allegations referring to “Repackager

Defendants” apply to Defendant Dollar General.

                6.      Dollar Tree

                Defendant Family Dollar, Inc. is a North Carolina corporation with its principal

place of business located at 500 Volvo Parkway, Chesapeake, Virginia 23320. Family Dollar, Inc.

is a citizen of North Carolina and Virginia.

                Defendant Family Dollar, Inc. purchased ranitidine and repackaged and/or

relabeled it under Defendant Family Dollar, Inc.’s own brand. Therefore, all allegations referring

to “Repackager Defendants” apply to Defendant Family Dollar, Inc.

                Defendant Dollar Tree Stores, Inc. is a Virginia corporation with its principal place

of business located at 500 Volvo Parkway, Chesapeake, Virginia 23320. Dollar Tree Stores, Inc.

is a citizen of Virginia.

                Family Dollar, Inc. is a subsidiary of Dollar Tree Stores, Inc., and shall collectively

be referred to as “Dollar Tree.”




                                                 168
               7.     Giant Eagle

               Defendant Giant Eagle, Inc. (“Giant Eagle”) is a Pennsylvania corporation with its

principal place of business located at 101 Kappa Drive, Pittsburgh, Pennsylvania 15238.

Defendant Giant Eagle, Inc. is a citizen of Pennsylvania.

               8.     HEB

               Defendant H-E-B LP f/k/a HEB Grocery Company (“HEB”) is a Texas limited

partnership with its principal place of business located at 646 South Main Avenue, San Antonio,

Texas 78204. Upon information and belief, the partners of H-E-B LP are citizens of Texas and,

thus, H-E-B LP is a citizen of Texas.

               Defendant HEB purchased ranitidine and repackaged and/or relabeled it under

Defendant HEB’s own brand. Therefore, all allegations referring to “Repackager Defendants”

apply to Defendant HEB.

               9.     Hy-Vee

               Defendant Hy-Vee, Inc. is an Iowa corporation with its principal place of business

located at 5820 Westown Parkway, West Des Moines, Iowa 50266. Hy-Vee, Inc. is a citizen of

Iowa.

               10.    Kmart

               Defendant Kmart Corporation is a Michigan corporation with its principal place of

business located at 3333 Beverly Road, Hoffman Estates, IL 60179. Kmart Corporation is a citizen

of Michigan and Illinois.

               11.    Kroger

               Defendant The Kroger Co. is an Ohio corporation with its principal place of

business located at 1014 Vine Street, Cincinnati, Ohio 45202. The Kroger Co. is a citizen of Ohio.



                                               169
               Defendant The Kroger Co. purchased ranitidine and repackaged and/or relabeled it

under Defendant The Kroger Co.’s own brand. Therefore, all allegations referring to “Repackager

Defendants” apply to Defendant The Kroger Co.

               Defendant Smith’s Food and Drug Centers, Inc. is an Ohio corporation with its

principal place of business located at 1014 Vine Street, Cincinnati, Ohio 45202. Smith’s Food and

Drug Centers, Inc. is a citizen of Ohio.

               Defendant Fred Meyer Stores, Inc. is an Ohio corporation with its principal place

of business located at 3800 SE 22nd Avenue, Portland, Oregon 97202. Fred Meyer Stores, Inc. is

a citizen of Ohio and Oregon.

               Smith’s Food and Drug Centers, Inc. and Fred Meyer Stores, Inc. are subsidiaries

of the Kroger Co. Collectively, these entities shall be referred to as “Kroger.”

               12.     Medicine Shoppe

               The Medicine Shoppe International, Inc. is a Delaware corporation with its

principal place of business located at 1100 North Lindbergh Boulevard, St. Louis, Missouri 63132.

The Medicine Shoppe International, Inc. is a citizen of Delaware and Missouri.

               The Medicine Shoppe International, Inc. is a subsidiary of Cardinal Health.9 and

shall be referred to as “Medicine Shoppe.”

               13.     Price Chopper

               Defendant Price Chopper Operating Co., Inc. is a New York corporation with its

principal place of business located at 461 Nott Street, Schenectady, New York 12308. Price

Chopper Operating Co., Inc. is a citizen of New York.


9
   Cardinal Health, Inc. is also a “Distributor Defendant” and is listed again under that heading
above.

                                                170
                14.     Publix

                Defendant Publix Supermarkets, Inc. (“Publix”) is a Florida corporation with its

principal place of business located at 3300 Publix Corporate Parkway, Lakeland, Florida 33811.

Publix is a citizen of Florida.

                Defendant Publix purchased ranitidine and repackaged and/or relabeled it under

Defendant Publix’s own brand. Therefore, all allegations referring to “Repackager Defendants”

apply to Defendant Publix.

                15.     Rite Aid

                Defendant Rite Aid Corporation (“Rite Aid”) is a Delaware corporation with its

principal place of business located at 30 Hunter Lane, Camp Hill, Pennsylvania 17011. Rite Aid

is a citizen of Delaware and Pennsylvania.

                Defendant Rite Aid purchased ranitidine and repackaged and/or relabeled it under

Defendant Rite Aid Corporation’s own brand. Therefore, all allegations referring to “Repackager

Defendants” apply to Defendant Rite Aid.

                16.     Shop-Rite

                Defendant Shop-Rite Supermarkets, Inc. is a New Jersey corporation with its

principal place of business located at 5000 Riverside Drive, Keasbey, New Jersey 08332.

Defendant Shop-Rite Supermarkets, Inc. is citizen of New Jersey.

                Shop-Rite Supermarkets, Inc. is a subsidiary of Wakefern Food Corporation, a non-

party, and shall be referred to as “Shop-Rite.”




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               17.       Walgreens

               Defendant Walgreen Co. is a Delaware corporation with its principal place of

business located at 108 Wilmot Road, Deerfield, Illinois 60015. Walgreen Co. is a citizen of

Delaware and Illinois.

               Defendant Duane Reade, Inc. is a Delaware corporation with its principal place of

business located at 108 Wilmot Road, Deerfield, Illinois 60015. Duane Reade, Inc. is a citizen of

Delaware and Illinois.

               Defendant Walgreens Boots Alliance, Inc. is a Delaware corporation with its

principal place of business located at 108 Wilmot Road, Deerfield, Illinois 60015. Walgreens

Boots Alliance, Inc. is a citizen of Delaware and Illinois.

               Defendant Walgreens Boots Alliance, Inc. purchased ranitidine and repackaged

and/or relabeled it under Defendant Walgreens Boots Alliance, Inc.’s own brand. Therefore, all

allegations referring to “Repackager Defendants” apply to Defendant Walgreens Boots Alliance,

Inc.

               Walgreen Co. and Duane Reade, Inc. are subsidiaries of Walgreens Boots Alliance,

Inc. Collectively, these entities shall be referred to as “Walgreens.”

               18.       Walmart

               Defendant Walmart Inc. f/k/a Wal-Mart Stores, Inc. is a Delaware corporation with

its principal place of business located at 702 SW 8th Street, Bentonville, Arkansas 72716. Walmart

Inc. is a citizen of Delaware and Arkansas.

               Defendant Sam’s West, Inc. is an Arkansas corporation with its principal place of

business located at 702 SW 8th Street, Bentonville, Arkansas 72716. Sam’s West, Inc. is a citizen

of Arkansas.


                                                172
                Sam’s West, Inc. is a subsidiary of Walmart, Inc. Collectively, these entities shall

be referred to as “Walmart.”

                Defendant Walmart purchased ranitidine and repackaged and/or relabeled it under

Defendant’s own brand. Therefore, all allegations referring to “Repackager Defendants” apply to

Defendant Walmart.

                19.     Winn Dixie

                Defendant Winn Dixie Stores, Inc. is a Florida corporation with its principal place

of business located 8928 Prominence Parkway, Building 200, Jacksonville, Florida 32256. Winn

Dixie Stores, Inc. is a citizen of Florida.

                Winn Dixie Stores, Inc. is a subsidiary of Southeastern Grocers, Inc., a non-party,

and shall be referred to as “Winn Dixie.”

                                              *    *     *

                Defendants identified in paragraphs 369 to 414 above shall be referred to

collectively as “Retailer Defendants.” At all relevant times, Retailer Defendants have conducted

business and derived substantial revenue from marketing, handling, distributing, storing, and

selling of Ranitidine-Containing Products within each of the States and territories of the United

States.

          E.    Repackager Defendants

                Repackagers take a finished or unfinished drug product and repackage that product

into a different container without manipulating, changing, or affecting the composition or

formulation of the drug. Relabelers change the content on an original manufacture’s label to note

the drug is distributed or sold under the relabeler’s own name. Repackagers and relabelers,

together, will be referred to as “Repackager Defendants,” and will include Generic Manufacturer


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Defendants, Distributor Defendants, and Retailer Defendants above who are also relabelers and/or

repackagers.

                1.      Denton Pharma

                Defendant Denton Pharma Inc. d/b/a Northwind Pharmaceuticals (“Denton

Pharma”) is a New York corporation with its principal place of business located at 119 Creamery

Road, North Blenheim, New York 12131. Denton Pharma is a citizen of New York.

                2.      GSMS

                Defendant Golden State Medical Supply, Inc. (“GSMS”) is a California corporation

with its principal place of business located at 5187 Camino Ruiz, Camarillo, California 93012.

GSMS is a citizen of California.

                3.      Precision Dose

                Defendant Precision Dose Inc. (“Precision Dose”) is an Illinois corporation with its

principal place of business located at 722 Progressive Lane South Beloit, Illinois 61080. Precision

Dose is a citizen of Illinois.

                                          *      *       *

                The Defendants identified in paragraphs 417 to 419 above, combined with those

Generic Manufacturer Defendants, Distributor Defendants, and Retailer Defendants above who

are also relabelers and/or repackagers, shall be referred to collectively as “Repackager

Defendants.” At all relevant times, Repackager Defendants have conducted business and derived

substantial revenue from the testing, marketing, labeling, packaging, handling, distributing,

storing, and/or selling of Ranitidine-Containing Products within each of the States and territories

of the United States.




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III.   FACTUAL ALLEGATIONS10

       A.      The Creation of Ranitidine-Containing Products and Their Introduction to
               the Market

               1.      GSK Developed Zantac Through a Flurry of Aggressive
                       Marketing Manuevers

               Defendants designed, manufactured, tested, marketed, labeled, packaged, handled,

distributed, stored, and/or sold prescription or OTC ranitidine under the brand name Zantac or a

generic equivalent by either prescription or OTC. Defendants sold ranitidine in the following

forms: injection, syrup, granules, tablets, and/or capsules.

               Ranitidine belongs to a class of medications called histamine H2-receptor

antagonists (“H2 blockers”), which decrease the amount of acid produced by cells in the lining of

the stomach. Other drugs within this class include cimetidine (branded Tagamet), famotidine

(Pepcid), and nizatidine (Tazac).

               GSK11-predecessor Smith, Kline & French discovered and developed Tagamet, the

first H2 blocker and the prototypical histamine H2 receptor antagonist from which the later

members of the class were developed.

               Zantac was developed specifically in response to the success of cimetidine.

               In 1976, scientist John Bradshaw, on behalf of GSK-predecessor Allen & Hanburys

Ltd., synthesized and discovered ranitidine.



10
    Plaintiffs’ reference to federal law herein is not an attempt to enforce it but to demonstrate that
their claims do not impose obligations on Defendants beyond what is already required.
11
   GSK, as it’s known today, was created through a series of mergers and acquisitions. In 1989,
Smith, Kline & French merged with the Beecham Group to form SmithKline Beecham plc. In
1995, Glaxo merged with the Wellcome Foundation to become Glaxo Wellcome plc. In 2000,
Glaxo Wellcome plc merged with SmithKline Beecham plc to form GlaxoSmithKline plc and
GlaxoSmithKline LLC.

                                                 175
               Allen & Hanburys Ltd., a then-subsidiary of Glaxo Laboratories Ltd., is credited

with developing ranitidine and was awarded Patent No. 4,128,658 by the U.S. Patent and

Trademark Office in December 1978, which covered the ranitidine molecule.

               In 1983, the FDA granted approval to Glaxo to sell Zantac, pursuant to New Drug

Application (“NDA”) No. 18-703, and it quickly became GSK’s most successful product – a

“blockbuster.” Indeed, ranitidine became the first prescription drug in history to reach $1 billion

in sales. GSK manufactured its own prescription Zantac from 1983 until its withdrawal but ceased

manufacturing its own API in 2014.12

               To accomplish this feat, GSK entered into a joint promotion agreement with

Hoffmann-LaRoche, Inc., increasing Zantac’s U.S. sales force from 400 people to approximately

1,200. More salespersons drove more sales and blockbuster profits for GSK.

               In 1993, GSK (through Glaxo Wellcome plc) entered into a joint venture with

Pfizer-predecessor Warner-Lambert Co. to develop an OTC version of Zantac. In 1995, the FDA

approved OTC Zantac 75 mg tablets through NDA 20-520. In 1998, the FDA approved OTC 75

mg effervescent tablets through NDA 20-745.

               In 1998, GSK (Glaxo Wellcome plc) and Warner-Lambert Co. ended their joint

venture. As part of the separation, Warner-Lambert Co. retained control over the OTC NDA for

Zantac and the Zantac trademark in the United States and Canada, but it was required to obtain

approval from GSK prior to making any product or trademark improvements or changes. GSK




12
   In 2014, GSK began using ranitidine API manufactured by Defendant Dr. Reddy’s, Orchev
Pharma PVT, and SMS Pharmaceuticals.

                                               176
regained rights to sell OTC Zantac outside of the United States and Canada, 13 and it retained

control over the Zantac trademark internationally.14

                In 2000, Pfizer Inc. acquired Warner-Lambert Co. Pfizer then controlled the Zantac

OTC NDAs until December 2006.

                In October 2000, GSK sold to Pfizer the full rights to OTC Zantac in the United

States and Canada pursuant to a divestiture and transfer agreement. As part of that agreement,

GSK divested all domestic Zantac OTC assets to Pfizer, including all trademark rights. The

agreement removed the restrictions on Pfizer’s ability to seek product line extensions or the

approval for higher doses of OTC Zantac. GSK retained the right to exclusive use of the Zantac

name for any prescription ranitidine-containing product in the United States.

                In October 2003, Pfizer submitted NDA 21-698 for approval to market OTC Zantac

150 mg. The FDA approved NDA 21-698 on August 31, 2004.

                Throughout the time that Pfizer owned the rights to OTC Zantac, GSK continued

to manufacture the product.

                In 2006, pursuant to the 2006 Stock and Asset Purchase Agreement, Pfizer sold and

divested its entire consumer health division (including employees and documents) to Johnson &

Johnson (“J&J”). Because of antitrust issues, however, Zantac was transferred to Boehringer

Ingelheim.

                Pfizer, through a divestiture agreement, transferred all assets pertaining to its

Zantac OTC line of products, including the rights to sell and market all formulations of OTC



13
     GSK also still held the right to sell prescription Zantac in the United States.
14
    See Robert Langreth Warner-Lambert and Glaxo End a Venture on Ulcer Drug Zantac, WALL
ST. J. (Aug. 4, 1998), https://www.wsj.com/articles/SB902188417685803000.

                                                  177
Zantac in the United States and Canada, as well as all intellectual property, research and

development (“R&D”), and customer and supply contracts to Boehringer Ingelheim. As part of

that deal, Boehringer Ingelheim obtained control and responsibility over all of the Zantac OTC

NDAs.

               GSK continued marketing prescription Zantac in the United States until 2017 and

still holds the NDAs for several prescription formulations of Zantac. GSK continued to maintain

manufacturing and supply agreements relating to various formulations of both prescription and

OTC Zantac. According to its recent annual report, GSK claims to have “discontinued making

and selling prescription Zantac tablets in 2017 . . . in the U.S.”15

               Boehringer Ingelheim Pharmaceuticals, Inc. owned and controlled the NDAs for

OTC Zantac between December 2006 and January 2017, and manufactured, marketed, and

distributed the drug in the United States during that period.16

               In 2017, Boehringer Ingelheim sold the rights to OTC Zantac to Sanofi pursuant to

a Sales Purchase Agreement (“SPA”).           As part of this deal, Sanofi obtained control and

responsibility over Boehringer Ingelheim’s entire consumer healthcare business, including the

OTC Zantac NDAs. However, Boehringer Ingelheim continued to manufacture all drugs subject

to the SPA, including Zantac.

               Sanofi has controlled the NDAs for OTC Zantac and marketed, distributed, and

sold Zantac in the United States from January 2017, until it issued a recall in 2019.




15
   GlaxoSmithKline, plc, Annual Report 2019, at 37, https://www.gsk.com/media/5894/annual-
report.pdf.
16
     Boehringer Ingelheim also owned and controlled ANDA 074662.

                                                 178
               Throughout the time that Sanofi controlled the OTC Zantac NDAs, Boehringer

Ingelheim Promeco, S.A. de C.V. and Patheon Manufacturing Services LLC manufactured the

finished drug product.

               Sanofi voluntarily recalled all brand-name OTC Zantac on October 18, 2019.

               Pfizer and Boehringer Ingelheim have made demands for indemnification per the

Stock and Asset Purchase Agreement against J&J for legal claims related to OTC Zantac products.

               Sanofi has made a demand for indemnification against J&J pursuant to a 2016 Asset

Purchase Agreement between J&J and Sanofi.

               2.        The Patents Expired, Allowing Generics to Enter the Market

               In 1997, GSK’s patent on the original prescription Zantac product expired, allowing

generic manufacturers to sell prescription ranitidine to consumers.

               When GSK and Pfizer’s patent on the original OTC Zantac product expired, generic

manufacturers were allowed to sell OTC ranitidine to consumers.

               The FDA approved numerous generic manufacturers for the sale of prescription

and OTC ranitidine through the ANDA process. Those generic manufacturers include:

ANDA           ANDA Holder              Strength        Dosage          Date           OTC/RX
  #                                                     Form/         Approved
                                                        Route
          Acic Pharmaceuticals   EQ 150 &
203694                                                Tablet; Oral    11/30/17    Rx
          Inc.                   300 mg Base
          Actavis Mid Atlantic,  EQ 15 mg
76124                                                 Syrup; Oral     2/21/07     Discontinued
          LLC                    Base/ml
                                 EQ 150 &             Capsule;
209859    Ajanta Pharma Ltd.                                          9/27/18     Rx
                                 300 mg Base          Oral
          Amneal Pharmaceuticals EQ 150 &
77824                                                 Tablet; Oral    10/13/06    Discontinued
          of New York, LLC       300 mg Base
                                 EQ 150 &
78312     Amneal Pharmaceuticals                      Syrup; Oral     9/2/08      Rx
                                 300 mg Base
                                 EQ 15 mg
90054     ANDA Repository LLC                         Syrup; Oral     11/15/10    Rx
                                 Base/ml


                                               179
ANDA         ANDA Holder           Strength       Dosage         Date          OTC/RX
  #                                               Form/        Approved
                                                  Route
         Ani Pharmaceuticals      EQ 150 &
74488                                           Tablet; Oral   7/31/97    Discontinued
         Inc.                     300 mg Base
         Ani Pharmaceuticals      EQ 75 mg
75212                                           Tablet; Oral   1/14/00    Discontinued
         Inc.                     Base
         Ani Pharmaceuticals      EQ 75 mg
75296                                           Tablet; Oral   1/14/00    Discontinued
         Inc.                     Base
         Ani Pharmaceuticals      EQ 150 &
77426                                           Tablet; Oral   12/19/05   Discontinued
         Inc.                     300 mg Base
                                  EQ 150 mg
200172   Apotex Inc.                            Tablet; Oral   5/31/12    OTC
                                  Base
                                  EQ 150 &
74680    Apotex Inc.                            Tablet; Oral   9/12/97    Rx
                                  300 mg Base
                                  EQ 75 mg
75167    Apotex Inc.                            Tablet; Oral   5/4/00     OTC
                                  Base
                                  EQ 15 mg
77602    Apotex Inc.                            Syrup; Oral    9/17/07    Discontinued
                                  Base/ml
                                  EQ 150 mg
207578   Aurobindo Pharma Ltd.                  Tablet; Oral   11/13/17   OTC
                                  Base
                                  EQ 150 mg
207579   Aurobindo Pharma Ltd.                  Tablet; Oral   11/13/17   OTC
                                  Base
                                  EQ 150 &      Capsule;
211893   Appco Pharma LLC                                      4/5/19     Rx
                                  300 mg Base   Oral
                                  EQ 15 mg
90623    Aurobindo Pharma Ltd.                  Syrup; Oral    7/28/10    Rx
                                  Base/ml
                                  EQ 150 &      Capsule;
211058   Aurobindo Pharma Ltd.                                 7/16/18    Rx
                                  300 mg Base   Oral
         Ben Venue Laboratories
                                  EQ 25 mg      Injectable;
74764    Inc. d/b/a Bedford                                    11/19/04   Discontinued
                                  Base/ ml      Injection
         Laboratories
                                  EQ 150 &
74662    Boehringer Ingelheim                   Tablet; Oral   8/29/97    Discontinued
                                  300 mg Base
         Breckenridge             EQ 15 mg
78684                                           Syrup; Oral    8/27/09    Rx
         Pharmaceutical Inc.      Base/ ml
         Contract       Pharmacal EQ 75 mg
75094                                           Tablet; Oral   6/21/99    Discontinued
         Corp.                    Base
         Dr Reddy’s               EQ 75 mg
75294                                           Tablet; Oral   3/28/00    OTC
         Laboratories, Ltd.       Base
         Dr Reddy’s               EQ 150 &      Capsule;
75742                                                          11/29/00   Rx
         Laboratories, Ltd.       300 mg Base   Oral
         Dr Reddy’s               EQ 150 &
76705                                           Tablet; Oral   7/27/05    Rx
         Laboratories, Inc.       300 mg Base


                                         180
ANDA         ANDA Holder           Strength       Dosage         Date          OTC/RX
  #                                               Form/        Approved
                                                  Route
         Dr Reddy’s               EQ 150 mg
78192                                           Tablet; Oral   8/31/07    OTC
         Laboratories, Ltd.       Base
         Glenmark
                                  EQ 150 &
78542    Pharmaceuticals, Inc.,                 Tablet; Oral   11/19/08   Rx
                                  300 mg Base
         USA
                                 EQ 150 mg
210243   Granules India, Ltd.                   Tablet; Oral   8/20/18    OTC
                                 Base
         Heritage Pharma Labs    EQ 150 &
75165                                           Tablet; Oral   9/30/98    Rx
         Inc.                    300 mg Base
         Hi Tech Pharmacal Co. EQ 15 mg
91078                                           Syrup; Oral    3/22/11    Rx
         Inc.                    Base/ ml
                                 EQ 15 mg
78890    Lannett Co., Inc.                      Syrup; Oral    7/1/10     Rx
                                 Base/ ml
                                 EQ 15 mg
91288    Lannett Co., Inc.                      Syrup; Oral    12/9/10    Rx
                                 Base/ ml
         Mylan Pharmaceuticals, EQ 150 &
74023                                           Tablet; Oral   8/22/97    Discontinued
         Inc.                    300 mg Base
         Mylan Pharmaceuticals, EQ 150 &
74552                                           Tablet; Oral   7/30/98    Discontinued
         Inc.                    300 mg Base
         Mylan Pharmaceuticals, EQ 75 mg
75497                                           Tablet; Oral   1/14/00    Discontinued
         Inc.                    Base
         Mylan Pharmaceuticals, EQ 150 &        Capsule;
75564                                                          10/27/00   Discontinued
         Inc.                    300 mg Base    Oral
                                 EQ 25 mg       Injectable;
79076    Mylan Laboratories Ltd.                               6/9/16     Rx
                                 Base/ ml       Injection
         Nostrum Laboratories    EQ 15 mg
91091                                           Syrup; Oral    9/20/11    Rx
         Inc.                    Base/ ml
                                 EQ 150 &       Capsule;
210681   Novitium Pharma LLC                                   11/23/18   Rx
                                 300 mg Base    Oral
                                 EQ 300 mg
75180    Par Pharmaceutical Inc.                Tablet; Oral   1/28/99    Rx
                                 Base
                                 EQ 75 mg
76195    L. Perrigo Co.                         Tablet; Oral   8/30/02    OTC
                                 Base
         Perrigo Research & EQ 150 mg
91429                                           Tablet; Oral   5/11/11    OTC
         Development Company Base
         Pharmaceutical          EQ 15 mg
77405                                           Syrup; Oral    9/21/07    Rx
         Associates Inc.         Base/ ml
         Ranbaxy                 EQ 150 &
75000                                           Tablet; Oral   1/30/98    Discontinued
         Pharmaceuticals Inc.    300 mg Base
         Ranbaxy                 EQ 75mg
75254                                           Tablet; Oral   1/14/00    Discontinued
         Pharmaceuticals Inc     Base


                                         181
ANDA         ANDA Holder            Strength       Dosage         Date          OTC/RX
  #                                                Form/        Approved
                                                   Route
                                   EQ 15 mg
78448    Ranbaxy Inc.                            Syrup; Oral    12/13/07   Discontinued
                                   Base/ ml
                                   EQ 150 &
74467    Sandoz Inc.                             Tablet; Oral   8/29/97    Rx
                                   300 mg Base
                                   EQ 150 &      Capsule;
74655    Sandoz Inc.                                            10/22/97   Rx
                                   300 mg Base   Oral
                                   EQ 75 mg
75519    Sandoz Inc.                             Tablet; Oral   9/26/02    Discontinued
                                   Base
         Strides Pharma Global     EQ 150 mg
200536                                           Tablet; Oral   6/28/11    OTC
         Pte. Ltd.                 Base
         Strides Pharma Global     EQ 75 mg
201745                                           Tablet; Oral   2/29/12    OTC
         Pte. Ltd.                 Base
         Strides Pharma Global     EQ 150 &
205512                                           Tablet; Oral   8/22/16    Rx
         Pte. Ltd.                 300 mg Base
         Strides Pharma Global     EQ 75 mg
209160                                           Tablet; Oral   3/5/18     OTC
         Pte. Ltd.                 Base
         Strides Pharma Global     EQ 150 mg
209161                                           Tablet; Oral   2/22/18    OTC
         Pte. Ltd.                 Base
         Strides Pharma Global     EQ 150 &
210010                                           Tablet; Oral   8/1/18     Rx
         Pte. Ltd.                 300 mg Base
         Sun Pharmaceutical        EQ 75 mg
75132                                            Tablet; Oral   1/14/00    Discontinued
         Industries Ltd.           Base
         Sun Pharmaceutical        EQ 150 &
75439                                            Tablet; Oral   4/19/00    Discontinued
         Industries Ltd.           300 mg Base
         Taro Pharmaceuticals      EQ 15 mg
77476                                            Syrup; Oral    6/13/11    Rx
         USA, Inc.                 Base/ ml
         Teva Pharmaceuticals      EQ 150 &      Capsule;
75557                                                           10/31/03   Discontinued
         USA, Inc.                 300 mg Base   Oral
                                   EQ 15 mg
90102    Torrent Pharma, Inc.                    Syrup; Oral    5/26/09    Discontinued
                                   Base/ ml
         Unique Pharmaceutical     EQ 150 mg
210228                                           Tablet; Oral   8/30/19    OTC
         Laboratories              Base
         Unique Pharmaceutical     EQ 75 mg
210250                                           Tablet; Oral   8/30/19    OTC
         Laboratories              Base
                                   EQ 150 &
211289   Vkt Pharma Private Ltd.                 Tablet; Oral   1/31/19    Rx
                                   300 mg Base
         Watson Laboratories,      EQ 150 &
74864                                            Tablet; Oral   10/20/97   Discontinued
         Inc.                      300 mg Base
         West-Ward
                                   EQ 25 mg      Injectable;
74777    Pharmaceuticals                                        3/2/05     Rx
                                   Base/ ml      Injection
         International Ltd.


                                          182
ANDA           ANDA Holder               Strength         Dosage          Date            OTC/RX
  #                                                       Form/         Approved
                                                          Route
           West-Ward
                                       EQ 25 mg         Injectable;
77458      Pharmaceuticals                                             2/16/05       Rx
                                       Base/ ml         Injection
           International Ltd.
                                       EQ 75 mg
76760      Wockhardt, Ltd.                              Tablet; Oral   2/24/06       OTC
                                       Base
                                       EQ 150 &
78653      Wockhardt, Ltd.                              Tablet; Oral   11/26/07      Discontinued
                                       300 mg Base
                                       EQ 150 mg
78701      Wockhardt, Ltd.                              Tablet; Oral   11/12/09      Discontinued
                                       Base
                                       EQ 75 mg
78884      Wockhardt, Ltd.                              Tablet; Oral   7/31/08       Discontinued
                                       Base
                                       EQ 15 mg
79211      Wockhardt, Ltd.                              Syrup; Oral    5/26/09       Discontinued
                                       Base/ ml
                                       EQ 15 mg
79212      Wockhardt, Ltd.                              Syrup; Oral    2/23/09       Discontinued
                                       Base/ ml
                                       EQ 150 &
75208      Wockhardt, Ltd.                              Tablet; Oral   12/17/98      Rx
                                       300 mg Base
           Zydus Pharmaceuticals       EQ 25 mg         Injectable;
91534                                                                  2/23/13       Rx
           (USA) Inc.                  Base/ ml         Injection
               Despite generic entry, Brand-Name Manufacturer Defendants continued to sell

prescription and OTC Zantac. Although sales of Zantac declined as a result of generic competition,

ranitidine sales remained strong over time. Zantac was still ranked among the best-selling

prescription drugs in the United States prior to its recall.17 In 2016 alone, there were approximately

15,285,992 prescriptions written for Zantac.18 And as recently as 2018, Zantac was one of the top

10 antacid tablets in the United States, with sales of OTC Zantac 150 totaling $128.9 million – a

3.1% increase from the previous year.




17
    ClinCalc.com, The Top 200 of 2019, https://clincalc.com/DrugStats/Top200Drugs.aspx. (last
visited June 20, 2020).
18
     Id.

                                                 183
        B.      Defendants Knew and Had an Obligation to Further Investigate the Dangers
                of Their Ranitidine-Containing Products

                1.      Defendants Knew or Should Have Known of the NDMA Risk
                        in Their Ranitidine-Containing Products

                As early as 1981 – two years before Zantac entered the market – research showed

elevated levels of NDMA, when properly tested.19 This material fact was available in medical

literature and would have been known by Brand-Name Manufacturer Defendants, Generic

Manufacturer Defendants, and any other manufacturer, distributor, or repackager of Ranitidine-

Containing Products. This would not have been easily accessible to ordinary consumers, but it

should have been accessed and reviewed by each company in the ranitidine supply chain.

                In 1981, GSK, the originator of the ranitidine molecule, published a study focusing

on the metabolites of ranitidine in urine using liquid chromatography.20 Many metabolites were

listed, though there is no indication that the study looked for NDMA. Defendants knew or should

have known about this study.

                Indeed, in that same year, Dr. Silvio de Flora published a note discussing the results

of his experiments showing that ranitidine was converting into mutagenic N-nitroso compounds,

of which NDMA is one, in human gastric fluid when accompanied by nitrites – a substance

commonly found in food and in the body, including foods that consumers were told they could

consume shortly before or after ingesting ranitidine.21        GSK was aware of this study and

specifically responded to the note in an attempt to discredit it. Defendants knew or should have



19
     See supra, ¶¶8, 496 & n.3 (discussing de Flora publication).
20
    P.F. Carey et al., Determination of Ranitidine and Its Metabolites in Human Urine by
Reversed-Phase Ion-Pair High-Performance Liquid Chromatography, 255 J. CHROMATOGRAPHY
B: BIOMEDICAL SCI. & APPLICATIONS 1, 161-68 (1981).
21
     See infra at ¶¶8, 496.

                                                 184
known about this scientific event as it was published in a popular scientific journal, and Defendants

were obligated to investigate this issue properly through due diligence or otherwise.

               By 1987, after numerous studies raised concerns over ranitidine and cancerous

nitroso compounds, GSK published a clinical study specifically investigating gastric contents in

human patients and N-nitroso compounds.22 This study specifically indicated that there were no

elevated levels of N-nitroso compounds (of which NDMA is one). But the study was rigged. It

used an analytical system called a “nitrogen oxide assay” for the determination of N-nitrosamines,

which was developed for analyzing food and is a detection method that indirectly and non-

specifically measures N-nitrosamines. Not only is that approach not accurate, but GSK also

removed all gastric samples that contained ranitidine out of concern that samples with ranitidine

would contain “high concentrations of N-nitroso compounds being recorded.” Without the

chemical being present in any sample, any degradation into NDMA could not, by design, be

observed. The inadequacy of that test was knowable from its publication in 1987. Each Defendant

either knew or should have known about the inadequacy of that study and should have investigated

the issue properly and/or taken action to protect consumers from the NDMA risks in their products.

None did.

               As discussed in detail below, numerous studies that followed confirmed the risk of

NDMA and its presence in Ranitidine-Containing Products.

               Upon information and belief, no Defendant ever used a mass spectrometry assay to

test for the presence of nitrosamines in any of the studies and trials they did in connection with



22
    J. Meyrick Thomas et al., Effects of One Year’s Treatment with Ranitidine and of Truncal
Vagotomy on Gastric Contents, 28-6 GUT 726, 726-38 (1987), https://gut.bmj.com/content/
gutjnl/28/6/726.full.pdf.

                                                185
their ranitidine NDA. That is because mass spectrometry requires heating of up to 130 degrees

Celsius, which can result in the formation of excessive amounts of nitrosamines. Had Brand-Name

Manufacturer Defendants and Generic Manufacturer Defendants used a mass spectrometry assay,

it would have revealed large amounts of NDMA in ranitidine. They chose not to do so.

                   In 2019, Valisure ran tests on Zantac and discovered the link between Zantac and

its generics and the carcinogen NDMA. Valisure first notified the FDA of its initial findings in

June of 2019.

                   On September 13, 2019, Valisure filed a citizen petition with the FDA asking the

agency to recall all products that contain ranitidine14 and provided the WHO and IARC with copies

of the petition.

                   Valisure conducted follow-up testing and determined that the Zantac batch tested

was not contaminated, but rather, the molecule within the drug itself is unstable and can form

NDMA, particularly in the conditions found in the stomach.15

                   From that point forward, Defendants could no longer ignore and/or conceal the truth

that their Ranitidine-Containing Products are unsafe and unfit for human use.

                   2.    NDMA Has Long Been Deemed a Probable Carcinogen, with
                   Well-Established Dangerous Properties

                   According to the U.S. Environmental Protection Agency (“EPA”), “NDMA is a

semivolatile organic chemical that forms in both industrial and natural processes[.]”23 It is one of

the simplest members of a class of N-nitrosamines, a family of potent carcinogens. Scientists have

long recognized the dangers that NDMA poses to human health. A 1979 news article noted that


23
    EPA, Technical Fact Sheet – N-Nitroso-dimethylamine (NDMA) (Nov. 2017),
https://www.epa.gov/sites/production/files/2017-10/documents/ndma_fact_sheet_update_9-15-
17_508.pdf.

                                                   186
“NDMA has caused cancer in nearly every laboratory animal tested so far.”24 NDMA is no longer

produced or commercially used in the United States except for research. Its only use today is to

cause cancer in laboratory animals.

               Both the EPA and the IARC classify NDMA as a probable human carcinogen.25

               The IARC classification is based upon data that demonstrates NDMA “is

carcinogenic in all animal species tested: mice, rats, Syrian gold, Chinese and European hamsters,

guinea-pigs, rabbits, ducks, mastomys, various fish, newts and frog. It induces benign and

malignant tumors following its administration by various routes, including ingestion and

inhalation, in various organs in various species.” Further, in 1978, IARC stated that NDMA

“should be regarded for practical purposes as if it were carcinogenic to humans.”26

               The American Conference of Governmental Industrial Hygienists classifies NDMA

as a confirmed animal carcinogen.27




24
    Jane Brody, Bottoms Up: Alcohol in Moderation Can Extend Life, GLOBE & MAIL (CANADA)
(Oct. 11, 1979); see Rudy Platiel, Anger Grows as Officials Unable to Trace Poison in Reserve’s
Water, GLOBE & MAIL (CANADA) (Jan. 6, 1990) (reporting that residents of Six Nations Indian
Reserve “have been advised not to drink, cook or wash in the water because testing has found high
levels of N-nitrosodimethylamine (NDMA), an industrial byproduct chemical that has been linked
to cancer”); S.A. Kyrtopoulos, DNA Adducts in Humans after Exposure to Methylating Agents,
405 MUTATION RES. 2, 135 (1998) (noting that “chronic exposure of rats to very low doses of
NDMA gives rise predominantly to liver tumors, including tumors of the liver cells (hepatocellular
carcinomas), bile ducts, blood vessels and Kupffer cells”).
25
    See EPA Technical Fact Sheet, supra n.23; International Agency for Research on Cancer
(IARC)    -    Summaries    &     Evaluations,     N-NITROSODIMETHYLAMINE          (1978),
http://www.inchem.org/documents/iarc/vol17/n-nitrosodimethylamine.html.
26
   IARC, Monographs on the Evaluation of the Carcinogenic Risk of Chemicals to Humans, Some
N-Nitroso Compounds, Vol. 17, 151-152 (May 1978).
27
     See EPA Technical Fact Sheet, supra n.23.

                                                 187
                 The U.S. Department of Health and Human Services (“DHHS”) states that NDMA

is reasonably anticipated to be a human carcinogen.28 This classification is based upon the

DHHS’s findings that NDMA caused tumors in numerous species of experimental animals, at

several different tissue sites, and by several routes of exposure, with tumors occurring primarily

in the liver, respiratory tract, kidney, and blood vessels.29

                 The FDA considers NDMA a chemical that “could cause cancer” in humans.30

                 The WHO states that there is “conclusive evidence that NDMA is a potent

carcinogen” and that there is “clear evidence of carcinogenicity.”31

                 As early as 1980, consumer products containing unsafe levels of NDMA and other

nitrosamines have been recalled by manufacturers, either voluntarily or at the direction of the FDA.

                 Most recently, beginning in the summer of 2018, there have been recalls of several

generic drugs used to treat high blood pressure and heart failure – Valsartan, Losartan, and

Irbesartan – because the medications contained nitrosamine impurities that do not meet the FDA’s

safety standards.

                 The no-observed-adverse-effect level (“NOAEL”) is the level of exposure at which

there is no biologically significant increase in the frequency or severity of any adverse effects of a

chemical. Due to NDMA’s ability to affect deoxyribonucleic acid (“DNA”) at a microscopic level,




28
     Id. at 3.
29
     Id.
30
    FDA, Statement Alerting Patients and Healthcare Professionals of NDMA Found in Samples
of Ranitidine (Sept. 13, 2019), https://www.fda.gov/news-events/press-announcements/statement-
alerting-patients-and-health-care-professionals-ndma-found-samples-ranitidine.
31
   WHO, Guidelines for Drinking-Water Quality, N-Nitrosodimethylamine (NDMA) (3d ed.
2008), https://www.who.int/water_sanitation_health/dwq/chemicals/ndmasummary_2ndadd.pdf.

                                                 188
there is no NOAEL for NDMA. This means any amount of NDMA exposure increases the risk of

cancer.

               The FDA has set an acceptable daily intake level for NDMA at 96 ng. That means

that consumption of 96 ng of NDMA per day will increase the risk of developing cancer by 0.001%

over the course of a lifetime. That risk increases as the level of NDMA exposure increases.

However, any level above 96 ng is considered unacceptable.32 For reference, one filtered cigarette

contains between 5 to 43 ng of NDMA.

               In studies examining carcinogenicity through oral administration, mice exposed to

NDMA developed cancer in the kidney, bladder, liver, and lung. In comparable rat studies, cancers

were observed in the liver, kidney, pancreas, and lung. In comparable hamster studies, cancers

were observed in the liver, pancreas, and stomach. In comparable guinea-pig studies, cancers were

observed in the liver and lung. In comparable rabbit studies, cancers were observed in the liver

and lung.

               In other long-term animal studies in mice and rats utilizing different routes of

exposures – inhalation, subcutaneous injection, and intraperitoneal (abdomen injection) – cancer

was observed in the lung, liver, kidney, nasal cavity, and stomach.

               Further, animals exposed to NDMA during pregnancy birthed offspring with

elevated rates of cancer in the liver and kidneys.




32
   FDA, FDA Updates and Press Announcements on Angiotensin II Receptor Blocker (ARB)
Recalls (Valsartin, Losartin, and Irbesartan), FDA updates table of interim limits for nitrosamine
inpurities in ARBs (Feb. 28, 2019), https://www.fda.gov/drugs/drug-safety-and-availability/fda-
updates-and-press-announcements-angiotensin-ii-receptor-blocker-arb-recalls-valsartan-losartan.

                                                189
               NDMA is a very small molecule, which allows it to freely pass through all areas of

the body, including the blood-brain and placental barrier. This is particularly concerning as

ranitidine has been marketed for use by pregnant women and young children for years.

               In addition to the carcinogenic nature of NDMA itself, NDMA breaks down into

various derivative molecules that, themselves, are also associated with causing cancer. In animal

studies, derivatives of NDMA induced cancer in the stomach and intestines (including colon).

               Research shows that lower levels of NDMA, e.g., 40 ng, are fully metabolized in

the liver, but high doses enter the body’s general circulation.

               Exposure to high levels of NDMA has been linked to liver damage in humans.33

               Numerous in vitro studies confirm that NDMA is a mutagen – causing mutations

in human and animal cells.

               Overall, the animal data demonstrates that NDMA is carcinogenic in all animal

species tested: mice, rats, Syrian golden, Chinese and European hamsters, guinea pigs, rabbits,

ducks, mastomys, fish, newts, and frogs.

               The EPA classified NDMA as a probable human carcinogen “based on the

induction of tumors at multiple sites in different mammal species exposed to NDMA by various

routes[.]”34

               Pursuant to EPA cancer guidelines, “tumors observed in animals are generally

assumed to indicate that an agent may produce tumors in humans.”35



33
     See EPA Technical Fact Sheet, supra n.23.
34
     Id.
35
    See EPA, Guidelines for Carcinogen Risk Assessment (Mar. 2005), https://www3.epa.gov/
airtoxics/cancer_guidelines_final_3-25-05.pdf.

                                                 190
               In addition to the overwhelming animal data linking NDMA to cancer, numerous

human epidemiological studies exploring the effects of dietary exposure to various cancers

consistently show increased risks of various cancers. Notably, however, the exposure levels

considered in these studies are a very small fraction of the exposures from a single ranitidine

capsule.

               In a 1995 epidemiological case-control study looking at NDMA dietary exposure

with 220 cases, researchers observed a statistically significant 700% increased risk of gastric

cancer in persons exposed to more than 0.51 ng/day.36

               In a 1995 epidemiological case-control study looking at NDMA dietary exposure

with 746 cases, researchers observed statistically significant elevated rates of gastric cancer in

persons exposed to more than 0.191 ng/day.37

               In another 1995 epidemiological case-control study looking at, in part, the effects

of dietary consumption on cancer, researchers observed a statistically significant elevated risk of

developing aerodigestive cancer after being exposed to NDMA at 0.179 ng/day.38

               In a 1999 epidemiological cohort study looking at NDMA dietary exposure with

189 cases and a follow up of 24 years, researchers noted that “N-nitroso compounds are potent




36
   D. Pobel et al., Nitrosamine, Nitrate and Nitrite in Relation to Gastric Cancer: a Case-Control
Ctudy in Marseille, France, 11 EUR. J. EPIDEMIOLOGY 1, 67-73 (Feb. 1995).
37
   C. La Vecchia et al., Nitrosamine Intake and Gastric Cancer Risk, 4 EUR. J. CANCER.
PREVENTION 6, 469-74 (Dec. 1995).
38
    M. A. Rogers et al., Consumption of Nitrate, Nitrite, and Nitrosodimethylamine and the Risk
of Upper Aerodigestive Tract Cancer, 5 CANCER EPIDEMIOLOGY BIOMARKERS PREVENTION 1, 29-
36 (Jan./Feb. 1995).

                                               191
carcinogens” and that dietary exposure to NDMA more than doubled the risk of developing

colorectal cancer.39

               In a 2000 epidemiological cohort study looking at occupational exposure of

workers in the rubber industry, researchers observed significant increased risks for NDMA

exposure for esophagus, oral cavity, pharynx, prostate, and brain cancer.40

               In a 2011 epidemiological cohort study looking at NDMA dietary exposure with

3,268 cases and a follow up of 11.4 years, researchers concluded that “[d]ietary NDMA intake was

significantly associated with increased cancer risk in men and women” for all cancers, and that

“NDMA was associated with increased risk of gastrointestinal cancers” including rectal cancers.41

               In a 2014 epidemiological case-control study looking at NDMA dietary exposure

with 2,481 cases, researchers found a statistically significant elevated association between NDMA

exposure and colorectal cancer.42

               In addition to studies demonstrating that NDMA directly causes cancer, research

shows that exposure to NDMA can: (a) exacerbate existing but dormant (i.e., not malignant)

cancers; (b) promote otherwise “initiated cancer cells” to develop into cancerous tumors; and (c)

reduce the ability of the body to combat cancer. Thus, in addition to NDMA being a direct cause


39
    P. Knekt et al., Risk of Colorectal and Other Gastro-Intestinal Cancers after Exposure to
Nitrate, Nitrite and N-nitroso Compounds: A Follow-Up Study, 80 INT’L. J. CANCER 6, 852-56
(Mar. 15, 1999).
40
   K. Straif et al., Exposure to High Concentrations of Nitrosamines and Cancer Mortality Zmong
a Cohort of Rubber Workers, 57 OCCUPATIONAL & ENVTL. MED. 180-87 (Mar. 2000).
41
    Yet Hua Loh et al., N-nitroso Compounds and Cancer Incidence: The European Prospective
Investigation into Cancer and Nutrition (EPIC)-Norfolk Study, 93 AM. J. CLINICAL NUTRITION 5,
1053-61 (May 2011).
42
   Yun Zhu et al., Dietary N-nitroso Compounds and Risk of Colorectal Cancer: a Case-Control
Study in Newfoundland and Labrador and Ontario, Canada, 111 BRIT. J. NUTRITION 6, 1109–17
(Mar. 28, 2014).

                                               192
of cancer itself, NDMA can also be a contributing factor to a cancer injury caused by some other

source.

                NDMA is also known to be genotoxic – meaning it can cause DNA damage in

human cells. Indeed, multiple studies demonstrate that NDMA is genotoxic both in vivo and in

vitro. However, recent studies have shown that the ability of NDMA to cause mutations in cells

is affected by the presence of enzymes typically found in living humans, suggesting that “humans

may be especially sensitive to the carcinogenicity of NDMA.”43

                3.     Ranitidine Transforms into NDMA Within the Body

                The ranitidine molecule itself contains the constituent molecules to form NDMA.

See Figure 1.

                Specifically, the O=N (Nitroso) on one side of the ranitidine molecule can combine

with the H3C-N-CH3 (DMA) on the other side to form NDMA.

                     Figure 1 – Diagram of Ranitidine & NDMA Molecules




                The formation of NDMA by the reaction of DMA and a nitroso source (such as a

nitrite) is well characterized in the scientific literature and has been identified as a concern for



43
     WHO, Guidelines for Drinking-Water Quality, supra n.31.

                                                193
contamination of the U.S. water supply.44 Indeed, in 2003, alarming levels of NDMA in drinking

water processed by wastewater treatment plants was specifically linked to the presence of

ranitidine.45

                Ranitidine leads to NDMA exposure in four ways: (a) formation of NDMA in the

human digestive system; (b) formation of NDMA due to an enzymatic reaction throughout the

human body; (c) formation of NDMA over time under normal storage conditions and which

increases significantly when exposed to heat; and (d) formation of NDMA during the

manufacturing process.

                       a.      Formation of NDMA in the Environment of the Human
                               Stomach

                When the ranitidine molecule is exposed to the acidic environment of the stomach,

particularly when accompanied by nitrites (a chemical commonly found in heartburn-inducing

foods), the Nitroso molecule (O=N) and the DMA molecule (H3C-N-CH3) break off and reform

as NDMA.

                In 1981, Dr. de Flora, an Italian researcher from the University of Genoa, published

the results of experiments he conducted on ranitidine in the well-known journal, The Lancet. When

ranitidine was exposed to human gastric fluid in combination with nitrites, his experiment showed

“toxic and mutagenic effects.”46 Dr. de Flora hypothesized that these mutagenic effects could have

been caused by the “formation of more than one nitroso derivative [which includes NDMA] under




44
   T. Ogawa et al., Purification and Properties of a New Enzyme, NG,NG-Dimethylarginine
Dimethylaminohydrolase, from Rat Kidney, 264 J. BIO. CHEM. 17, 10205-209 (June 15, 1989).
45
   William A. Mitch et al., N-Nitrosodimethylamine (NDMA) as a Drinking Water Contaminant:
A Review, 20 ENVTL. ENGINEERING SCI. 5, 389-404 (Sept. 2003).
46
     Silvio de Flora, Cimetidine, Ranitidine and Their Mutagenic Nitroso Derivatives, supra n.3.

                                                194
our experimental conditions.”47 Dr. de Flora cautioned that, in the context of ranitidine ingestion,

“it would seem prudent to . . . suggest[] a diet low in nitrates and nitrites, by asking patients not

to take these at times close to (or with) meals[.]”48 Shockingly, 17 years after Dr. de Flora’s

warning, GSK applied for and obtained an indication for OTC Zantac “[f]or the prevention of

meal-induced [i.e., high-nitrite foods] heartburn at a dose of 75 mg taken 30 to 60 minutes prior to

a meal.”49

               GSK knew of Dr. de Flora’s publication because, two weeks later, GSK responded

in The Lancet, claiming that the levels of nitrite needed to induce the production of nitroso

derivatives (i.e., NDMA) were not likely to be experienced by people in the real world.50

               This response reflects GSK’s reputation for “adopting the most combative,

scorched-earth positions in defense of its brands.”51 The company has no compunctions against

distorting objective science to maintain its lucrative monopoly franchises, and its egregious

conduct surrounding Zantac is not some isolated incident.

               GSK endangered patient health while reaping billions of dollars in profits from

Paxil, Wellbutrin, and Avandia. As we now know, the company was involved in covering up


47
     Id.
48
     Id.
49
   See U.S. Dept. of Health & Human Services, Center for Drug Evaluation and Research,
Approval Letter (Jun. 8, 1998), https://www.accessdata.fda.gov/drugsatfdadocs/nda/
98/20520s1_Zantac.pdf. So, GSK specifically invited patients to take Zantac shortly before eating
heartburn-inducing food.
50
   Excerpted from the Summary Basis of Approval submitted to the FDA to obtain approval of
Zantac in the early 1980s. This document was obtained through a Freedom of Information Act
request to the FDA.
51
  Jim Edwards, GSK’s Alleged Coverup of Bad Avandia Data: A Snapshot of Its Poisonous
Corporate Culture, Moneywatch (July 13, 2010) https://www.cbsnews.com/news/gsks-alleged-
coverup-of-bad-avandia-data-a-snapshot-of-its-poisonous-corporate-culture/.

                                                195
scientific data, offering illegal kickbacks to prescribing physicians, intimidating witnesses, and

defrauding Medicare to profit from these medicines. In the wake of Congressional hearings into

the company’s outrageous misbehavior,52 GSK’s actions resulted in a criminal investigation and

the then-largest guilty plea by a pharmaceutical company for fraud and failure to report safety data

in the country’s history.53

               In its submission to the FDA, GSK explained that the level of nitrite present would

be unrealistic and, thus, these results had no “practical clinical significance.”54




               Around this same time – before Zantac was approved by the FDA – GSK conducted

another study to examine, among other things, how long-term use of ranitidine could affect the

levels of nitrite in the human stomach.55 Remarkably, in the study that was presented to the FDA,

GSK admitted that ranitidine use caused the proliferation of bacteria in the human stomach that



52
   Staff Report on GlaxoSmithKline and the Diabetes Drug Avandia, Senate Comm. on Finance,
111th Cong.2d Sess. 1 (Comm. Print Jan. 2010).
53
    U.S. Dep’t of Justice, GlaxoSmithKline to Please Guilty and Pay $3 Billion to Resolve Fraud
Allegations and Failure to Report Safety Data (July 2, 2012), https://www.justice.gov/opa/pr/
glaxosmithkline-plead-guilty-and-pay-3-billion-resolve-fraud-allegations-and-failure-report.
54
   Excerpted from the Summary Basis of Approval submitted to the FDA to obtain approval of
Zantac in the early 1980s. This document was obtained through a Freedom of Information Act
request to the FDA.
55
  The results of this study are discussed in the Summary Basis of Approval, obtained from the
FDA.

                                                 196
are known to convert nitrates to nitrites, which leads to elevated levels of nitrite in the stomach

environment. GSK acknowledged this could increase the risk of developing NDMA and, in turn,

cancer, but then dismissed this risk because people were allegedly only expected to use Ranitidine-

Containing Products for a short-term period:




                GSK knew – and indeed specifically admitted – that ranitidine could react with

nitrite in the human stomach to form NDMA and, at the same time, that long-term use of ranitidine

could lead to elevated levels of nitrite in the human stomach.

                In response to Dr. de Flora’s findings, in 1982, GSK conducted a clinical study

specifically investigating gastric contents in human patients.56 The study, in part, specifically

measured the levels of N-Nitroso compounds in human gastric fluid. GSK indicated that there

were no elevated levels, and even published the results of this study five years later, in 1987. The

study, however, was rigged. It did not use gold-standard mass spectrometry to test for NDMA,

but instead, used a process that could not measure N-nitrosamines efficiently. And worse, in the

testing it did do, GSK refused to test gastric samples that contained ranitidine out of concern

that samples with ranitidine would contain “high concentrations of N-nitroso compounds being




56
     Thomas et al., supra n.22.

                                                197
recorded.”57 In other words, GSK intentionally rigged the study to exclude the very samples most

likely to contain a dangerous carcinogen.

               In 1983, the same year Zantac obtained approval from the FDA, seven researchers

from the University of Genoa published a study discussing ranitidine and its genotoxic effects

(ability to harm DNA).58 The researchers concluded “it appears that reaction of ranitidine with

excess sodium nitrite under acid conditions gives rise to a nitroso-derivative (or derivatives) [like

NDMA] capable of inducing DNA damage in mammalian cells.”59

               Then, again in 1983, Dr. de Flora, along with four other researchers, published their

complete findings.60 The results “confirm our preliminary findings on the formation of genotoxic

derivatives from nitrite and ranitidine.”61 Again, the authors noted that, “the widespread clinical

use [of ranitidine] and the possibility of a long-term maintenance therapy suggest the prudent

adoption of some simple measures, such as a diet low in nitrates and nitrites or the prescription of

these anti-ulcer drugs at a suitable interval from meal[s].”62 This admonition carries weight

considering GSK’s studies indicate that long-term ranitidine consumption, itself, leads to elevated

levels of nitrites in the human gut.

               The high instability of the ranitidine molecule was further elucidated in scientific

studies investigating ranitidine as a source of NDMA in drinking water and specific mechanisms


57
     Id.
58
   Annalisa Maura et al., DNA Damage Induced by Nitrosated Ranitidine in Cultured Mammalian
Cells, 18 TOXICOLOGY LETTERS 1-2, 97-102 (Aug. 1983).
59
     Id.
60
   Silvio de Flora et al., Genotoxicity of Nitrosated Ranitidine, 4 CARCINOGENESIS 3, 255-60
(1983).
61
     Id.
62
     Id.

                                                198
for the breakdown of ranitidine were proposed.63 These studies underscore the instability of the

NDMA group on the ranitidine molecule and its ability to form NDMA in the environment of

water treatment plants, that supply many U.S. cities with water.

               In 2016, researchers at Stanford University conducted an experiment on healthy

volunteers.64 They measured the NDMA in urine of healthy individuals over the course of 24

hours, administered one dose of ranitidine, and then measured the NDMA in the urine of the same

individuals for another 24 hours. On average, the level of NDMA increased by 400 times, to

approximately 47,000 ng. The only change during that 24-hour period was the consumption of

ranitidine. This study directly demonstrates that unsafe levels of NDMA are formed in the human

body as a result of ranitidine ingestion. The scientists further explained that previous studies have

indicated a high metabolic conversion rate of NDMA, meaning it will be processed by the human

body. As such, the observed 47,000 ng likely only captured 1/100 of the actual NDMA levels in

the human body.

               These studies did not appreciate the full extent of NDMA formation risk from

ranitidine; specifically, the added danger of this drug having not only a labile nitrite and

dimethylamine (“DMA”) group but also a readily available nitroso source in its nitrite group on

the opposite terminus of the molecule. Recent testing of ranitidine batches shows NDMA levels

so high that the nitroso for NDMA likely comes from no other source than the ranitidine molecule

itself.




63
   Julien Le Roux et al., NDMA Formation by Chloramination of Ranitidine: Kinetics and
Mechanism, 46 ENVTL. SCI. TECH. 20, 11095-103 (2012).
64
    Teng Zeng & William A. Mitch, Oral Intake of Ranitidine Increases Urinary Excretion of N-
nitrosodimethylamine, 37 CARCINOGENESIS 6, 625-34 (June 2016).

                                                199
               Valisure is an online pharmacy that also runs an analytical laboratory that is

International Organization for Standardization (“ISO”) 17025 accredited – an accreditation

recognizing the laboratories technical competence for regulatory purposes. Valisure’s mission is

to help ensure the safety, quality, and consistency of medications and supplements in the market.

In response to rising concerns about counterfeit medications, generics, and overseas

manufacturing, Valisure developed proprietary analytical technologies that it uses in addition to

FDA standard assays to test every batch of every medication it dispenses.

               In its September 9, 2019 Citizen’s Petition to the FDA, 65 Valisure disclosed as part

of its testing of Ranitidine-Containing Products that every lot tested showed exceedingly high

levels of NDMA. Valisure’s ISO 17025 accredited laboratory used FDA recommended gas

chromatography-mass spectrometry (“GC/MS”) headspace analysis method FY19-005-DPA for

the determination of NDMA levels. As per the FDA protocol, this method was validated to a lower

limit of detection of 25 ng.66

               Valisure’s September 2019 testing showed, on average, 2,692,291 ng of NDMA in

a 150 mg ranitidine tablet. This testing demonstrates the instability of the ranitidine molecule and

its propensity to break down under higher temperatures and in a high nitrite environment, such as

in the human stomach. The results of Valisure’s testing show levels of NDMA well above 2

million ng per 150 mg Zantac tablet, shown below in Table 1.




65
   Valisure, Citizen Petition on Ranitidine (Sept. 9, 2019), https://www.valisure.com/wp-
content/uploads/Valisure-Ranitidine-FDA-Citizen-Petition-v4.12.pdf.
66
   FDA, Combined N-Nitrosodimethlyamine (NDMA) and N-Nitrosodiethylamine (NDEA)
Impurity Assay, by GC/MS-Headspace (Jan. 28, 2019), https://www.fda.gov/media/117843/.

                                                200
                Table 1 – Ranitidine Samples Tested by Valisure Laboratory
                                   Using GC/MS Protocol

 150 mg Tablets or equivalent                Lot #                 NDMA per tablet (ng)

 Reference Powder                            125619                2,472,531
 Zantac, Brand OTC                           18M498M               2,511,469
 Zantac (mint), Brand OTC                    18H546                2,834,798
 Wal-Zan, Walgreens                          79L800819A            2,444,046
 Wal-Zan (mint), Walgreens                   8ME2640               2,635,006
 Ranitidine, CVS                             9BE2773               2,520,311
 Zantac (mint), CVS                          9AE2864               3,267,968
 Ranitidine, Equate                          9BE2772               2,479,872
 Ranitidine (mint), Equate                   8ME2642               2,805,259
 Ranitidine, Strides                         77024060A             2,951,649

               Following its September 2019 testing, Valisure developed a low temperature

GC/MS method that could detect NDMA but would only subject samples to 37 °C, the average

temperature of the human body. This method was validated to a lower limit of detection of 100

ng.

               Valisure tested ranitidine tablets by themselves and in conditions simulating the

human stomach. Industry standard “Simulated Gastric Fluid” (“SGF”) (SGF 50 mM potassium

chloride, 85 mM hydrochloric acid adjusted to pH 1.2 with 1.25 g pepsin per liter) and “Simulated

Intestinal Fluid” (“SIF”) (SIF 50 mM potassium phosphate monobasic adjusted to pH 6.8 with

hydrochloric acid and sodium hydroxide) were used alone and in combination with various

concentrations of nitrite, which is commonly ingested through foods like processed meats and is

elevated in the stomach by antacid drugs. The inclusion of nitrite in gastric fluid testing is

commonplace and helps simulate the real environment of a human stomach.



                                              201
                Indeed, Ranitidine-Containing Products were specifically advertised to be used

when consuming foods containing high levels of nitrates, such as tacos or pizza.67

                The results of Valisure’s tests on ranitidine tablets in biologically relevant

conditions demonstrate significant NDMA formation under simulated gastric conditions with

nitrite present (see Table 2).

            Table 2 – Valisure Biologically Relevant Tests for NDMA Formation

 Ranitidine Tablet Studies                    NDMA (ng/mL)             NDMA per tablet (ng)
 Tablet without Solvent                       Not Detected             Not Detected
 Tablet                                       Not Detected             Not Detected
 SGF                                          Not Detected             Not Detected
 SIF                                          Not Detected             Not Detected
 SGF with 10 mM Sodium Nitrite                Not Detected             Not Detected
 SGF with 25 mM Sodium Nitrite                236                      23,600
 SGF with 50 mM Sodium Nitrite                3,045                    304,500
                Under biologically relevant conditions, when nitrites are present, high levels of

NDMA are found in one dose of 150 mg ranitidine, ranging between 245 and 3,100 times above

the FDA-allowable limit. One would need to smoke over 500 cigarettes to consume the same

levels of NDMA found in one dose of 150 mg ranitidine at the 25 nanogram level (over 7,000 for

the 50 nanogram level).

                Following the release of Valisure’s Citizen’s Petition, the FDA conducted

additional laboratory tests, which showed NDMA levels in all ranitidine samples it tested,

including API and the finished drug, both tablets and syrup. The FDA developed SGFSIF models


67
    See,   e.g.,    iSpot.tv,     Zantac     TV   Commercial,      “Family    Taco    Night,”
https://www.ispot.tv/ad/dY7n/zantac-family-taco-night (last visited June 20, 2020); YouTube,
Zantac:Spicy (Apr. 15, 2009), https://youtu.be/jzS2kuB5_wg; YouTube, Zantac® Heartburn
Challenge (Oct, 8, 2015), https://youtu.be/qvh9gyWqQns; YouTube, Zantac Heartburn Funny TV
Commercial (Feb. 26, 2005), https://youtu.be/Z3QMwkSUlEg.

                                               202
to use with the liquid chromatography-high resolution mass spectrometry (“LC-HRMS”) testing

method to estimate the biological significance of in vitro findings. These models are intended to

detect the formation of NDMA in systems that approximate the stomach and intestine. The testing

showed unacceptable levels of NDMA.

                The scientific data and literature demonstrates that in the presence of human-

relevant levels of nitrite in the stomach – a substance that is commonly found in foods that induce

heartburn and that is known to be elevated in people taking ranitidine for longer than a month –

the ranitidine molecule breaks down into levels of NDMA that would dramatically increase a

person’s risk of developing cancer.

                       b.        Formation of NDMA in Other Organs of the Human Body

                In addition to the gastric fluid mechanisms investigated in the scientific literature,

Valisure identified a possible enzymatic mechanism for the liberation of ranitidine’s DMA group

via the human enzyme dimethylarginine dimethylaminohydrolase (“DDAH”), which can occur in

other tissues and organs separate from the stomach.

                Liberated DMA can lead to the formation of NDMA when exposed to nitrite present

on the ranitidine molecule, nitrite freely circulating in the body, or other potential pathways,

particularly in weak acidic conditions such as that in the kidney or bladder. The original scientific

paper detailing the discovery of the DDAH enzyme in 1989 specifically comments on the

propensity of DMA to form NDMA: “This report also provides a useful knowledge for an

understanding of the endogenous source of dimethylamine as a precursor of a potent carcinogen,

dimethylnitrosamine [NDMA].”68



68
     Ogawa et al., supra n.44.

                                                 203
               In Figure 2, below, computational modelling demonstrates that ranitidine (shown

in green) can readily bind to the DDAH-1 enzyme (shown as a cross-section in grey) in a manner

similar to the natural substrate of DDAH-1 known as asymmetric dimethylarginine (“ADMA,”

shown in blue).


        Figure 2 – Computational Modelling of Ranitidine Binding to DDAH-1 Enzyme




               These results indicate that the enzyme DDAH-1 increases formation of NDMA in

the human body when ranitidine is present; therefore, the expression of the DDAH-1 gene is useful

for identifying organs most susceptible to this action.




                                                204
              Figure 3 below, derived from the National Center for Biotechnology Information,

illustrates the expression of the DDAH-1 gene in various tissues in the human body.

                Figure 3 – Expression levels of DDAH-1 enzyme by Organ




              DDAH-1 is most strongly expressed in the kidneys but also broadly distributed

throughout the body, such as in the brain, colon, liver, small intestine, stomach, bladder, and

prostate. This offers both a general mechanism for NDMA formation in the human body from

ranitidine and specifically raises concern for the effects of NDMA on numerous organs.

              The possible enzymatic reaction of ranitidine to DDAH-1, or other enzymes,

suggests that high levels of NDMA can form throughout the human body. Indeed, ranitidine

metabolizes and circulates throughout the human body, crossing the placental and blood-brain

barrier, within 1-2 hours. When ranitidine interacts with the DDAH-1 enzyme in various organs

throughout the body, it breaks down into NDMA. This observation is validated by the Stanford

study, discussed above.




                                              205
                       c.     Formation of NDMA from Exposure to Heat and/or
                              Over Time

               The conversion of ranitidine into NDMA through exposure to heat has been well-

known and documented. Early studies, including the one conducted by GSK in the early 1980s,

demonstrated that NDMA formed when ranitidine was exposed to heat.                 This point was

underscored in the Valisure petition, which initially used a high-heat testing method (but also

specifically developed a detection protocol that did not use heat).

               In response to Valisure, on October 2, 2019, the FDA recommended that

researchers use the LC-HRMS protocol for detecting NDMA in ranitidine because the “testing

method does not use elevated temperatures” and has been proven capable of detecting NDMA.69

               On January 2, 2020, Emery Pharma (“Emery”), an FDA-certified pharmaceutical

testing laboratory, conducted a series of tests on ranitidine. The researchers exposed ranitidine to

70 ⸰C for varying periods of time. The results showed that increasing levels of NDMA formed

based on exposure to heat. The following diagram reveals how NDMA accumulates over time

when exposed to 70 ⸰C:




69
    FDA, FDA Updates and Press Announcements on NDMA in Zantac (ranitidine), FDA
Provides Update on Testing of Ranitidine for NDMA Impurities (Oct. 2, 2019),
https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-announcements-
ndma-zantac-ranitidine.

                                                206
             Figure 4 – Rate of Development of NDMA when Exposed to Heat




              The researchers cautioned that: NDMA accumulates in ranitidine-containing drug

products on exposure to elevated temperatures, which would be routinely reached during

shipment and during storage.70

              The results of this data demonstrate that when exposed to heat, even through normal

transport and storage, the breakdown of the ranitidine molecule into NDMA is exacerbated and/or

accelerated – a point underscored by the FDA’s swift removal of the product from the market.

                     d.      Formation of NDMA in the Manufacturing Process

              Recent testing conducted under the auspices of the FDA involving a number of

drugs within the last two years also demonstrates that NDMA can form during the manufacturing

process.



70
    Emery Pharma, Emery Pharma Ranitidine: FDA Citizen Petition (Jan. 7, 2020),
https://emerypharma.com/news/emery-pharma-ranitidine-fda-citizen-petition/ (last visited June
20, 2020).

                                              207
               On July 13, 2018, the FDA announced the first of what would be many recalls of

Valsartan and other angiotensin receptor blocker (“ARB”) drugs used to treat high blood pressure,

such as losartan and irbesartan.71

               Specifically, the recalls were due to NDMA and other nitrosamines being present

in the APIs manufactured by four API manufacturers located in China and India.

               According to the Council on Foreign Relations, “about 80 percent of the active

pharmaceutical ingredients (APIs) used to make drugs in the United States are said to come from

China and other countries like India.”72

               As the FDA’s investigation into the ARB contamination continued, it became clear

that NDMA had made its way into the API through the use of recovered solvents or as a result of

using less expensive solvents during the manufacturing process.73

               Similarly, API was noted as a possible source of NDMA in Ranitidine-Containing

Products: “Lannett was notified by FDA of the potential presence of NDMA on September 17,

2019 and immediately commenced testing of the Active Pharmaceutical Ingredient (API) and drug

product. The analysis confirmed the presence of NDMA.”74



71
    FDA, FDA announces voluntary recall of several medicines containing valsartan following
detection of an impurity (July 13, 2018), https://www.fda.gov/news-events/press-
announcements/fda-announces-voluntary-recall-several-medicines-containing-valsartan-
following-detection-impurity.
72
    Yanzhong Huang, U.S. Dependence on Pharmaceutical Products from China (Aug. 14, 2019),
https://www.cfr.org/blog/us-dependence-pharmaceutical-products-china.
73
     FDA, FDA announces voluntary recall, supra n.71.
74
    FDA, Lannett Issues Voluntary Nationwide Recall of Ranitidine Syrup (Ranitidine Oral
Solution, USP), 15mg/ml due to an Elevated Level of the Unexpected Impurity, N-
Nitrosodimethylamine (Oct. 25, 2019), https://www.fda.gov/safety/recalls-market-withdrawals-
safety-alerts/lannett-issues-voluntary-nationwide-recall-ranitidine-syrup-ranitidine-oral-solution-
usp-15mgml-due.

                                               208
               The FDA’s early testing of ranitidine was conducted without utilizing heat and

without subjecting the pills to gastric conditions. This testing nonetheless revealed unacceptable

levels of NDMA.75

               4.     Evidence Directly Links Ranitidine Exposure to Cancer

               In addition to numerous epidemiology studies examining how NDMA causes

cancer in humans, researchers have also specifically looked at ranitidine and found an association

with cancer.

               One epidemiology study, published in 2004, showed that men taking either

ranitidine or cimetidine (Tagamet) had increased risks of bladder cancer.76

               In one epidemiology study specifically designed to look at breast cancer, ranitidine

was shown to more than double the risk, an effect that was even more pronounced in those with

specific gene mutations.77

               In another comprehensive epidemiological study looking at various cancer risks

and histamine H2 blockers, including ranitidine, the data showed that ranitidine consumption

increased the risk of prostate, lung, esophageal, pancreatic, and kidney cancer.78 Of particular



75
   FDA, FDA Updates and Press Announcements on NDMA in Zantac (ranitidine), FDA Alerts
Patients and Health Care Professionals to Amneal’s Volutary Recall of Nizatidine (Apr. 16,
2020),           https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-
announcements-ndma-zantac-ranitidine.
76
    D. Michaud et al., Peptic Ulcer Disease and the Risk of Bladder Cancer in a Prospective Study
of Male Health Professionals, 13 CANCER EPIDEMIOLOGY, BIOMARKERS & PREVENTION 2, 250-54
(Feb. 2004).
77
   Robert W. Mathes et al., Relationship Between Histamine2-Receptor Antagonist Medications
and Risk of Invasive Breast Cancer, 17 CANCER EPIDEMIOLOGY, BIOMARKERS & PREVENTION 1,
67-72 (2008).
78
   Laurel A Habel et al., Cimetidine Use and Risk of Breast, Prostate, and Other Cancers, 9
Pharmacoepidemiology & Drug Safety 149-55 (2000).

                                               209
note, the study indicated that people under the age of 60 who took ranitidine were five times more

likely to develop prostate cancer. In addition, there was more than a doubling the risk of pancreatic

cancer with ranitidine use.

               A study published in 2018, demonstrated an increased risk of liver cancer

associated with use of ranitidine in comparison with other H2 blockers in the class. The purpose

of the study was to determine whether there was an increased risk of liver cancer associated with

proton pump inhibitors, a different class of medications indicated for the treatment of GERD. This

finding is particularly notable as the authors adjusted for variables.79

               In 2018, a study found an increased risk in hepatocellular carcinoma associated

with use of H2 blockers.80 The authors were evaluating the risk of cancer in association with proton

pump inhibitors and looked at H2 blockers as a confounder. The study only considered use of H2

blockers within one year of cancer diagnosis and still found an increased odds ratio associated with

use of H2 blockerss and hepatocellular carcinoma, a type of liver cancer.

               A number of other studies have been published over the years showing an increased

risk of various cancers associated with use of ranitidine and/or H2 blockers.81 These cancers


79
   Kim Tu Tran et al., Proton Pump Inhibitor and Histamine‐2 Receptor Antagonist Use and Risk
of Liver Cancer in Two Population‐Based Studies, 48 ALIMENTARY PHARMACOLOGY &
THERAPEUTICS 1, 55-64 (July 2018).
80
   Y.H.J. Shao et al., Association Between Proton Pump Inhibitors and the Risk of Hepatocellular
Carcinoma, 48 ALIMENTARY PHARMACOLOGY & THERAPEUTICS 4, 460-68 (Aug. 2018).
81
    Mathes et al., supra n.77; see also Jeong Soo Ahn et al., Acid Suppressive Drugs and Gastric
Cancer: A Meta-analysis of Observational Studies, 19 WORLD J. GASTROENTEROLOGY 16, 2560
(Apr. 28, 2013); Shih-Wei Lai et al., Use of Proton Pump Inhibitors Correlates with Increased
Risk of Pancreatic Cancer: A Case-Control Study in Taiwan, 46 KUWAIT MED. J. 1, 44-48 (Mar.
2014); A.H. Poulsen et al., Proton Pump Inhibitors and Risk of Gastric Cancer – a Population
Based Cohort Study, 100 BRIT. J. CANCER, 1503-07 (2009); E. Wennerström et al., Acid-
Suppressing Therapies and Subsite-Specific Risk of Stomach Cancer, 116 BRIT. J. CANCER, 1234-
38 (2017).

                                                 210
include the following: breast, gastric, pancreatic, and stomach cancer. Additional research reports

that ranitidine use was associated with a significant increase in the risk of breast, testicular, thyroid,

and kidney cancer.82

        C.      Brand-Name Manufacturer Defendants and Generic Manufacturer
                Defendants Made Misrepresentations and Omissions in the Advertising of
                Ranitidine-Containing Products

                1.       Brand-Name Manufacturer Defendants’ and Generic
                         Manufacturer Defendants’ Labels Were Misleading and
                         Omitted Material Information and Warnings that Should
                         Have Been Apparent to Them through Stability Testing

                A manufacturer is required to give adequate directions for the use of a

pharmaceutical drug such that a “layman can use a drug safely and for the purposes for which it is

intended[,]”83 and to conform to requirements governing the appearance of the label.84

                “Labeling” encompasses all written, printed, or graphic material accompanying the

drug or device,85 and therefore broadly encompasses nearly every form of promotional activity,

including not only package inserts but also advertising.

                “Most, if not all, labeling is advertising. The term ‘labeling’ is defined in the

[FDCA] as including all printed matter accompanying any article. Congress did not, and we

cannot, exclude from the definition printed matter which constitutes advertising.” (Footnote

omitted.)86



82
    Richard H. Adamson & Bruce A. Chabner, The Finding of N‐Nitrosodimethylamine in
Common       Medicines,      The      Oncologist,   June 2020;    25(6):    460-62,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7288647/.
83
     21 C.F.R. §201.5.
84
     21 C.F.R. §201.15.
85
     Id.; Decision in Washington Legal Foundation v. Henney, 65 Fed. Reg. 14,286 (Mar. 16, 2000).
86
     United States v. Research Labs., 126 F.2d 42, 45 (9th Cir. 1942).

                                                  211
               All drug manufacturers (brand and generic) are also responsible for conducting

stability testing, which must be “designed to assess the stability characteristics of drug products.”87

Manufacturers must adopt a written testing program that includes: “(1) Sample size and test

intervals based on statistical criteria for each attribute examined to assure valid estimates of

stability; (2) Storage conditions for samples retained for testing; (3) Reliable, meaningful, and

specific test methods; (4) Testing of the drug product in the same container-closure system as that

in which the drug product is marketed; (5) Testing of drug products for reconstitution at the time

of dispensing (as directed in the labeling) as well as after they are reconstituted.”88

               The purpose of stability testing is, in part, to determine “appropriate storage

conditions and expiration dates.”89 And expiration dates, in turn, must be set to “assure that a drug

product meets applicable standards of identity, strength, quality, and purity at the time of use.”90

An expiration date is “related to any storage conditions stated on the labeling, as determined by

stability studies described in §211.166.”91

               The FDA made clear when it first adopted the expiration-date provision that the

regulation means what it says. The purpose of the expiration date is not merely to consider the

“stability of a specific active ingredient.”92 Instead, a compliant expiration date must account for

multiple factors, including “the stability of the inactive ingredients, the interaction of active and



87
     22 C.F.R. §211.166(a).
88
     Id.
89
     Id.
90
     21 C.F.R. §211.137(a).
91
     21 C.F.R. §211.137(b).
92
   Current Good Manufacturing Practice in Manufacture, Processing, Packing, or Holding,43
Fed. Reg. 45,014, 45,059 (Sept. 29, 1978).

                                                 212
inactive ingredients, the manufacturing process, the dosage form, the container closure system, the

conditions under which the drug product is shipped, stored, and handled by wholesalers and

retailers, and the length of time between initial manufacture and final use.”93

                 The FDA expressly recognizes that an initial expiration date may not be the final

expiration date: “Where data from accelerated studies are used to project a tentative expiration

date that is beyond a date supported by actual shelf life studies, there must be stability studies

conducted, . . . until the tentative expiration date is verified or the appropriate expiration date

determined.”94

                 After a drug is approved, a manufacturer (brand or generic) can make changes to

its drug application. To do so, manufacturers must comply with the requirements of §§314.70 and

314.71.95

                 Some of the requirements in those regulations require a brand or generic

manufacturer of an approved drug to obtain FDA approval before implementing a label change.96

                 But the FDA has long recognized a “changes being effected” (“CBE”) supplement

that permits a manufacturer to make immediate changes, subject to FDA’s post-change review.97

                 A manufacturer of an approved drug can use the CBE supplement to immediately

make an “[a]ddition to a specification or changes in the methods or controls to provide increased

assurance that the drug substance or drug product will have the characteristics of identity, strength,




93
     Id.
94
     21 C.F.R. §211.166(b).
95
     See 21 C.F.R. §§314.70, 314.97(a) (requiring generics to comply).
96
     21 C.F.R. §314.70(b).
97
     21 C.F.R. §314.70(c)(3), (c)(6).

                                                 213
quality, purity, or potency that it purports or is represented to possess.” 98 “A specification is

defined as a list of tests, references to analytical procedures, and appropriate acceptance criteria

that are numerical limits, ranges, or other criteria for the tests described.”99

                 A manufacturer, therefore, need not seek FDA pre-approval to make changes to its

stability studies to identify the appropriate expiration date – which must “assure that a drug product

meets applicable standards of identity, strength, quality, and purity at the time of use” 100 – or to

ensure that the drug is shipped and stored under appropriate conditions.

                 A manufacturer of an approved drug can also use the CBE supplement to make

changes “in the labeling to reflect newly acquired information” in order to “add or strengthen a

contraindication, warning, precaution, or adverse reaction for which the evidence of a causal

association satisfies the standard for inclusion in the labeling under §201.57(c) of this chapter”;

“add or strengthen an instruction about dosage and administration that is intended to increase the

safe use of the drug product”; and “delete false, misleading, or unsupported indications for use or

claims for effectiveness[.]”101

                 A manufacturer of an approved drug may make minor changes to a label with no

approval or notice, so long as that change is described in an annual report. The illustrative but

non-exhaustive list of minor changes includes “[a] change in the labeling concerning the




98
      21 C.F.R. §314.70(c)(6)(i).
99
   International Conference on Harmonisation; Guidance on Q6A Specifications: Test
Procedures and Acceptance Criteria for New Drug Substances and New Drug Products: Chemical
Substances, 65 Fed. Reg. 83,041, 83,042 (Dec. 29, 2000).
100
      21 C.F.R. §211.137(a).
101
      21 C.F.R. §§314.70(c)(6)(iii)(A), (C), (D).

                                                    214
description of the drug product or in the information about how the drug product is supplied, that

does not involve a change in the dosage strength or dosage form[.]”102

                 A “minor change” further includes “[a]n extension of an expiration dating period

based upon full shelf life data on production batches obtained from a protocol approved in the

NDA.”103

                 At no time did any Brand-Name Manufacturer Defendants or Generic Manufacturer

Defendants attempt to include a warning about NDMA levels in ranitidine and its association with

cancer, and the FDA never rejected such a warning. Manufacturer Defendants holding the NDAs

had the ability to unilaterally add an NDMA and/or cancer warning to the labels of Ranitidine-

Containing Products (for both prescription and OTC) without prior FDA approval pursuant to the

CBE regulation. Had any such Manufacturer Defendant attempted to add an NDMA warning to

the label of its Ranitidine-Containing Products (either for prescription or OTC), the FDA would

not have rejected it and/or would have ordered the Ranitidine-Containing Products recalled from

the market.

                 At no time did any Manufacturer Defendant attempt to change its label to delete a

false or misleading expiration date, to delete false or misleading shipping and storage conditions,

to add a proper expiration date, or to add proper shipping and storage conditions to ensure their

Ranitidine-Containing Products would not break down into NDMA prior to human consumption.

                 Based on the public scientific information available starting in 1983 (or earlier),

Brand-Name Manufacturer and Generic Manufacturer Defendants knew or should have known




102
      21 C.F.R. §314.70(d)(2)(ix).
103
      21 C.F.R. §314.70(d)(2)(vi).

                                                 215
that the breakdown of ranitidine into NDMA is exacerbated and/or accelerated through exposure

to heat and/or over time in storage, and that this increased the risk of cancer.

               At no time did any Brand-Name Manufacturer or Generic Manufacturer Defendant

change its label to shorten the expiration date or alter the safe shipping and storage conditions of

its Ranitidine-Containing Product, and the FDA never rejected such changes. Both Brand-Name

Manufacturer Defendants and Generic Manufacturer Defendants had the ability to unilaterally

make such label changes (for both prescription and OTC) without prior FDA approval pursuant to

the CBE regulation. Had any Brand-Name Manufacturer or Generic Manufacturer Defendant

attempted such label changes, the FDA would not have rejected them.

               Because they failed to warn that Ranitidine-Containing Products contained or broke

down into NDMA, Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants

made false statements in the labeling of their products and omitted material information regarding

the drug’s safety.

               Because they failed to include appropriate expiration dates on their products,

Brand-Name Manufacturer and Generic Manufacturer Defendants made false statements in the

labeling of their products and omitted material information regarding the drug’s safety.

               Because they failed to include proper storage instructions on their products, Brand-

Name Manufacturer Defendants and Generic Manufacturer Defendants made false statements in

the labeling of their products and omitted material information regarding the drug’s safety.

               2.      Brand-Name Manufacturer Defendants Developed and
                       Implemented a Pervasive Marketing Scheme to Mislead the
                       Consuming Public and Others

               Having created an inherently unstable and unsafe product, Brand-Name

Manufacturer Defendants had to mislead consumers and health professionals into believing Zantac


                                                 216
was safe, including safe for use with chronic conditions and for fast, immediate relief with nitrite-

and nitrate-rich foods. Brand-Name Manufacturer Defendants thus engaged in a pervasive and

decades-long campaign of misrepresentations and omissions to convince consumers that Zantac

was safe and to conceal the existence of, and risks posed by, NDMA.

               Brand-Name Manufacturer Defendants devised and knowingly carried out a

material scheme to defraud consumers by misrepresenting the safety, and concealing the true

health risks, of Zantac. The marketing campaign was national in scope and spanned decades, and

although it came via separate missives, the fundamental message was uniform: Zantac is safe, can

be used frequently and with high-nitrate and -nitrite foods, and poses no serious health risks, such

as those associated with consumption of NDMA – a known human carcinogen.

                       a.      Brand-Name Manufacturer Defendants Marketed Zantac as a
                               Safe Treatment Method for Chronic Conditions to Health
                               Professionals and as a Medication Trusted and Recommended
                               by Doctors to Consumers

               Brand-Name Manufacturer Defendants presented Zantac as being a safe and

effective treatment for chronic conditions, and touted Zantac as being the treatment method trusted

and recommended by doctors. However, despite knowing that Ranitidine-Containing Products

presented a dangerous and unreasonable risk of injury to its end-users through elevated levels of

NDMA, Brand-Name Manufacturer Defendants wholly omitted any information from their

advertisements that disclosed the serious health risks posed by use or ingestion of Ranitidine-

Containing Products.




                                                217
               For example, in 1990, GSK ran ads in Gut, an international medical journal

published by the British Society of Gastroenterology, representing that Zantac was a medication

that could be taken “[f]or the lifetime of the disease”:104




               From at least 1994-1995, GSK also placed ads in Gut, touting Zantac as an effective

prophylaxis to be used in conjunction with NSAIDs to prevent NSAID-associated duodenal

ulcers:105




104
    Advertising, 31-5 GUT 489 (May 1, 1990), https://gut.bmj.com/content/gutjnl/31/5/local/
advertising.pdf; Advertising, 31-4 GUT 365 (Apr. 1, 1990), https://gut.bmj.com/content/
gutjnl/31/4/local/advertising.pdf; Advertising, 31-3 GUT 245 (Mar. 1, 1990), https://gut.bmj.
com/content/gutjnl/31/3/local/advertising.pdf.
105
    Advertising, 35-9 GUT 1155 (Sept. 1, 1994), https://gut.bmj.com/content/gutjnl/35/9/local/
advertising.pdf; Advertising, 37-1 GUT 1 (July 1, 1995), https://gut.bmj.com/content/gutjnl
/37/1/local/advertising.pdf.

                                                 218
               And GSK ran the following newspaper ads in 1995 and 1996, which featured

narrative accounts of patients suffering from Acid Reflux Disease visiting their doctors and being

prescribed Zantac:106




106
    BLUEFIELD DAILY TELEGRAPH (Nov. 5, 1995), https://newspaperarchive.com/bluefield-daily-
telegraph-nov-05-1995-p-56/ (publication located in Bluefield, WV); ALAMOGORDO DAILY NEWS,
(Feb. 25, 1996), https://newspaperarchive.com/alamogordo-daily-news-feb-25-1996-p-40/
(publication located in Alamogordo, NM).

                                               219
               From at least 2009-2015, BI represented in Zantac OTC advertisements that the

active ingredient ranitidine had been “prescribed by doctors for years to treat millions of patients

safely and effectively.”107




107
    See, e.g., Zantacotc.com (June 8, 2009), https://web.archive.org/web/20090608184215/http://
www.zantacotc.com/products/zantac150cool.jsp; Zantacotc.com (May 13, 2013), https://web.
archive.org/web/20130513180645/http://www.zantacotc.com/products/zantac150cool.jsp.

                                                220
               In 2019, Sanofi made the same representation through its own advertising, which

stated that Zantac OTC “has the active ingredient ranitidine, which doctors have prescribed for

years to treat millions of patients safely and effectively.”108

                       b.      Brand-Name Manufacturer Defendants Marketed Zantac
                               OTC as a Safe and Effective Medication to Prevent and Relieve
                               Heartburn Caused by the Consumption of Nitrite- and Nitrate-
                               Rich Foods

               Brand-Name Manufacturer Defendants misrepresented to the public in print, radio,

and television advertisements and on social media that Zantac OTC was safe to be taken for fast

heartburn relief before or after consumption of nitrite- and nitrate-rich foods. Brand-Name

Manufacturer Defendants wholly omitted any information from their advertisements that disclosed

the serious health risks posed by use or ingestion of Ranitidine-Containing Products – particularly

when taken with nitrite- and nitrate-rich foods – despite knowing that Ranitidine-Containing




108
   Zantacotc.com (Feb. 7, 2019), https://web.archive.org/web/20190207202602/https://www.
zantacotc.com/heartburn-relief.html.

                                                 221
Products presented a dangerous and unreasonable risk of injury to its end-users through elevated

levels of NDMA.

                For instance, in 2006, Pfizer ran a television advertisement depicting a man and a

woman standing outside a BBQ restaurant, with the man promising the woman that taking Zantac

OTC before their meal will prevent her heartburn. This advertisement also represented that Zantac

OTC taken after a meal can provide fast-acting heartburn relief.

                In 2009, BI ran a television advertisement depicting a woman drinking coffee and

eating a burrito at work, with a voiceover saying: “Chug that coffee. Gulp that burrito. No matter

what life throws at you, you can take the heat. Until it turns into heartburn. Good thing you’ve

got what it takes to beat that heat too. Zantac – it’s strong. Just one pill can knock out the burn.”

In 2011, BI also ran a similar television advertisement depicting a man drinking coffee and eating

a hotdog, with a voiceover saying: “Chug that java. Down that dog. No matter what life throws

at you, you can take the heat. Until it turns into heartburn. Good thing you’ve got what it takes to

beat that heat too. Zantac – it’s strong. Just one pill can knock out the burn.”

                In 2010, BI advertised its “Zantac Beat the Heat Sweepstakes,” through both

radio109 and print advertisements. BI’s newspaper advertisements included the slogan, “Zantac

BEAT THAT HEARTBURN HEAT,” and featured the host of the television program, Man v.

Food, holding a box of Zantac OTC in front of a basket of buffalo chicken wings. 110 Another




109
    BI advertised its “Zantac Beat the Heat Sweepstakes” via radio on at least two occasions: in
the Cleveland, Ohio market on May 20, 2010, and in the Chicago, Illinois market on June 30, 2010.
110
      This advertisement was placed in a Cleveland, Ohio newspaper on May 23, 2010.

                                                222
newspaper advertisement111 placed in the same year showed a pizza with a frowning face and

promised that Zantac products would provide “fast and long-lasting heartburn relief”:




               In 2013, BI announced the introduction of Captain Zantac, “the new face of [the]

ZANTAC Brand.”112 Captain Zantac was a miniature animated fire captain who was used in

television, radio, and print advertisements.



111
   This advertisement was placed in newspapers in Atlanta, Georgia and Dallas, Texas on
November 10, 2010.
112
    Boehringer Ingelheim Pharmaceuticals, Inc., Zantac® Launches Innovative Integrated
Marketing Campaign to Educate Consumers on Heartburn Relief, CISION PR NEWSWIRE (Sept. 9,
2013, 11:00 ET), https://www.prnewswire.com/news-releases/zantac-launches-innovative-
integrated-marketing-campaign-to-educate-consumers-on-heartburn-relief-222968201.html (last
accessed June 20, 2020).

                                               223
               In discussing the introduction of Captain Zantac, the first animated character to

appear in advertising for OTC heartburn medication, Ross Ullman, the Executive Director of

Marketing for BI stated the use of an “iconic” character serves as a “persuasive and memorable

platform to cut through the heartburn advertising clutter and educate consumers on which

heartburn solutions are really right for them.”113 The stated goal for Captain Zantac was to “help

heartburn sufferers understand that . . . ZANTAC rushes relief in as little as 30 minutes.”114

               In addition to a prolific presence on television airways, Captain Zantac was also

used and displayed in retail pharmacies to draw attention to Zantac:




               Like the radio and print advertisements involving the Zantac Heartburn Challenges,

Captain Zantac also encouraged consumers to take Zantac with food:115




113
      Id.
114
      Id.
115
    @ZantacOTC, TWITTER (July 23, 2016),
https://twitter.com/ZantacOTC/status/756858939732439041/photo/1.

                                                224
                From at least 2017-2019, Sanofi continued marketing Zantac as a safe and effective

treatment medication for the treatment of heartburn caused by consuming nitrite- and nitrate-rich

foods.

                In furtherance of these marketing goals, Sanofi retained ownership of the Captain

Zantac trademark116 on or around February 2018 and continued to use Captain Zantac in television,

radio, and print advertisements.

                Captain Zantac (or “Cap Z” as he was colloquially referred to in materials created

and used by Sanofi) also maintained an active social media presence, tweeting frequently117 and

inducing consumers to interact with the Twitter account through the use of free giveaways and

sweepstakes.




116
   Justia, https://trademarks.justia.com/864/26/captain-86426387.html (last visited June 20,
2020).
117
      @ZantacOTC, TWITTER (Sept. 3, 2019), https://twitter.com/.

                                               225
              Cap Z’s Twitter presence also offered “#ZanHacks” which were tips that he offered

to consumers to induce them to take Zantac with food consumption.




                                             226
                Cap Z likewise encouraged consumers to take Zantac with nitrite-rich foods,

through the use of social media engagement campaigns.




                Captain Zantac was also integrated into Sanofi’s other consumer marketing piece,

a branded website called zantacotc.com, which also served to promote the use of Zantac with

nitrate rich foods.



                                              227
             For example, Sanofi presented the following on zantacotc.com:118




118
    Zantacotc.com (Apr. 5, 2019), https://web.archive.org/web/20190405064719/https:/www.
zantacotc.com/; Zantacotc.com (Feb. 7, 2019), https://web.archive.org/web/20190207202602
/https://www.zantacotc.com/heartburn-relief.html.

                                           228
              From at least 2018-2019, Sanofi ran a television ad campaign that featured the

slogan, “Eat your way. Treat your way.” One of these television advertisements depicted a family

enjoying “taco night” and a man suffering from heartburn after unexpectedly having pizza for

lunch. Another television advertisement attached to this campaign showed a man and woman at a

cookout both rubbing their stomachs in pain in front of a plate of hamburgers, while a voiceover

said, “Zantac works in as little as 30 minutes. Eat your way. Treat your way.”

              Indeed, Brand-Name Manufacturer Defendants ran myriad television, print, radio,

and internet ads that communicated similarly misleading messages:

 First Date    Brand-Name        Advertising                Title                    Market
               Manufacturer       Medium
                Defendant
                                                MAN OFFERS PEOPLE                Salt Lake City,
 04/17/2006    Pfizer           Television
                                                FAST RELIEF                      UT
                                                                                 Los Angeles,
 04/28/2006    Pfizer           Radio           Family Controls Heartburn
                                                                                 CA
                                                Woman Calls It Here It           Tampa, FL
 01/01/2008    BI               Radio
                                                Comes Again
                                                Woman Calls It Here It           New York, NY
 01/01/2008    BI               Radio
                                                Comes Again
                                                                                 Washington,
 01/01/2008    BI               Radio           Heartburn Isn’t Funny
                                                                                 D.C.
                                                Woman Calls It Here It           Baltimore, MD
 01/01/2008    BI               Radio
                                                Comes Again
 01/01/2008    BI               Radio           Man Goes to Bed at Nine          Phoenix, AZ
 01/03/2008    BI               Radio           Heartburn Isn’t Funny!           Atlanta, GA
 01/03/2008    BI               Radio           Heartburn! Attack It. Zantac     Tampa, FL
                                                                                 Los Angeles,
 01/03/2008    BI               Radio           I Will Go to Bed at Nine
                                                                                 CA
 01/04/2008    BI               Radio           Heartburn! Attack It. Zantac     Orlando, FL
                                                Take Zantac to Relieve           Boston, MA
 01/04/2008    BI               Radio
                                                Heartburn
                                                                                 Los Angeles,
 01/07/2008    BI               Radio           Heartburn! Attack It. Zantac
                                                                                 CA
                                                The Embarrassing Part of         Los Angeles,
 01/09/2008    BI               Radio
                                                Heartburn                        CA
 12/16-                                         Because these days,              Miami, FL
               BI               Newspaper
 17/2008                                        breakfast while reading the

                                               229
First Date   Brand-Name     Advertising                Title                  Market
             Manufacturer    Medium
              Defendant
                                            morning paper may be all it
                                            takes to trigger heartburn.
                                            Heartburn Won’t Slow You      San Francisco,
04/08/2009   BI             Radio
                                            Down                          CA
                                            Woman Gets Heartburn at       USA
10/12/2009   BI             Television
                                            Work
                                            Woman Gets Heartburn at       St. Louis, MO
11/17/2009   BI             Television
                                            Work
                                            BEAT THAT                     Cleveland, OH
05/23/2010   BI             Newspaper
                                            HEARTBURN HEAT.
09/05/2010   BI             Television      Beat that Heartburn Heat      Orlando, FL
                                            Can’t find your usual         Atlanta, GA
11/10/2010   BI             Newspaper
                                            heartburn remedy?             Dallas, TX
08/22/2011   BI             Television      Fast Relief in a Short Time   USA
                                            CAPTAIN Zantac IN             USA
01/12/2015   BI             Magazine
                                            HEARTBURN RESCUE
                                            CAPTAIN Zantac IN             ESPN
03/02/2015   BI             Magazine
                                            HEARTBURN RESCUE
09/13/2015   BI             Television      Zantac Heartburn Challenge    LMN
                                                                          YAHOOENT
09/27/2015   BI             Online Video    Take the Challenge
                                                                          Video
11/14/2015   BI             Television      Get Faster Relief             LMN
12/09/2016   BI             Television      Get the Fast Heartburn Relief Denver, CO
02/05/2017   Sanofi         Television      Fast Heartburn Relief         FNEW
                                            Releases Cooling Sensation    Answers.com
03/07/2017   Sanofi         Online Video
                                            in Mouth and Throat           Video
06/26/2017   Sanofi         Television      Better for Heartburn Relief   Portland, OR
11/13/2017   Sanofi         Television      Best Relief from Heartburn    TVL
                                                                          San Francisco,
04/09/2018   Sanofi         Television      The Fast Relief
                                                                          CA
                                            No Mess Fast Relief           TLC.com Video
07/03/2018   Sanofi         Online Video
                                            Heartburn Night
07/27/2018   Sanofi         Television      Best Relief from Heartburn    Raleigh, NC
                                                                          Maxpreps.com
03/14/2019   Sanofi         Online Video    The Fast Relief
                                                                          Video
                                                                          San Francisco,
04/08/2019   Sanofi         Television      Prevent or Relief Heartburn
                                                                          CA
                                            Man & Boy Are Eating Taco Xfinity.com
04/08/2019   Sanofi         Online Video
                                            in the Dining Table           Video
04/21/2019   Sanofi         Television      Relieves It Fast              Atlanta, GA



                                           230
                      c.      BI and Sanofi Utilized Ostensibly Unbranded Marketing
                              Tactics to Promtoe Zantac as Safe

               BI and Sanofi also misrepresented via an ostensibly unbranded website and

Defendant-funded journal articles purporting to offer neutral scientific evidence that Zantac had

no safety concerns, or any known clinically significant integrations, that were present with other

commonly prescribed drugs, without disclosing the instability of ranitidine – the active ingredient

in Zantac.

               On November 15, 2015, BI bought/registered the domain name rethinkppis.com,

which transferred to Sanofi on February 24, 2017.          The unbranded website included data

connecting Proton Pump Inhibitors (“PPIs”), a different category of drugs in the antacid market,

with increased cardiovascular risks, kidney disease, low magnesium, bone fractures, and gut

bacteria, and noted that H2 blockers were not proven to be associated with those same risks:

       PPIs have other safety concerns H2 blockers do not

              H2 blockers like non-prescription Zantac® have no long-term safety
               concerns when used as directed or no known clinically significant
               interactions with other commonly prescribed drugs people may be taking,
               unlike PPIs such as Nexium®.

              Unlike PPIs, increased risk of fractures of the hip, wrist, and spine have not
               been reported in clinical studies with H2 blockers.119

               Neither BI or Sanofi contemporaneously, or at any time, disclosed on the

rethinkppis.com website the dangers of NDMA or that the active ingredient in Zantac – ranitidine

– was unstable and broke down in to cancer-causing NDMA.




119
  RethinkPPIs.com (Feb. 19, 2016), https://web.archive.org/web/20160219011903/http://
www.rethinkppis.com/.

                                                231
          D.     Defendants’ Ranitidine-Containing Products Are Misbranded and
                 Adulterated Because They Contain Biologically Relevant Levels of NDMA

                 The manufacture of any misbranded or adulterated drug is prohibited under federal

law.120

                 The introduction into commerce of any misbranded or adulterated drug is similarly

prohibited.121

                 Similarly, the receipt in interstate commerce of any adulterated or misbranded drug

is also unlawful.122

                 Among the ways a drug may be adulterated and/or misbranded are:

                 (a)    “[I]f it is a drug and the methods used in, or the facilities or controls used
                        for, its manufacture, processing, packing, or holding do not conform to or
                        are not operated or administered in conformity with current good
                        manufacturing practice . . . as to safety and has the identity and strength,
                        and meets the quality and purity characteristics, which it purports or is
                        represented to possess[.]”123

                 (b)    “If it purports to be or is represented as a drug the name of which is
                        recognized in an official compendium, and . . . its quality or purity falls
                        below, the standard set forth in such compendium.”124

                 (c)    “If it is a drug and any substance has been (1) mixed or packed therewith so
                        as to reduce its quality or strength or (2) substituted wholly or in part
                        therefor.”125

                 A drug is misbranded:




120
      21 U.S.C. §331(g).
121
      21 U.S.C. §331(a).
122
      21 U.S.C. §331(c).
123
      21 U.S.C. §351(a)(2)(B).
124
      21 U.S.C. §351(b).
125
      21 U.S.C. §351(d).

                                                 232
                 (a)       “If its labeling is false or misleading in any particular.”126

                 (b)       “If any word, statement, or other information required . . . to appear on the
                           label or labeling is not prominently placed thereon . . . in such terms as to
                           render it likely to be read and understood by the ordinary individual under
                           customary conditions of purchase and use.”127

                 (c)       If the labeling does not contain, among other things, “the proportion of each
                           active ingredient[.]”128

                 (d)       “Unless its labeling bears (1) adequate directions for use; and (2) such
                           adequate warnings … against unsafe dosage or methods or duration of
                           administration or application, in such manner and form, as are necessary for
                           the protection of users[.]”129

                 (e)       “If it purports to be a drug the name of which is recognized in an official
                           compendium, unless it is packaged and labeled as prescribed therein.”130

                 (f)       “[I]f it is an imitation of another drug[.]”131

                 (g)       “[I]f it is offered for sale under the name of another drug.”132

                 (h)       “If it is dangerous to health when used in the dosage or manner, or with the
                           frequency or duration prescribed, recommended, or suggested in the
                           labeling thereof.”133

                 (i)       If the drug is advertised incorrectly in any manner.134

                 (j)       If the drug’s “packaging or labeling is in violation of an applicable
                           regulation[.]”135


126
      21 U.S.C. §352(a)(1).
127
      21 U.S.C. §352(c).
128
      21 U.S.C. §352(e)(1)(A)(ii).
129
      21 U.S.C. §352(f).
130
      21 U.S.C. §352(g).
131
      21 U.S.C. §352(i)(2).
132
      21 U.S.C. §352(i)(3).
133
      21 U.S.C. §352(j).
134
      21 U.S.C. §352(n).
135
      21 U.S.C. §352(p).

                                                     233
                 If a manufacturer labels a drug but omits ingredients, that renders the drug

misbranded.136

                 Because Defendants did not disclose NDMA as an ingredient in the Ranitidine-

Containing Products ingested by Plaintiffs, the subject drugs were misbranded.

                 Because Defendants did not disclose the proper directions for storage of the

Ranitidine-Containing Products ingested by Plaintiffs, the subject drugs were misbranded.

                 Because Defendants did not disclose the proper directions for expiration of the

Ranitidine-Containing Products ingested by Plaintiffs, the subject drugs were misbranded.

                 It is unlawful to introduce a misbranded drug into interstate commerce.137 Thus,

the Ranitidine-Containing Products purchased and/or used by Plaintiffs and the Class were

unlawfully distributed and sold.

         E.      Brand-Name Manufacturer Defendants and Generic Manufacturer
                 Defendants Concealed the Presence of NDMA in Ranitidine-Containing
                 Products from Consumers and the FDA

                 During the time that Brand-Name Manufacturer Defendants and Generic

Manufacturer Defendants manufactured and sold Ranitidine-Containing Products in the United

States, the weight of scientific evidence showed that ranitidine exposed users to unsafe NDMA.138

Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants concealed and

failed to disclose this risk to consumers – including through product labels, advertisements, or

through any other means – and they concealed and failed to report these risks to the FDA, which




136
      21 C.F.R. §§201.6, 201.10.
137
      21 U.S.C. §331(a).
138
      See supra, ¶¶491-537.

                                               234
relies on drug manufacturers (or others, such as those who submit citizen petitions) to bring new

information about an approved drug like ranitidine to the agency’s attention.

               Manufacturers (brand and generic) of an approved drug are required by regulation

to submit an annual report to the FDA containing, among other things, new information regarding

the drug’s safety pursuant to 21 C.F.R. §314.81(b)(2):

       The report is required to contain . . . [a] brief summary of significant new
       information from the previous year that might affect the safety, effectiveness, or
       labeling of the drug product. The report is also required to contain a brief
       description of actions the applicant has taken or intends to take as a result of this
       new information, for example, submit a labeling supplement, add a warning to the
       labeling, or initiate a new study.

               21 C.F.R. §314.81(b)(2)(v) provides:

       The manufacturer’s annual report also must contain copies of unpublished reports
       and summaries of published reports of new toxicological findings in animal studies
       and in vitro studies (e.g., mutagenicity) conducted by, or otherwise obtained by, the
       [manufacturer] concerning the ingredients in the drug product.

               Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants

ignored these regulations and, disregarding the scientific evidence available to them regarding the

presence of NDMA in their products and the risks associated with NDMA, did not report to the

FDA significant new information affecting the safety or labeling of Ranitidine-Containing

Products.

               Knowledge regarding the risk of NDMA in ranitidine was sufficiently available in

scientific literature such that Defendants, consistent with their heightened obligations to ensure the

safety of their products, should have known about the NDMA risks associated with ranitidine

consumption.

               Further, Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants never conducted or provided the relevant studies to the FDA, nor did they present the


                                                 235
FDA with a proposed disclosure noting the link between ranitidine and NDMA. Accordingly,

because Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants never

properly disclosed the NDMA risk to the FDA, they never proposed any labeling or

storage/transportation guidelines that would have addressed this risk. Thus, the FDA was never

able to reject any proposed warning or proposal for transport/storage guidelines.

               Defendants had a duty to disclose the NDMA risks in their Ranitidine-Containing

Products. They had superior knowledge of material facts that consumers like Plaintiffs and Class

members could not discover through ordinary diligence. And by affirmatively representing on

labels, in advertisements, and elsewhere that Ranitidine-Containing Products were safe, Brand-

Name Manufacturer Defendants and Generic Manufacturer Defendants were obligated to say

disclose enough about the inherent risks of the Ranitidine-Containing Products to prevent their

partial representations from misleading consumers like Plaintiffs and Class members.

               When the FDA eventually learned about the NDMA risks posed by Ranitidine-

Containing Products, it ordered manufacturers to voluntarily remove the products from the market.

Thus, had any Brand-Name Manufacturer Defendant or Generic Manufacturer Defendant alerted

the FDA to the risks of NDMA, the FDA would have required the manufacturers to remove

Ranitidine-Containing Products from the market much sooner, which would have prevented the

widespread harm that Defendants’ Ranitidine-Containing Products caused to Plaintiffs and the

Class in the interim.




                                               236
          F.     Defendants Made and Breached Warranties to Plaintiffs and Class Members

                 1.      Brand-Name Manufacturer Defendants, Generic
                         Manufacturer Defendants, and Repackager Defendants Made
                         and Breached Warranties to Plaintiffs and Class Members

                 Each Brand-Name Manufacturer Defendant’s, Generic Manufacturer Defendant’s,

and Repackager Defendant’s Ranitidine-Containing Product includes an FDA-approved label that

made representations and express or implied warranties to consumers, including Plaintiffs and

Class members, that these Defendants’ products were consistent with the safety, quality, purity,

identity, and strength characteristics reflected in the FDA-approved labels and/or were not

adulterated and/or misbranded.

                 In addition, each Brand-Name Manufacturer Defendant, Generic Manufacturer

Defendant, and Repackager Defendant affirmatively misrepresented and warranted to Plaintiffs,

Class members, and physicians, through their websites, brochures, social media, and other

marketing or informational materials, that their Ranitidine-Containing Products complied with

cGMPs and did not contain (or were not likely to contain) any ingredients besides those identified

on the products’ FDA-approved labels.

                         a.      BI

                 In its Global Code of Conduct, BI touts that “integrity is ‘part of our DNA’” 139 and

states:

          Ensuring a positive benefit-risk balance of our products is of critical importance to
          us. We monitor our products to ensure the level of quality and safety expected by
          our customers and regulators worldwide.

                                            *      *       *


139
    Boehringer Ingelheim, With Integrity and Passion, Our Global Code of Conduct, at 1,
https://www.boehringer-ingelheim.com.br/sites/br/files/coc_bi_coc_26072018_2.pdf (last visited
June 20, 2020).

                                                  237
          We consider quality, including all its integral compliance aspects, as indispensable
          in researching, developing and providing safe and efficacious products for our
          patients.

                                            *      *       *

          We provide accurate, fair and balanced information about our products, and do not
          engage in activities that inappropriately benefit or influence our customers or
          stakeholders. We strictly follow applicable transparency and disclosure standards
          required by law, regulations and codes of practice.140

                          b.      GSK

                    GSK promises to “do the right thing” for patients and consumers and

to “strive for the highest quality.”141 In its Code of Conduct, GSK states:

          We put [patients’ and consumers’] safety first, provide them with clear, up-to-date
          information and promote our products appropriately and ethically.

                                            *      *       *

          Our promotional activities and materials conform to high ethical, medical and
          scientific standards. They are legal, industry-compliant and evidence based.

                                            *      *       *

          We provide complete, up-to-date and evidence based product information to
          healthcare professionals and consumers, wherever they are in the world.

                                            *      *       *

          We strive to assure the safety, quality and efficacy of our products for our patients
          and consumers by ensuring that our procedures comply with Good Practice
          regulations.142

                    Throughout the almost four decades that Zantac has been marketed and sold in the

United States by GSK, GSK has frequently represented itself as a company committed to



140
      Id. at 4-5.
141
    GSK, Living Our Values and Expectations, Our Code of Conduct, at                              11
https://www.gsk.com/media/4800/english-code-of-conduct.pdf (last visited June 20, 2020).
142
      Id. at 11-12.

                                                  238
manufacturing quality, and safe, products, repeatedly touting that its primary focus was to

“improve the quality of human life.” 143 GSK touted oversight of “product quality across the

supply chain, from suppliers and third party manufacturers through manufacturing to the supply

operations that deliver products into the market.”144

                   This mantra was repeated throughout their annual reports when GSK represented

that they were:

                  “generat[ing] the right information about” about products to provide to TPPs
                   including information about “safety, efficacy and quality” (2000)145

                  “delivering quality products to markets around the world” (2001)146

                  “improving productivity in both quality and quantity” (2002)147

                  “developing more high quality compounds than ever before” (2003)148

                  focusing on securing a supply of “high quality products” that are “best in class”
                   while being at the “leading edge [o]f practices and performances” (2004)149




143
   GSK, 2007 Annual Report, at 1 (2007), http://www.annualreports.com/HostedData/Annual
ReportArchive/g/LSE_GSK_2007.pdf.
144
      Id. at 26.
145
   GSK, 2000 Annual Report, at 20 (2000), https://www.gsk.com/media/4698/annual-report-
2000.pdf.
146
   GSK, 2001 Annual Report, at 13 (2001), https://www.gsk.com/media/2660/annual-review-
2001.pdf.
147
   GSK, 2002 Annual Report, at 20 (2002), https://www.sec.gov/Archives/edgar/data/
1131399/000102123103000405/gsk_report.pdf.
148
   GSK, 2003 Annual Report, at 3 (2003), https://www.gsk.com/media/2669/annual-report-
2003.pdf.
149
   GSK, 2004 Annual Report, at 13 (2004), https://www.sec.gov/Archives/edgar/data/1131399/
000102123103000405/gsk_report.pdf.

                                                  239
               having “[s]ophisticated quality assurance and quality control procedures . . . in
                place” (2005)150

               having a “secure source of supply of high quality products” (2006)151

               overseeing “product quality across the supply chain, from suppliers and third party
                manufacturers through manufacturing to the supply operations that deliver products
                into the market” (2007)152

                However, a 2010 Settlement with the Department of Justice laid bare the truth of

GSK’s operations, which included a slew of compliance related issues, such as the distribution of

ointments that contained microorganisms, sale of drugs that contained no active ingredient,

contamination of sterile drugs, rendering them non-sterile, and the like.153

                In a statement from July 2012, newly minted GSK CEO Sir Andrew Witty

conceded that GSK had made “mistakes” and that there had been employees who had “engaged in

misconduct,” but that, as of 2012, GSK had a “clear priority to ingrain a culture of putting patients

first, acting transparently, respecting people inside and outside the organization and displaying

integrity in everything we do.”154




150
   GSK, 2005 Annual Report, at 9 (2005), https://www.gsk.com/media/2676/annual-report-
2005.pdf.
151
   GSK, 2006 Annual Report, at 21 (2006), https://www.gsk.com/media/2679/annual-report-
2006.pdf.
152
      GSK, 2007 Annual Report, supra, n. 143, at 26.
153
    Department of Justice & GSK, Settlement Agreement, JUSTICE.GOV (Oct. 26, 2010),
https://www.justice.gov/archive/usao/ma/news/2010/October/GSK%20Settlement%20Agreemen
t10_26.pdf.
154
    GSK, GlaxoSmithKline Concludes Previously Announced Agreement in Principle to Resolve
Multiple Investigations with US Government and Numerous States (July 2, 2012),
https://www.gsk.com/en-gb/media/press-releases/glaxosmithkline-concludes-previously-
announced-agreement-in-principle-to-resolve-multiple-investigations-with-us-government-and-
numerous-states/.

                                                240
                           c.     Pfizer

                   In its summary of policies on business conduct, Pfizer affirms its understanding

that “integrity is . . . accountability” and states:155

            Pfizer is subject to many rules and regulations designed to protect patients and
            consumers, improve the quality of medicines . . . . We are committed to following
            the laws and regulatory requirements that govern our business, including the
            development, manufacturing, distribution, marketing, . . . sale and promotion of our
            products.

                                             *       *       *

            We operate a comprehensive and robust quality management system designed to
            ensure the production and supply of quality products. We are committed to
            ensuring that our products are manufactured and supplied to high standards of
            quality. We are also committed to conducting our manufacturing operations in
            compliance with applicable regulatory requirements, good manufacturing practices
            (GMP) and our own internal rigorous quality standards. We also require that our
            suppliers and partners adhere to high standards, and we conduct audits and
            oversight of our supply chain.156

                           d.     Sanofi

                   Sanofi’s CEO’s opening missive in the Sanofi Code of Ethics states that “[i]ntegrity

is a commitment that must guide our behaviors beyond mere compliance with law and regulation,

driving us to make the right choice when facing any situation.”157 Sanofi further states that it is

“keen to account for” and anticipate patient’s expectations and that it “communicates transparently

about its products and ensures that information about the efficacy and safety of its products is

continuously monitored and updated throughout their lifecycle.”158



155
    Pfizer, The Blue Book Summary of Pfizer Policies on Business Conduct, at 12 (2009),
https://www.pfizer.com/sites/default/files/investors/corporate/blue_book_english.pdf.
156
      Id. at 12, 17.
157
    Sanofi, Sanofi Code of Ethics, Our Commitment                       to   Acting    with   Integrity,
http://www.codeofethics.sanofi/EN (last visited June 13, 2020).
158
      Id.

                                                    241
                          e.      Amneal

                   Amneal states it “produce[s] quality generic, specialty and biosimilar

medicines.”159 Amneal proudly proclaims that its “quality culture is one of the core pillars of our

success.”160

                   Amneal further touts its success in “consistently meet[ing] or exceed[ing] quality,

industry and global regulatory standards.”161

                   As part of their corporate “Purpose and Commitment,” Amneal sets “a high bar for

our products, pipeline, operations and service – always going the extra mile to exceed expectations

and reliably execute in everything we do . . . because patients’ lives depend on it.”162

                   Amneal’s SEC filings clearly acknowledge manufacturers are “required to comply

with cGMP standards at all times during the production and processing of pharmaceuticals, and

the FDA may inspect the manufacturer’s sites at any time to ensure compliance.” 163 Amneal

further recognizes “[its] products must be made in a manner consistent with cGMP” in the United

States and around the globe and maintains it is “committed to continuing to improve [its] quality

control and manufacturing practices.”164




159
   Our Portfolio, AMNEAL, https://www.amneal.com/products/our-portfolio/ (last visited June 17,
2020).
160
      Quality, AMNEAL, https://www.amneal.com/products/quality/ (last visited June 17, 2020).
161
      Id.
162
   Our Purpose & Commitments, AMNEAL, https://www.amneal.com/about/our-purpose-
commitments/ (last visited June 17, 2020).
163
    Amneal Pharmaceuticals, Inc., Annual Report (Form 10-K), at 8 (Mar. 2, 2020),
http://www.annualreports.com/HostedData/AnnualReports/PDF/NYSE_AMRX_2019.pdf.
164
      Id. at 16.


                                                   242
                        f.     Aurobindo

                Aurobindo insists they are “committed to quality and safety.”165

                Further, Aurobindo “[a]spire[s] to . . . emerge as a leading global player in high

quality, innovative specialty generic formulations.”166

                Aurobindo asserts the following “Core Strengths” in “Formulations”:

               Vertically integrated operations from conception to commercialization.

               Large manufacturing capabilities for a diversified product portfolio.

               Efficient regulatory affairs team ensuring market compliance.

               Dedicated R&D setup for finished dosages and active ingredients.

               Technology and expertise for specialty formulations.167

                As part of Aurobindo’s “Research and Development” commitment, Aurobindo

maintains that it meets federal requirements, and is “focused on the areas of organic synthesis,

analytical research, dosage form development, pharmacology, bio-equivalence studies and drug

delivery systems.”168

                Aurobindo further asserts a four-point “instrumentation and analytical knowledge

base” that the company implements:169

               complete impurity profiling in all products developed;

               development of analytical methods and specifications from raw materials, to non-
                compendial finished products;


165
      AUROBINDO, https://www.aurobindo.com/ (last visited June 17, 2020).
166
    Formulations,       AUROBINDO,         https://www.aurobindo.com/about-us/business-
units/formulations/ (last visited June 17, 2020).
167
      Id.
168
      Id.
169
      Id.

                                                243
               in-house synthesis of reagents for analyzing organolithiums and noble metals; and

               accelerated and real-time stability studies.

                       g.      Dr. Reddy’s

                Dr. Reddy’s asserts that its “focus on quality helps ensure product safety and

efficacy.”170

                As part of Dr. Reddy’s manufacturing of generic drugs, Dr. Reddy’s claims it

“focuses on continual improvement aimed at optimizing processes and eliminating non-value-

adding efforts in production. These efforts are primarily directed towards reducing variability in

process and product quality characteristics.”171

                In order to “achieve” their “Quality Management System,” Dr. Reddy’s insists on

the following four-step process:172

               Adopt Quality by Design (QbD) approach in Manufacturing and clearly identify
                sources of variability and minimize them on an ongoing basis.

               Be right the first time. Identify and eliminate defects. Improve efficiency.

               Undertake “risk-based” approach to manufacturing and mitigate risks wherever
                they are likely to impact quality

               Develop transparency in all areas of operations and build robust quality culture
                across the organization.




170
   Quality: World Class Medicines for Everyone, DR. REDDY’S, https://www.drreddys.com/our-
products/quality/ (last visited June 17, 2020).
171
      Id.
172
      Id.

                                                   244
                        h.     Glenmark

                 Glenmark USA claims to be a “global leader in the development and

commercialization of generic drugs of the highest quality and value.”173

                 As part of their “Operations,” Glenmark asserts “[our] dedicated employees and

state-of-the-art manufacturing centers help make our vision a reality . . . In a highly regulated

environment, where quality and precision are critical, our manufacturing processes are as rigorous

as our scientific research. Our state-of-the-art global facilities include all the processes needed to

manufacture safe products for our consumers.”174

                        i.     Lannett

                 Lannett’s “generic pharmaceutical products have consistently met the highest

standards, and [its] track record for safety and quality is nearly unmatched.”175

                 Lannett maintains that “[c]ustomers may rest assured that generic pharmaceuticals

are produced with the same active ingredients and attention to quality as branded versions.”176

                        j.     Perrigo

                 PerrigoPerrigo proclaims to sell and manufacture quality, affordable “self-care”

products that “consumers trust everywhere they are sold.”177




173
  Generics, GLENMARK, https://glenmarkpharma-us.com/products/generics/ (last visited June 17,
2020).
174
   Operations, GLENMARK, https://glenmarkpharma-us.com/operations/ (last visited June 17,
2020).
175
    We Care About Affordable Medication, LANNETT, https://www.lannett.com/approach/ (last
visited June 17, 2020).
176
      FAQ, LANNETT, https://www.lannett.com/patient-resources/faq/ (last visited June 17, 2020).
177
      PERRIGO, https://www.perrigo.com/ (last visited June 21, 2020).


                                                 245
                Perrigo describes its “world-class supply chain network” that has a “commitment

to quality that cannot be limited to regulatory requirements but must be imbedded into our

culture.”178

                However, inspections carried out for over the last decade indicate that Perrigo

routinely failed to even meet the baseline regulatory obligations required of it to sell and market

drugs in the United. States.

                In 2006, an inspection of Perrigo’s Bronx facility uncovered discrepancies between

the Standard Operation Procedures (“SOPs”) for stability testing of products, and what was

actually being done in practice. For example, the FDA inspector noted that the specification results

for environmental chambers meant to test drugs in different heat and humidity conditions (to see

whether and how quickly the drug were to degrade), did not document humidity results, and did

not investigate Out-of-Specification (“OOS”) findings.179

                In 2006, during a 39-day inspection of Perrigo’s Allegan, Michigan facility, the

FDA noted that Perrigo had received complaints related to degradation issues for one of its

products (the identify of which is redacted), and finds that there was no stability data to support

the 36-month expiration date assigned to the package.180

                Perrigo, obviously not heeding any of the previous warnings, was cited yet again

during an even longer 54-day inspection of its Allegan facility for failing to investigate any OOS

results for the stability of their products, resulting in the recall of the products because Perrigo



178
      Id.
179
      FDA Form 483, Perrigo Inspection (Aug. 31, 2006).
180
      FDA Form 483, Perrigo Inspection (Nov. 7, 2006).


                                                246
could no longer support their labeled expiration dates.181 Even more damningly, the FDA found

that results of stability testing were not used at all in “determining expiration dates.”182

                As recently as 2019, the FDA cited Perrigo for unacceptable manufacturing

practices, including shredding batch production records, unacceptable storage of raw materials in

a manner that “creates a potential for mix-up,” and storing samples of drug product in a manner

that “creates a potential for mix-up.”183

                       k.      Sandoz

                Novartis insists that “[q]uality is a key priority in every aspect of our work . . . We

are committed to giving back more to society than we take. This makes it imperative that we meet

and exceed regulatory expectations, embracing the highest standards of quality and integrity in our

work, and ensuring that our decisions are guided always by what’s best for our patients.”184

                With respect to their generic manufacturing subsidiary, Sandoz, the company

proclaims that they “deliver the highest quality products” and that the “Sandoz brand is a seal of

quality.” 185




181
      FDA Form 483, Perrigo Inspection (Nov. 7, 2008).
182
      Id.
183
      FDA Form 483, Perrigo Inspection (Oct. 22, 2019).
184
   Novartis Quality Commitment, NOVARTIS, https://www.novartis.com/our-
company/our-culture-and-values/novartis-quality-commitment (last visited June 17,
2020).
185
    Innovation, Quality and Supply, SANDOZ, https://www.sandoz.com/about-us/who-we-
are/innovation-quality-and-supply (last visited June 18, 2020).

                                                 247
                        l.     Strides

                Strides proudly asserts its work in “Pharma Generics-United States” by insisting its

“presence” in the United States “enhances [their] ability to reach a larger base of customers and

patients in need of quality treatment options.”186

                Strides is “led and driven by its expertise in Research and Development.”187

                Strides also brags about its resources, describing its “200 plus scientists, the R&D

team offers solutions across the entire product development value chain including strategic

sourcing, IP management, formulation development, analytical method development and

validation . . . bio-equivalence, toxicological studies, packaging development and global

regulatory submissions.”188

                        m.     Teva

                Teva proudly “strive[s] to deliver quality medicines to patients around the world

with integrity and ethical business practices.”189

                Under its “Generic FAQs” webpage, Teva responds to the question “are generic

drugs as safe” by maintaining that their generic drugs “meets . . . quality standards.”190




186
    Pharma Generics - United States, STRIDES, http://www.strides.com/pharma-united-states.html
(last visited June 17, 2020).
187
      R&D, STRIDES, http://www.strides.com/corporate-rd.html (last visited June 17, 2020).
188
      Id.
189
   Generic Medicines, TEVA, https://www.tevapharm.com/product-focus/generics/ (last visited
June 17, 2020).
190
      Id.

                                                248
                   Teva proudly proclaims it is “one of the few global pharmaceutical companies that

has integrated scientific expertise across generic and specialty (branded) R&D capabilities.”191

                   Teva goes on to insist its “world-class scientists and doctors focus on being first to

market, while ensuring the quality and affordability of our treatments and medicines. Teva’s R&D

group has an exceptional track record in translating early drug opportunities into clinically-proven

drug candidates by using cutting edge research in facilities that are fully equipped to support both

good laboratory practice (GLP) and current good manufacturing practice (cGMP) regulations.”192

                   Under the “Quality Products” webpage, Teva asserts the following:

            We validate and continually monitor our manufacturing processes to ensure they
            perform as expected. Each of our products is tested to confirm compliance to
            Teva’s quality specifications and compliance standards. Because Teva is vertically
            integrated, we supply a substantial amount of our own active pharmaceutical
            ingredients. That allows us to closely control product quality . . . As a result, we
            have an enviable record of Current Good Manufacturing Practice (cGMP)
            compliance.193

                           n.     Wockhardt

                   Wockhardt claims it is a global pharmaceutical and biotechnology organization

“providing affordable, high quality medicines for a healthier world.”194

                   Wockhardt achieves its “success” having built an “international manufacturing

footprint” that has earned the reputation of a “world-class manufacturer.”195



191
    Generics R&D, TEVA, https://www.tevapharm.com/product-focus/research/generics-r-d/ (last
visited June 17, 2020).
192
      Id.
193
   Producing Quality Products that Improve Lives, TEVA, https://www.tevapharm.com/product-
focus/our-quality/ (last visited June 17, 2020).
194
    Manufacturing, WOCKHARDT, http://www.wockhardt.com/who-we-are/manufacturing.aspx
(last visited June 17, 2020).
195
      Id.

                                                    249
               According to Wockhardt, its “core business is innovation.”196 The website goes on

to proudly proclaim that it “Spearhead[s] Research & Development” and “uses science and

technology to develop medicines and other products that improve the quality of millions [of]

people’s lives through better health.”197

               Wockhardt further asserts it “has proved its technical excellence by developing

patented modified release formulations and recombinant biotechnology products. It has a multi-

disciplinary R&D programme with more than 607 scientists, including over 80 doctorates, in the

areas of . . . Pharmaceutical Research” and “Active Pharmaceutical Ingredients” Research.”198

               The presence of NDMA in Defendants’ Ranitidine-Containing Products results in

the Ranitidine-Containing Products containing an ingredient that is not also listed on each

Defendant’s FDA-approved label, breaching warranties arising from such labels, including

Defendants’ express warranty of compliance. Defendants willfully, recklessly, or negligently

failed to ensure their products’ labels and other advertising or marketing statements accurately

conveyed information about their products.

               Defendants have also impliedly warranted that their Ranitidine-Containing

Products were merchantable and fit for their ordinary purposes.

               The presence of NDMA in Brand-Name Manufacturer Defendants’, Generic

Manufacturer Defendants’, and Repackager Defendants’ Ranitidine-Containing Products resulted

in the Ranitidine-Containing Products containing an ingredient that is not also listed on each



196
    Who     We     Are:      Overview,     WOCKHARDT,       http://www.wockhardt.com/who-we-
are/overview.aspx (last visited June 17, 2020).
197
      Id.
198
      Id.

                                              250
Defendant’s FDA-approved label, breaching warranties arising from such labels, and each

Defendants’ express warranty of compliance.         Each Brand-Name Manufacturer Defendant,

Generic Manufacturer Defendant, and Repackager Defendant willfully, recklessly, or negligently

failed to ensure their products’ labels and other advertising or marketing statements accurately

conveyed information about their products.

              At all relevant times, Brand-Name Manufacturer Defendants, Generic

Manufacturer Defendants, and Repackager Defendants also impliedly warranted that their

Ranitidine-Containing Products were merchantable and fit for their ordinary purposes.

              Due to its status as a probable human carcinogen as recognized by both the IARC

and the EPA, NDMA is not an FDA-approved ingredient. The presence of NDMA makes these

Defendants’ Ranitidine-Containing Products not merchantable and/or unfit for their ordinary

purposes. Thus, Brand-Name Manufacturer Defendants, Generic Manufacturer Defendants, and

Repackager Defendants breached implied warranties to Plaintiffs and the Class.

              Further, by selling drugs in the stream of commerce, each Repackager Defendant

warranted that the generic drugs they sold were the same as existing brand-named drugs in active

ingredient, dosage form, safety, strength, methods of administration, quality, and performance

characteristics. And each Repackager Defendant is obligated under the Drug Supply Chain

Security Act to quarantine and investigate potentially illegitimate (including adulterated and/or

misbranded) drugs.

              For these and other reasons, Brand-Name Manufacturer Defendants’, Generic

Manufacturer Defendants’, and Repackager Defendants’ Ranitidine-Containing Products are

therefore adulterated and/or misbranded, and it was illegal for Brand-Name Manufacturer




                                              251
Defendants, Generic Manufacturer Defendants, and Repackager Defendants to have introduced

Ranitidine-Containing Products into commerce in the United States.199

                2.      Retailer Defendants Breached Warranties to Plaintiffs and
                        Class Members

                Retail pharmacies are where consumers like Plaintiffs and Class members purchase

OTC Ranitidine-Containing Products and purchase and fill prescriptions for prescription-strength

Ranitidine-Containing Products. As a result, Retailer Defendants and consumers are in direct

privity of contract. With each sale of a Ranitidine-Containing Product, Retailer Defendants

impliedly warranted to Plaintiffs and Class members that the products being sold to them were

merchantable and/or fit for their ordinary uses.

                In addition, by selling pharmaceutical drugs in the stream of commerce, each

Retailer Defendant warranted to Plaintiffs and Class members that the Ranitidine-Containing

Products they sold were safe and effective.

                Further, each Retailer Defendant was obligated under the Drug Supply Chain

Security Act to quarantine and investigate potentially illegitimate (including adulterated and/or

misbranded) drugs.

                For the reasons alleged herein, Retailer Defendants breached their warranties to

Plaintiffs and Class members.

                3.      Distributor Defendants Breached Warranties to Plaintiffs and
                        Class Members

                Cardinal Health’s Standards of Business Conduct state, “We have quality systems

in place to ensure that we manufacture, handle, store and distribute products in accordance with




199
      See 21 U.S.C. §§331(a), 331(g), 351(a)(2)(B).

                                                   252
applicable legal and regulatory requirements. Every employee is responsible for following our

quality processes when working with the products we sell.”200 The Standards also require Cardinal

to “[u]nderstand and comply with the policies that cover the manufacture, storage, handling and

distribution of products we sell.”201

                  McKesson’s Code of Conduct provides that it only does “[b]usiness [f]airly and

with [i]ntegrity.”202 McKesson touts that it “compl[ies] with applicable laws everywhere we do

business around the world[,]” and requires action by the company when it is “aware of (or even

suspect[s]) illegal or unethical behavior or violations of the Code, other local policies or applicable

laws.”203

                  AmerisourceBergen’s Code of Ethics and Business Conduct states that the

company shall engage in “[f]air [d]ealing” and will not “take unfair advantage of anyone through

manipulation, concealment, abuse of privileged information, misrepresentation of material facts

or any other unfair dealing practice.”204

                  Chattem follows the Sanofi Code of Ethics.205




200
   Cardinal Health, Standards of Business Conduct, at 30, https://www.cardinalhealth.com/
content/dam/corp/web/documents/fact-sheet/cardinal-health-standards-of-business-conduct-
booklet-english.pdf. (last visited June 20, 2020).
201
      Id.
202
   McKesson, Code of Conduct, at 3, https://www.mckesson.com/Investors/Corporate-
Governance/Code-of-Conduct (last visited June 20, 2020).
203
      Id. at 1.
204
    AmerisourceBergen, Code of Ethics and Business Conduct 2019, at 11
https://s24.q4cdn.com/386340686/files/doc_downloads/policies/ABC_CodeofEthics_2019.pdf
(last visited June 20, 2020).
205
  See Sanofi, Code of Ethics and US Supplement, http://chattem.com/Downloads/Code%20of
%20Ethics%20with%20US%20Supplement%20Nov%202011.pdf (last visited June 20, 2020).

                                                 253
                Further, each Distributor Defendant is obligated under the Drug Supply Chain

Security Act to quarantine and investigate potentially illegitimate (including adulterated and/or

misbranded) drugs.

                Distributor Defendants failed to conform to these representations and warranties

and, thus, breached their warranties to Plaintiffs and Class members.

         G.     Defendants Failed to Comply with Current Good Manufacturing Practices

                Under federal law, a manufacturer must manufacture, store, warehouse, and

distribute pharmaceutical drugs in accordance with cGMPs to ensure they meet safety, quality,

purity, identity, and strength standards.206

                21 C.F.R. §210.1(a) states that the cGMPs establish “minimum current good

manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

manufacture, processing, packing, or holding of a drug to assure that such drug meets the

requirements of the act as to safety, and has the identity and strength and meets the quality and

purity characteristics that it purports or is represented to possess.” Entities at all phases of the

design, manufacture, and distribution chain are bound by these requirements.

                Pursuant to 21 C.F.R. §211.142(b), the warehousing of drug products shall provide

for “[s]torage of drug products under appropriate conditions of temperature, humidity, and light

so that the identity, strength, quality, and purity of the drug products are not affected.” In other

words, Defendants had a duty and were obligated to properly store, handle, and warehouse

ranitidine.




206
      21 U.S.C. §351(a)(2)(B).

                                                254
                Any drug not manufactured in accordance with cGMPs is deemed “adulterated or

misbranded” and may not be distributed or sold in the United States. 207 State common law and

statutory law mirror these federal standards.

                Testing conducted by the FDA confirms that improper storage of ranitidine has

resulted in extremely high levels of NDMA.208 The FDA has also concluded that NDMA can

increase in ranitidine even under storage conditions allowed by the labels, and NDMA has been

found to increase significantly in samples stored at higher temperatures, including temperatures

the product may be exposed to during normal distribution and handling. The FDA’s testing also

showed that the level of NDMA in Ranitidine-Containing Products increases with time. And while

Emery’s Citizen Petition sought to obtain a directive regarding temperature-controlled shipping of

ranitidine, which was necessary given the time and temperature sensitivity of the drug, that request

was deemed moot by the FDA withdrawal of Ranitidine-Containing Products altogether.

                Nothing prevented any of Brand-Name Manufacturer Defendants, Generic

Manufacturer Defendants, Retailer Defendants, and Distributor Defendants from, on their own,

taking actions to prevent accumulation of NDMA in Ranitidine-Containing Products by ensuring

proper storage and transport conditions. Such actions would not have required FDA approval, nor

would they have violated any regulatory decisions or laws.




207
      21 U.S.C. §§331(a), 351(a)(2)(B).
208
   Letter from Janet Woodcock, FDA, to Ramin Najafi, Ph.D., Pres. and CEO, Emery Pharma,
(Apr. 1, 2020), https://emerypharma.com/wp-content/uploads/2020/04/FDA-2020-P-0042-CP-
Response-4-1-2020.pdf.

                                                255
       H.      Generic Manufacturer Defendants Failed to Comply with Applicable
               Requirements

               According to the FDA, “[a] generic drug is a medication created to be the same as

an already marketed brand-name drug in dosage form, safety, strength, route of administration,

quality, performance characteristics, and intended use. These similarities help to demonstrate

bioequivalence, which means that a generic medicine works in the same way and provides the

same clinical benefit as its brand-name version. In other words, you can take a generic medicine

as an equal substitute for its brand-name counterpart.”209

               While brand-name medications undergo a more rigorous review before being

approved, generic manufacturers are permitted to submit an ANDA. As the first “A” in ANDA

denotes, the generic approval process is “abbreviated” to serve Congress’s intent to expeditiously

offer consumers lower-cost, previously approved medicines. But the abbreviated NDA process

does not absolve generic manufacturers of their obligations to ensure that their drugs are safe and

effective. To obtain FDA approval, an ANDA applicant must demonstrate that the generic

medicine is the same as the brand-name version in the following ways:

               (a)     the active ingredient in the generic medicine is the same as in the brand-
                       name drug/innovator drug;

               (b)     the generic medicine has the same strength, use indications, form (such as
                       a tablet or an injectable), and route of administration (such as oral or
                       topical);

               (c)     the inactive ingredients of the generic medicine are acceptable;

               (d)     the generic medicine is manufactured under the same strict standards as the
                       brand-name medicine; and



209
   FDA, Generic Drugs: Questions & Answers, https://www.fda.gov/Drugs/ResourcesFor
“You/Consumers/QuestionsAnswers/ucm100100.htm (emphasis in original) (last visited June 20,
2020).

                                               256
                 (e)      the container in which the medicine will be shipped and sold is
                          appropriate.210

                 Because the branded manufacturer previously demonstrated clinical safety and

efficacy when the NDA was approved, an ANDA applicant does not need to do so if it can show

bioequivalence to the branded, reference listed drug (“RLD”). Bioequivalence is the “absence of

a significant difference” in the pharmacokinetic profiles of two pharmaceutical products.211

                 Though an ANDA applicant’s drug must be bioequivalent to the RLD, no two

manufacturers’ drugs will be exactly the same. For that reason, generic manufacturers are

responsible for conducting their own, independent stability testing, which must be “designed to

assess the stability characteristics of drug products.”212

                 Because a generic manufacturer’s drug must be bioequivalent to the RLD, a

compliant generic label should be “the same as the labeling of the reference listed drug” in many

respects.213 But because a generic drug may not be exactly the same as the RLD, the generic label

“may include differences in expiration date, formulation, bioavailability, or pharmacokinetics,

labeling revisions made to comply with current FDA labeling guidelines or other guidance[.]”214

                 Pursuant to this regulation, it is common for a generic drug’s label to differ from

the RLD by setting a different expiration date, requiring the drug to be shipped and stored under




210
   FDA, Generic Drug Facts, https://www.fda.gov/Drugs/ResourcesForYou/Consumers/
BuyingUsingMedicineSafely/GenericDrugs/ucm167991.htm (last visited June 20, 2020).
211
      21 C.F.R. §314.3.
212
      21 C.F.R. §211.166(a).
213
      21 C.F.R. §314.94(a)(8)(iii).
214
      21 C.F.R. §314.94(a)(8)(iv).

                                                 257
different temperature conditions, and/or requiring the drug to receive different (or no) exposure to

light.

         I.     Repackager Defendants and Distributor Defendants Also Failed in Their Duty
                to Implement Proper Storage, Handling, and Shipping Conditions

                During the time that Repackager Defendants and Distributor Defendants

repackaged, distributed, and sold Ranitidine-Containing Products in the United States, the weight

of scientific evidence showed that ranitidine exposed users to unsafe levels of NDMA.215

                Repackager Defendants and Distributor Defendants failed to disclose this risk to

consumers on the drug’s label – or through any other means – and they failed to report these risks

to the FDA.

                The U.S. Pharmacopeial Convention (“USP”) sets forth industry standards

applicable – in relevant part – to repackagers and distributors. Chapter 1079, entitled, “Good

Storage and Shipping Practices,” specifies that “[g]ood storage and distribution practices apply to

all organizations and individuals involved in any aspect of the storage and distribution of all drug

products, including, but not limited to, the following:

                                          *      *        *

               Repackaging operations in which the drug product may be owned by an
                organization other than the primary manufacturer

                                          *      *        *

               Pharmacies including, but not limited to, retail, compounding, specialty,
                mail order, hospital, and nursing home pharmacies




215
      See supra ¶¶491-537.

                                                258
               Wholesale distributors; distribution companies involved in automobile, rail,
                sea, and air services[.]216

                USP ch. 1079 further states that the “drug product manufacturer (in the case of

many OTSs, where there is no application) and the repackager bear primary responsibility and

accountability including, but not limited to, the following:

                                           *       *      *

               Determining proper storage and handling practices

               Communicating storage and distribution practices through the supply chain

               Drug product stability profiles or the associated stability information from
                the holder, inclusive of distribution conditions and excursion that may be
                allowable should they occur. These stability profiles include the approved
                storage conditions for the shelf life of the drug product and, where
                applicable, supporting data for the distribution conditions, if they differ
                from the storage conditions.”217

                USP ch. 1079 continues: “However, all organizations along the supply chain bear

responsibility for ensuring that they handle drug products within adequate storage and distribution

parameters that will not affect the drug product identity, strength, quality, purity, or safety.”218

                Repackager Defendants and Distributor Defendants, as well as Brand-Name

Manufacturer Defendants and Generic Manufacturer Defendants, breached their duty to provide

proper storage, shipping, and temperature specifications in all of the ways previously mentioned.




216
    U.S. Pharmacopeial Convention, Good Storage and Shipping Practices, ch. 1079,
https://pharmacy.ks.gov/docs/default-source/default-document-library/ups-36-good-storage-and-
shipping-practices.pdf.
217
      Id.
218
      Id.

                                                 259
         J.     The Truth Was Revealed When an Independent Pharmacy and Testing
                Laboratory Discovered NDMA in Defendants’ Ranitidine-Containing
                Products, Leaving Defendants No Choice but to Recall and Stop Selling

                On September 9, 2019, Valisure filed its Citizen Petition calling for the recall of all

Ranitidine-Containing Products due to exceedingly high levels of NDMA found in Ranitidine-

Containing Products. The FDA and European regulators started immediately reviewing the safety

of ranitidine with specific focus on the presence of NDMA.219 This set off a cascade of recalls by

Brand-Name Manufacturer Defendants, Generic Manufacturer Defendants, Retailer Defendants,

and Repackager Defendants.

                On September 13, 2019, the FDA’s Director for Drug Evaluation and Research, Dr.

Janet Woodcock, issued a statement warning that some ranitidine medicines may contain

NDMA.220

                On September 24, 2019, Generic Manufacturer Defendant Sandoz voluntarily

recalled all of its Ranitidine-Containing Products due to concerns of a “nitrosamine impurity, N-

nitrosodimethylamine (NDMA), which was found in the recalled medicine.”221

                On September 26, 2019, Generic Manufacturer Apotex and Retailer Defendants

Walgreens, Walmart, and Rite Aid voluntarily recalled all of their Ranitidine-Containing Products




219
    FDA, Statement Alerting Patients and Health Care Professionals of NDMA Found in Samples
of Ranitidine (Sept. 13, 2019), https://www.fda.gov/news-events/press-announcements/statement-
alerting-patients-and-health-care-professionals-ndma-found-samples-ranitidine;       European
Medicines Agency, EMA to Review Ranitidine Medicines Following Detection of NDMA (Sept.
13, 2019), https://www.ema.europa.eu/en/news/ema-review-ranitidine-medicines-following-
detection-ndma.
220
      FDA, Statement Alerting Patients and Health Care Professionals, supra, n.219.
221
   FDA, FDA Announces Voluntary Recall of Sandoz Ranitidine Capsules Following Detection
of an Impurity (Sept. 24, 2019), https://www.fda.gov/news-events/press-announcements/fda-
announces-voluntary-recall-sandoz-ranitidine-capsules-following-detection-impurity.

                                                 260
and removed them from shelves.222 Apotex issued a statement, noting that “Apotex has learned

from the U.S. Food & Drug Administration and other Global regulators that some ranitidine

medicines including brand and generic formulations of ranitidine regardless of the manufacturer,

contain a nitrosamine impurity called N-nitrosodimethylamine (NDMA).”223

                On September 28, 2019, Retailer Defendant CVS stated that it would stop selling

Zantac and its CVS-repackaged ranitidine out of concern that they might contain a carcinogen.

                On October 2, 2019, the FDA ordered manufacturers of ranitidine to test their

products and recommended using an LC-HRMS testing protocol, which “does not use elevated

temperatures.”224

                On October 8, 2019, Brand-Name Manufacturer Defendant GSK voluntarily

recalled all Ranitidine-Containing Products internationally.225 As part of the recall, GSK publicly




222
   FDA, FDA Updates and Press Announcements on NDMA in Zantac (Ranitidine), FDA Alerts
Health Care Professionals and Patients to Voluntary Recall of Ranitidine Medicines (Sept. 26,
2019),           https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-
announcements-ndma-zantac-ranitidine.
223
    FDA, Apotex Corp. Issues Voluntary Nationwide Recall of Ranitidine Tablets 75mg and
150mg (All Pack Sizes and Formats) Due to the Potential for Detection of an Amount of
Unexpected Impurity,N-nitrosodimethylamine (NDMA) Impurity in the Product (Sept. 25, 2019),
https://www.fda.gov/safety/recalls-market-withdrawals-safety-alerts/apotex-corp-issues-
voluntary-nationwide-recall-ranitidine-tablets-75mg-and-150mg-all-pack-sizes-and.
224
      FDA Provides Update on Testing of Ranitidine for NDMA Impurities, supra n.69.
225
    Medicines and Healthcare products Regulatory Agency, Press Release, Zantac-MHRA Drug
Alert Issued as GlaxoSmithKline Recalls All Unexpired Stock (Oct. 8, 2019),
https://www.gov.uk/government/news/zantac-mhra-drug-alert-issued-as-glaxosmithkline-recalls-
all-unexpired-stock.

                                               261
acknowledged that unacceptable levels of NDMA were discovered in Zantac and noted that “GSK

is continuing with investigations into the potential source of the NDMA[.]”226

               On October 18 and 23, 2019, Brand-Name Manufacturer Defendant Sanofi and

Generic Manufacturer and Repackager Defendant Dr. Reddy’s voluntarily recalled all of their

Ranitidine-Containing Products.227

               On October 28, 2019, Generic Manufacturer Defendants Perrigo, Novitium, and

Lannett voluntarily recalled all their Ranitidine-Containing Products.228

               In its recall notice, Generic Manufacturer Defendant Perrigo stated, “[a]fter

regulatory bodies announced that ranitidine may potentially contain NDMA, Perrigo promptly

began testing of its externally sourced ranitidine API and ranitidine-based products. On October

8, 2019, Perrigo halted shipments of the product based upon preliminary results. Based on the

totality of data gathered to date, Perrigo has made the decision to conduct this voluntary recall.”229

               Generic Manufacturer Defendant Lannett also acknowledged the presence of

NDMA in the API and/or drug product it used to manufacture ranitidine in its recall notice:

“Lannett was notified by FDA of the potential presence of NDMA on September 17, 2019 and



226
    Justin George Varghese, GSK Recalls Popular Heartburn Drug Zantac Globally after Cancer
Scare, REUTERS (Oct. 8, 2019), https://www.reuters.com/article/us-gsk-heartburn-zantac/gsk-
recalls-popular-heartburn-drug-zantac-globally-after-cancer-scare-idUSKBN1WN1SL.
227
    FDA, FDA Releases Additional NDMA Testing Methods and Alerts Healthcare Professionals
and Patients to Multiple Voluntary Recalls of Ranitidine (Oct. 23, 2019),
https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-announcements-
ndma-zantac-ranitidine.
228
      Id.
229
    FDA, Perrigo Company plc Issues Voluntary Worldwide Recall of Ranitidine Due to
Possible Presence of Impurity, N-nitrosodimethylamine (NDMA) Impurity in the Product (Oct.
23, 2019), https://www.fda.gov/safety/recalls-market-withdrawals-safety-alerts/perrigo-
company-plc-issues-voluntary-worldwide-recall-ranitidine-due-possible-presence-impurity-n.

                                                 262
immediately commenced testing of the Active Pharmaceutical Ingredient (API) and drug product.

The analysis confirmed the presence of NDMA.”230

                 On November 1, 2019, the FDA announced the results of recent testing, finding

“unacceptable levels” of NDMA in Ranitidine-Containing Products, and requested that drug

manufacturers begin to voluntarily recall their Ranitidine-Containing Products if the FDA or

manufacturers discovered NDMA levels above the acceptable limits.231

                 On December 4, 2019, the FDA issued a statement notifying consumers who

wished to continue taking ranitidine to consider limiting their intake of nitrite-containing foods,

e.g., processed meats and preservatives like sodium nitrite.232 This advice mirrored an admonition

issued by Italian scientists in 1981 after finding that ranitidine reacted with nitrites in vitro to form

toxic and mutagenic effects in bacteria. The prudent advice of Dr. de Flora published in October

1981 in The Lancet was to “avoid nitrosation as far as possible by, for example, suggesting a diet

low in nitrates and nitrites, by asking patients not to take these at times close to (or with) meals or

by giving inhibitors of nitrosation such as ascorbid acid.”233 If GSK had only heeded Dr. de Flora’s

advice in 1981, millions of people might have avoided exposure to a known carcinogen and

increased risk of developing cancer from ingesting ranitidine.




230
      FDA, Lannett Issues Voluntary Nationwide Recall, supra n.74.
231
    FDA, Laboratory Analysis of Ranitidine and Nizatidine Products (Nov. 1, 2019),
https://www.fda.gov/drugs/drug-safety-and-availability/laboratory-tests-ranitidine.
232
   FDA, Update – FDA Requires Additional Testing of Ranitidine and Nizatidine as Part of
Agency’s Ongoing Effort to Help Ensure Product Safety for Patients and Consumers (Dec. 4,
2019),    https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-announ
cements-ndma-zantac-ranitidine.
233
      Silvio de Flora, Cimetidine, Ranitidine and Their Mutagenic Nitroso Derivatives, supra n.3.

                                                  263
                 Between November 1, 2019 and February 27, 2020, the following Generic

Manufacturer Defendants and Repackager Defendants recalled their products from the market,

citing NDMA concerns: Aurobindo, Amneal, American Health Packaging, GSMS, Precision

Dose, Glenmark, Appco, and Denton Pharma.234

                 On January 2, 2020, research laboratory, Emery Pharma, submitted a Citizen

Petition to the FDA, showing that NDMA accumulates in ranitidine at unsafe rates when exposed

to label-compliant temperature ranges that would occur during normal transport and storage

conditions.

                 Emery’s Citizen Petition outlined its substantial concern that ranitidine is a time-

and temperature-sensitive pharmaceutical product that develops NDMA when exposed to heat, a

common occurrence during shipping, handling, and storage. In addition to warning about this

condition, Emery requested agency directives to manufacturers and distributors to ship ranitidine

in temperature-controlled vehicles.

                 In response,235 on April 1, 2020, the FDA recounted that a recall is an “effective

methods [sic] of removing or correcting defective FDA-regulated products . . . particularly when

those products present a danger to health.”236         The FDA sought the voluntary consent of

manufacturers to accept the recall “to protect the public health from products that present a risk of

injury.”237 The FDA found that the recall of all Ranitidine-Containing Products and a public

warning of the recall was necessary because the “product being recalled presents a serious health



234
      FDA, FDA Updates and Press Announcements, supra n.69.
235
      Letter from Janet Woodcock, supra n.208.
236
      Id. at 5 (citing 21 C.F.R. §7.40(a)).
237
      Id.

                                                 264
risk.”238 The FDA therefore sent Information Requests to all applicants and pending applicants of

Ranitidine-Containing Products “requesting a market withdrawal.”239

                  The FDA found its stability testing raised concerns that NDMA levels in some

Ranitidine-Containing Products stored at room temperature can increase with time to unacceptable

levels. In the same vein, FDA testing revealed NDMA levels were higher as the products

approached their expiration dates. The FDA’s testing eroded the agency’s confidence that any

ranitidine-containing product could remain stable through its labeled expiration date.

Consequently, the FDA withdrew the products from the market. The FDA’s decision to withdraw

the drug rendered moot Emery’s request for temperature-controlled shipping conditions.

                  The FDA’s reaction was consistent with comparable regulatory action throughout

the world. Before the FDA acted, over 43 different countries and jurisdictions restricted or banned

Ranitidine-Containing Products.240

                  The European Medicines Agency, the European Union’s equivalent to the FDA,

through an Article 31 Referral, determined the sale of all ranitidine-containing products should be

suspended on September 19, 2019. On April 30, 2020, the Human Medicines Committee of the

EMA “recommended the suspension of all ranitidine medicines in the EU due to the presence of

low levels of an impurity called N-nitrosodimethylamine (NDMA).” The EMA recognizes

NDMA as a probable human carcinogen and issued a “precautionary suspension of these



238
      Id. at 7.
239
      Id. at 10 n.43.
240
    Margaret Newkirk & Susan Berfield, FDA Recalls Are Always Voluntary and Sometimes
Haphazard – and the Agency Doesn’t Want More Authority to Protect Consumers, BLOOMBERG
BUSINESSWEEK (Dec. 13, 2019), https://www.bloomberg.com/graphics/2019-voluntary-drug-
recalls-zantac/.

                                                265
medicines in the EU” because “NDMA has been found in several ranitidine medicines above levels

considered acceptable, and there are unresolved questions about the source of the impurities.”241

        K.      Defendants’ Conduct Damaged Plaintiffs and the Class Members

                As a direct and proximate result of Defendants’ breaches of express and implied

warranties; failure to comply with CGMPs; failure to adequately inspect/test the drugs during the

manufacturing process; failure to implement procedures to reduce or eliminate NDMA levels in

Ranitidine-Containing Products; defective design and formulation of their products;

misrepresentation, concealment, omission, and failure to disclose material facts concerning the

safety and efficacy of their products; breaches of their duty to provide appropriate and accurate

instructions regarding the proper storage and handling of Ranitidine-Containing Products; and

breaches of their duty of reasonable care and failure to exercise ordinary care in the design,

research, development, manufacture, testing, labeling, marketing, supply, promotion,

advertisement, packaging, warning, sale, and distribution of Ranitidine-Containing Products,

Plaintiffs and the Class members suffered damages through (1) their purchase of Ranitidine-

Containing Products that are unsafe for human consumption; and (2) their ingestion of Ranitidine-

Containing Products, which have significantly increased their risk of developing various types of

serious and potentially deadly cancers and caused them bodily injury in the form of cellular, sub-

cellular, and/or genetic injuries.

                Plaintiffs and Class members were exposed to Defendants’ uniform

misrepresentations and omissions regarding the purported safety of their Ranitidine-Containing



241
    European Medicines Agency, Suspension of Ranitidine Medicines in the EU (Apr. 30, 2020),
https://www.ema.europa.eu/en/medicines/human/referrals/ranitidine-containing-medicinal-
products.

                                               266
Products, including the representations that such products were safe for frequent use, safe to treat

chronic conditions, and safe to take with nitrite- and nitrate-rich foods.

               As alleged herein, these misrepresentations were false, deceptive, and misleading

when made because Defendants’ Ranitidine-Containing Products contained an inherently unstable

ranitidine molecule that breaks down into unreasonably dangerous levels of NDMA when

ingested, especially with nitrite- and nitrate-rich foods, and ultimately increases a user’s risk of

developing cancer.

               As alleged herein, Defendants knew or should have known that NDMA is a clearly

carcinogenic chemical and that the ranitidine molecule in their Ranitidine-Containing Products is

unstable and degrades into NDMA under normal conditions that are exacerbated when combined

with gastric fluid or nitrite- and nitrate-rich foods, or when the drug is exposed to normal levels of

heat during the manufacture, transportation, and storage processes.

               Despite having actual or constructive knowledge of the foregoing material facts,

Defendants concealed and/or failed to disclose, for example, that (1) their Ranitidine-Containing

Products contained an unstable ranitidine molecule that breaks down into a carcinogen under

normal conditions; (2) this breakdown is exacerbated when the drug is ingested, mixed with nitrite-

and nitrate-rich foods, or when exposed to heat; (3) Defendants failed to comply with cGMPs; (4)

Defendants failed to conduct stability testing of their Ranitidine-Containing Products to assess the

stability characteristics and ensure bioequivalence; (5) Defendants took no precautions, or took

inadequate precautions, to protect ranitidine from exposure to heat during the manufacture,

transportation, and storage processes; (6) as a result of the foregoing, Defendants’ Ranitidine-

Containing Products were misbranded and adulterated and, thus, could not lawfully be sold in the

U.S.; and (7) consumption of Ranitidine-Containing Products increases the risk of cancer.


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               These facts are material as the relate to the safety of a drug intended for human

consumption and the propensity of the drug to cause cancer when used as directed. These facts

would be considered important and material by any reasonable consumer.             No reasonable

consumer would have purchased or ingested Defendants’ Ranitidine-Containing Products had

Defendants disclosed these material facts.

               At the time they purchased Defendants’ Ranitidine-Containing Products, Plaintiffs

and the Class members did not know, and could not have discovered through reasonable diligence,

the material facts regarding the safety and risks of Ranitidine-Containing Products that Defendants

concealed and/or failed to disclose. Plaintiffs and Class members reasonably and justifiably relied

on Defendants’ misrepresentations, omissions, concealments, and/or failure to disclose materials

facts about the Ranitidine-Containing Products. Had Defendants disclosed the true facts regarding

the purported safety of Ranitidine-Containing Products, Plaintiffs and the Class members would

not have purchased nor ingested Defendants’ Ranitidine-Containing Products.

               Thus, as a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

and Class members have suffered damages and out-of-pocket losses and did not receive the benefit

of their bargain in that they paid to purchase misbranded, adulterated, defective, deceptively

marketed, and unreasonably dangerous drugs they otherwise would not have purchased.

               In addition, as a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and the Class members who ingested Defendants’ Ranitidine-Containing Products have

suffered physical damages in the form of cellular, sub-cellular, and/or genetic injuries that

significantly increased their risk of developing various types of serious and potentially deadly

cancers. The nature of the latent injuries from which Plaintiffs and Class members suffer and the

inadequacy of monetary damages as a means to compensate Plaintiffs and Class members for the


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risk of long-term physical and economic losses due to ingesting Ranitidine-Containing Products

necessitates the implementation of a Court-supervised, Defendant-funded medical monitoring

fund to monitor and treat Plaintiffs and Class members for various cancers they risk developing as

a result of Defendants’ conduct.

               Thus, Plaintiffs and Class members have suffered a concrete and particularized

harm that is actual and/or imminent, and that is fairly traceable to Defendants’ unlawful conduct.

A favorable decision by this Court is likely to redress the injuries suffered by Plaintiffs and the

Class members.

IV.    EQUITABLE TOLLING OF APPLICABLE STATUTE OF LIMITATIONS

       A.      Discovery-Rule Tolling

               Within the period of any applicable statutes of limitation, Plaintiffs and members

of the proposed Classes (defined below) could not have discovered through the exercise of

reasonable diligence that Defendants were not disclosing the high levels of the carcinogen,

NDMA, in Ranitidine-Containing Products, including Zantac.

               Plaintiffs and the other Class members did not discover, and did not know of, facts

that would have caused a reasonable person to suspect that Defendants did not disclose the high

levels of NDMA in Ranitidine-Containing Products, including Zantac. The information linking

ranitidine to NDMA was contained exclusively in articles published in scientific journals and

intended for the scientific audience. Plaintiffs and Class members did not have access to these

scientific articles because they were behind a paywall. And even if the articles had been more

widely available, the significance of the information in these highly technical articles would not

have been apparent to Plaintiffs or Class members.




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               Plaintiffs and Class members could not have reasonably discovered the true extent

of Defendants’ deception with regard to the safety of Ranitidine-Containing Products until

Valisure filed its citizen petition disclosing the extremely high levels of NDMA in Ranitidine-

Containing Products, including Zantac.

               For these reasons, all applicable statutes of limitation have been tolled by operation

of the discovery rule.

       B.      Fraudulent-Concealment Tolling

               All applicable statutes of limitation have also been tolled by Defendants’ fraudulent

concealment of the fact that the ranitidine in Ranitidine-Containing Products, including Zantac,

produces high levels of the carcinogen NDMA when ingested.

               Instead of disclosing the link between ranitidine and the carcinogen, NDMA,

Defendants continued to manufacture and sell Ranitidine-Containing Products without disclosing

this information on the drug’s label or anywhere else.

       C.      Estoppel

               Defendants were under a continuous duty to disclose to Plaintiffs and the other

Class members the risk of NDMA exposure associated with Ranitidine-Containing Products,

including Zantac.

               Defendants knowingly, affirmatively, and actively concealed or recklessly

disregarded the true risks of NDMA exposure associated with Ranitidine-Containing Products,

including Zantac, and never updated the drug’s label to disclose this risk.

               Based on the foregoing, Defendants are estopped from relying on any statutes of

limitations in defense of this action.




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V.     CLASS ALLEGATIONS

       A.      Nationwide Classes

               All Plaintiffs bring this action in their individual capacity and on behalf of the

following Nationwide Classes pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2),

23(b)(3), and/or 23(c)(4):

       RICO Class: All residents of the United States or its territories who purchased for
       personal, family, or household use any of Brand-Name Manufacturer Defendants’
       Ranitidine-Containing Products in the United States or its territories.

       Nationwide Class: All residents of the United States or its territories who
       purchased and/or used for personal, family, or household use, any of the
       Defendants’ Ranitidine-Containing Products in the United States or its territories.

               Excluded from the Nationwide Classes are Defendants and any of their affiliates,

parents, subsidiaries, officers, and directors; any entity in which Defendants have a controlling

interest; all persons who make a timely election to be excluded from the class; governmental

entities; and all judges assigned to hear any aspect of this litigation, including their immediate

family members.

               Plaintiffs reserve the right to modify or amend the definitions of the Nationwide

Classes, including to add one or more subclasses, after having the opportunity to conduct

discovery.

       B.      State Classes

               As an alternative and/or in addition to Nationwide Class, Plaintiffs bring this action

in their individual capacities and on behalf of the following State Classes for all fifty states of the

United States of America, the District of Columbia, and Puerto Rico pursuant to Federal Rules of

Civil Procedure 23(a), 23(b)(2), 23(b)(3), and/or 23(c)(4):




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       [State] Class: All residents of [State or Territory] who purchased and/or used for
       personal, family, or household use, any of the Defendants’ Ranitidine-Containing
       Products in the United States or its territories.

               Excluded from the State Classes are Defendants and any of their affiliates, parents,

subsidiaries, officers, and directors; any entity in which Defendants have a controlling interest; all

persons who make a timely election to be excluded from the class; governmental entities; and all

judges assigned to hear any aspect of this litigation, including their immediate family members.

               Plaintiffs reserve the right to modify or amend the definitions of State Classes,

including to add one or more subclasses, after having the opportunity to conduct discovery.

               The Nationwide Classes and the State Classes are collectively referred to as

“Class,” except where otherwise specified.

       C.      Federal Rule of Civil Procedure 23 Requirements

               Each of the proposed Classes meets the requirements of Federal Rules of Civil

Procedure 23(a), 23(b)(2), 23(b)(3) and/or 23(c)(4).

               Numerosity.     The members of each class are so numerous that joinder is

impracticable. Zantac has for decades been one of the most popular medications for relief of

heartburn, acid reflux, and similar conditions and, thus, it is reasonable to infer that each Class

includes thousands if not millions of members who are geographically dispersed throughout the

country and/or throughout each respective state.

               Typicality. Plaintiffs’ claims are typical of the claims of putative Class members

in that Plaintiffs’ claims arise out of the same common course of conduct that gives rise to the

claims of the other Class members. Each Plaintiff, like each Class member, either took or paid

money to purchase prescription and/or OTC Ranitidine-Containing Products, including Zantac,

manufactured or sold by Defendants, which are not safe for human consumption and, thus,


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Plaintiffs, like each Class member, either suffered out-of-pocket loss and/or face an increased risk

of developing cancer. Plaintiffs, like each Class member, were injured through Defendants’

common course of misconduct, and Plaintiffs are advancing the same legal theories on behalf of

themselves and the Class members.

               Adequacy. Plaintiffs will fairly and adequately protect the interests of the Class

members. Plaintiffs’ interests and the interests of all other members of each respective Class are

identical and not antagonistic. Plaintiffs intend to vigorously prosecute this case and will fairly

and adequately protect the Class members’ interests. Plaintiffs have retained counsel who are

competent and experienced in litigating class actions, including litigation of this kind.

               Commonality and Predominance. There are numerous questions of law and fact

common to the Classes, and these common questions predominate over any issues affecting only

individual Class members. Questions common to the Classes include, but are not limited to, the

following:

               (a)     whether Ranitidine-Containing Products, including Zantac, contains or
                       exposed Class members to unsafe levels of NDMA;

               (b)     whether consumption of Ranitidine-Containing Products, including Zantac,
                       increases the risk of developing cancer;

               (c)     whether Defendants knew or should have known that Ranitidine-Containing
                       Products, including Zantac, contains unacceptable levels of NDMA;

               (d)     whether Defendants knew or should have known that consumption of
                       Ranitidine-Containing Products, including Zantac, increases the risk of
                       developing cancer;

               (e)     whether Defendants acted to conceal the fact that Ranitidine-Containing
                       Products, including Zantac, exposes users to unsafe quantities of NDMA;

               (f)     whether Defendants acted to conceal the fact that consumption of
                       Ranitidine-Containing Products, including Zantac, increases the risk of
                       developing cancer;



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(g)   whether Defendants’ marketing, advertising, or promotion of ranitidine,
      including Zantac, misrepresented the safety of ranitidine and/or Zantac, or
      failed to disclose that Ranitidine-Containing Products, including Zantac,
      produces high levels of the carcinogen NDMA;

(h)   whether Defendants’ marketing, advertising, or promotion of Ranitidine-
      Containing Products, including Zantac, misrepresented the safety of
      Ranitidine-Containing Products, or failed to disclose that consumption of
      Ranitidine-Containing Products increases the risk of developing cancer;

(i)   whether Defendants’ failure to disclose that Ranitidine-Containing
      Products, including Zantac, produce high levels of the carcinogen NDMA
      was unfair, deceptive, fraudulent, or unconscionable;

(j)   whether Defendants’ failure to disclose that consumption of Ranitidine-
      Containing Products, including Zantac increase the risk of developing
      cancer was unfair, deceptive, fraudulent, or unconscionable;

(k)   whether Defendants’ conduct was knowing or willful;

(l)   whether Defendants’ conduct violated state consumer-protection statutes;

(m)   whether Defendants were negligent in selling Ranitidine-Containing
      Products, including Zantac;

(n)   whether Defendants are strictly liable for designing or manufacturing
      Ranitidine-Containing Products, including Zantac, or for failing to warn of
      the risks associated with use of the drug;

(o)   whether Plaintiffs and the Class members are entitled to medical monitoring
      because of their exposure to Ranitidine-Containing Products, including
      Zantac;

(p)   whether Defendants breached express warranties;

(q)   whether Defendants breached implied warranties;

(r)   whether Defendants have been unjustly enriched;

(s)   whether Defendants’ conduct violated the MMWA, 15 U.S.C. §2301, et
      seq.;

(t)   whether Defendants conducted an enterprise in violation of RICO, 18
      U.S.C. §1961, et seq.;

(u)   whether Plaintiffs and the Class members are entitled to recover damages
      and the appropriate measure of those damages;


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                (v)     the appropriate measure of disgorgement; and

                (w)     the type and format of injunctive relief that is appropriate.

                Superiority. A class action is superior to any other available means for the fair and

efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered

in the management of this class action. The quintessential purpose of the class action mechanism

is to permit litigation against wrongdoers even when damages to an individual plaintiff may not

be sufficient to justify individual litigation. Here, the damages suffered by Plaintiffs and the Class

are relatively small compared to the burden and expense required to individually litigate their

claims against Defendants, and thus, individual litigation to redress Defendants’ wrongful conduct

would be impracticable. Individual litigation by each Class member would also strain the court

system, create the potential for inconsistent or contradictory judgments, and increase the delay and

expense to all parties and the court system. By contrast, the class action device presents far fewer

management difficulties and provides the benefits of a single adjudication, economies of scale,

and comprehensive supervision by a single court.

                Injunctive and Declaratory Relief. Class certification is also appropriate under

Rule 23(b)(2) because Defendants acted and refused to act on grounds generally applicable to the

Class as a whole, such that final injunctive relief is appropriate with respect to the Class as a whole.

Such injunctive relief includes, but is not limited to, the implementation and funding of a medical

monitoring program for Plaintiffs and Class members that is sufficient to monitor their health and

to ensure the early detection of diseases, specifically cancers caused by ingesting ranitidine.

                Plaintiffs reserve the right to seek certification under Rule 23(c)(4) of common

questions related to Defendants’ knowledge, conduct, products, and duties.




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                                     CAUSES OF ACTION

VI.    CAUSE OF ACTION BROUGHT ON BEHALF OF THE RICO CLASS


             Violations of the Racketeer Influenced and Corrupt Organizations Act,
                                      18 U.S.C. §1962(c)-(d)
                                   (Against RICO Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                Plaintiffs bring this Count on behalf of the RICO Class (for the purpose of this

section, the “Class”) against Sanofi, BI, Pfizer, and GSK (for purpose of this Count, these

Defendants are collectively referred to as “RICO Defendants”).

                Plaintiffs and other Class Members are “persons” within the meaning of 18 U.S.C.

§1961(3), and each is a “person injured in his [or her] business or property” by reason of RICO

Defendants’ violation of RICO within the meaning of 18 U.S.C. §1964(c).

                At all relevant times, each RICO Defendant has been a “person” within the meaning

of 18 U.S.C. §1961(3) because each was capable of holding “a legal or beneficial interest in

property.”

                RICO Defendants conduct their business – both legitimate and illegitimate – by and

through various affiliates and subsidiaries, each of which is a separate legal entityBI operates by

and through Boehringer Ingelheim International GmbH, Boehringer Ingelheim Pharmaceuticals,

Inc., Boehringer Ingelheim Corporation, and Boehringer Ingelheim USA Corporation, among

others. Sanofi operates by and through Sanofi S.A., Sanofi-Aventis U.S. LLC and Sanofi US

Services Inc., and Chattem, Inc., among others. GSK operates by and through GlaxoSmithKline

plc, GlaxoSmithKline LLC, and GlaxoSmithKline (America) Inc., among others. Pfizer also

operated by and through various affiliates and subsidiaries at all relevant times. Defendants have


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also formed joint ventures and other agreements between and among each other at various points

in time during the scheme as detailed herein.

       A.      Zantac RICO Enterprise

               Section 1962(c) makes it “unlawful for any person employed by or associated with

any enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to

conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a

pattern of racketeering activity.” 18 U.S.C. §1962(c).

               Section 1962(d) makes it unlawful for “any person to conspire to violate” Section

1962(c), among other provisions. See 18 U.S.C. §1962(d).

               Zantac, the trade name for ranitidine, was for years the world’s top selling drug and

the first to top $1 billion in annual sales. The unprecedented success of Zantac was not an accident.

It was the direct result of aggressive marketing by RICO Defendants and others that pushed Zantac

as safe and effective for consumers. In their quest to reach ever new heights of sales and profits,

RICO Defendants recklessly continued to push Zantac as safe and effective even after they became

aware of the NDMA risks associated with ranitidine consumption.

               Instead of pulling Zantac from the shelves or warning the public and regulators

about its safety risks, RICO Defendants hid the truth. To do so, each Defendant was employed by

or associated with, and conducted or participated in the affairs of, one or several RICO enterprises

(defined below and referred to collectively as the “Zantac RICO Enterprise”), whose purpose was

to conceal or downplay the safety risks of Zantac. The motivation was simple: to increase

Defendants’ revenues and profits and minimize their losses from the manufacture and sale of

Zantac. As a direct and proximate result of their fraudulent scheme and common course of

conduct, RICO Defendants were able to extract billions of dollars from Plaintiffs and the Class. It


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was not until recently that Zantac remained on retail and pharmacy shelves in the United States.

RICO Defendants’ decades-long scheme violated Sections 1962(c) and (d) of RICO statute.

               At all relevant times, RICO Defendants, along with other individuals and entities,

including unknown third parties involved in the formulation, manufacture, and sale of Zantac

operated an association-in-fact enterprise, which was formed for the purpose of selling Zantac

throughout the U.S. and through which enterprise(s) they conducted a pattern of racketeering

activity under 18 U.S.C. §1961(4). The enterprise is referred to herein as the “Zantac RICO

Enterprise.”

               At all relevant times, the Zantac RICO Enterprise constituted a single “enterprise”

or multiple enterprises within the meaning of 18 U.S.C. §1961(4), as legal entities, as well as

individuals and legal entities associated-in-fact for the common purpose of engaging in RICO

Defendants’ unlawful profit-making scheme.

               The association-in-fact Zantac RICO Enterprise consisted of at least the following

entities and individuals, and likely others:

               (a)     Sanofi S.A. is a French multinational pharmaceutical company
                       headquartered in Paris and listed on the NASDAQ. As of June 8, 2020, it
                       had a market capitalization of $63.7 billion. The other Sanofi Defendants
                       are not publicly traded and thus have no SEC reporting obligations, but they
                       do have reporting obligations, protections and responsibilities unique to
                       their respective home states.

               (b)     BI is a German multinational company and one of the world’s largest
                       pharmaceutical companies and the largest private one. BI operates with 146
                       affiliates and is owned by the Boehringer, Liebrecht, and von Baumbach
                       families.

               (c)     GlaxoSmithKline plc is a British multinational pharmaceutical company
                       headquartered in the United Kingdom and listed on the New York Stock
                       Exchange. As of June 8, 2020, it had a market capitalization of $105 billion.
                       The other GSK Defendants are not publicly traded and thus have no SEC
                       reporting obligations, but do have reporting obligations, protections and
                       responsibilities unique to their respective home states.

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               (d)     Pfizer is an American multinational pharmaceutical company
                       headquartered in New York City and listed on the New York Stock
                       Exchange. As of June 8, 2020, it had a market capitalization of $203 billion.
                       Other Pfizer entities or divisions, such as Warner-Lambert Consumer
                       Healthcare, are not publicly traded and thus have no SEC reporting
                       obligations but do have reporting obligations, protections and
                       responsibilities unique to their respective home states.

               At all relevant times, the Zantac RICO Enterprise: (a) had an existence separate

and distinct from each RICO Defendant; (b) was separate and distinct from the pattern of

racketeering in which RICO Defendants engaged; and (c) was an ongoing and continuing

organization consisting of legal entities, including the Sanofi Defendants, the BI Defendants, the

GSK Defendants, and Pfizer, and/or other entities and individuals associated for the common

purpose of formulating, manufacturing, distributing, testing, and selling Zantac to Plaintiffs and

the Nationwide Class by concealing safety risks and deriving profits and revenues therefrom.

               Each member of the Zantac RICO Enterprise shared in the bounty generated by the

enterprise, i.e., by sharing the benefit derived from increased sales revenue generated by the

scheme to defraud Class members nationwide. If any member of the Zantac RICO Enterprise had

publicly revealed the safety risks, all would lose their revenues and profits from Zantac. At various

points in time, RICO Defendants entered into joint ventures and/or other agreements concerning

the rights to Zantac including for, example, the partnership between GSK and Warner Lambert

resulting in Warner-Lambert Consumer Healthcare; Pfizer’s acquisition of Warner Lambert; BI’s

acquisition of the rights to OTC Zantac; and Sanofi’s acquisition of the rights to OTC Zantac.

               The Zantac RICO Enterprise functioned by selling pharmaceutical products. Many

of the products were legitimate, including products that are not known to form NDMA when

consumed. However, RICO Defendants and their co-conspirators, through their illegal enterprise,

engaged in a pattern of racketeering activity, which involves a fraudulent scheme to increase


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revenues and minimize losses for Defendants and the other entities and individuals associated-in-

fact with the enterprise’s activities through their fraudulent scheme.

               The Zantac RICO Enterprise engaged in, and its activities affected, interstate and

foreign commerce, because it involved commercial activities across both state and national

boundaries, such as the marketing, promotion, advertisement, distribution, and sale of Zantac

throughout the country and beyond, and the receipt of monies from the sale of the same.

               Within the Zantac RICO Enterprise, there was a common communication network

by which co-conspirators shared information on a regular basis. The enterprise used this common

communication network for the purpose of formulating, manufacturing, marketing, distributing,

and selling Zantac nationwide.

               Each participant in the Zantac RICO Enterprise had a systematic linkage to others

through corporate ties, contractual relationships, financial ties, and continuing coordination of

activities. Through the Zantac RICO Enterprise, RICO Defendants functioned as a continuing unit

with the purpose of furthering the illegal scheme and their common purposes of increasing their

profits and revenues, as well as minimizing their losses.

               RICO Defendants participated in the operation and management of the Zantac

RICO Enterprise by directing its affairs, as described herein. While RICO Defendants participated

in, and are members of, the enterprise, they have a separate existence from the enterprise, including

distinct legal statuses, different offices and roles, bank accounts, officers, directors, employees,

individual personhood, reporting requirements, and financial statements.

               Each RICO Defendant exerted substantial control over the Zantac RICO Enterprise,

and participated in, operated and/or directed the enterprise, by:

               (a)     concealing or downplaying safety risks from the public and regulators;


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               (b)    misleading the public and regulators as to the nature and safe use of Zantac;

               (c)    formulating, manufacturing, distributing, promoting, and/or selling Zantac;

               (d)    misrepresenting or omitting safety risks (or causing such misrepresentations
                      and omissions to be made) in promotional materials or advertisements;

               (e)    concealing or downplaying safety risks in scientific studies;

               (f)    misrepresenting or omitting (or causing such misrepresentations and
                      omissions to be made) safety risks on FDA applications and other
                      communications with regulators;

               (g)    introducing Zantac into the stream of U.S. commerce with concealed safety
                      risks;

               (h)    entering into joint ventures or agreements concerning the rights to Zantac;

               (i)    persisting in the manufacturing, distribution, and sale of Zantac even after
                      questions were raised about safety risks;

               (j)    collecting revenues and profits in connection with the sale of Zantac; and/or

               (k)    ensuring that the other RICO Defendants and unnamed co-conspirators
                      complied with the scheme or common course of conduct.

               Without RICO Defendants’ willing participation, the Zantac RICO Enterprise’s

years-long scheme and common course of conduct would have been unsuccessful.

               RICO Defendants directed and controlled the ongoing organization necessary to

implement the scheme at meetings and through communications of which Plaintiffs cannot fully

know at present, because such information lies in Defendants’ and others’ hands. Similarly,

because the Defendants often refer to themselves as a group (i.e., “Sanofi,” “Boehringer

Ingelheim,” “GSK,” etc.), Plaintiffs cannot fully know the full extent of each individual corporate

entity’s involvement in the wrongdoing prior to having access to discovery.

       B.      Mail and Wire Fraud

               To carry out, or attempt to carry out the scheme to defraud, RICO Defendants, each

of whom is a person associated-in-fact with the Zantac RICO Enterprise, did knowingly conduct

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or participate, directly or indirectly, in the conduct of the affairs of the Zantac RICO Enterprise

through a pattern of racketeering activity within the meaning of 18 U.S.C. §§1961(1), 1961(5) and

1962(c), and which employed the use of the mail and wire facilities, in violation of 18 U.S.C.

§1341 (mail fraud) and §1343 (wire fraud).

               Specifically, as alleged herein, RICO Defendants have committed, conspired to

commit, and/or aided and abetted in the commission of, at least two predicate acts of racketeering

activity (i.e., violations of 18 U.S.C. §§1341 and 1343). The multiple acts of racketeering activity

that RICO Defendants committed, or aided or abetted in the commission of, were related to each

other, posed a threat of continued racketeering activity, and therefore constitute a “pattern of

racketeering activity.” The racketeering activity was made possible by RICO Defendants’ regular

use of the facilities, services, distribution channels, and employees of RICO Defendants in the

Zantac RICO Enterprise. RICO Defendants participated in the scheme to defraud by using e-mail,

mail, telephone, facsimile, TV, radio, and the internet to transmit mailings and wires in interstate

or foreign commerce.

               RICO Defendants used, directed the use of, and/or caused to be used, thousands of

interstate mail and wire communications in service of their scheme through virtually uniform

misrepresentations, concealments and material omissions.

               In devising and executing the illegal scheme, RICO Defendants devised and

knowingly carried out a material scheme and/or artifice to defraud Plaintiffs and the Nationwide

Class or to obtain money from them by means of materially false or fraudulent pretenses,

representations, promises, or omissions of material facts. For the purpose of executing the illegal

scheme, RICO Defendants committed these racketeering acts, which number in the thousands,

intentionally and knowingly with the specific intent to advance the illegal scheme.


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               RICO Defendants’ predicate acts of racketeering (18 U.S.C. §1961(1)) include, but

are not limited to:

               (a)    Mail Fraud: RICO Defendants violated 18 U.S.C. §1341 by sending or
                      receiving, or by causing to be sent and/or received, materials via U.S. mail
                      or commercial interstate carriers for the purpose of executing their unlawful
                      scheme to manufacture, market, and sell Zantac by concealing or
                      downplaying its safety risks.

               (b)    Wire Fraud: RICO Defendants violated 18 U.S.C. §1343 by transmitting
                      and/or receiving, or by causing to be transmitted and/or received, materials
                      by wire for the purpose of executing the unlawful scheme to defraud and
                      obtain money by concealing or downplaying the safety risks of Zantac.

               RICO Defendants’ use of the mails and wires include, but are not limited to, the

transmission, delivery, or shipment of the following, which were foreseeably caused to be sent as

a result of RICO Defendants’ illegal scheme:

               (a)    Zantac tablets, capsules, injections, syrup, and/or granules;

               (b)    false or misleading websites;

               (c)    false or misleading industry publications and/or studies;

               (d)    false or misleading sales and marketing materials, including websites, ads,
                      and brochures concealing the true nature of Zantac, such as the multi-media
                      “Captain Zantac” campaign;

               (e)    false or misleading product packaging and labels;

               (f)    false or misleading        FDA     applications   and    other   government
                      communications;

               (g)    fraudulently obtained governmental approvals;

               (h)    false or misleading communications intended to lull the public and
                      regulators from discovering the true nature of Zantac;

               (i)    documents and communications that facilitated the scheme, including but
                      not limited to, invoices, shipping records, reports, and correspondence;

               (j)    millions of dollars in compensation to company executives;

               (k)    deposits of proceeds; and/or


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              (l)     other documents and things.

              RICO Defendants (or their agents), for the purpose of executing the illegal scheme,

transmitted (or caused to be transmitted) in interstate commerce by means of wire

communications, certain writings, signs, signals and sounds, including the items described above

and the following examples:

              RICO Defendants used the internet and other electronic facilities to carry out the

scheme and conceal the ongoing fraudulent activities. Specifically, RICO Defendants omitted

safety risks of Zantac on websites, YouTube, Facebook, Twitter, and other online advertising, all

of which were intended to mislead the public and regulators.

 From                 To                 Date                  Description

 Sanofi subsidiary,   Twitter, San       September 3, 2019     Twitter feed: “The Captain
 Chattem Inc.,        Francisco,                               likes his wings 4-alarm spicy.”
 Chattenooga,         California
 Tennessee
 Sanofi subsidiary,   YouTube, San       July 3, 2019          Online Video Ad: “S. O. Neal:
 Chattem Inc.,        Mateo,                                   No Mess Fast Relief Heart Burn
 Chattenooga,         California                               Night”
 Tennessee
 Sanofi subsidiary,   YouTube, San       March 14, 2019        Zantac TV Commercial,
 Chattem Inc.,        Mateo,                                   “Family Taco Night”
 Chattenooga,         California
 Tennessee
 GSK, United          US Healthcare      Throughout 2018       Zantac 150 Tablets 500’s
 Kingdom              Professionals                            product description for US
                      via GSK Direct                           Healthcare professionals online
                      website
 Boehringer           YouTube, San       March 7, 2017         Online Video Ad: “Releases
 Ingelheim            Mateo,                                   Cooling Sensation in Mouth
 Pharmaceuticals,     California                               and Throat”
 Inc., Ridgefield,
 Connecticut
 Boehringer           Sanofi US,         February 24, 2017     Transfer of domain ownership
 Ingelheim            Bridgewater,                             of “RethinkPPIs.com” website
 Pharmaceuticals,     New Jersey                               claiming that non-prescription



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 From                  To                   Date                    Description

 Inc., Ridgefield,                                                  Zantac has “no long-term safety
 Connecticut                                                        concerns.”
 Boehringer            PR Newswire,         September 9, 2013       Press release re: launch of
 Ingelheim             New York, New                                “Captain Zantac™” 360-degree
 Pharmaceuticals,      York                                         brand equity campaign with
 Inc., Ridgefield,                                                  national TV ads, print, online,
 Connecticut                                                        and retail advertising
 Pfizer, New York,     Boehringer        October 13, 2006           Agreements and related
 New York              Ingelheim                                    correspondence re: BI
                       Pharmaceuticals,                             acquisition of OTC rights to
                       Inc., Ridgefield,                            Zantac from Pfizer
                       Connecticut
               RICO Defendants (or their agents), for the purpose of executing the illegal scheme,

sent and/or received (or caused to be sent and/or received) by mail or by private or interstate carrier,

shipments of Zantac drugs, and related documents by mail or a private carrier affecting interstate

commerce, including the items described above and the following examples:

 From                  To                 Date                   Description

 Boehringer            ESPN               March 2, 2015          Print Ad: “CAPTAIN Zantac IN
 Ingelheim             Magazine                                  HEARTBURN RESCUE: Stop!
 Pharmaceuticals,                                                That heartburn pill can take 24
 Inc., Ridgefield,                                               hours to work! Zantac is different!
 Connecticut                                                     Zantac rushes relief in as little as
                                                                 30 minutes. Zantac. No pill
                                                                 relieves heartburn faster!”
 GlaxoSmithKline,      U.S. Food &     September 4, 2009         Zantac FDA Label
 Research Triangle     Drug
 Park, North           Administration,
 Carolina              Silver Spring,
                       Maryland
 Pfizer Consumer       Madison         November 2, 2003          Print Ad: “Zantac 75 relieves
 Healthcare,           Wisconsin                                 heartburn fast, right when you
 Richmond,             State Journal                             need it. Prilosec OTC doesn’t.”
 Virginia
 U.S. Patent &         Warner-            February 2, 1996       Trademark statement of use
 Trademark             Lambert                                   processing complete
 Office,               Company
 Alexandria,
 Virginia

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               RICO Defendants also communicated by U.S. mail, by interstate facsimile, and by

interstate electronic mail with various other affiliates, regional offices, divisions, dealerships and

other third-party entities in furtherance of the scheme.

               The mail and wire transmissions described herein were made in furtherance of

RICO Defendants’ scheme and common course of conduct to sell Zantac, which Defendants knew

or recklessly disregarded as forming NDMA in the body.

               Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

facilities have been deliberately hidden and cannot be alleged without access to Defendants’ books

and records. However, Plaintiffs have described the types of, and in some instances, occasions on

which the predicate acts of mail and/or wire fraud occurred.            They include thousands of

communications to perpetuate and maintain the scheme, including the things and documents

described in the preceding paragraphs.

               RICO Defendants have not undertaken the practices described herein in isolation,

but as part of a common scheme and conspiracy. In violation of 18 U.S.C. §1962(d), RICO

Defendants conspired to violate 18 U.S.C. §1962(c), as described herein. Various other persons,

firms and corporations, including third-party entities and individuals not currently named as

defendants, have participated as co-conspirators with RICO Defendants in these offenses and have

performed acts in furtherance of the conspiracy to increase or maintain revenues, increase market

share, and/or minimize losses for RICO Defendants and their unnamed co-conspirators throughout

the illegal scheme and common course of conduct.

               RICO Defendants had knowledge of the fraud and aided and abetted others in the

violations of the above laws, thereby rendering them indictable as principals in the 18 U.S.C.

§§1341 and 1343 offenses.

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                  To achieve their common goals, RICO Defendants hid or downplayed the dangers

of Zantac and obfuscated its true nature even after regulators and others raised concerns. RICO

Defendants suppressed and/or ignored warnings from third parties, whistleblowers, and

governmental entities about the safety risks of Zantac.

                  RICO Defendants and each member of the conspiracy, with knowledge and intent,

have agreed to the overall objectives of the conspiracy and participated in the common course of

conduct to commit acts of fraud in formulating, manufacturing, distributing, marketing, and/or

selling Zantac.

                  Indeed, for the conspiracy to succeed each RICO Defendant and their co-

conspirators had to agree to implement and use the similar devices and fraudulent tactics—

specifically concealing or downplaying the safety risks of Zantac forming NDMA in the body.

                  RICO Defendants knew and intended that the public and regulators would rely on

their material omissions. RICO Defendants knew and intended that Plaintiffs and the Nationwide

Class would incur costs as a result. In fact, Plaintiffs, along with the consuming public and others

across the country, relied upon the concealment of material facts caused by them. Plaintiffs’

reliance is made obvious by the fact that they bought drugs that were not safe for use and never

should have been introduced into the U.S. stream of commerce as made plain by the fact that they

have been pulled from the shelves now.

                  Unbeknownst to Plaintiffs and the Nationwide Class, RICO Defendants engaged in

a pattern of related and continuous predicate acts for many years. The predicate acts constituted a

variety of unlawful activities, each conducted with the common purpose of obtaining significant

monies and revenues from Plaintiffs and Class members based on the concealment of the truth,

while providing Zantac drugs that were worth significantly less than the purchase price paid. The


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predicate acts also had the same or similar results, participants, victims, and methods of

commission. The predicate acts were related and not isolated events.

               The predicate acts all had the purpose of generating significant revenue and profits

for RICO Defendants (and minimizing their losses) at the expense of Plaintiffs and Class members.

The predicate acts were committed or caused to be committed by RICO Defendants through their

participation in the Zantac RICO Enterprise and in furtherance of the scheme, and were interrelated

in that they involved obtaining Plaintiffs’ and Class members’ funds and avoiding the expenses

and loss of revenues associated with recalling the drugs.

               During the formulation, manufacture, marketing, and sale of Zantac, RICO

Defendants came across and/or shared information about the risk that ranitidine would form a

cancer-causing chemical in the body. Nevertheless, RICO Defendants shared and/or disseminated

information that misrepresented Zantac as safe while concealing its risks.

               By reason of, and as a result of the conduct of RICO Defendants, and in particular,

their pattern of racketeering activity, Plaintiffs and Class members have been injured in their

business and/or property in multiple ways, including, but not limited to,:

               (a)    the purchase price of Zantac;

               (b)    overpayment for Zantac; and/or

               (c)    other out-of-pocket expenses.

               RICO Defendants’ violations of 18 U.S.C. §1962(c) and (d) have directly and

proximately caused injuries and damages to Plaintiffs and Class members. Plaintiffs and Class

members are entitled to bring this action for three times their actual damages, as well as

injunctive/equitable relief, costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c).




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VII.   CAUSES OF ACTION BROUGHT ON BEHALF OF THE NATIONWIDE CLASS


                                       Unjust Enrichment
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Nationwide Class (for purposes of

this section, “Class”) against all Defendants under the common law of unjust enrichment. In the

alternative, Plaintiffs bring this cause of action on behalf of themselves under the laws of the state

in which each Plaintiff resides and/or purchased Ranitidine-Containing Products, and on behalf of

a Class comprised of members from each Plaintiff’s respective state.

               Plaintiffs and Class members conferred a benefit on Defendants in the form of

payment of monies to purchase worthless Ranitidine-Containing Products, or were otherwise in

privity with Defendants through said transaction.

               In exchange for their payment of the purchase price of Defendants’ Ranitidine-

Containing Products, Plaintiffs and Class members reasonably expected they would receive safe

and effective medications. However, because the Ranitidine-Containing Products contained

dangerously high levels of NDMA, the medications were unfit for human consumption and

therefore unfit for their intended purpose.

               As a result of the Defendants’ misrepresentations and omissions, Plaintiffs and

Class members were not aware of the true facts concerning the Ranitidine-Containing Products

and did not benefit from the Defendants’ misconduct.

               The Defendants readily accepted and retained these benefits from Plaintiffs and

Class members and knowingly benefitted from their unjust conduct – at Plaintiffs’ and the Class



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members’ expense – by selling worthless Ranitidine-Containing Products that were unfit for their

intended use and unsafe for human consumption.

               It is inequitable and unconscionable for the Defendants to retain these benefits

because they were attained by misrepresenting and fraudulently concealing the true facts

concerning the Ranitidine-Containing Products from Plaintiffs and members of the Class, who

would not have purchased the medications at all, but for the Defendants’ misrepresentations and

omissions. Additionally, the Defendants’ distribution and sale of Ranitidine-Containing Products

in the United States was illegal because they were adulterated, misbranded, and unfit for human

consumption.

               Equity cannot in good conscience permit the Defendants to retain the benefits

derived from Plaintiffs and Class members through their unjust and unlawful acts, and therefore

restitution or disgorgement of the amount of their unjust enrichment is required.

               Plaintiffs and members of the Class do not have an adequate remedy at law.


          Violations of the Magnuson-Moss Warranty Act, 15 U.S.C. §2301, et seq.
                                 (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Nationwide Class (for purposes of

this section, “Class”) against all Defendants.

               Plaintiffs and members of the Class are “consumer[s]” within the meaning of 15

U.S.C. §2301(3).

               Each Defendant is a “supplier” and “warrantor” within the meaning of 15 U.S.C.

§2301(4) and (5), respectively.



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               The Ranitidine-Containing Products purchased by Plaintiffs and members of the

Class are “consumer product[s]” within the meaning of 15 U.S.C §2301(1).

               15 U.S.C. §2310(d)(1) provides a cause of action for any consumer who is damaged

by the failure of a supplier or warrantor to comply with a written or implied warranty.

               The amount in controversy of Plaintiffs’ individual claims meets or exceeds $25.00

in value. In addition, the amount in controversy meets or exceeds $50,000 in value (exclusive of

interest and costs) on the basis of all claims to be determined in this lawsuit.

               At all relevant times, the Defendants expressly represented and warranted to the

purchasers of their products, by and through statements in labels, publications, package inserts,

and other written materials intended for consumers and the general public, that Ranitidine-

Containing Products were safe for human consumption and fit to be used for their intended

purpose. The Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products, representing the quality to consumers and the public in such a way as to induce their

purchase or use, thereby making an express warranty that Ranitidine-Containing Products would

conform to the Defendants’ representations.

               Defendants represented to Plaintiffs and members of the Class via media,

advertising, marketing, websites, social media, packaging, labeling, and promotions that:

               (a)     Ranitidine-Containing Products were both safe and effective for the lifetime
                       of the product, when in fact, they contain unsafe levels of NDMA – far
                       exceeding the 96 ng limit – and which increase as the product ages;

               (b)     consumption of Ranitidine-Containing Products would not result in
                       excessive amounts of NDMA accumulating in their bodies;

               (c)     the levels of NDMA in Ranitidine-Containing Products have no practical
                       clinical significance; and




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               (d)    Ranitidine-Containing Products were safe for their intended use when, in
                      fact, Defendants knew or should have known, they were unsafe for their
                      intended purpose.

               The representations about Ranitidine-Containing Products, as alleged herein,

contained or constituted affirmations of fact or promises made by the seller to the buyer, which

related to the goods and became part of the basis of the bargain, creating an express warranty that

the goods would conform to the representations.

               Defendants breached these express warranties because, among other things,

Ranitidine-Containing Products were defective, dangerous, and were not merchantable or safe for

their intended use.

               Under state law, a warranty that goods shall be merchantable is implied in every

contract for the sale of goods by a merchant that deals in such goods. Before Plaintiffs’ and Class

members’ purchase and/or use of Ranitidine-Containing Products, the Defendants impliedly

warranted to their consumers, including Plaintiffs and members of the Class, that Ranitidine-

Containing Products were of merchantable quality and safe and fit for their intended use;

specifically, as consumer medication.

               Plaintiffs and members of the Class were the intended third-party beneficiaries of

the implied warranties made by Defendants to purchasers of their Ranitidine-Containing Products.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

Defendants or their agents (including distributors and dealers) to establish privity of contract

between Defendants, on the one hand, and Plaintiffs and each member of the Class, on the other

hand.

               Defendants breached their implied warranty to Plaintiffs and members of the Class

in that Ranitidine-Containing Products were not of merchantable quality, safe, nor fit for their


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intended use. Ranitidine-Containing Products have dangerous propensities when used as intended

and can cause serious injuries.

               As a direct and proximate result of Defendants’ breach of the written and implied

warranties, Plaintiffs and members of the Class have suffered damages. Plaintiffs and Class

members would not have purchased the drug, did not receive the benefit of the bargain, and/or

suffered out-of-pocket loss.

               No Defendant has acted upon the opportunity to cure its failure to uphold its express

and implied warranties concerning the Ranitidine-Containing Products.

               The warranty laws of each state, which are hereby incorporated into this Count, are

set forth below.

               As a result of Defendants’ breaches of express and implied warranties, as alleged

herein, Plaintiffs and the Class members seek an order awarding compensatory and punitive

damages, costs, attorneys’ fees, and any other just and proper relief available under the law.


                              Common Law Fraud
 (Against Brand-Name Manufacturer Defendants, Generic Manufacturer Defendants, and
                             Repackager Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Nationwide Class (for purposes of

this section, “Class”) against Brand-Name Manufacturer Defendants, Generic Manufacturer

Defendants, and Repackager Defendants (for purposes of this section, “Defendants”) under the

common law of fraud. In the alternative, Plaintiffs bring causes of action on behalf of themselves

under the laws of the state in which each Plaintiff resides and/or purchased Ranitidine-Containing

Products, and on behalf of each State Class.


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               At all relevant times, Defendants knew that the Ranitidine-Containing Products

contained unsafe levels of NDMA.

               Defendants falsely represented – affirmatively or by omission – to Plaintiffs and

the Class via media, advertising, marketing, websites, social media, packaging, labeling, and

promotions that:

               (a)    Ranitidine-Containing Products were both safe and effective for the lifetime
                      of the product, when in fact, they contain unsafe levels of NDMA – far
                      exceeding the 96 ng limit – and which increase as the product ages;

               (b)    consumption of Ranitidine-Containing Products would not result in
                      excessive amounts of NDMA accumulating in their bodies;

               (c)    the levels of NDMA in Ranitidine-Containing Products have no practical
                      clinical significance; and

               (d)    Ranitidine-Containing Products were safe for their intended use when, in
                      fact, Defendants knew, or should have known, they were unsafe for their
                      intended purpose.

               Defendants’ representations were false at the time they were made, Defendants had

knowledge of their falsity or acted with reckless disregard as to their truth, and intended for

Plaintiffs and the Class to rely on the false representations so that they would purchase and

consume the Ranitidine-Containing Products.

               These misrepresented, omitted, and undisclosed facts were material because they

would be reasonably and justifiably relied on by a reasonable person, like Plaintiffs and the Class

members, in deciding whether to purchase or use Ranitidine-Containing Products and because they

render the Ranitidine-Containing Products worthless.

               Defendants knowingly and intentionally omitted, concealed, and/or failed to

disclose to Plaintiffs, the Class, the healthcare industry, and the public, these material facts

regarding the Ranitidine-Containing Products’ dangers.



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               Defendants had a duty to disclose the fact that Ranitidine-Containing Products

contained elevated levels of NDMA that rendered them unsafe for human consumption because:

               (a)     Defendants had exclusive and/or far superior knowledge and access to the
                       facts regarding the defects associated with the Ranitidine-Containing
                       Products than Plaintiffs and members of the Class, and Defendants knew
                       the facts regarding defects associated with the Ranitidine-Containing
                       Products were not known to, or reasonably discoverable by, Plaintiffs and
                       members of the Class;

               (b)     the defect in the Ranitidine-Containing Products was a valuable fact that
                       was not disclosed to Plaintiffs and members of the Class because if
                       Plaintiffs and members of the Class had been apprised of the true nature of
                       the medications, they would not have purchased or used the medications;

               (c)     Plaintiffs and members of the Class had no opportunity to ascertain the facts
                       regarding the true nature of the medications and could not have done so
                       through exercise of reasonable diligence;

               (d)     Defendants intentionally concealed the foregoing from Plaintiffs and
                       members of the Class; and

               (e)     Defendants knew that the defects associated with the Ranitidine-Containing
                       Products were facts basic to the transaction that Plaintiffs and Class
                       members would reasonably expect to be disclosed, and knew that Plaintiffs
                       or the Class would purchase the Ranitidine-Containing Products under the
                       mistaken belief that they were safe for human consumption.

               Given Defendants’ exclusive knowledge of the defect in the Ranitidine-Containing

Products, equity and good conscience mandate that Defendants should have disclosed the defect

to Plaintiffs and the Class.

               As set forth at length above, Defendants actively concealed a material fact with an

intent to deceive or mislead. Defendants additionally had a duty to disclose because the nature of

the facts not disclosed by Defendants was material to Plaintiffs’ and the Class’s decision to

purchase the medications. If Plaintiffs and the Class had known the true nature of the medications,

they would not have purchased them.




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               Plaintiffs and the Class reasonably and justifiably relied on Defendants’

misrepresented, omitted, concealed, and undisclosed material facts about the Ranitidine-

Containing Products, including facts related to their safety and efficacy and the severity, duration,

and extent of risk associated with their use.

               Defendants misrepresented, omitted, concealed, and/or failed to disclose these

material facts to protect their profits and to avoid recalls that would hurt their brands’ images and

cost the Defendants money.

               Defendants’ fraudulent conduct directly and proximately caused Plaintiffs and the

Class to: (a) be subjected to the accumulation of NDMA in their bodies, including the resulting

cellular damage, subcellular damage, and related symptoms; and (b) sustain a significantly

increased risk of developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and the Class have suffered physical injury, have a significantly increased risk of developing

serious and potentially deadly cancers, and have suffered and will suffer economic losses and

expenses associated with ongoing medical monitoring.

               Further, as a direct and proximate result of Defendants’ concealment, omission,

and/or failure to disclose material facts, Plaintiffs and the Class suffered damages through their

purchase of Ranitidine-Containing Products that are unsafe for human consumption.                Had

Defendants not omitted, concealed, and failed to disclose material facts as alleged herein, Plaintiffs

would not have purchased the drug.

               As a result of Defendants’ fraudulent conduct, Plaintiffs and members of the Class

have been injured because they purchased a drug they otherwise would not have purchased and,

thus, did not receive the benefit of the bargain and suffered out-of-pocket loss.


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VIII. CAUSES OF ACTION BROUGHT ON BEHALF OF STATE CLASSES


                                          Negligence
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Alabama, Alaska, Arizona,

Arkansas, California, Colorado, Connecticut, Delaware, District of Columbia, Florida, Georgia,

Hawaii, Idaho, Illinois, Iowa, Kentucky, Maine, Maryland, Massachusetts, Michigan, Minnesota,

Missouri, Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York,

North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Puerto Rico, Rhode Island, South

Carolina, South Dakota, Utah, Vermont, Virginia, West Virginia, Wisconsin, and Wyoming

Classes (collectively for the purposes of this section, the “Class”) against all Defendants.

               The Connecticut Class brings this product liability action under the Connecticut

Products Liability Act, Conn. Gen. Stat. §52-572m, et seq.

               The Michigan Class brings this product liability action pursuant to Michigan

Compiled Laws §§600.2945-600.2949.

               The New Jersey Class brings this action only as it relates to claims predicated on

Defendants’ negligent conduct and the harm that conduct caused to Plaintiffs and New Jersey Class

members.

               The Puerto Rico Class brings this action pursuant to Article 1802 of the Puerto Rico

Civil Code, P.R. Laws tit. 31, §5141.

               The Ohio Class brings this action only as it relates to the economic harm Plaintiffs

and Ohio State Class members suffered due to Defendants’ negligence.



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               The Oregon Class brings this product liability action pursuant to the Oregon

Products Liability Act, Or. Rev. Stat. Ann. §30.900, et seq., except as to the allegations related to

Defendants’ post-sale conduct and the resulting harm therefrom, which the Oregon Class members

bring under state common-law.

               Defendants, directly or indirectly, caused Ranitidine-Containing Products to be

sold, distributed, marketed, promoted, and/or used by Plaintiffs and Class members.

               At all relevant times, Defendants had a duty to exercise reasonable care and act as

a similarly situated and reasonably prudent designer, manufacturer, packager, distributor, and/or

seller would in the design, research, manufacture, labeling, testing, marketing, advertisement,

supply, promotion, packaging, warning, sale, storage, handling, and distribution of Ranitidine-

Containing Products so as to prevent harm to others, including the duty to take all reasonable steps

necessary to manufacture, promote, and/or sell a product that was not unreasonably dangerous to

foreseeable users and consumers.

               At all relevant times, Defendants had the duty to stay current on scientific

developments relevant to Ranitidine-Containing Products, to possess the knowledge available to

reasonable pharmaceutical manufacturers, distributors, and packagers in similar positions, and to

apply that information in order to recognize and consider the foreseeable and unreasonable risks

of harm that Ranitidine-Containing Products posed to users and consumers.

               At all relevant times, Defendants’ duty included exercising ordinary and due care

to adequately test and inspect Ranitidine-Containing Products and the chemical compounds used

therein so as to recognize and prevent any condition that rendered Ranitidine-Containing Products

unsafe for their intended or foreseeable use.




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               Additionally, at all relevant times, Defendants had a duty to exercise reasonable

care in providing both OTC users and consumers and prescription users’ healthcare providers with:

(a) specific directions for safe use of Ranitidine-Containing Products; (b) accurate, true, and

correct information concerning the known or foreseeable risks of using Ranitidine-Containing

Products as directed; and (c) appropriate, complete, and accurate warnings concerning the potential

adverse effects of Ranitidine-Containing Products when used as intended – in particular, their

ability to transform into carcinogenic compound, NDMA – through a means that could reasonably

be expected to reach foreseeable users and consumers. Defendants had a duty to provide adequate

warnings while Ranitidine-Containing Products remained on the market.

               At all relevant times, Defendants had a further duty to avoid tendering into the

marketplace a product which Defendants knew, or should have known, posed risks outweighing

its benefits or which they knew, or should have known, was too dangerous to be used by anyone.

Defendants’ duty included exercising reasonable care to cease marketing and discontinue

Ranitidine-Containing Products when Defendants knew, or had reason to know, that the product

should not be used for any purpose considering its relative risks.

               At all relevant times, Defendants knew – or in the exercise of ordinary and

reasonable care, should have known – of the hazards and dangers associated with Ranitidine-

Containing Products’ intended or foreseeable use. Specifically, Defendants knew or should have

known of the carcinogenic properties of NDMA when Ranitidine-Containing Products are ingested

and/or the elevated levels of NDMA that result from the transport and storage of Ranitidine-

Containing Products. Accordingly, Defendants knew, or reasonably should have known, that

Ranitidine-Containing Products’ carcinogenic properties made them so dangerous that they should

not have been purchased or consumed by anyone.


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               Accordingly, at all relevant times, Defendants knew – or in the exercise of ordinary

and reasonable care, should have known – that the NDMA in Ranitidine-Containing Products

could foreseeably cause or be associated with Plaintiffs’ and Class members’ injuries and, thus,

could create a dangerous and unreasonable risk of injury to the end users of their products,

including Plaintiffs and Class members.

               Defendants had no reason to believe that foreseeable users and consumers of

Ranitidine-Containing Products, including Plaintiffs and Class members, were aware of

Ranitidine-Containing Products’ potential to expose users to NDMA and/or of the magnitude of

the non-obvious risks associated with the drugs’ intended uses.

               Defendants also knew – or in the exercise of ordinary and reasonable care, should

have known – that healthcare providers would not be in a position to reduce the risks of harm to

users and consumers who purchased Ranitidine-Containing Products without a prescription.

               Accordingly, Defendants knew or reasonably should have known that Ranitidine-

Containing Products’ inherently dangerous properties – specifically, their propensity to transform

into the carcinogenic NDMA poison when transported and consumed – far outweighed any benefit

or utility derived from the product and any burden of remedying that danger.

               As such, Defendants breached their duty of reasonable care and failed to exercise

ordinary care in the design, research, development, manufacture, testing, labeling, marketing,

supply, promotion, advertisement, packaging, warning, sale, and distribution of Ranitidine-

Containing Products in that Defendants: (a) manufactured and produced defective Ranitidine-

Containing Products, which carry the potential to transform into the carcinogenic compound

NDMA; (b) knew, or had reason to know, of the defects inherent in their products; (c) knew, or

had reason to know, that those defects created a significant risk of harm and unreasonably


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dangerous side effects in the course of the drugs’ intended use; (d) knew, or had reason to know,

that consumers were unaware of the risks related to NDMA in Ranitidine-Containing Products;

and (e) failed to prevent or adequately warn of these risks and injuries. Indeed, Defendants

deliberately refused to test Ranitidine-Containing Products because they knew that the chemical

posed serious health risks to humans.

               Outside of the labeling context, Defendants were negligent in their promotion of

Ranitidine-Containing Products by failing to prevent foreseeable harm and omitting material risk

information as part of their promotion and marketing of Ranitidine-Containing Products through

the media of internet, television, print advertisements, etc. Nothing prevented Defendants from

presenting the truth concerning the risks associated with the use of Ranitidine-Containing Products

in their promotional efforts. Indeed, Defendants had a duty to disclose the truth regarding those

risks, outside of the context of labeling.

               Despite their ability and ample means to investigate, study, and test their products

and provide adequate warnings, Defendants failed to do so. Instead, Defendants wrongfully

concealed information and made further false and misleading statements concerning the safety and

use of Ranitidine-Containing Products.

               Defendants’ acts of negligence include, but are not limited to, the following:

               (a)     manufacturing, producing, formulating, creating, developing, designing,
                       selling, and/or distributing Ranitidine-Containing Products without
                       thorough and adequate pre- and post-market testing;

               (b)     manufacturing, producing, promoting, formulating, creating, developing,
                       designing, selling, and/or distributing Ranitidine-Containing Products
                       while negligently and/or intentionally concealing and failing to disclose the
                       results of trials, tests, and studies of Ranitidine-Containing Products and the
                       carcinogenic potential of NDMA created in the human body as a result of
                       ingesting Ranitidine-Containing Products, and, consequently, the risk of
                       serious harm associated with human use of Ranitidine-Containing Products;


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(c)   failing to exercise reasonable and prudent care in the design, research,
      manufacture, and development of Ranitidine-Containing Products to avoid
      the risk of serious harm associated with the drugs’ foreseeable use;

(d)   introducing Ranitidine-Containing Products into the United States market
      despite knowing of the risks inherent to using ranitidine before the drugs’
      launch;

(e)   failing to design and manufacture Ranitidine-Containing Products to ensure
      they were at least as safe and effective as other medications on the market
      intended to treat the same symptoms;

(f)   failing to adopt a reasonable and available alternative design and continuing
      to design, manufacture, and introduce Ranitidine-Containing Products into
      the market despite knowing that the risks inherent to Ranitidine-Containing
      Products outweighed any utility or potential benefit derived from the
      product;

(g)   failing to provide adequate instructions, guidelines, and safety precautions
      to persons that Defendants could reasonably foresee would use Ranitidine-
      Containing Products;

(h)   failing to disclose to Plaintiffs and Class members, consumers, and the
      general public that use of Ranitidine-Containing Products presented severe
      risks of cancer;

(i)   failing to warn Plaintiffs, Class members, consumers, and the general public
      that the drugs’ risk of harm was unreasonable and that safer and effective
      alternatives were available;

(j)   failing to warn of or disclose Ranitidine-Containing Products’ unreasonable
      risk to prescribing physicians of foreseeable users;

(k)   after obtaining additional information about the risks of Ranitidine-
      Containing Products post-sale, continually failing to warn users, consumers,
      and the medical profession of those risks;

(l)   systematically suppressing, trivializing, and obscuring the scientific
      evidence of Ranitidine-Containing Products’ dangerous characteristics and
      side effects while over exaggerating the weight of evidence regarding
      Ranitidine-Containing Products’ safety;

(m)   saturating the relevant markets available to Plaintiffs and Class members
      with Ranitidine-Containing Products despite knowing of the drugs’
      unreasonable danger compared to other treatment options;



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               (n)    overstating Ranitidine-Containing Products’ superiority compared with
                      other heartburn treatments that do not contain ranitidine;

               (o)    representing before and after sale by and through statements in labels,
                      publications, package inserts, and other written materials intended for the
                      medical profession, consumers, and the general public that Ranitidine-
                      Containing Products were safe for their intended use when, in fact,
                      Defendants knew, or should have known, the products were not safe for
                      their intended purpose;

               (p)    declining to make or propose any changes to Ranitidine-Containing
                      Products’ labeling or other promotional materials that would alert
                      consumers and the general public, including Plaintiffs and Class members,
                      of the risks of Ranitidine-Containing Products;

               (q)    advertising, marketing, and recommending use of the Zantac products,
                      while concealing and failing to disclose or warn of the dangers known by
                      Defendants to be associated with or caused by the use of or exposure to
                      Ranitidine-Containing Products;

               (r)    continuing to manufacture, advertise, promote, market, and sell of
                      Ranitidine-Containing Products after obtaining additional, post-sale
                      knowledge that the products were unreasonably unsafe and dangerous;

               (s)    failing to disclose the results of post-sale trials, tests, and studies of
                      Ranitidine-Containing Products that evidenced the drugs’ carcinogenic
                      properties;

               (t)    knowingly preventing consumers from timely seeking appropriate and
                      necessary medical treatment for the harmful health effects of NDMA by
                      omitting potential serious and adverse side effects from their promotion,
                      advertising, and marketing of Ranitidine-Containing Products;

               (u)    continuing to sell, promote, advertise, and market Ranitidine-Containing
                      Products in the United States even after virtually every other nations’ health
                      agencies had banned sale of Ranitidine-Containing Products due to their
                      unacceptable levels of NDMA; and

               (v)    continuing to sell, promote, advertise, market, and encourage the purchase
                      and use of Ranitidine-Containing Products in the United States even after
                      the FDA announced that it had found unacceptable levels of NDMA in the
                      product.

               Defendants were also negligent in that they labeled Ranitidine-Containing Products

in a false and misleading manner that omitted any mention of the drugs’ propensity to expose users


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to NDMA and failed to suggest or recommend a manner of using Ranitidine-Containing Products

so that they are not dangerous to users’ and consumers’ health when used as labeled and directed,

thereby manufacturing, repackaging, offering for sale, delivering, and/or holding misbranded

drugs in violation of 21 U.S.C. §§331, 352(a)(1), (j) and the following parallel state statutes:

              Alabama Code §§20-1-20(13) and 20-1-27(1);

              Alaska Statutes §§17.20.090(1), (10) and 17.20.290(a)(1);

              Arizona Statutes §§32-1965(1), (2) and 32-1967(1), (12);

              Arkansas Code §§20-56-211(1), (10) and 20-56-215(1);

              California Health and Safety Code §§111295, 11330, and 111440;

              Colorado Statutes §§25-5-403(1)(a), (b) and 25-5-415(1)(a), (j);

              Title 16, Delaware Code §§3302 and 3308(3);

              District of Columbia Code §48-702(2);

              Florida Statutes §§499.005(1) and 499.007(1), (10);

              Georgia Code §§26-3-3(1) and 26-3-8(a)(1), (10);

              Hawaii Revised Statutes §§328-6(1) and 328-15(1), (10);

              Idaho Code §§37-115(a) and 37-127(a), (j);

              Chapter 410, Illinois Statutes §§620/3.1 and 620/15(a), (j);

              Iowa Code §§126.3(1) and 126.10(1)(a), (j);

              Kentucky Statutes §§217.065(1), (10) and 217.175(1);

              Maryland Code, Health–General §§21-217(b)(1), (6) and 21-256(1);

              Massachusetts General Laws chapter 94 §§187 and 190;

              Minnesota Statutes §§151.34(1) and 151.36(1);

              Missouri Statutes §§196.100(1) and 196.015(1);

              Montana Code §§50-31-306(1)(a), (l) and 50-31-501(1);

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              Nebraska Revised Statutes §§71-2470(1) and 71-2481;

              Nevada Statutes §§585.410, 585.470, and 585.520(1);

              New Hampshire Revised Statutes §§146:1(I) and 146:6(I), (X);

              New Mexico Statutes §§26-1-3(A) and 26-1-11(A)(1), (G);

              New York Education Law §§6811 and 6815;

              North Dakota Century Code §§19-02.1-02(1) and 19-02.1-14(1), (11);

              Ohio Code §§3715.52(A)(1) and 3715.64(A)(1), (11);

              Oklahoma Statutes title 63 §§1-1402(a) and 1-1409(a), (j);

              Title 35, Pennsylvania Statutes §§780-108(1), (10) and 780-113(a)(1);

              Title 21, Rhode Island General Laws §§21-3-3(1) and 21-3-15(a)(1), (10);

              South Carolina Code §§39-23-40(a), (j) and 39-23-80(A)(1);

              South Dakota Code §§39-15-5 and 39-15-10;

              Title 18, Vermont Statutes §§4052(1) and 4064(1), (10);

              Virginia Code §§54.1-3457(1) and 54.1-3462(1), (8);

              West Virginia Code §16-7-1; and

              Wyoming Statutes §§35-7-111(a)(i)–(iv), (vi) and 35-7-116.

               Defendants further breached their duty of care and were negligent in that while

representing carcinogenic Ranitidine-Containing Products as safe, Defendants failed to employ

manufacturing methods that ensured Ranitidine-Containing Products met the quality and purity

characteristics they purported to possess, thereby manufacturing, repackaging, offering for sale,

selling, delivering, and/or holding adulterated drugs in violation of 21 U.S.C. §§331 and

351(a)(2)(B) and the following parallel state statutes:

              Alabama Code §§20-1-24 and 20-1-27(1);

              Alaska Statutes §17.20.290(a)(1);

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   Arizona Statutes §§32-1965(1), (2) and 32-1966(3);

   Arkansas Code §20-56-215(1);

   California Health and Safety Code §§111295 and 111400;

   Colorado Statutes §§25-5-403(1)(a),(b) and 25-5-414(1)(c);

   Title 16, Delaware Code §§3302 and 3303(2);

   District of Columbia Code §48-702(2);

   Florida Statutes §§499.005(1) and 499.006(3);

   Georgia Code §26-3-3(1);

   Hawaii Revised Statutes §§328-6(1) and 328-14(1)(B)(ii);

   Idaho Code §37-115(a);

   Chapter 410, Illinois Statutes §§620/3.1 and 620/14(a)(2)(B);

   Iowa Code §§126.3(1) and 126.9(1)(c);

   Kentucky Statutes §217.175(1);

   Maryland Code, Health–General §§21-216(c)(5)(2) and 21-256(1);

   Massachusetts General Laws chapter 94 §§186 and 190;

   Minnesota Statutes §§151.34(1) and 151.35(1);

   Missouri Statutes §196.015(1);

   Montana Code §§50-31-305(3) and 50-31-501(1);

   Nebraska Revised Statutes §§71-2461(2) and 71-2481;

   Nevada Statutes §585.520(1);

   New Hampshire Revised Statutes §§146:1(I) and 146:4(V);

   New Mexico Statutes §§26-1-3(A) and 26-1-10(A);

   New York Education Law §6811;

   North Dakota Century Code §§19-02.1-02(1) and 19-02.1-13(3);

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              Ohio Code §3715.52(A)(1);

              Oklahoma Statutes title 63 §1-1402(a);

              Title 35, Pennsylvania Statutes §780-113(a)(1);

              Title 21, Rhode Island General Laws §21-3-3(1);

              South Carolina Code §§39-23-30(a)(2)(B) and 39-23-80(A)(1);

              South Dakota Code §§39-15-3 and 39-15-10;

              Title 18, Vermont Statutes §4052(1);

              Virginia Code §54.1-3457(1);

              West Virginia Code §§16-7-1 and 16-7-2(a)(3); and

              Wyoming Statutes §§35-7-111(a)(i)–(iv), (vi) and 35-7-116.

               Defendants’ duties and standards of conduct as set forth in the above-mentioned

statutes parallel their common-law duty to exercise ordinary and reasonable care in the

manufacture, handling, sale, and labeling of Ranitidine-Containing Products.

               The above-mentioned statutes were designed to bolster consumer protection and

supplement common-law liability for manufacturers, distributors, and sellers of adulterated or

misbranded drugs, in order to protect pharmaceutical users and consumers and the general public

against harm caused by purchasing and using drugs that are unreasonably dangerous for their

recommended and suggested use.

               Plaintiffs and Class members, as purchasers and consumers of adulterated and

misbranded Ranitidine-Containing Products, are within the specific class of persons that the above-

mentioned statutes were designed to protect.

               The harm that Plaintiffs and Class members suffered – namely, unknowingly

purchasing and consuming the carcinogenic NDMA poison when using the purportedly safe



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Ranitidine-Containing Products as recommended, labeled, and suggested – is that which the

above-mentioned statutes contemplate and were designed to prevent.

               Defendants’ violations of the above-mentioned statutes were a direct and proximate

cause of Plaintiffs’ and Class members’ purchasing and consuming improperly labeled and

manufactured Ranitidine-Containing Products and the resulting harm therefrom, and constitute

negligence per se and/or evidence of Defendants’ negligence toward Plaintiffs and Class members.

               Additionally, Defendants breached their duty of care by failing to follow current

cGMPs in the storing, handling, and warehousing of Ranitidine-Containing Products, thereby

increasing the risk that the drugs would produce NDMA during storage and/or transport, in that

Defendants failed to ensure that Ranitidine-Containing Products were stored, handled, and

warehoused under appropriate conditions of temperature, humidity, and light so that their identity,

strength, quality, and purity was not adversely affected, in violation of the cGMPs set forth in 21

C.F.R. §211.142(b).

               The unreasonable risk of danger posed by Ranitidine-Containing Products due to

their ability to transform into the carcinogenic compound NDMA existed at the time the drugs left

Defendants’ possession and control.

               Defendants’ failure to inform physicians, users, and consumers of the unreasonable

danger posed by Ranitidine-Containing Products rendered any other warning related to the drugs

inadequate and made them defective and unfit for any foreseeable use.

               No ordinary, reasonably prudent user or consumer would expect or contemplate

that Ranitidine-Containing Products expose users to the carcinogenic NDMA poison when used

as directed and intended.




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               Plaintiffs and Class members, who at all relevant times used Ranitidine-Containing

Products as Defendants intended or reasonably anticipated, were unaware of the nature and extent

of the risks Ranitidine-Containing Products posed and had no reason to realize the drugs’

dangerous conditions.

               Defendants knew – or in the exercise of reasonable care, should have known – that

it was foreseeable that consumers such as Plaintiffs and Class members would suffer injuries as a

natural and probable result of Defendants’ failure to exercise due care in the manufacturing,

marketing, labeling, distribution, warning, and sale of Ranitidine-Containing Products.

               At all relevant times, Defendants could have reasonably adopted available and

feasible alternative designs for Ranitidine-Containing Products that would have reduced the risk

of injury to others, including Plaintiffs and Class members, without undue cost or interference with

the product’s performance.

               No reasonably prudent manufacturer in Defendants’ position and with Defendants’

knowledge of Ranitidine-Containing Products’ carcinogenic properties would decline to warn

foreseeable users about Ranitidine-Containing Products’ inherent risks or continue designing,

manufacturing, distributing, selling, promoting, manufacturing, and marketing Ranitidine-

Containing Products to have such inherently and unreasonably dangerous characteristics.

               But for Defendants’ negligent acts, Plaintiffs and Class members would not have

purchased or consumed Ranitidine-Containing Products.

               Had Defendants exercised due care to warn prescribers of Ranitidine-Containing

Products’ unreasonable danger rather than misrepresented and conceal Ranitidine-Containing

Products’ risks, Plaintiffs’ and Class members’ physicians would not have prescribed them and

Plaintiffs and Class members would have avoided injury.


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               Had Defendants exercised due care to warn OTC users and consumers, including

Plaintiffs and Class members, of Ranitidine-Containing Products’ unreasonable danger rather than

misrepresent and conceal Ranitidine-Containing Products’ risks, Plaintiffs and Class members

would have read and heeded to the warnings, learned of the risks, and not purchased or consumed

Ranitidine-Containing Products, and therefore would have avoided injury.

               Defendants’ negligence was a direct, contributing, and substantial factor in

Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ failure to exercise ordinary and

reasonable care in designing, manufacturing, distributing, and testing Ranitidine-Containing

Products so that the products would be reasonably safe for their foreseeable use, Plaintiffs and

Class members have been injured. They purchased and ingested Ranitidine-Containing Products

that were unsafe for human consumption as a result of Defendants’ failures. Had Defendants

exercised due care to design, manufacture, distribute, and test a reasonably safe product, Plaintiffs

and Class members would not have purchased or used the Ranitidine-Containing Products that

exposed them to the carcinogenic NDMA poison.

               As a direct and proximate result of Defendants’ failure to exercise ordinary and

reasonable care to provide adequate warnings of Ranitidine-Containing Products’ risks, Plaintiffs

and Class members have been injured. Plaintiffs and Class members purchased Ranitidine-

Containing Products that are unsafe for human consumption as a result of Defendants’

misrepresentations, omissions, and concealment of and/or failure to timely disclose the dangerous

safety and quality issues associated with the product caused by Defendants’ conduct. Had

Defendants not engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class

members would not have purchased or used Ranitidine-Containing Products.


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               As a direct and proximate result of Defendants’ negligent conduct, Plaintiffs and

Class members have been injured because they purchased a drug they otherwise would not have

purchased, did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Additionally, Defendants’ negligence directly and proximately caused Plaintiffs

and Class members to: (a) be subjected to the accumulation of NDMA in their bodies, including

the resulting cellular damage, subcellular damage, and related symptoms; and (b) sustain a

significantly increased risk of developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and Class members have suffered physical injury, have a significantly increased risk of developing

serious and potentially deadly cancers, and have suffered and will suffer economic losses and

expenses associated with ongoing medical monitoring.


                                            Battery
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Alabama, Alaska, Arizona,

Arkansas, California, Colorado, Connecticut, Delaware, District of Columbia, Florida, Georgia,

Hawaii, Idaho, Illinois, Indiana, Iowa, Kansas, Kentucky, Maine, Maryland, Minnesota,

Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New Mexico, New York,

North Carolina, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Puerto Rico, Rhode

Island, South Carolina, South Dakota, Utah, Vermont, Virginia, Washington, West Virginia,

Wisconsin, and Wyoming Classes (collectively for the purposes of this section, the “Class”)

against all Defendants.



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               The Connecticut Class brings this count pursuant to the Connecticut Products

Liability Act, Conn. Gen. Stat. §52-572m, et seq.

               The Oregon Class brings this count pursuant to Oregon Revised Statutes §30.900,

et seq.

               The Puerto Rico Class brings this action pursuant to Article 1802 of the Puerto Rico

Civil Code, 31 L.P.R.A. §5141.

               As the designers, manufacturers, marketers, sellers, and distributors of Ranitidine-

Containing Products, Defendants intentionally, deliberately, and recklessly engaged in acts that

constituted and resulted in an unconsented, harmful, and offensive touching of Plaintiffs and Class

members, specifically causing carcinogenic NDMA to come into unconsented, harmful, and

offensive contact with Plaintiffs’ and Class members’ bodies.

               Plaintiffs and Class members used Ranitidine-Containing Products, which,

unbeknownst to them, contained excessive levels of cancer-causing NDMA.

               Defendants intentionally, deliberately, and recklessly acted to cause Plaintiffs and

Class members to consume and come into unconsented, harmful, and offensive contact with the

cancer-causing NDMA compound through pervasively and deliberately marketing, promoting,

advertising, distributing, selling, and encouraging the use of Ranitidine-Containing Products as

safe while concealing the fact that the products exposed users to carcinogenic NDMA.

               By intentionally, deliberately, and recklessly encouraging and inducing Plaintiffs

and Class members to use Ranitidine-Containing Products for personal consumption, Defendants

intended, desired, and knew and believed to a substantial certainty that the products and the

carcinogenic NDMA they produced would touch and come into unconsented, harmful, and

offensive contact with Plaintiffs’ and Class members’ bodies and internal organs in a harmful and


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offensive manner and at excessive levels and thereby cause subcellular and genetic injuries and an

increased risk of developing cancer.

               Defendants’ intentional, deliberate, and reckless promotion, advertisement,

marketing, distribution, and sale of Ranitidine-Containing Products did, in fact, cause an

intentional, unconsented, harmful, and offensive contact with Plaintiffs and Class members in that

Defendants’ acts caused Plaintiffs and Class members to unknowingly ingest into their bodies

harmful, carcinogenic NDMA by consuming Ranitidine-Containing Products exactly as

Defendants intended and instructed, in an affront to Plaintiffs’ and Class members’ reasonable

senses of bodily integrity and personal dignity.

               Defendants’ act of intentionally and recklessly touching Plaintiffs’ and Class

members’ bodies with Ranitidine-Containing Products and the carcinogenic NDMA they

contained caused harm and physical impairment to Plaintiffs and Class members in that it resulted

in subcellular and genetic injuries and increased the risk of cancer.

               Defendants’ act of intentionally and recklessly touching Plaintiffs’ and Class

members’ bodies with Ranitidine-Containing Products was offensive in that a reasonable person

would take offense to unconsented bodily contact with known carcinogens.

               At all relevant times, Defendants knew that Plaintiffs and Class members

reasonably and mistakenly believed they were using a product that was reasonably safe for human

consumption when used as Defendants intended and directed.

               Because Defendants intentionally, actively, and recklessly concealed Ranitidine-

Containing Products’ inherently dangerous and cancer-causing properties, Plaintiffs and Class

members did not know of those properties and, thus, could not and did not consent to coming into

bodily contact with the carcinogenic NDMA compound contained in Defendants’ products.


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                If Defendants had not intentionally, deliberately, and recklessly distributed, sold,

advertised, marketed, and promoted the consumption of Ranitidine-Containing Products while

willfully concealing the drugs’ cancer-causing properties, Plaintiffs and Class members would not

have introduced into their system or otherwise come into contact with the unreasonably unsafe

product.

                Defendants willfully and tortiously battered Plaintiffs and Class members.

                Defendants intended, knew, and should have known to a substantial certainty, that

their conduct alleged herein regarding their willful and pervasive distribution, selling, advertising,

marketing, misrepresenting, and encouraging use of Ranitidine-Containing Products while

knowing of and intentionally concealing the drugs’ unreasonably dangerous components – thereby

causing Plaintiffs and Class members to ingest cancer-causing NDMA without their consent – was

offensive, harmful, and an affront to Plaintiffs’ and Class members’ reasonable senses of human

and personal dignities.

                Coming into bodily contact with carcinogenic NDMA offended Plaintiffs’ and

Class members’ reasonable senses of human and personal dignities in that it violated Plaintiffs’

and Class members’ interests in keeping toxic and carcinogenic substances away from and out of

their bodies.

                As a foreseeable, proximate, and direct result of Defendants’ actions, Plaintiffs and

Class members have each suffered a battery and been injured and damaged, including as otherwise

set forth in this Complaint and by invasion of their privacy and bodily integrity without their

consent, cellular and genetic injuries, an increased risk of developing cancer, severe emotional

stress and anxiety, harm to their human dignity, and corresponding damages therefrom.




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               Accordingly, Defendants’ battery directly and proximately caused Plaintiffs and

Class members to: (a) be subjected to the accumulation of NDMA in their bodies, including the

resulting cellular damage, subcellular damage, and related symptoms; and (b) sustain a

significantly increased risk of developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions, Plaintiffs and Class

members have suffered physical injury, have a significantly increased risk of developing serious

and potentially deadly cancers, and have suffered and will suffer economic losses and expenses

associated with ongoing medical monitoring.

               1.      Causes of Action Brought on Behalf of the Alabama Class


                                  Breach of Express Warranty
                                     (Ala. Code §7-2-313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Alabama Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Ala. Code §7-2-313 and “sellers” of

Ranitidine-Containing Products within the meaning of Ala. Code §7-2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Ala. Code §7-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or


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promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and


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        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                        (Ala. Code §7-2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Alabama Class (for the purpose of

this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.



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               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Ala. Code §7-2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.


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               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                Violation of the Alabama Deceptive Trade Practices Act
                               (Ala. Code §8-19-1, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Alabama Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “person[s]” within the meaning

of Ala. Code §8-19-3(5).

               Plaintiffs and the Class members are “consumer[s]” within the meaning of Ala.

Code §8-19-3(2).

               The Ranitidine-Containing Products are “goods” within the meaning of Ala. Code

§8-19-3(3).

               Defendants were and are engaged in “trade or commerce” within the meaning of

Ala. Code §8-19-3(8).

               The Alabama Deceptive Trade Practices Act (“Alabama DTPA”) prohibits

“deceptive acts or practices in the conduct of any trade or commerce.” Ala. Code §8-19-5.

               The Alabama DTPA makes unlawful specific acts, including:




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               (a)     “[r]epresenting that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or qualities that they do not have”
                       (Ala. Code §8-19-5(5));

               (b)     “[r]epresenting that goods or services are of a particular standard, quality,
                       or grade, or that goods are of a particular style or model, if they are of
                       another” (Ala. Code §8-19-5(7));

               (c)     “[a]dvertising goods or services with intent not to sell them as advertised”
                       (Ala. Code §8-19-5(9)); and

               (d)     “[e]ngaging in any other unconscionable, false, misleading, or deceptive act
                       or practice in the conduct of trade or commerce” (Ala. Code §8-19-5(27)).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Alabama DTPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Alabama DTPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.



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               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Alabama DTPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts concerning the dangers of Ranitidine-Containing Products because they possessed exclusive

knowledge, they intentionally concealed the dangers of Ranitidine-Containing Products from


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Plaintiffs and the Class members, and/or they made misrepresentations that were rendered

misleading because they were contradicted by withheld facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Alabama DTPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of Ranitidine-Containing Products’ defects became public.         In addition, on May 21, 2020,

Plaintiffs in In re Zantac (Ranitidine) Products Liability Litigation, No. 9:20-md-02924-RLR

(S.D. Fla.) (“MDL 2924”) sent a notice letter pursuant to Ala. Code §8-19-10(e) to Defendants.




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Because Defendants failed to adequately remedy their unlawful conduct within the requisite time

period, Plaintiffs seek all damages and relief to which Plaintiffs and the Class members are entitled.

               As a result of Defendants’ violations of the Alabama DTPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Alabama DTPA.


                            Products Liability/Failure to Warn
                    Alabama Extended Manufacturer’s Liability Doctrine
                                (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Alabama Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members


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of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               The Ranitidine-Containing Products were not properly prepared.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the


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dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made the Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.




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               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants disseminated information

that was inaccurate, false, and misleading, and which failed to communicate accurately or

adequately the comparative severity, duration, and extent of the risk of injuries with use of and/or

exposure to Ranitidine-Containing Products; continued to aggressively promote the efficacy of

their Ranitidine-Containing Products, even after they knew or should have known of the


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unreasonable risks from use or exposure; and concealed, downplayed, or otherwise suppressed,

through aggressive marketing and promotion, any information or research about the risks and

dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. The Defendants were able, in accord with federal law,

to comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But the Defendants did not disclose

these known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have (a) been subjected

to the accumulation of NDMA in their bodies, including the resulting cellular damage, subcellular




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damage, and related symptoms; and (b) sustained a significantly increased risk of developing

various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


        Alabama Extended Manufacturer’s Liability Doctrine/Manufacturing Defect
                    (Against Brand-Name Manufacturer Defendants
                        and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Alabama Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               At all times herein mentioned, the Manufacturer Defendants designed,

manufactured, tested, marketed, sold, handled, distributed, and stored the Ranitidine-Containing

Products ingested by Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by the Manufacturer Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.




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               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by the Manufacturer Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that the Manufacturer Defendants deviated materially from

their design, manufacturing, handling, and storage specifications and/or such design, manufacture,

storage, and handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               The Ranitidine-Containing Products were not properly prepared.

               The Manufacturer Defendants’ Ranitidine-Containing Products are inherently

dangerous and defective, unfit and unsafe for their intended and reasonably foreseeable uses, and

accordingly do not meet or perform to the expectations of ordinary consumers or health care

providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of the Manufacturer Defendants’

manufacturing defects, which included but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;


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               (c)    failure to adequately inspect/test the drugs during the manufacturing
                      process;

               (d)    failure to implement procedures that would reduce or eliminate NDMA
                      levels in Ranitidine-Containing Products;

               (e)    failure to implement appropriate quality control systems, distribution,
                      storage, and handling instructions and storage and distribution conditions
                      for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in the Manufacturer Defendants’ Ranitidine-Containing

Products were substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of the Manufacturing Defendants’ conduct

described herein, Plaintiffs and members of the Class have been injured because they purchased a

defective drug they otherwise would not have purchased, did not receive the benefit of the bargain,

and/or suffered out-of-pocket loss.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Manufacturer Defendants’ Ranitidine-Containing Products while using them for their

intended or reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Manufacturer

Defendants to know about and disclose serious health risks associated with using Manufacturer

Defendants’ Ranitidine-Containing Products.




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                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Alabama Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of these Defendants.

At all relevant times, the Defendants designed, researched, developed, manufactured, produced,

tested, assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed

the Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, the Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, these Defendants’ Ranitidine-Containing Products reached

the intended consumers, handlers, and users or other persons coming into contact with these

products, including Plaintiffs and the Class members, without substantial change in their

anticipated and expected condition as designed, manufactured, sold, distributed, labeled, and

marketed by the Defendants. At all relevant times, these Defendants registered, researched,

manufactured, distributed, marketed, and sold Ranitidine-Containing Products and aimed at a



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consumer market. These Defendants were at all relevant times involved in the retail and promotion

of Ranitidine-Containing Products marketed and sold.

               The Ranitidine-Containing Products were not properly prepared.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               The Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by these

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               The Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by these

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:


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              (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                     in that they were hazardous and posed a grave risk of cancer when used in
                     a reasonably anticipated manner;

              (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                     used in a reasonably anticipated or intended manner;

              (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to transform into the carcinogenic compound NDMA within the
                     human body;

              (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to develop increasing levels of NDMA over time under anticipated
                     and expected storage and handling conditions;

              (e)    Defendants failed to provide accurate expiration dates on the product label;

              (f)    Defendants failed to provide accurate instructions concerning the stability
                     of the drug, including failing to provide accurate information about proper
                     temperature and light conditions for storage and distribution of the drug;

              (g)    Exposure to Ranitidine-Containing Products presents a risk of harmful side
                     effects that outweigh any potential utility stemming from the use of the
                     drug;

              (h)    Defendants knew or should have known at the time of marketing Ranitidine-
                     Containing Products that exposure to Ranitidine-Containing Products could
                     result in cancer and other severe illnesses and injuries;

              (i)    Defendants did not conduct adequate post-marketing surveillance of their
                     Ranitidine-Containing Products; and

              (j)    Defendants could have employed safer alternative designs and
                     formulations.

              Plaintiffs and the Class members used and/or were exposed to the Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of the Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.


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               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

the Defendants’ suppression or obfuscation of scientific information linking Ranitidine-

Containing Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by the Defendants’ Ranitidine-Containing Products far

outweighed their benefit, rendering each Defendants’ product dangerous to an extent beyond that

which an ordinary consumer would contemplate.            The Defendants’ Ranitidine-Containing

Products were and are more dangerous than alternative products, and these Defendants could have

designed Ranitidine-Containing Products to make them less dangerous. Indeed, at the time the

Manufacturing Defendants designed Ranitidine-Containing Products, the state of the industry’s

scientific knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of the Defendants’

Ranitidine-Containing Products. For example, the Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in the Defendants’ Ranitidine-Containing Products were substantial

factors in causing Plaintiffs’ and the Class members’ injuries.




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               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               2.      Causes of Action Brought on Behalf of the Alaska Class


                                  Breach of Express Warranty
                                 (Alaska Stat. Ann. §45.02.313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Alaska Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Alaska Stat. Ann. §45.02.313 and “sellers”

of Ranitidine-Containing Products within the meaning of Alaska Stat. Ann. §45.02.313.


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               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Alaska Stat. Ann. §45.02.313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,


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ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   Plaintiffs and the Class members gave Defendants reasonable notice of their

breaches of express warranty and an opportunity to cure such breaches or, in the alternative, were

not required to do so because such an opportunity would be unnecessary and futile given that

Defendants are unable to cure the defect in Ranitidine-Containing Products.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.



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                                  Breach of Implied Warranty
                                 (Alaska Stat. Ann. §45.02.314)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Alaska Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Alaska Stat. Ann. §45.02.314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to




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establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


      Violation of the Alaska Unfair Trade Practices and Consumer Protection Act
                          (Alaska Stat. Ann. §45.50.471, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Alaska Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Plaintiffs and the Class members are “consumer[s]” within the meaning of Alaska

Stat. Ann. §45.50.561(a)(4).


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               The Alaska Unfair Trade Practices and Consumer Protection Act (“Alaska CPA”)

prohibits “[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct

of trade or commerce.” Alaska Stat. Ann. §45.50.471(a).

               The Alaska CPA makes unlawful specific acts, including:

               (a)     “representing that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or quantities that they do not
                       have” (Alaska Stat. Ann. §45.50.471(b)(4));

               (b)     “representing that goods or services are of a particular standard, quality, or
                       grade, or that goods are of a particular style or model, if they are of another”
                       (Alaska Stat. Ann. §45.50.471(b)(6));

               (c)     “advertising goods or services with intent not to sell them as advertised”
                       (Alaska Stat. Ann. §45.50.471(b)(8));

               (d)     “engaging in any other conduct creating a likelihood of confusion or of
                       misunderstanding and that misleads, deceives, or damages a buyer or a
                       competitor in connection with the sale or advertisement of goods or
                       services” (Alaska Stat. Ann. §45.50.471(b)(11)); and

               (e)     “using or employing deception, fraud, false pretense, false promise,
                       misrepresentation, or knowingly concealing, suppressing, or omitting a
                       material fact with intent that others rely upon the concealment, suppression,
                       or omission in connection with the sale or advertisement of goods or
                       services whether or not a person has in fact been misled, deceived, or
                       damaged” (Alaska Stat. Ann. §45.50.471(b)(12)).

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Alaska CPA by knowingly and intentionally misrepresenting, omitting,

concealing, and failing to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose, as detailed above.


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               Specifically by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Alaska CPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’    unfair   or    deceptive   acts   or   practices,   including    their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.




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                  Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

                  Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Alaska CPA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

                  Plaintiffs and Class members were aggrieved by Defendants’ violations of the

Alaska CPA because they suffered ascertainable loss and actual damages as a direct and proximate

result of Defendants’ knowing and intentional misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were inherently defective, unreasonably dangerous, and not fit to be used for their intended

purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-Containing Products

in reliance on Defendants’ misrepresentations, omissions, concealments, and failures to disclose

material facts regarding Ranitidine-Containing Products. Had Defendants not engaged in the

deceptive acts and practices alleged herein, Plaintiffs and Class members would not have

purchased the drug, and, thus, they did not receive the benefit of the bargain and/or suffered out-

of-pocket loss.




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                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of Ranitidine-Containing Products’ defects became public.         In addition, on May 21, 2020,

Plaintiffs in MDL 2924 sent a notice letter pursuant to Alaska Stat. Ann. §45.50.535(b)(1) to

Defendants. Because Defendants failed to adequately remedy their unlawful conduct within the

requisite time period, Plaintiffs seek all damages and relief to which Plaintiffs and the Class

members are entitled.

                As a result of Defendants’ violations of the Alaska CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Alaska CPA.


                            Strict Products Liability/Failure to Warn
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the Alaska Class (for the purpose of

this section, “Class”) against all Defendants.

                At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,



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distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they


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knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that the Ranitidine-

Containing Products posed a grave risk of harm, they failed to exercise reasonable care to warn of

the dangerous risks associated with use and exposure to the drugs. The dangerous propensities of

their drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.




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               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and




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instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment




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of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                         Strict Product Liability/Manufacturing Defect
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Alaska Class (for the purpose of

this section, “Class”) against all Defendants.




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               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.


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               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)     failure to follow cGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.




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               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Alaska Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,



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including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.




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              Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

              (a)     Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

              (b)     Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

              (c)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.




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               Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

               At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid


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(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               3.      Causes of Action Brought on Behalf of the Arizona Class


                                  Breach of Express Warranty
                                 (Ariz. Rev. Stat. Ann. §47-2313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Arizona Class (for the purpose of

this section, “Class”) against all Defendants.


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               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Ariz. Rev. Stat. Ann. §47-2313 and

“sellers” of Ranitidine-Containing Products within the meaning of Ariz. Rev. Stat. Ann. §47-2313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Ariz. Rev. Stat. Ann. §47-2313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the


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Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.




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                                  Breach of Implied Warranty
                                 (Ariz. Rev. Stat. Ann. §47-2314)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Arizona Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Ariz. Rev. Stat. Ann. §47-2314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to




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establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                   Violation of the Arizona Consumer Fraud Act
                      (Ariz. Rev. Stat. Ann. §44-1521, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Arizona Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Ariz. Rev. Stat. Ann. §44-1521(6).


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               The Ranitidine-Containing Products are “[m]erchandise” within the meaning of

Ariz. Rev. Stat. Ann. §44-1521(5).

               The Arizona Consumer Fraud Act (“Arizona CFA”) prohibits “[t]he act, use or

employment by any person of any deception, deceptive or unfair act or practice, fraud, …

misrepresentation, or concealment, suppression or omission of any material fact with intent that

others rely on such concealment, suppression or omission, in connection with the sale … of any

merchandise whether or not any person has in fact been misled, deceived or damaged thereby.”

Ariz. Rev. Stat. Ann. §44-1522(A).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Arizona CFA by recklessly, wantonly, knowingly, and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Arizona CFA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,    including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,


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had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and the Class members relied on Defendants’ misrepresentations,

omissions, and concealments with respect to Ranitidine-Containing Products by purchasing and

continuing to purchase Ranitidine-Containing Products after Defendants’ misrepresentations,

omissions, and concealments were made.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Arizona CFA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the




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Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

                Plaintiffs and Class members were aggrieved by Defendants’ violations of the

Arizona CFA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Arizona CFA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Arizona CFA.




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                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Arizona Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous



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risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               The design, methods of manufacture, and testing of Defendants’ Ranitidine-

Containing Products failed to conform to the generally recognized and prevailing standards or the

state of the art in existence at the time the design was prepared and the product was manufactured.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by




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known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.




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               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise




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suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.


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               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Arizona Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their



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manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The design, methods of manufacture, and testing of Defendants’ Ranitidine-

Containing Products failed to conform to the generally recognized and prevailing standards or the

state of the art in existence at the time the design was prepared and the product was manufactured.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and


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               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Arizona Class (for the purpose of

this section, “Class”) against all Defendants.




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               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               The design, methods of manufacture, and testing of Defendants’ Ranitidine-

Containing Products failed to conform to the generally recognized and prevailing standards or the

state of the art in existence at the time the design was prepared and the product was manufactured.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.




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               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

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              (c)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

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               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.




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               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               4.      Causes of Action Brought on Behalf of the Arkansas Class


                                  Breach of Express Warranty
                                   (Ark. Code Ann. §4-2-313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Arkansas Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Ark. Code Ann. §4-2-313 and “sellers” of

Ranitidine-Containing Products within the meaning of Ark. Code Ann. §4-2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Ark. Code Ann. §4-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or


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promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and


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        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                      (Ark. Code Ann. §4-2-314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Arkansas Class (for the purpose of

this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.



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               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Ark. Code Ann. §4-2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.


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               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                Violation of the Arkansas Deceptive Trade Practices Act
                           (Ark. Code Ann. §4-88-101, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Arkansas Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Ark. Code Ann. §4-88-102(5).

               The Ranitidine-Containing Products are “[g]oods” within the meaning of Ark.

Code Ann. §4-88-102(4).

               The Arkansas Deceptive Trade Practices Act (“Arkansas DTPA”) prohibits

“[d]eceptive and unconscionable trade practices.” Ark. Code Ann. §4-88-107(a).

               The Arkansas DTPA makes unlawful specific acts, including:

               (a)     “[k]nowingly making a false representation as to the characteristics,
                       ingredients, uses, benefits, alterations, source, sponsorship, approval, or
                       certification of goods or services or as to whether goods are original or new
                       or of a particular standard, quality, grade, style, or model” (Ark. Code Ann.
                       §4-88-107(a)(1));

               (b)     “[a]dvertising the goods or services with the intent not to sell them as
                       advertised” (Ark. Code Ann. §4-88-107(a)(3)); and



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               (c)     “[e]ngaging in any other unconscionable, false, or deceptive act or practice
                       in business, commerce, or trade” (Ark. Code Ann. §4-88-107(a)(10)).

               The Arkansas DTPA also prohibits the following when utilized in connection with

the sale or advertisement of any goods: “(1) The act, use, or employment by any person of any

deception, fraud, or false pretense; [or] (2) [t]he concealment, suppression, or omission of any

material fact with intent that others rely upon the concealment, suppression, or omission . . . .”

Ark. Code Ann. §4-88-108(a).

               Defendants, directly or through their agents, employees, and/or subsidiaries,

violated the Arkansas DTPA by knowingly and intentionally misrepresenting, omitting,

concealing, and failing to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Arkansas DTPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (a)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (b)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (c)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.




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               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Arkansas DTPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose the dangers of

Ranitidine-Containing Products because they possessed exclusive knowledge, they intentionally

concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the Class members,


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and/or they made misrepresentations that were rendered misleading because they were

contradicted by withheld facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of

Arkansas DTPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Arkansas DTPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Arkansas DTPA.




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                           Strict Products Liability/Failure to Warn
                            Arkansas Product Liability Act of 1979
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Arkansas Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous


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risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or


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instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and


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their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public




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service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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                        Strict Products Liability/Manufacturing Defect
                            Arkansas Product Liability Act of 1979
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Arkansas Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



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otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                             Arkansas Product Liability Act of 1979
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Arkansas Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




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assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


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Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;


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              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing




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Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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               5.      Causes of Action Brought on Behalf of the California Class


                                  Breach of Express Warranty
                                    (Cal. Com. Code §2313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the California Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Cal. Com. Code §2313 and “sellers” of

Ranitidine-Containing Products within the meaning of Cal. Com. Code §2313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Cal. Com. Code §2313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their




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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               The express warranties Defendants created with respect to Ranitidine-Containing

Products were material to reasonable consumers, including Plaintiffs and the Class members, who

were intended beneficiaries of Defendants’ express warranties and who justifiably relied on

Defendants’ express warranties in connection with their decision to purchase Ranitidine-

Containing Products. Specifically, Plaintiffs and the Class members detrimentally relied on the

express warranties and representations of Defendants concerning the safety and/or risk profile of

Ranitidine-Containing Products in deciding to purchase the product. Plaintiffs and the Class

members reasonably relied upon Defendants to disclose known defects, risks, dangers, and side

effects of Ranitidine-Containing Products. Plaintiffs and the Class members would not have

purchased or used Ranitidine-Containing Products had Defendants properly disclosed the risks

associated with the product, either through advertising, labeling, or any other form of disclosure.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,




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ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                       (Cal. Com. Code §2314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.



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               This cause of action is brought on behalf of the California Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Cal. Com. Code §2314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.


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               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                  Violation of the California Unfair Competition Law
                        (Cal. Bus. & Prof. Code §17200, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the California Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “persons” within the meaning of

Cal. Bus. & Prof. Code §17201.

               Cal. Bus. & Prof. Code §17200 (“California UCL”) prohibits acts of “unfair

competition,” including any “unlawful, unfair or fraudulent business act or practice” and “unfair,

deceptive, untrue or misleading advertising.”

               Defendants, directly or through their agents, employees, and/or subsidiaries,

violated the California UCL by knowingly and intentionally misrepresenting, omitting,


                                                399
concealing, and failing to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose, as detailed above. Further, the gravity of Defendants’ conduct

outweighs any conceivable benefit of such conduct.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the California UCL. These acts also constitute

“fraudulent” business acts and practices under the California UCL in that Defendants’ conduct is

false, misleading, and has a tendency to deceive the Class and the general public.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,   including    their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class


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members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the California UCL in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

               Moreover, Defendants engaged in “unlawful” business acts or practices by

violating both federal and California laws, including: the federal RICO statute, 18 U.S.C.

§1962(c)-(d); adulteration and misbranding provisions under the Federal Food, Drug, and

Cosmetic Act, 21 U.S.C. §§331(a), (c), (g), 351(a)(2)(B), (b), (d), 352(a)(1), (c), (e)(1)(A)(ii), (f)-

(g), (i)(2)-(3), (j), (n), (p); Good Manufacturing Practices, 21 C.F.R. 210.1(a), 211.142(b);

adulteration and misbranding provisions under the Sherman Food, Drug, and Cosmetic Laws, CAL.

HEALTH & SAFETY CODE §§111260, 111280, 111290, 111295, 111305, 111330, 111345,

111355(a)(3), 111360(b), 111375, 111380, 111395(a)-(b), 111400, 111440, 111445, 111450; the

Consumer Legal Remedies Act, Cal. Civ. Code §1750; and the California FAL, Cal. Bus. & Prof.

Code §17500, as alleged herein.


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                Defendants conduct also consitutes “unfair” business acts or practies. Under the

balancing test, the determination of whether a business practice is “unfair” involves examining the

practice’s impact on its alleged victim, balanced against the reasons, justifications, and motives of

the alleged wrongdoer. Here, Defendants’ practice of misrepresenting, omitting, concealing, and

failing to disclose that their Ranitidine-Containing Products expose consumers to unsafe levels of

NDMA, a potent carcinogen, when used or ingested, caused a substantial injury to Plaintiffs and

Class members by putting them at an increased risk of developing serious or deadly forms of

cancer, causing them to pay for a product they otherwise would not have purchased, depriving

them of benefit of their bargain, and/or causing them to suffer out-of-pocket losses. On the other

hand, Defendants’ misrepresentations, omissions, concealments, and failures to disclose the truth

regarding the inherently defective and unreasonably dangerous nature of their Ranitidine-

Containing Products have no apparent utility.

                Additionally, Defendants’ conduct was “unfair” under the tethering test, in that it

violated the federal RICO statute, 18 U.S.C. §1962(c)-(d); adulteration and misbranding provisions

under the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. §§331(a), (c), (g), 351(a)(2)(B), (b),

(d), 352(a)(1), (c), (e)(1)(A)(ii), (f)-(g), (i)(2)-(3), (j), (n), (p); Good Manufacturing Practices, 21

C.F.R. 210.1(a), 211.142(b); adulteration and misbranding provisions under the Sherman Food,

Drug, and Cosmetic Laws, Cal. Health & Safety Code §§111260, 111280, 111290, 111295,

111305, 111330, 111345, 111355(a)(3), 111360(b), 111375, 111380, 111395(a)-(b), 111400,

111440, 111445, 111450; the Consumer Legal Remedies Act, see Cal. Civ. Code §1760; and the

California FAL, Cal. Bus. & Prof. Code §17500, which reflect the United States’ and California’s

policy of protecting consumers against unfair and deceptive business practices and adulterated and

misbranded drugs.


                                                  402
                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

California UCL because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                Pursuant to Cal. Bus. & Prof. Code §§17200 and 17203, Plaintiffs and Class

members seek an order providing restitution and disgorgement of all profits relating to the above-

described unfair business acts or practices, and injunctive and declaratory relief as may be

appropriate.


                  Violation of the California False Advertising Law
                       (Cal. Bus. & Prof. Code §17500, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.




                                               403
               This cause of action is brought on behalf of the California Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “persons” within the meaning of

Cal. Bus. & Prof. Code §17506.

               The California False Advertising Law (“California FAL”) prohibits “any person, .

. . corporation . . . or any employee thereof with intent directly or indirectly to dispose of real or

personal property . . . or to induce the public to enter into any obligation relating thereto, to make

or disseminate or cause to be made or disseminated . . . before the public in this state or from this

state before the public in any state, in any newspaper or other publication, or any advertising

device, . . . or in any other manner or means whatever, including over the internet, any statement .

. . which is untrue or misleading, and which is known, or which by the exercise of reasonable care

should be known, to be untrue or misleading.” Cal. Bus. & Prof. Code §17500.

               Defendants, directly or through their agents, employees, and/or subsidiaries,

violated the California FAL by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were inherently defective, unreasonably dangerous, and not fit to be used for their intended

purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the California FAL, including:


                                                 404
               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had




                                               405
concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

                Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the California FAL in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

California FAL because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.


                                                406
               As a result of Defendants’ violations of the California FAL, as alleged herein,

Plaintiffs and the Class members seek an order providing restitution and disgorgement of all profits

relating to the above-described business acts or practices, and other appropriate relief, including

injunctive and declaratory relief as may be appropriate under the California FAL.


               Violation of the California Consumers Legal Remedies Act
                              (Cal. Civ. Code §1750, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the California Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Cal. Civ. Code §1761(c).

               Plaintiffs and the Class members are “[c]onsumer[s]” within the meaning of Cal.

Civ. Code §1761(d).

               The Ranitidine-Containing Products are “[g]oods” within the meaning of Cal. Civ.

Code §1761(a).

               The California Consumers Legal Remedies Act (“California CLRA”) prohibits

“unfair methods of competition and unfair or deceptive acts or practices undertaken by any person

in a transaction intended to result or that results in the sale or lease of goods or services to any

consumer.” Cal. Civ. Code §1770(a).

               The California CLRA makes unlawful specific acts, including:




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               (a)     “[r]epresenting that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or quantities that they do not
                       have” (Cal. Civ. Code §1770(a)(5));

               (b)     “[r]epresenting that goods or services are of a particular standard, quality,
                       or grade, or that goods are of a particular style or model, if they are of
                       another” (Cal. Civ. Code §1770(a)(7));

               (c)     “[a]dvertising goods or services with intent not to sell them as advertised”
                       (Cal. Civ. Code §1770(a)(9)); and

               (d)     “[r]epresenting that the subject of a transaction has been supplied in
                       accordance with a previous representation when it has not” (Cal. Civ. Code
                       §1770(a)(16)).

               Defendants, directly or through their agents, employees, and/or subsidiaries,

violated the California CLRA by knowingly and intentionally misrepresenting, omitting,

concealing, and failing to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the California CLRA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.


                                                 408
               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the California CLRA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts concerning the dangers of Ranitidine-Containing Products because they possessed exclusive

knowledge, they intentionally concealed the dangers of Ranitidine-Containing Products from


                                               409
Plaintiffs and the Class members, and/or they made misrepresentations that were rendered

misleading because they were contradicted by withheld facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

California CLRA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of Ranitidine-Containing Products’ defects became public.          In addition, on May 21, 2020,

Plaintiffs in MDL 2924 sent a notice letter pursuant to Cal. Civ. Code §1782 to Defendants.

Because Defendants failed to adequately remedy their unlawful conduct within the requisite time

period, Plaintiffs seek all damages and relief to which Plaintiffs and the Class members are entitled.


                                                 410
               Pursuant to Cal. Civ. Code §1780(a), Plaintiffs and the Class members seek an

order enjoining Defendants’ unfair or deceptive acts or practices and awarding damages and any

other just and proper relief available under the California CLRA. Under Cal. Civ. Code §1780(b),

Plaintiffs seek an additional award against Defendants of up to $5,000 for each Class member who

qualifies as a “senior citizen” or “disabled person” under the California CLRA. Defendants knew

or should have known that their conduct was directed to one or more Class members who are

senior citizens or disabled persons. Defendants’ conduct caused one or more of these senior

citizens or disabled persons to suffer a substantial loss of property set aside for retirement or for

personal or family care and maintenance, or assets essential to the health or welfare of the senior

citizen or disabled person. One or more Class members who are senior citizens or disabled persons

are substantially more vulnerable to Defendants’ conduct because of age, poor health or infirmity,

impaired understanding, restricted mobility, or disability, and each of them suffered substantial

physical, emotional, or economic damage resulting from Defendants’ conduct.


                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the California Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they



                                                 411
do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.


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               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used




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as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.




                                               414
               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.




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               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the California Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.




                                                 416
               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the


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utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)     failure to follow cGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.



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                             Strict Products Liability/Design Defect
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the California Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of these Defendants.

At all relevant times, the Defendants designed, researched, developed, manufactured, produced,

tested, assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed

the Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, the Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, these Defendants’ Ranitidine-Containing Products reached

the intended consumers, handlers, and users or other persons coming into contact with these

products, including Plaintiffs and the Class members, without substantial change in their

anticipated and expected condition as designed, manufactured, sold, distributed, labeled, and

marketed by the Defendants. At all relevant times, these Defendants registered, researched,

manufactured, distributed, marketed, and sold Ranitidine-Containing Products and aimed at a




                                                 419
consumer market. These Defendants were at all relevant times involved in the retail and promotion

of Ranitidine-Containing Products marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               The Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by these

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               The Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by these

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:




                                                420
              (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                     in that they were hazardous and posed a grave risk of cancer when used in
                     a reasonably anticipated manner;

              (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                     used in a reasonably anticipated or intended manner;

              (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to transform into the carcinogenic compound NDMA within the
                     human body;

              (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to develop increasing levels of NDMA over time under anticipated
                     and expected storage and handling conditions;

              (e)    Defendants failed to provide accurate expiration dates on the product label;

              (f)    Defendants failed to provide accurate instructions concerning the stability
                     of the drug, including failing to provide accurate information about proper
                     temperature and light conditions for storage and distribution of the drug;

              (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                     effects that outweigh any potential utility stemming from the use of the
                     drug;

              (h)    Defendants knew or should have known at the time of marketing Ranitidine-
                     Containing Products that exposure to Ranitidine-Containing Products could
                     result in cancer and other severe illnesses and injuries;

              (i)    Defendants did not conduct adequate post-marketing surveillance of their
                     Ranitidine-Containing Products; and

              (j)    Defendants could have employed safer alternative designs and
                     formulations.

              Plaintiffs and the Class members used and/or were exposed to the Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of the Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.


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               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

the Defendants’ suppression or obfuscation of scientific information linking Ranitidine-

Containing Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by the Defendants’ Ranitidine-Containing Products far

outweighed their benefit, rendering each Defendants’ product dangerous to an extent beyond that

which an ordinary consumer would contemplate.            The Defendants’ Ranitidine-Containing

Products were and are more dangerous than alternative products, and these Defendants could have

designed Ranitidine-Containing Products to make them less dangerous. Indeed, at the time the

Manufacturing Defendants designed Ranitidine-Containing Products, the state of the industry’s

scientific knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of the Defendants’

Ranitidine-Containing Products. For example, the Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in the Defendants’ Ranitidine-Containing Products were substantial

factors in causing Plaintiffs’ and the Class members’ injuries.




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               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               6.      Causes of Action Brought on Behalf of the Colorado Class


                                  Breach of Express Warranty
                                 (Colo. Rev. Stat. Ann. §4-2-313)
                                      (Against Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Colorado Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Colo. Rev. Stat. Ann. §4-2-313 and

“sellers” of Ranitidine-Containing Products within the meaning of Colo. Rev. Stat. Ann. §4-2-313.




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               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Colo. Rev. Stat. Ann. §4-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,


                                                424
ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   Plaintiffs and the Class members gave Defendants reasonable notice of their

breaches of express warranty and an opportunity to cure such breaches or, in the alternative, were

not required to do so because such an opportunity would be unnecessary and futile given that

Defendants are unable to cure the defect in Ranitidine-Containing Products.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.



                                                  425
                                  Breach of Implied Warranty
                                 (Colo. Rev. Stat. Ann. §4-2-314)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Colorado Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Colo. Rev. Stat. Ann. §4-2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to




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establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                  Violation of the Colorado Consumer Protection Act
                        (Colo. Rev. Stat. Ann. §6-1-101, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Colorado Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Colo. Rev. Stat. Ann. §6-1-102(6).


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               The Colorado Consumer Protection Act (“Colorado CPA”) prohibits unfair,

unconscionable, and deceptive acts or practices “in the course of the person’s business, vocation,

or occupation.” Colo. Rev. Stat. Ann. §6-1-105(1).

               The Colorado CPA makes unlawful specific acts, including:

               (a)     “[e]ither knowingly or recklessly mak[ing] a false representation as to the
                       source, sponsorship, approval, or certification of goods, services, or
                       property” (Colo. Rev. Stat. Ann. §6-1-105(1)(b));

               (b)     “[r]epresent[ing] that goods, food, services, or property are of a particular
                       standard, quality, or grade, or that goods are of a particular style or model,
                       if he knows or should know that they are of another” (Colo. Rev. Stat. Ann.
                       §6-1-105(1)(g));

               (c)     “[a]dvertis[ing] goods, services, or property with intent not to sell them as
                       advertised” (Colo. Rev. Stat. Ann. §6-1-105(1)(i));

               (d)     “[f]ails to disclose material information concerning goods, services, or
                       property which information was known at the time of an advertisement or
                       sale if such failure to disclose such information was intended to induce the
                       consumer to enter into a transaction” (Colo. Rev. Stat. Ann. §6-1-
                       105(1)(u)); and

               (e)     “[e]ither knowingly or recklessly engage[ing] in any unfair,
                       unconscionable, deceptive, deliberately misleading, false, or fraudulent act
                       or practice” (Colo. Rev. Stat. Ann. §6-1-105(1)(kkk)).

               Defendants, directly or through their agents, employees, and/or subsidiaries,

violated the Colorado CPA by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were inherently defective, unreasonably dangerous, and not fit to be used for their intended

purpose, as detailed above. Such conduct was bad faith conduct under the Colorado CPA.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as



                                                428
detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Colorado CPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised;

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce; and

               (e)     failing to disclose the defective Ranitidine-Containing Products in
                       connection with their sale to the public.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.


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               Plaintiffs and the Class members relied on Defendants’ misrepresentations,

omissions, and concealments with respect to Ranitidine-Containing Products by purchasing and

continuing to purchase Ranitidine-Containing Products after Defendants’ misrepresentations,

omissions, and concealments were made.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Colorado CPA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Colorado CPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not


                                               430
engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Colorado CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Colorado CPA.


                            Strict Products Liability/Failure to Warn
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the Colorado Class (for the purpose of

this section, “Class”) against all Defendants.

                At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Manufacturer Defendants.



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               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including




                                               432
Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               The design, methods of manufacture, and testing of Defendants’ Ranitidine-

Containing Products failed to conform to the generally recognized and prevailing standards or the

state of the art in existence at the time the design was prepared and the product was manufactured.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used


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as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.




                                               434
               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.




                                                435
               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and the members of the Class would not have sustained a

significantly increased risk of developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and the members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Colorado Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial




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change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The design, methods of manufacture, and testing of Defendants’ Ranitidine-

Containing Products failed to conform to the generally recognized and prevailing standards or the

state of the art in existence at the time the design was prepared and the product was manufactured.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and


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treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)     failure to follow cGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and the members of the Class would not have sustained a

significantly increased risk of developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and the members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Colorado Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               The design, methods of manufacture, and testing of Defendants’ Ranitidine-

Containing Products failed to conform to the generally recognized and prevailing standards or the

state of the art in existence at the time the design was prepared and the product was manufactured.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and



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expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,


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distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

              (a)     Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

              (b)     Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

              (c)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.




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               At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.


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               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and the members of the Class would not have sustained a

significantly increased risk of developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and the members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                       Medical Monitoring
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Colorado Class (for the purpose of

this section, “Class”) against all Defendants.

               Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

their risk of developing various types of serious and potentially deadly cancers and caused them

bodily injury in the form of cellular, sub-cellular, and/or genetic injuries.

               At all relevant times Defendants had a duty to, inter alia:

               (a)     exercise reasonable care in the design, research, manufacture, labeling,
                       testing, marketing, advertisement, supply, promotion, packaging, warning,


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                       sale, storage, handling, and distribution of Ranitidine-Containing Products,
                       including the duty to take all reasonable steps necessary to manufacture,
                       promote, and/or sell a product that was not unreasonably dangerous to
                       consumers and users of the product;

               (b)     to provide accurate, true, and correct information concerning the risks of
                       using Ranitidine-Containing Products and appropriate, complete, and
                       accurate warnings concerning the potential adverse effects of Ranitidine-
                       Containing Products – in particular, their ability to transform into the
                       carcinogenic compound, NDMA; and

               (c)     disclose the fact that Ranitidine-Containing Products contained elevated
                       levels of NDMA that rendered them unsafe and unfit for human
                       consumption.

               Defendants breached these duties by, inter alia, failing to exercise ordinary care in

the design, research, development, manufacture, testing, labeling, marketing, supply, promotion,

advertisement, packaging, warning, sale, and distribution of Ranitidine-Containing Products, in

that Defendants manufactured and produced defective Ranitidine-Containing Products, which

carry the potential to transform into the carcinogenic compound NDMA; knew or had reason to

know of the defects inherent in their products; knew or had reason to know that consumer use of

the products created a significant risk of harm and unreasonably dangerous side effects, including

significantly increasing the risk of developing various types of serious and potentially deadly

cancers and causing bodily injury in the form of cellular, sub-cellular, and/or genetic injuries; and

failed to prevent or adequately warn of these risks and injuries. Indeed, Defendants deliberately

refused to test Ranitidine-Containing Products because they knew that the chemical posed serious

health risks to humans.

               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – of the hazards and dangers associated with Ranitidine-Containing Products.

Specifically, Defendants knew or should have known of the carcinogenic properties of NDMA




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when Ranitidine-Containing Products are ingested and/or the elevated levels of NDMA that result

from the transport and storage of Ranitidine-Containing Products.

               Accordingly, at all relevant times, Defendants knew – or in the exercise of

reasonable care, should have known – that use of Ranitidine-Containing Products could cause or

be associated with Plaintiffs’ and Class members’ injuries, and thus, could create a dangerous and

unreasonable risk of injury to the end users of their products, including Plaintiffs and members of

the Class.

               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – that it was foreseeable that consumers such as Plaintiffs and members of the

Class would suffer injuries in the form of cellular, sub-cellular, and/or genetic injuries that

significantly increased their risk of developing various types of serious and potentially deadly

cancers as a result of Defendants’ failure to exercise ordinary care in the manufacturing, marketing,

labeling, distribution, and sale of Ranitidine-Containing Products.

               Plaintiffs and members of the Class did not know the nature and extent of the

injuries that could result from the intended use of and/or exposure to Ranitidine-Containing

Products.

               Due to the unsafe levels of NDMA present in Ranitidine-Containing Products,

which present an unacceptable and increased risk of causing cancer, the FDA was compelled to

order the immediate ban of all Ranitidine-Containing Products on April 1, 2020.

               Had Defendants disclosed and not concealed the risks associated with the use of

Ranitidine-Containing Products, Plaintiffs and members of the Class would not have purchased or

consumed the Ranitidine-Containing Products, and therefore would have avoided such injury.




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               The latent injuries from which Plaintiffs suffer require specialized testing (with

resultant treatment) that is not generally given to the public at large. The available monitoring

regime is specific for individuals exposed to products known to significantly increase the risk of

various cancers because of ingesting Ranitidine-Containing Products and is different from that

normally recommended in the absence of exposure to this risk of harm.

               The medical monitoring regime should include, but is not limited to, baseline tests

and diagnostic examination that will assist in early detection and diagnosing various cancers. This

diagnostic program will facilitate treatment and interventions that will mitigate the development

of, and health effects associated with, various cancers.

               The available monitoring regime is reasonably necessary according to

contemporary scientific principles within the medical community specializing in the diagnosis and

treatment of cancers.

               By monitoring and testing Plaintiffs, the risk that Plaintiffs will suffer long-term

injuries, disease, and losses without adequate treatment will be significantly reduced.

               Plaintiffs, therefore, seek an injunction creating a Court-supervised, Defendant-

funded medical monitoring program which will facilitate the diagnoses of Plaintiffs for various

cancers. The medical monitoring should include a trust fund to pay for the medical monitoring and

diagnosis of Plaintiffs as frequently and appropriately as necessary.

               Accordingly, Defendants should be required to establish a medical monitoring

program that includes, among other things: (a) establishing a trust fund, in an amount to be

determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)




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notifying all Class members in writing that they may require frequent medical monitoring for the

purpose of diagnosis.

               Plaintiffs have an inadequate remedy at law in that monetary damages alone cannot

compensate them for the risk of long-term physical and economic losses due to ingesting

Ranitidine-Containing Products. Without a court-approved medical monitoring program as

described herein, or established by the Court, Plaintiffs and the Class members will continue to

face an unreasonable risk of injury and disability and remain undiagnosed.

               7.       Causes of Action Brought on Behalf of the Connecticut Class


                                    Breach of Express Warranty
                                 (Conn. Gen. Stat. Ann. §42a-2-313)
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Connecticut Class (for the purpose

of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Conn. Gen. Stat. Ann. §42a-2-313 and

“sellers” of Ranitidine-Containing Products within the meaning of Conn. Gen. Stat. Ann. §42a-2-

313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Conn. Gen. Stat. Ann. §42a-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or


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promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and


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        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                  (Conn. Gen. Stat. Ann. §42a-2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Connecticut Class (for the purpose

of this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.



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               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Conn. Gen. Stat. Ann. §42a-2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.


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               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                Violation of the Connecticut Unfair Trade Practices Act
                        (Conn. Gen. Stat. Ann. §42-110a, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Connecticut Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Conn. Gen. Stat. Ann. §42-110a(3).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of Conn. Gen. Stat. Ann. §42-110a(4).

               The Connecticut Unfair Trade Practices Act (“Connecticut UTPA”) prohibits

“unfair methods of competition and unfair or deceptive acts or practices in the conduct of any trade

or commerce.” Conn. Gen. Stat. Ann. §42-110b(a).

               Defendants, directly or through their agents, employees, and/or subsidiaries,

violated the Connecticut UTPA by knowingly and intentionally misrepresenting, omitting,

concealing, and failing to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose, as detailed above.


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               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Connecticut UTPA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,   including    their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.


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                Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Connecticut UTPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts concerning the dangers of Ranitidine-Containing Products because they possessed exclusive

knowledge, they intentionally concealed the dangers of Ranitidine-Containing Products from

Plaintiffs and the Class members, and/or they made misrepresentations that were rendered

misleading because they were contradicted by withheld facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Connecticut UTPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Connecticut UTPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or


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practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Connecticut UTPA.


                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Connecticut Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,



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supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.


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               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.




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               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to


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comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


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                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Connecticut Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



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otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Connecticut Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




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assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


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Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;


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              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing




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Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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               8.      Causes of Action Brought on Behalf of the Delaware Class


                                   Breach of Express Warranty
                                  (Del. Code Ann. tit. 6, §2-313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Delaware Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Del. Code Ann. tit. 6, §2-313 and “sellers”

of Ranitidine-Containing Products within the meaning of Del. Code Ann. tit. 6, §2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Del. Code Ann. tit. 6, §2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their




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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

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                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                    (Del. Code Ann. tit. 6, §2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Delaware Class (for the purpose of

this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiff and the Class and were in the business of selling

such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will merchantable and fit for the ordinary purpose for which it would be used. Del.

Code Ann. tit. 6, §2-314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


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               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


    Violation of the Delaware Consumer Fraud Act and Deceptive Trade Practices Act
                  (Del. Code Ann. tit. 6, §2511, et seq., and §2531, et. seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


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               This cause of action is brought on behalf of the Delaware Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Del. Code Ann. tit. 6, §§2511(7) and 2531(5).

               The Ranitidine-Containing Products are “[m]erchandise” within the meaning of

Del. Code Ann. tit. 6, §2511(6).

               The Delaware Consumer Fraud Act (“Delaware CFA”) and Delaware Deceptive

Trade Practices Act (“Delaware DTPA”) prohibit “act[s], use or employment by any person of any

deception, fraud, false pretense, false promise, misrepresentation, or the concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment, suppression

or omission, in connection with the sale, lease or advertisement of any merchandise, whether or

not any person has in fact been misled, deceived or damaged thereby,” and deceptive practices “in

the course of a business, vocation, or occupation.” Del. Code Ann. tit. 6, §§2513(a) and 2532(a).

               The Delaware DTPA makes unlawful specific acts, including:

               (a)     “[r]epresent[ing] that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or quantities that they do not
                       have” (Del. Code Ann. tit. 6, §2532(5));

               (b)     “[r]epresent[ing] that goods or services are of a particular standard, quality,
                       or grade, or that goods are of a particular style or model, if they are of
                       another” (Del. Code Ann. tit. 6, §2532(7));

               (c)     “[a]dvertis[ing] goods or services with intent not to sell them as advertised”
                       (Del. Code Ann. tit. 6, §2532(9)); and

               (d)     “[e]ngag[ing] in any other conduct which similarly creates a likelihood of
                       confusion or of misunderstanding” (Del. Code Ann. tit. 6, §2532(12)).




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               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Delaware CFA and Delaware DTPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Delaware CFA and Delaware DTPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,    including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class



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members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Delaware CFA and Delaware DTPA in the course of their

business. Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the

material facts concerning the dangers of Ranitidine-Containing Products because they possessed

exclusive knowledge, they intentionally concealed the dangers of Ranitidine-Containing Products

from Plaintiffs and the Class members, and/or they made misrepresentations that were rendered

misleading because they were contradicted by withheld facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Delaware CFA and Delaware DTPA because they suffered ascertainable loss and actual damages

as a direct and proximate result of Defendants’ knowing and intentional misrepresentations,

omissions, concealments, and failures to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit


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to be used for their intended purpose. Specifically, Plaintiffs and the Class members purchased

Ranitidine-Containing Products in reliance on Defendants’ misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products.

Had Defendants not engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class

members would not have purchased the drug, and, thus, they did not receive the benefit of the

bargain and/or suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Delaware CFA and Delaware DTPA,

as alleged herein, Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or

deceptive acts or practices and awarding actual damages, costs, attorneys’ fees, and any other just

and proper relief available under the Delaware CFA and Delaware DTPA.



                9.      Causes of Action Brought on Behalf of the District of Columbia Class


                                     Breach of Express Warranty
                                     (D.C. Code Ann. §28:2-313)
                                      (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the District of Columbia Class (for the

purpose of this section, “Class”) against all Defendants.




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               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of D.C. Code Ann. §28:2-313 and “sellers” of

Ranitidine-Containing Products within the meaning of D.C. Code Ann. §28:2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of D.C. Code Ann. §28:2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the


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Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.




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                                  Breach of Implied Warranty
                                  (D.C. Code Ann. §28:2-314)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the District of Columbia Class (for the

purpose of this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

D.C. Code Ann. §28:2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to




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establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


        Violation of the District of Columbia Consumer Protection Procedures Act
                             (D.C. Code Ann. §28-3901, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the District of Columbia Class (for the

purpose of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic

Manufacturer Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “person[s]” within the meaning

of D.C. Code Ann. §28-3901(a)(1).


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               Plaintiffs and the Class members are “consumer[s]” within the meaning of D.C.

Code Ann. §28-3901(a)(2).

               The Ranitidine-Containing Products are “goods” within the meaning of D.C. Code

Ann. §28-3901(a)(7).

               Defendants were and are engaged in “trade practice[s]” within the meaning of D.C.

Code Ann. §28-3901(a)(6).

               The District of Columbia Consumer Protection Procedures Act (“District of

Columbia CPPA”) prohibits “unfair or deceptive trade practice, whether or not any consumer is in

fact misled, deceived, or damaged thereby.” D.C. Code Ann. §28-3904.

               The District of Columbia CPPA makes unlawful specific acts, including:

               (a)     “represent[ing] that goods or services have a source, sponsorship, approval,
                       certification, accessories, characteristics, ingredients, uses, benefits, or
                       quantities that they do not have” (D.C. Code Ann. §28-3904(a));

               (b)     “represent[ing] that goods or services are of particular standard, quality,
                       grade, style, or model, if in fact they are of another” (D.C. Code Ann. §28-
                       3904(d));

               (c)     “advertis[ing] or offer[ing] goods or services without the intent to sell them
                       or without the intent to sell them as advertised or offered” (D.C. Code Ann.
                       §28-3904(h));

               (d)     “misrepresent as to a material fact which has a tendency to mislead” (D.C.
                       Code Ann. §28-3904(e));

               (e)     “fail to state a material fact if such failure tends to mislead” (D.C. Code
                       Ann. §28-3904(f)); and

               (f)     “[u]se innuendo or ambiguity as to a material fact, which has a tendency to
                       mislead” (D.C. Code Ann. §28-3904(f-1)).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the District of Columbia CPPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-


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Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the District of Columbia CPPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised;

               (d)     using exaggeration and/or failing to state the material facts concerning the
                       Ranitidine-Containing Products in a manner that tended to deceive;

               (e)     acting in a manner that resulted in a gross disparity between the true value
                       of the Ranitidine-Containing Products and the price paid; and

               (f)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,    including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class



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members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the District of Columbia CPPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts concerning the dangers of Ranitidine-Containing Products because they possessed exclusive

knowledge, they intentionally concealed the dangers of Ranitidine-Containing Products from

Plaintiffs and the Class members, and/or they made misrepresentations that were rendered

misleading because they were contradicted by withheld facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

District of Columbia CPPA because they suffered ascertainable loss and actual damages as a direct

and proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used


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for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the District of Columbia CPPA, as alleged

herein, Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive

acts or practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper

relief available under the District of Columbia CPPA.


                            Strict Products Liability/Failure to Warn
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the District of Columbia Class (for the

purpose of this section, “Class”) against all Defendants.

                At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they



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do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.


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               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used




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as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.




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               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.




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               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the District of Columbia Class (for the

purpose of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.




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               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the


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utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)     failure to follow cGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.



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                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the District of Columbia Class (for the

purpose of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants



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were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:




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              (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                     in that they were hazardous and posed a grave risk of cancer when used in
                     a reasonably anticipated manner;

              (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                     used in a reasonably anticipated or intended manner;

              (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to transform into the carcinogenic compound NDMA within the
                     human body;

              (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to develop increasing levels of NDMA over time under anticipated
                     and expected storage and handling conditions;

              (e)    Defendants failed to provide accurate expiration dates on the product label;

              (f)    Defendants failed to provide accurate instructions concerning the stability
                     of the drug, including failing to provide accurate information about proper
                     temperature and light conditions for storage and distribution of the drug;

              (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                     effects that outweigh any potential utility stemming from the use of the
                     drug;

              (h)    Defendants knew or should have known at the time of marketing Ranitidine-
                     Containing Products that exposure to Ranitidine-Containing Products could
                     result in cancer and other severe illnesses and injuries;

              (i)    Defendants did not conduct adequate post-marketing surveillance of their
                     Ranitidine-Containing Products; and

              (j)    Defendants could have employed safer alternative designs and
                     formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.


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               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.




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               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               10.     Causes of Action Brought on Behalf of the Florida Class


                                  Breach of Express Warranty
                                   (Fla. Stat. Ann. §672.313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Florida Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Fla. Stat. Ann. §672.313 and “sellers” of

Ranitidine-Containing Products within the meaning of Fla. Stat. Ann. §672.313.




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               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Fla. Stat. Ann. §672.313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,


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ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   Plaintiffs and the Class members gave Defendants reasonable notice of their

breaches of express warranty and an opportunity to cure such breaches or, in the alternative, were

not required to do so because such an opportunity would be unnecessary and futile given that

Defendants are unable to cure the defect in Ranitidine-Containing Products.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.



                                                  495
                                  Breach of Implied Warranty
                                   (Fla. Stat. Ann. §672.314)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Florida Class (for the purpose of

this section, “Class”) against all Brand-Name Manufacturer Defendants, Generic Manufacturer

Defendants, and Retailer Defendants (for purposes of this section, “Defendants”).

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Fla. Stat. Ann. §672.314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to


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establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


            Violation of the Florida Deceptive and Unfair Trade Practices Act
                             (Fla. Stat. Ann. §501.201, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Florida Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).




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               The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) prohibits

“[u]nfair methods of competition, unconscionable acts or practices, and unfair or deceptive acts or

practices in the conduct of any trade or commerce.” Fla. Stat. Ann. §501.204(1).

               In construing the provisions of the FDUTPA, “due consideration and great weight

shall be given to the interpretations of the Federal Trade Commission and the federal courts

relating to s. 5(a)(1) of the Federal Trade Commission Act, 15 U.S.C. s. 45(a)(1) as of July 1,

2017.” Fla. Stat. Ann. §501.204(2).

               Plaintiffs and Class members are “[c]onsumer[s]” and “[i]nterested part[ies] or

person[s]” as defined by the FDUTPA. See Fla. Stat. Ann. §501.203(6)-(7).

               Defendants engaged in “[t]rade or commerce” as defined by the FDUTPA. See Fla.

Stat. Ann. §501.203(8).

               Defendants, directly or through their agents, employees, and/or subsidiaries,

violated the FDUTPA by knowingly and intentionally misrepresenting, omitting, concealing, and

failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were inherently defective, unreasonably dangerous, and not fit to be used for their intended

purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the FDUTPA.




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               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly

and intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of

FDUTPA because they suffered ascertainable loss and actual damages as a direct and proximate

result of Defendants’ knowing and intentional misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were inherently defective, unreasonably dangerous, and not fit to be used for their intended

purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-Containing Products

in reliance on Defendants’ misrepresentations, omissions, concealments, and failures to disclose

material facts regarding Ranitidine-Containing Products. Had Defendants not engaged in the

deceptive acts and practices alleged herein, Plaintiffs and Class members would not have


                                               499
purchased the drug, and, thus, they did not receive the benefit of the bargain and/or suffered out-

of-pocket loss.

                  Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                  As a result of Defendants’ violations of the FDUTPA, as alleged herein, Plaintiffs

and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or practices

and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief available

under the FDUTPA.


                             Strict Products Liability/Failure to Warn
                                      (Against All Defendants)
                  Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                  This cause of action is brought on behalf of the Florida Class (for the purpose of

this section, “Class”) against all Defendants.

                  At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.




                                                 500
               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including




                                               501
Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.




                                               502
               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated


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information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.




                                                504
               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Florida Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial




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change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:


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               (a)     failure to follow cGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Florida Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants



                                                 508
were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:




                                                509
              (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                     in that they were hazardous and posed a grave risk of cancer when used in
                     a reasonably anticipated manner;

              (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                     used in a reasonably anticipated or intended manner;

              (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to transform into the carcinogenic compound NDMA within the
                     human body;

              (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to develop increasing levels of NDMA over time under anticipated
                     and expected storage and handling conditions;

              (e)    Defendants failed to provide accurate expiration dates on the product label;

              (f)    Defendants failed to provide accurate instructions concerning the stability
                     of the drug, including failing to provide accurate information about proper
                     temperature and light conditions for storage and distribution of the drug;

              (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                     effects that outweigh any potential utility stemming from the use of the
                     drug;

              (h)    Defendants knew or should have known at the time of marketing Ranitidine-
                     Containing Products that exposure to Ranitidine-Containing Products could
                     result in cancer and other severe illnesses and injuries;

              (i)    Defendants did not conduct adequate post-marketing surveillance of their
                     Ranitidine-Containing Products; and

              (j)    Defendants could have employed safer alternative designs and
                     formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.


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               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.




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               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                       Medical Monitoring
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Florida Class (for the purpose of

this section, “Class”) against all Defendants.

               Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

their risk of developing various types of serious and potentially deadly cancers and caused them

bodily injury in the form of cellular, sub-cellular, and/or genetic injuries.

               At all relevant times Defendants had a duty to, inter alia:

               (a)     exercise reasonable care in the design, research, manufacture, labeling,
                       testing, marketing, advertisement, supply, promotion, packaging, warning,


                                                 512
                       sale, storage, handling, and distribution of Ranitidine-Containing Products,
                       including the duty to take all reasonable steps necessary to manufacture,
                       promote, and/or sell a product that was not unreasonably dangerous to
                       consumers and users of the product;

               (b)     to provide accurate, true, and correct information concerning the risks of
                       using Ranitidine-Containing Products and appropriate, complete, and
                       accurate warnings concerning the potential adverse effects of Ranitidine-
                       Containing Products – in particular, their ability to transform into the
                       carcinogenic compound, NDMA; and

               (c)     disclose the fact that Ranitidine-Containing Products contained elevated
                       levels of NDMA that rendered them unsafe and unfit for human
                       consumption.

               Defendants breached these duties by, inter alia, failing to exercise ordinary care in

the design, research, development, manufacture, testing, labeling, marketing, supply, promotion,

advertisement, packaging, warning, sale, and distribution of Ranitidine-Containing Products, in

that Defendants manufactured and produced defective Ranitidine-Containing Products, which

carry the potential to transform into the carcinogenic compound NDMA; knew or had reason to

know of the defects inherent in their products; knew or had reason to know that consumer use of

the products created a significant risk of harm and unreasonably dangerous side effects, including

significantly increasing the risk of developing various types of serious and potentially deadly

cancers and causing bodily injury in the form of cellular, sub-cellular, and/or genetic injuries; and

failed to prevent or adequately warn of these risks and injuries. Indeed, Defendants deliberately

refused to test Ranitidine-Containing Products because they knew that the chemical posed serious

health risks to humans.

               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – of the hazards and dangers associated with Ranitidine-Containing Products.

Specifically, Defendants knew or should have known of the carcinogenic properties of NDMA




                                                513
when Ranitidine-Containing Products are ingested and/or the elevated levels of NDMA that result

from the transport and storage of Ranitidine-Containing Products.

               Accordingly, at all relevant times, Defendants knew – or in the exercise of

reasonable care, should have known – that use of Ranitidine-Containing Products could cause or

be associated with Plaintiffs’ and Class members’ injuries, and thus, could create a dangerous and

unreasonable risk of injury to the end users of their products, including Plaintiffs and members of

the Class.

               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – that it was foreseeable that consumers such as Plaintiffs and members of the

Class would suffer injuries in the form of cellular, sub-cellular, and/or genetic injuries that

significantly increased their risk of developing various types of serious and potentially deadly

cancers as a result of Defendants’ failure to exercise ordinary care in the manufacturing, marketing,

labeling, distribution, and sale of Ranitidine-Containing Products.

               Plaintiffs and members of the Class did not know the nature and extent of the

injuries that could result from the intended use of and/or exposure to Ranitidine-Containing

Products.

               Due to the unsafe levels of NDMA present in Ranitidine-Containing Products,

which present an unacceptable and increased risk of causing cancer, the FDA was compelled to

order the immediate ban of all Ranitidine-Containing Products on April 1, 2020.

               Had Defendants disclosed and not concealed the risks associated with the use of

Ranitidine-Containing Products, Plaintiffs and members of the Class would not have purchased or

consumed the Ranitidine-Containing Products, and therefore would have avoided such injury.




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               The latent injuries from which Plaintiffs suffer require specialized testing (with

resultant treatment) that is not generally given to the public at large. The available monitoring

regime is specific for individuals exposed to products known to significantly increase the risk of

various cancers because of ingesting Ranitidine-Containing Products and is different from that

normally recommended in the absence of exposure to this risk of harm.

               The medical monitoring regime should include, but is not limited to, baseline tests

and diagnostic examination that will assist in early detection and diagnosing various cancers. This

diagnostic program will facilitate treatment and interventions that will mitigate the development

of, and health effects associated with, various cancers.

               The available monitoring regime is reasonably necessary according to

contemporary scientific principles within the medical community specializing in the diagnosis and

treatment of cancers.

               By monitoring and testing Plaintiffs, the risk that Plaintiffs will suffer long-term

injuries, disease, and losses without adequate treatment will be significantly reduced.

               Plaintiffs, therefore, seek an injunction creating a Court-supervised, Defendant-

funded medical monitoring program which will facilitate the diagnoses of Plaintiffs for various

cancers. The medical monitoring should include a trust fund to pay for the medical monitoring and

diagnosis of Plaintiffs as frequently and appropriately as necessary.

               Accordingly, Defendants should be required to establish a medical monitoring

program that includes, among other things: (a) establishing a trust fund, in an amount to be

determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)




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notifying all Class members in writing that they may require frequent medical monitoring for the

purpose of diagnosis.

               Plaintiffs have an inadequate remedy at law in that monetary damages alone cannot

compensate them for the risk of long-term physical and economic losses due to ingesting

Ranitidine-Containing Products. Without a court-approved medical monitoring program as

described herein, or established by the Court, Plaintiffs and the Class members will continue to

face an unreasonable risk of injury and disability and remain undiagnosed.

               11.      Causes of Action Brought on Behalf of the Georgia Class


                                  Breach of Express Warranty
                                   (Ga. Code Ann. §11-2-313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Georgia Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Ga. Code Ann. §11-2-313 and “sellers” of

Ranitidine-Containing Products within the meaning of Ga. Code Ann. §11-2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Ga. Code Ann. §11-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as


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alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic

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        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                      (Ga. Code Ann. §11-2-314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Georgia Class (for the purpose of

this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiff and members of the Class and were in the

business of selling such products.




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               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Ga. Code Ann. §11-2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.


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               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                  Violation of the Georgia Fair Business Practices Act
                           (Ga. Code Ann. §10-1-390, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Georgia Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Ga. Code Ann. §10-1-392(a)(24).

               Plaintiffs and the Class members are “[c]onsumer[s]” within the meaning of Ga.

Code Ann. §10-1-392(a)(6).

               Defendants were and are engaged in “[t]rade” and “commerce” within the meaning

of Ga. Code Ann. §10-1-392(a)(28).

               The Georgia Fair Business Practices Act (“Georgia FBPA”) prohibits “[u]nfair or

deceptive acts or practices in the conduct of consumer transactions and consumer acts or practices

in trade or commerce.” Ga. Code Ann. §10-1-393(a).

               The Georgia FBPA makes unlawful specific acts, including:

               (a)     “[r]epresenting that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or quantities that they do not
                       have” (Ga. Code Ann. §10-1-393(b)(5));


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               (b)     “[r]epresenting that goods or services are of a particular standard, quality,
                       or grade or that goods are of a particular style or model, if they are of
                       another” (Ga. Code Ann. §10-1-393(b)(7)); and

               (c)     “[a]dvertising goods or services with intent not to sell them as advertised”
                       (Ga. Code Ann. §10-1-393(b)(9)).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Georgia FBPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Georgia FBPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.




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               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Georgia FBPA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.




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                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Georgia FBPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of Ranitidine-Containing Products’ defects became public.          In addition, on May 21, 2020,

Plaintiffs in MDL 2924 sent a notice letter pursuant to Ga. Code Ann. §10-1-399(b) to Defendants.

Because Defendants failed to adequately remedy their unlawful conduct within the requisite time

period, Plaintiffs seek all damages and relief to which Plaintiffs and the Class members are entitled.

                As a result of Defendants’ violations of the Georgia FBPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or


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practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Georgia FBPA.


             Violation of the Georgia Uniform Deceptive Trade Practices Act
                             (Ga. Code Ann. §10-1-370, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Georgia Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Ga. Code Ann. §10-1-371(5).

               The Georgia Uniform Deceptive Trade Practices Act (“Georgia UDTPA”)

prohibits “deceptive trade practices . . . in the course of [a] business, vocation, or occupation.” Ga.

Code Ann. §10-1-372(a).

               The Georgia UDTPA makes unlawful specific acts, including:

               (a)     “[r]epresent[ing] that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or quantities that they do not
                       have” (Ga. Code Ann. §10-1-372(a)(5));

               (b)     “[r]epresent[ing] that goods or services are of a particular standard, quality,
                       or grade or that goods are of a particular style or model, if they are of
                       another” (Ga. Code Ann. §10-1-372(a)(7));

               (c)     “[a]dvertis[ing] goods or services with intent not to sell them as advertised”
                       (Ga. Code Ann. §10-1-372(a)(9)); and

               (d)     “[e]ngag[ing] in any other conduct which similarly creates a likelihood of
                       confusion or of misunderstanding” (Ga. Code Ann. §10-1-372(a)(12)).




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               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Georgia UDTPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Georgia UDTPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive      acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class



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members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Georgia UDTPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts concerning the dangers of Ranitidine-Containing Products because they possessed exclusive

knowledge, they intentionally concealed the dangers of Ranitidine-Containing Products from

Plaintiffs and the Class members, and/or they made misrepresentations that were rendered

misleading because they were contradicted by withheld facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Georgia UDTPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used


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for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of Ranitidine-Containing Products’ defects became public.

                As a result of Defendants’ violations of the Georgia UDTPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding costs, attorneys’ fees, and any other just and proper relief available under

the Georgia UDTPA.


                            Strict Products Liability/Failure to Warn
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the Georgia Class (for the purpose of

this section, “Class”) against all Defendants.



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               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.


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               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.




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               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate


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information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment


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of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Georgia Class (for the purpose of

this section, “Class”) against all Defendants.




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               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.


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               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)     failure to follow CGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.




                                                534
               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Georgia Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,



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including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.




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              Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

              (a)     Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

              (b)     Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

              (c)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.




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               Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

               At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid


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(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               12.     Causes of Action Brought on Behalf of the Hawaii Class


                                   Breach of Express Warranty
                                 (Haw. Rev. Stat. Ann. §490:2-313)
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Hawaii Class (for the purpose of

this section, “Class”) against all Defendants.


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               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Haw. Rev. Stat. Ann. §490:2-313 and

“sellers” of Ranitidine-Containing Products within the meaning of Haw. Rev. Stat. Ann. §490:2-

313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Haw. Rev. Stat. Ann. §490:2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.




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                   Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.

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                                   Breach of Implied Warranty
                                 (Haw. Rev. Stat. Ann. §490:2-314)
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Hawaii Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Haw. Rev. Stat. Ann. §490:2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to




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establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                   Violation of Hawaii Consumer Protection Law
                         (Haw. Rev. Stat. Ann. §480, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Hawaii Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “persons” within the meaning of

Haw. Rev. Stat. Ann. §480-1.


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               Plaintiffs and the Class members are “[c]onsumer[s]” within the meaning of Haw.

Rev. Stat. Ann. §480-1.

               The Hawaii consumer protection law (“Hawaii Act”) prohibits “[u]nfair methods

of competition and unfair or deceptive acts or practices in the conduct of any trade or commerce.”

Haw. Rev. Stat. Ann. §480-2(a).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Hawaii Act by knowingly and intentionally misrepresenting, omitting,

concealing, and failing to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Hawaii Act.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,   including    their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class




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members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Hawaii Act in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Hawaii Act because they suffered ascertainable loss and actual damages as a direct and proximate

result of Defendants’ knowing and intentional misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were inherently defective, unreasonably dangerous, and not fit to be used for their intended


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purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-Containing Products

in reliance on Defendants’ misrepresentations, omissions, concealments, and failures to disclose

material facts regarding Ranitidine-Containing Products. Had Defendants not engaged in the

deceptive acts and practices alleged herein, Plaintiffs and Class members would not have

purchased the drug, and, thus, they did not receive the benefit of the bargain and/or suffered out-

of-pocket loss.

                  Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                  Pursuant to Haw. Rev. Stat. Ann. §480-13, Plaintiffs and the Class members seek

an order enjoining Defendants’ unfair or deceptive acts or practices and awarding actual damages,

costs, attorneys’ fees, and any other just and proper relief available under the Hawaii Act. Further,

under Haw. Rev. Stat. Ann. §480-13.5, the Class members seek an additional award against

Defendants of up to $10,000 for each Class member who qualifies as a Hawaiian elder under the

Hawaii Act. Defendants knew or should have known that their conduct was directed to one or

more Class members who are elders. Defendants’ conduct caused one or more of these elders to

suffer a substantial loss of property set aside for retirement or for personal or family care and

maintenance, or assets essential to the health or welfare of the elder. One or more Class members

who are elders are substantially more vulnerable to Defendants’ conduct because of age, poor

health or infirmity, impaired understanding, restricted mobility, or disability, and each of them

suffered substantial physical, emotional, or economic damage resulting from Defendants’ conduct.




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                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Hawaii Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous



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risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or


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instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and


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their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public




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service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Hawaii Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



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otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Hawaii Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




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assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


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Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;


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              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing




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Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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               13.     Causes of Action Brought on Behalf of the Idaho Class


                                 Breach of Express Warranty
                                 (Idaho Code Ann. §28-2-313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Idaho Class (for the purpose of this

section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Idaho Code Ann. §28-2-313 and “sellers”

of Ranitidine-Containing Products within the meaning of Idaho Code Ann. §28-2-313

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Idaho Code Ann. §28-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their




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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

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                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                     (Idaho Code Ann. §28-2-314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Idaho Class (for the purpose of this

section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Idaho Code Ann. §28-2-314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


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               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                   Violation of the Idaho Consumer Protection Act
                          (Idaho Code Ann. §48-601, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


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               This cause of action is brought on behalf of the Idaho Class (for the purpose of this

section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Idaho Code Ann. §48-602(1).

               The Ranitidine-Containing Products are “[g]oods” within the meaning of Idaho

Code Ann. §48-602(6).

               Defendants were and are engaged in “[t]rade” and “commerce” within the meaning

of Idaho Code Ann. §48-602(2).

               The Idaho Consumer Protection Act (“Idaho CPA”) prohibits “unfair methods of

competition and unfair or deceptive acts or practices in the conduct of any trade or commerce.”

Idaho Code Ann. §48-603.

               The Idaho CPA makes unlawful specific acts, including:

               (a)    “[r]epresenting that goods or services have sponsorship, approval,
                      characteristics, ingredients, uses, benefits, or quantities that they do not
                      have” (Idaho Code Ann. §48-603(5));

               (b)    “[r]epresenting that goods or services are of a particular standard, quality,
                      or grade, or that goods are of a particular style or model, if they are of
                      another” (Idaho Code Ann. §48-603(7));

               (c)    “[a]dvertising goods or services with intent not to sell them as advertised”
                      (Idaho Code Ann. §48-603(9)); and

               (d)    “[e]ngaging in any act or practice which is otherwise misleading, false, or
                      deceptive to the consumer” (Idaho Code Ann. §48-603(17)).

               Idaho law also prohibits “[a]ny unconscionable method, act or practice in the

conduct of any trade or commerce.” Idaho Code Ann. §48-603C(1).




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               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Idaho CPA by knowingly and intentionally misrepresenting, omitting,

concealing, and failing to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Idaho CPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,   including    their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class



                                                 564
members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Idaho CPA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

               Plaintiffs and Class members were aggrieved by Defendants’ violations of the

Idaho CPA because they suffered ascertainable loss and actual damages as a direct and proximate

result of Defendants’ knowing and intentional misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were inherently defective, unreasonably dangerous, and not fit to be used for their intended


                                               565
purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-Containing Products

in reliance on Defendants’ misrepresentations, omissions, concealments, and failures to disclose

material facts regarding Ranitidine-Containing Products. Had Defendants not engaged in the

deceptive acts and practices alleged herein, Plaintiffs and Class members would not have

purchased the drug, and, thus, they did not receive the benefit of the bargain and/or suffered out-

of-pocket loss.

                  Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                  As a result of Defendants’ violations of the Idaho CPA, as alleged herein, Plaintiffs

and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or practices

and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief available

under the Idaho CPA.


                              Strict Products Liability/Failure to Warn
                                       (Against All Defendants)
                  Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                  This cause of action is brought on behalf of the Idaho Class (for the purpose of this

section, “Class”) against all Defendants.

                  At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they



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do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.


                                               567
               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used




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as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.




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               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.




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               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Idaho Class (for the purpose of this

section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.




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               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the


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utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)     failure to follow cGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.



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                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Idaho Class (for the purpose of this

section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants



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were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:




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              (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                     in that they were hazardous and posed a grave risk of cancer when used in
                     a reasonably anticipated manner;

              (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                     used in a reasonably anticipated or intended manner;

              (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to transform into the carcinogenic compound NDMA within the
                     human body;

              (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to develop increasing levels of NDMA over time under anticipated
                     and expected storage and handling conditions;

              (e)    Defendants failed to provide accurate expiration dates on the product label;

              (f)    Defendants failed to provide accurate instructions concerning the stability
                     of the drug, including failing to provide accurate information about proper
                     temperature and light conditions for storage and distribution of the drug;

              (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                     effects that outweigh any potential utility stemming from the use of the
                     drug;

              (h)    Defendants knew or should have known at the time of marketing Ranitidine-
                     Containing Products that exposure to Ranitidine-Containing Products could
                     result in cancer and other severe illnesses and injuries;

              (i)    Defendants did not conduct adequate post-marketing surveillance of their
                     Ranitidine-Containing Products; and

              (j)    Defendants could have employed safer alternative designs and
                     formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.


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               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.




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               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               14.     Causes of Action Brought on Behalf of the Illinois Class


                                    Breach of Express Warranty
                                 (810 Ill. Comp. Stat. Ann. 5/2-313)
                                      (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Illinois Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of 810 Ill. Comp. Stat. Ann. 5/2-313 and

“sellers” of Ranitidine-Containing Products within the meaning of 810 Ill. Comp. Stat. Ann. 5/2-

313.


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               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of 810 Ill. Comp. Stat. Ann. 5/2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,


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ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                  (810 Ill. Comp. Stat. Ann. 5/2-314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.



                                                  580
               This cause of action is brought on behalf of the Illinois Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

810 Ill. Comp. Stat. Ann. 5/2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.


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               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


      Violation of the Illinois Consumer Fraud and Deceptive Business Practices Act
                           (815 Ill. Comp. Stat. Ann. 505/1, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Illinois Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “person[s]” within the meaning

of 815 Ill. Comp. Stat. Ann. 505/1(c).

               Plaintiffs and the Class members are “consumer[s]” within the meaning of 815 Ill.

Comp. Stat. Ann. 505/1(e).

               The Ranitidine-Containing Products are “merchandise” within the meaning of 815

Ill. Comp. Stat. Ann. 505/1(b).




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               Defendants were and are engaged in “trade” and “commerce” within the meaning

of 815 Ill. Comp. Stat. Ann. 505/1(f).

               The Illinois Consumer Fraud and Deceptive Business Practices Act (“Illinois

CFDBPA”) prohibits “[u]nfair methods of competition and unfair or deceptive acts or practices,

including, but not limited to, the use or employment of any deception fraud, false pretense, false

promise, misrepresentation or the concealment, suppression or omission of any material fact, with

intent that others rely upon the concealment, suppression or omission of such material fact, or the

use or employment of any practice described in Section 2 of the ‘Uniform Deceptive Trade

Practices Act’ [815 Ill. Comp. Stat. Ann. 510/2], approved August 5, 1965, in the conduct of any

trade or commerce.” 815 Ill. Comp. Stat. Ann. 505/2.

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Illinois CFDBPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Illinois CFDBPA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.


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               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Illinois CFDBPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts concerning the dangers of Ranitidine-Containing Products because they possessed exclusive

knowledge, they intentionally concealed the dangers of Ranitidine-Containing Products from

Plaintiffs and the Class members, and/or they made misrepresentations that were rendered

misleading because they were contradicted by withheld facts.




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                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Illinois CFDBPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Illinois CFDBPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Illinois CFDBPA.


             Violation of the Illinois Uniform Deceptive Trade Practices Act
                         (815 Ill. Comp. Stat. Ann. 510/1, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.




                                               585
               This cause of action is brought on behalf of the Illinois Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “person[s]” within the meaning

of 815 Ill. Comp. Stat. Ann. 510/1(5).

               The Illinois Uniform Deceptive Trade Practices Act (“Illinois UDTPA”) prohibits

deceptive trade practices “in the course of a business, vocation, or occupation.” 815 Ill. Comp.

Stat. Ann. 510/2(a).

               The Illinois UDTPA makes unlawful specific acts, including:

               (a)     “[r]epresent[ing] that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or quantities that they do not
                       have” (815 Ill. Comp. Stat. Ann. 510/2(a)(5));

               (b)     “[r]epresent[ing] that goods or services are of a particular standard, quality,
                       or grade or that goods are a particular style or model, if they are of another”
                       (815 Ill. Comp. Stat. Ann. 510/2(a)(7));

               (c)     “[a]dvertis[ing] goods or services with intent not to sell them as advertised”
                       (815 Ill. Comp. Stat. Ann. 510/2(a)(9)); and

               (d)     “[e]ngag[ing] in any other conduct which similarly creates a likelihood of
                       confusion or misunderstanding” (815 Ill. Comp. Stat. Ann. 510/2(a)(12)).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Illinois UDTPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such



                                                586
drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Illinois UDTPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.



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               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Illinois UDTPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts concerning the dangers of Ranitidine-Containing Products because they possessed exclusive

knowledge, they intentionally concealed the dangers of Ranitidine-Containing Products from

Plaintiffs and the Class members, and/or they made misrepresentations that were rendered

misleading because they were contradicted by withheld facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Illinois UDTPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.




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                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Illinois UDTPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding costs, attorneys’ fees, and any other just and proper relief available under

the Illinois UDTPA.


                            Strict Products Liability/Failure to Warn
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the Illinois Class (for the purpose of

this section, “Class”) against all Defendants.

                At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

                Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly



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advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the


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dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.




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               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known


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of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,




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subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Illinois Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.



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               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and




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               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Illinois Class (for the purpose of

this section, “Class”) against all Defendants.




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               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


                                               597
Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing

                                                598
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.


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               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.


                                               600
               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               15.     Causes of Action Brought on Behalf of the Indiana Class


                                  Breach of Express Warranty
                                  (Ind. Code Ann. §26-1-2-313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Indiana Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Ind. Code Ann. §26-1-2-313 and “sellers”

of Ranitidine-Containing Products within the meaning of Ind. Code Ann. §26-1-2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Ind. Code Ann. §26-1-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete




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warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.



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                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                     (Ind. Code Ann. §26-1-2-314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Indiana Class (for the purpose of

this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Ind. Code Ann. §26-1-2-314.


                                                  603
               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and




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punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                Violation of the Indiana Deceptive Consumer Sales Act
                          (Ind. Code Ann. §24-5-0.5-3, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Indiana Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants are “[s]upplier[s]” within the meaning of Ind. Code Ann. §24-5-0.5-

2(a)(3).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Ind. Code Ann. §24-5-0.5-2(a)(2).

               Defendants were and are engaged in “[c]onsumer transaction[s]” within the

meaning of Ind. Code Ann. §24-5-0.5-2(a)(1).

               The Indiana Deceptive Consumer Sales Act (“Indiana DCSA”) prohibits a supplier

from committing an “unfair, abusive, or deceptive act, omission, or practice in connection with a

consumer transaction.” Ind. Code Ann. §24-5-0.5-3(a).

               The Indiana DCSA makes unlawful specific acts, including:

               (a)     “[representing] [t]hat such subject of a consumer transaction has
                       sponsorship, approval, performance, characteristics, accessories, uses, or
                       benefits it does not have” (Ind. Code Ann. §24-5-0.5-3(b)(1));

               (b)     “[representing] [t]hat such subject of a consumer transaction is of a
                       particular standard, quality, grade, style, or model, if it is not and if the



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                       supplier knows or should reasonably know that it is not” (Ind. Code Ann.
                       §24-5-0.5-3(b)(2)); and

               (c)     “[advertising] [t]hat the consumer will be able to purchase the subject of the
                       consumer transaction as advertised by the supplier, if the supplier does not
                       intend to sell it” (Ind. Code Ann. §24-5-0.5-3(b)(11)).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Indiana DCSA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Indiana DCSA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.




                                                606
               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Indiana DCSA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.




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                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Indiana DCSA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of Ranitidine-Containing Products’ defects became public.         In addition, on May 21, 2020,

Plaintiffs in MDL 2924 sent a notice letter pursuant to Ind. Code Ann. §24-5-0.5-5(a) to

Defendants. Because Defendants failed to adequately remedy their unlawful conduct within the

requisite time period, Plaintiffs seek all damages and relief to which Plaintiffs and the Class

members are entitled.




                                                608
               As a result of Defendants’ violations of the Indiana DCSA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Indiana DCSA.


                                 Products Liability/Failure to Warn
                                   Indiana Product Liability Act
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Indiana Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.


                                                 609
               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               The design, methods of manufacture, and testing of Defendants’ Ranitidine-

Containing Products failed to conform to the generally recognized and prevailing standards or the

state of the art in existence at the time the design was prepared and the product was manufactured.

               Before the sale by the Defendants, the Ranitidine-Containing Products, did not

comply with applicable codes, standards, regulations, or specifications established, adopted,


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promulgated, or approved by the United States or by Indiana, or by an agency of the United States

or Indiana.

               Defendants failed to exercise reasonable care under the circumstances in or in

providing the warnings or instructions.

               Defendants, by exercising reasonable diligence, could have made such warnings or

instructions available to the user or consumer, including healthcare providers.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.




                                               611
               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               Without adequate warnings and/or instructions, the use of a Ranitidine-Containing

Products exposed the user or consumer to a risk of physical harm to an extent beyond that

contemplated by: (a) the ordinary consumer who purchases the product with the ordinary

knowledge about the product’s characteristics common to the community of consumers; and (b)

sophisticated and learned healthcare providers.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know




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about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               Additionally, Defendants breached their duty to adequately warn of Ranitidine-

Containing Products’ risks because they labeled Ranitidine-Containing Products in a false and

misleading manner that omitted any mention of the drugs’ propensity to expose users to NDMA

and failed to suggest or recommend a manner of using Ranitidine-Containing Products so that they

are not dangerous to consumers’ health when used as labeled and directed, thereby manufacturing,

repackaging, offering for sale, delivering, and/or holding misbranded drugs in violation of 21

U.S.C. §§331, 352(a)(1), (j) and Indiana Code §§16-42-1-16(1),(2) & 16-42-3-4(1), (14).

               Defendants’ duties as set forth in the above-mentioned statutes parallel their state

common-law duty to exercise reasonable care in the warning and labeling of Ranitidine-

Containing Products.

               The Indiana and United States legislatures designed the above-mentioned statutes

to bolster consumer protection against dangerous pharmaceutical products and to supplement

common-law liability for manufacturers of defectively designed and misbranded drugs.

               Plaintiffs and Class members, as purchasers and consumers of Ranitidine-

Containing Products in Indiana, are within the specific class of persons that the above-mentioned

statutes were designed to protect.


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               The harm that Plaintiffs and Class members suffered – namely, unknowingly

purchasing and consuming dangerous substances when using Ranitidine-Containing Products as

recommended – is that which the above-statutes contemplate and were designed to prevent.

               Defendants’ violations of the above-mentioned statutes were a direct and proximate

cause of Plaintiffs’ and Class members’ purchasing and consuming improperly labeled Ranitidine-

Containing Products and the resulting harm therefrom, and constitute negligence per se.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.




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               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                            Products Liability/Manufacturing Defect
                                 Indiana Product Liability Act
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


                                                615
               This cause of action is brought on behalf of the Indiana Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, Defendants had a continuing duty to exercise reasonable care

in manufacturing Ranitidine-Containing Products to prevent harm to foreseeable users and

consumers, including Plaintiffs and Class members.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




                                                 616
               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The use of a Ranitidine-Containing Products exposed the user or consumer to a risk

of physical harm to an extent beyond that contemplated by: (a) the ordinary consumer who

purchases the product with the ordinary knowledge about the product’s characteristics common to

the community of consumers; and (b) sophisticated and learned healthcare providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The design, methods of manufacture, and testing of Defendants’ Ranitidine-

Containing Products failed to conform to the generally recognized and prevailing standards or the

state of the art in existence at the time the design was prepared and the product was manufactured.

               Before the sale by the Defendants, the Ranitidine-Containing Products, did not

comply with applicable codes, standards, regulations, or specifications established, adopted,

promulgated, or approved by the United States or by Indiana, or by an agency of the United States

or Indiana.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:


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               (a)    failure to follow cGMPs;

               (b)    failure to clean and test recovered and/or recycled solvents;

               (c)    failure to adequately inspect/test the drugs during the manufacturing
                      process;

               (d)    failure to implement procedures that would reduce or eliminate NDMA
                      levels in Ranitidine-Containing Products; and

               (e)    failure to implement appropriate quality control systems, distribution,
                      storage, and handling instructions and storage and distribution conditions
                      for the active pharmaceutical ingredient and the finished drug.

               Defendants failed to exercise reasonable care under the circumstances in designing

the Ranitidine-Containing Products.

               Defendants further breached their duty of reasonable care and manufactured

Ranitidine-Containing Products in an unreasonably dangerous condition, in that while representing

carcinogenic Ranitidine-Containing Products as safe, Defendants failed to employ manufacturing

methods to assure Ranitidine-Containing Products met the quality and purity characteristics they

purported to possess, thereby manufacturing, repackaging, offering for sale, selling, delivering,

and/or holding adulterated drugs in violation of 21 U.S.C. §§331, 351(a)(2)(B) and Indiana Code

§16-42-1-16(1), (2) &16-43-3-3(3)(B).

               Defendants’ duties as specified in the above-mentioned statutes parallel their

common-law duty to exercise reasonable care in manufacturing Ranitidine-Containing Products.

               The Indiana and United States legislatures designed the above-mentioned statutes

to protect pharmaceutical consumers by bolstering consumer protection against dangerous

pharmaceutical products and supplementing common-law liability for manufacturers of

adulterated drugs.




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               Plaintiffs and Class members, as purchasers and consumers of Ranitidine-

Containing Products in Indiana, are within the specific class of persons that the above-mentioned

statutes were designed to protect.

               The harm that Plaintiffs and Class members suffered – namely, unknowingly

purchasing and consuming dangerous substances when using Ranitidine-Containing Products as

recommended – is that which the above-statutes contemplate and were designed to prevent.

               Defendants’ violations of the above-mentioned statutes were a direct and proximate

cause of Plaintiffs’ and Class members’ purchasing and consuming improperly manufactured and

defective Ranitidine-Containing Products and the resulting harm therefrom, and constitute

negligence per se.

               Additionally, Manufacturer Defendants breached their duty to manufacture a safe

product by failing to follow cGMPs in the storing, handling, and warehousing of Ranitidine-

Containing Products, thereby increasing the risk that the drugs would produce NDMA during

storage and/or transport, in that Defendants failed to ensure that Ranitidine-Containing Products

were stored, handled, and warehoused under appropriate conditions of temperature, humidity, and

light so that their identity, strength, quality, and purity was not adversely affected, in violation of

the cGMPs set forth in 21 C.F.R. §211.142(b).

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.


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               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                 Products Liability/Design Defect
                                  Indiana Product Liability Act
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Indiana Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.




                                                 620
               At all relevant times, Defendants had a continuing duty to exercise reasonable care

in manufacturing, designing, and labeling Ranitidine-Containing Products to prevent harm to

foreseeable users and consumers, including Plaintiffs and Class members.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               The design, methods of manufacture, and testing of Defendants’ Ranitidine-

Containing Products failed to conform to the generally recognized and prevailing standards or the

state of the art in existence at the time the design was prepared and the product was manufactured.

               Before the sale by the Defendants, the Ranitidine-Containing Products, did not

comply with applicable codes, standards, regulations, or specifications established, adopted,

promulgated, or approved by the United States or by Indiana, or by an agency of the United States

or Indiana.

               Defendants failed to exercise reasonable care under the circumstances in designing

the Ranitidine-Containing Products.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.


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               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

                                                622
              (c)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Defendants further breached their duty of care and designed a defective product

because they labeled Ranitidine-Containing Products in a false and misleading manner that omitted

any mention of the drugs’ propensity to expose users to NDMA and failed to suggest or

recommend a manner of using Ranitidine-Containing Products so that they are not dangerous to

consumers’ health when used as labeled and directed, thereby manufacturing, repackaging,

offering for sale, delivering, and/or holding misbranded drugs in violation of 21 U.S.C. §§331,

352(a)(1), (j) and Indiana Code §§16-42-1-16(1),(2) and -3-4(1), (14).




                                               623
               Defendants’ duties as set forth in the above-mentioned statutes parallel their state

common-law duty to exercise reasonable care in the designing and labeling of Ranitidine-

Containing Products.

               The Indiana and United States legislatures designed the above-mentioned statutes

to bolster consumer protection against dangerous pharmaceutical products and to supplement

common-law liability for manufacturers of defectively designed and misbranded drugs.

               Plaintiffs and Class members, as purchasers and consumers of Ranitidine-

Containing Products in Indiana, are within the specific class of persons that the above-mentioned

statutes were designed to protect.

               The harm that Plaintiffs and Class members suffered – namely, unknowingly

purchasing and consuming dangerous substances when using Ranitidine-Containing Products as

recommended – is that which the above-statutes contemplate and were designed to prevent.

               Defendants’ violations of the above-mentioned statutes were a direct and proximate

cause of Plaintiffs’ and Class members’ purchasing and consuming improperly labeled and

designed Ranitidine-Containing Products and the resulting harm therefrom, and constitute

negligence per se.

               Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

               At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to


                                                624
Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The use of Ranitidine-Containing Products exposed the user or consumer to a risk

of physical harm to an extent beyond that contemplated by: (a) the ordinary consumer who

purchases the product with the ordinary knowledge about the product’s characteristics common to

the community of consumers; and (b) sophisticated and learned healthcare providers.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.    For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.




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               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               16.     Causes of Action Brought on Behalf of the Iowa Class


                                  Breach of Express Warranty
                                  (Iowa Code Ann. §554.2313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Iowa Class (for the purpose of this

section, “Class”) against all Defendants.




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               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Iowa Code Ann. §554.2313 and “sellers”

of Ranitidine-Containing Products within the meaning of Iowa Code Ann. §554.2313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Iowa Code Ann. §554.2313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               The express warranties Defendants created with respect to Ranitidine-Containing

Products were material to reasonable consumers, including Plaintiffs and the Class members, who


                                                627
were intended beneficiaries of Defendants’ express warranties and who justifiably relied on

Defendants’ express warranties in connection with their decision to purchase Ranitidine-

Containing Products. Specifically, Plaintiffs and the Class members detrimentally relied on the

express warranties and representations of Defendants concerning the safety and/or risk profile of

Ranitidine-Containing Products in deciding to purchase the product. Plaintiffs and the Class

members reasonably relied upon Defendants to disclose known defects, risks, dangers, and side

effects of Ranitidine-Containing Products. Plaintiffs and the Class members would not have

purchased or used Ranitidine-Containing Products had Defendants properly disclosed the risks

associated with the product, either through advertising, labeling, or any other form of disclosure.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.       Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

                                                628
and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                     (Iowa Code Ann. §554.2314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Iowa Class (for the purpose of this

section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Iowa Code Ann. §554.2314 (2016).

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform


                                                   629
to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.




                                               630
          Violation of the Iowa Private Right of Action for Consumer Frauds Act
                             (Iowa Code Ann. §714H.1, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Iowa Class (for the purpose of this

section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Iowa Code Ann. §714H.2(7).

               Plaintiffs and the Class members are “[c]onsumer[s]” within the meaning of Iowa

Code Ann. §714H.2(3).

               The Iowa Private Right of Action for Consumer Frauds Act (“Iowa PRACFA”)

prohibits any “practice or act the person knows or reasonably should know is an unfair practice,

deception, fraud, false pretense, or false promise, or the misrepresentation, concealment,

suppression, or omission of a material fact, with the intent that others rely upon the unfair practice,

deception, fraud, false pretense, false promise, misrepresentation, concealment, suppression, or

omission in connection with the advertisement, sale, or lease of consumer merchandise.” Iowa

Code Ann. §714H.3(1).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Iowa PRACFA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit




                                                 631
to be used for their intended purpose, as detailed above. Defendants did so with willful and wanton

disregard for the rights and safety of others.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Iowa PRACFA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’     unfair   or       deceptive   acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had


                                                   632
concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

                Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Iowa PRACFA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

                Plaintiffs and Class members suffered ascertainable loss and actual damages as a

direct and proximate result of Defendants’ concealment, misrepresentations, and/or failure to

disclose material information.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Iowa PRACFA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Iowa PRACFA.


                            Strict Products Liability/Failure to Warn
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.



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               This cause of action is brought on behalf of the Iowa Class (for the purpose of this

section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.




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               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.


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Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous and not

reasonably safe.

               The risks of NDMA formation and carcinogenic characteristics of the Ranitidine-

Containing Products was not obvious to, or generally known by, foreseeable product users, i.e.,

end users and healthcare providers.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each


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Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public


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service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Iowa Class (for the purpose of this

section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               The Ranitidine-Containing Products contained a manufacturing defect or defects

that departed from the intended design at the time they left the defendant’s control.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.



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               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (against All Defendants
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Iowa Class (for the purpose of this

section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At



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all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.




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               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;


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              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-



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Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


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               17.     Causes of Action Brought on Behalf of the Kansas Class


                                  Breach of Express Warranty
                                  (Kan. Stat. Ann. §84-2-313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Kansas Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Kan. Stat. Ann. §84-2-313 and “sellers” of

Ranitidine-Containing Products within the meaning of Kan. Stat. Ann. §84-2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Kan. Stat. Ann. §84-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their




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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

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                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                     (Kan. Stat. Ann. §84-2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Kansas Class (for the purpose of

this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Kan. Stat. Ann. §84-2-314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


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               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                  Violation of the Kansas Consumer Protection Act
                          (Kan. Stat. Ann. §50-623, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


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               This cause of action is brought on behalf of the Kansas Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Kan. Stat. Ann. §50-624(i).

               Plaintiffs and the Class members are “[c]onsumer[s]” within the meaning of Kan.

Stat. Ann. §50-624(b).

               The Kansas Consumer Protection Act (“Kansas CPA”) prohibits deceptive or

unconscionable acts or practices in connection with a consumer transactions. Kan. Stat. Ann.

§§50-626 and 50-627.

               The Kansas CPA makes unlawful specific acts, including:

               (a)       “[r]epresentations made knowingly or with reason to know that . . .
                         [p]roperty or services have sponsorship, approval, accessories,
                         characteristics, ingredients, uses, benefits or quantities that they do not
                         have” (Kan. Stat. Ann. §50-626(b)(1)(A));

               (b)       “[r]epresentations made knowingly or with reason to know that . . . property
                         or services are of particular standard, quality, grade, style or model, if they
                         are of another which differs materially from the representation” (Kan. Stat.
                         Ann. §50-626(b)(1)(D));

               (c)       “[t]he willful use, in any oral or written representation, of exaggeration,
                         falsehood, innuendo or ambiguity as to a material fact” (Kan. Stat. Ann.
                         §50-626(b)(2));

               (d)       “[t]he willful failure to state a material fact, or the willful concealment,
                         suppression or omission of a material fact.” (Kan. Stat. Ann. §50-
                         626(b)(3)); and

               (e)       “[o]ffering property or services without intent to sell them” (Kan. Stat. Ann.
                         §50-626(b)(5)).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Kansas CPA by knowingly and intentionally misrepresenting, omitting,


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concealing, and failing to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Kansas CPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised;

               (d)     using exaggeration and/or failing to state the material facts concerning the
                       Ranitidine-Containing Products in a manner that tended to deceive;

               (e)     acting in a manner that resulted in a gross disparity between the true value
                       of the Ranitidine-Containing Products and the price paid; and

               (f)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,   including    their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were



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likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Kansas CPA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

               Plaintiffs and Class members suffered ascertainable loss and actual damages as a

direct and proximate result of Defendants’ concealment, misrepresentations, and/or failure to

disclose material information.




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                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Kansas CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Kansas CPA.


                                 Products Liability/Failure to Warn
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the Kansas Class (for the purpose of

this section, “Class”) against all Defendants.

                At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

                Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly



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advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the


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dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               A reasonably prudent manufacturer, distributor, or seller could and would have

taken additional precautions.

               These warnings which the Defendants failed to provide, were not warnings: (a)

protecting against or instructing with regard to those safeguards, precautions, and actions which a

reasonable user or consumer of the product, with the training, experience, education, and any

special knowledge the user or consumer did, should or was required to possess, could and should

have taken for such user or consumer or others, under all the facts and circumstances; (b) extending

to situations where the safeguards, precautions, and actions would or should have been taken by a

reasonable user or consumer of the product similarly situated exercising reasonable care, caution,


                                                655
and procedure; or (c) protecting against or instructing with regard to dangers, hazards, or risks

which are patent, open, or obvious and which should have been realized by a reasonable user or

consumer of the product.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.




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               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,


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Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                            Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Kansas Class (for the purpose of

this section, “Class”) against all Defendants.



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               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, Defendants had a continuing duty to exercise reasonable care

in manufacturing Ranitidine-Containing Products to prevent harm to foreseeable users and

consumers, including Plaintiffs and Class members.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.




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               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               A reasonably prudent manufacturer, distributor, or seller exercising reasonable and

due care could and would have taken additional precautions.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they




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otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                 Products Liability/Design Defect
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Kansas Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




                                                 661
assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants had a continuing duty to exercise reasonable care

in manufacturing, designing, and labeling Ranitidine-Containing Products to prevent harm to

foreseeable users and consumers, including Plaintiffs and Class members.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous




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to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

                                                663
               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

               (h)    Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

               (i)    Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

               (j)    Defendants could have employed safer alternative designs and
                      formulations.

               A reasonably prudent manufacturer, distributor, or seller could and would have

taken additional precautions.

               Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

               At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.



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               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.


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               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               18.     Causes of Action Brought on Behalf of the Kentucky Class


                                   Breach of Express Warranty
                                 (Ky. Rev. Stat. Ann. §355.2-313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Kentucky Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Ky. Rev. Stat. Ann. §355.2-313 and

“sellers” of Ranitidine-Containing Products within the meaning of Ky. Rev. Stat. Ann. §355.2-

313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Ky. Rev. Stat. Ann. §355.2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete


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warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.



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                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                   (Ky. Rev. Stat. Ann. §355.2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Kentucky Class (for the purpose of

this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiff members of and the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Ky. Rev. Stat. Ann. §355.2-314.


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               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and




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punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                  Violation of the Kentucky Consumer Protection Act
                         (Ky. Rev. Stat. Ann. §367.110, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Kentucky Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Ky. Rev. Stat. Ann. §367.110(1).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of Ky. Rev. Stat. Ann. §367.110(2).

               The Kentucky Consumer Protection Act (“Kentucky CPA”) prohibits “[u]nfair,

[unconscionable], false, misleading, or deceptive acts or practices in the conduct of any trade or

commerce.” Ky. Rev. Stat. Ann. §367.170(1)-(2).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Kentucky CPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such


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drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Kentucky CPA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Kentucky CPA in the course of their business. Specifically,


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Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Kentucky CPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Kentucky CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Kentucky CPA.


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                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Kentucky Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous



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risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               The design, methods of manufacture, and testing of Defendants’ Ranitidine-

Containing Products failed to conform to the generally recognized and prevailing standards or the

state of the art in existence at the time the design was prepared and the product was manufactured.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by




                                               674
known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               Without adequate warnings and/or instructions, an ordinary manufacturer, being

fully aware of the risks, would not have placed Ranitidine-Containing Products on the market.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.


                                               675
               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise




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suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.


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               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Kentucky Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their



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manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The design, methods of manufacture, and testing of Defendants’ Ranitidine-

Containing Products failed to conform to the generally recognized and prevailing standards or the

state of the art in existence at the time the design was prepared and the product was manufactured.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and


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               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               An ordinary manufacturer, being fully aware of the risks, would not have placed

Ranitidine-Containing Products on the market.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.




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               This cause of action is brought on behalf of the Kentucky Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               The design, methods of manufacture, and testing of Defendants’ Ranitidine-

Containing Products failed to conform to the generally recognized and prevailing standards or the

state of the art in existence at the time the design was prepared and the product was manufactured.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants




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were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               An ordinary manufacturer, being fully aware of the risks, would not have placed

Ranitidine-Containing Products on the market.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,




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distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

              (a)     Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

              (b)     Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

              (c)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.




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               At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time Manufacturing Defendants

designed Ranitidine-Containing Products, the state of the industry’s scientific knowledge was such

that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.      For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.


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               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               19.     Causes of Action Brought on Behalf of the Louisiana Class


                                  Breach of Express Warranty
                                   (La. Rev. Stat. §51:2763)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Louisiana Class (for the purpose of

this section, “Class”) against all Defendants.




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               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of La. Rev. Stat. §51:2763 and “sellers” of

Ranitidine-Containing Products within the meaning of La. Rev. Stat. §51:2763.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of La. Rev. Stat. §51:2763.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the


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Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   Plaintiffs and the Class members gave Defendants reasonable notice of their

breaches of express warranty and an opportunity to cure such breaches or, in the alternative, were

not required to do so because such an opportunity would be unnecessary and futile given that

Defendants are unable to cure the defect in Ranitidine-Containing Products.



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               As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                   Breach of Warranty Against Redhibitory Defects
                           (La. Civ. Code Ann. Art. §2520)
 (Against Brand-Name Manufacturer Defendants, Generic Manufacturer Defendants, and
                                 Retailer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Louisiana Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants, Generic Manufacturer

Defendants, and Retailer Defendants (for purposes of this section, “Defendants”).

               At all relevant times, Defendants were sellers with respect to Ranitidine-Containing

Products which were sold to Plaintiff and the Class and were in the business of selling such

products.

               Each Ranitidine-Containing Product sold by Defendants comes with a warranty

against redhibitory defects. La. Civ. Code Ann. Art. §2520.

               Defendants breached their implied warranty of against redhibitory defects because

their products were not in merchantable condition when sold, were defective when sold, did not

conform to the promises and affirmations of fact made on the products’ containers or labels, and/or

do not possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.




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               Defendants’ Ranitidine-Containing Products are rendered useless because they

have dangerous propensities when used as intended, and their use carries an increased risk of

developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of warranty against redhibitory defects. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of warranty against redhibitory defects

because, had they been aware of the defective condition of Ranitidine-Containing Products that

rendered them useless, or so inconvenient that they would not have purchased such drugs.

               As a result of Defendants’ breaches of warranty against redhibitory defect, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


    Violation of the Louisiana Unfair Trade Practices and Consumer Protection Law
                             (La. Stat. Ann. §51:1401, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


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               This cause of action is brought on behalf of the Louisiana Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of La. Stat. Ann. §51:1402(8).

               Plaintiffs and the Class members are “[c]onsumer[s]” within the meaning of La.

Stat. Ann. §51:1402(1).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of La. Stat. Ann. §51:1402(10).

               The Louisiana Unfair Trade Practices and Consumer Protection Law (“Louisiana

CPL”) prohibits “[u]nfair methods of competition and unfair or deceptive acts or practices in the

conduct of any trade or commerce.” La. Stat. Ann. §51:1405(A).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Louisiana CPL by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Louisiana CPL.




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               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and the Class members relied on Defendants’ misrepresentations,

omissions, and concealments with respect to Ranitidine-Containing Products by purchasing and

continuing to purchase Ranitidine-Containing Products after Defendants’ misrepresentations,

omissions, and concealments were made.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.




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                Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Louisiana CPL in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Louisiana CPL because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.




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               As a result of Defendants’ violations of the Louisiana CPL, as alleged herein,

Plaintiffs and the Class members seek an order awarding actual damages, costs, attorneys’ fees,

and any other just and proper relief available under the Louisiana CPL.


                                 Products Liability/Failure to Warn
                                  Louisiana Product Liability Act
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Louisiana Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.




                                                 693
               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by


                                               694
known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At and after the time the product left Defendants’ control, the product possessed a

characteristic that may cause cancer. Defendants failed to use reasonable care to provide an

adequate warning of such characteristic and its danger to users and handlers of the product.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.




                                               695
               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               Defendants failed to use reasonable care to provide adequate warnings to the users

and handlers of the Ranitidine-Containing Products. Defendants had knowledge of the dangerous

characteristics of the Ranitidine-Containing Products and/or would have acquired knowledge had

they acted as a reasonably prudent manufacturer.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated


                                               696
information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.




                                                697
               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                            Products Liability/Manufacturing Defect
                                Louisiana Product Liability Act
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Louisiana Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial




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change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products deviated in a material way from the

Defendants’ specifications or performance standards for the product or from otherwise identical

products manufactured by the same Defendant.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and


                                               699
treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)     failure to follow cGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of




                                                700
developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                 Products Liability/Design Defect
                                 Louisiana Product Liability Act
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Louisiana Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by


                                                 701
Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               The likelihood that the Ranitidine-Containing Products design would cause

Plaintiffs and members of the Class damage, and the gravity of that damage, outweighed the

burden on the manufacturer of adopting such alternative design, and the adverse effect, if any, of

such alternative design on the utility of the product. Defendants did not use reasonable care to

provide an adequate warning to users and handlers of the product.




                                                702
              At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

              Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

              (a)     Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

              (b)     Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

              (c)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

                                               703
               (j)    Defendants could have employed safer alternative designs and
                      formulations.

               Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

               At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

                                                704
Ranitidine-Containing Products.       For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               20.     Causes of Action Brought on Behalf of the Maine Class


                                   Breach of Express Warranty
                                 (Me. Rev. Stat. Ann. tit. 11, §2-313)
                                      (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.




                                                 705
               This cause of action is brought on behalf of the Maine Class (for the purpose of this

section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Me. Rev. Stat. Ann. tit. 11, §2-313 and

“sellers” of Ranitidine-Containing Products within the meaning of Me. Rev. Stat. Ann. tit. 11, §2-

313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Me. Rev. Stat. Ann. tit. 11, §2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the




                                                706
buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

                   Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.



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               As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                   Breach of Implied Warranty
                                 (Me. Rev. Stat. Ann. tit. 11, §2-314)
                                      (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Maine Class (for the purpose of this

section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Me. Rev. Stat. Ann. tit. 11, §2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.


                                                 708
               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                  Violation of the Maine Unfair Trade Practices Act
                      (Me. Rev. Stat. Ann. tit. 5, §205-a, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Maine Class (for the purpose of this

section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).


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               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Me. Rev. Stat. Ann. tit. 5, §206(2).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of Me. Rev. Stat. Ann. tit. 5, §206(3).

               The Maine Unfair Trade Practices Act (“Maine UTPA”) prohibits “[u]nfair

methods of competition and unfair or deceptive acts or practices in the conduct of any trade or

commerce.” Me. Rev. Stat. Ann. tit. 5, §207.

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Maine UTPA by knowingly and intentionally misrepresenting, omitting,

concealing, and failing to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Maine UTPA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’     unfair     or   deceptive   acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were


                                                 710
likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

              The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

              Plaintiffs and the Class members relied on Defendants’ misrepresentations,

omissions, and concealments with respect to Ranitidine-Containing Products by purchasing and

continuing to purchase Ranitidine-Containing Products after Defendants’ misrepresentations,

omissions, and concealments were made.

              Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

              Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Maine UTPA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.


                                              711
                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Maine UTPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of Ranitidine-Containing Products’ defects became public.         In addition, on May 21, 2020,

Plaintiffs in MDL 2924 sent a notice letter pursuant to Me. Rev. Stat. Ann. tit. 5, §213(1-A) to

Defendants. Because Defendants failed to adequately remedy their unlawful conduct within the

requisite time period, Plaintiffs seek all damages and relief to which Plaintiffs and the Class

members are entitled.




                                                712
               As a result of Defendants’ violations of the Maine UTPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Maine UTPA.


                           Strict Products Liability/Failure to Warn
                               (Me. Rev. Stat. Ann. tit. 14, §221)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Maine Class (for the purpose of this

section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.


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               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               The danger was foreseeable based on scientific, technological, and other

information available.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their


                                               714
drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.


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               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise




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suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.


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               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                (Me. Rev. Stat. Ann. tit. 14, §221)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Maine Class (for the purpose of this

section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their


                                               718
manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.




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               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                (Me. Rev. Stat. Ann. tit. 14, §221)
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Maine Class (for the purpose of this

section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including


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Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous




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to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

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              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an



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ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of


                                               724
developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               21.     Causes of Action Brought on Behalf of the Maryland Class


                                   Breach of Express Warranty
                                 (Md. Code Ann., Com. Law §2-313)
                                      (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Maryland Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Md. Code Ann., Com. Law §2-313 and

“sellers” of Ranitidine-Containing Products within the meaning of Md., Code Ann. Com. Law §2-

313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Md. Code Ann., Com. Law §2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.


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               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

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discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                   Breach of Implied Warranty
                                 (Md. Code Ann., Com. Law §2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Maryland Class (for the purpose of

this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Md. Code Ann., Com. Law §2-314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not


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possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.




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                 Violation of the Maryland Consumer Protection Act
                     (Md. Code Ann., Com. Law §13-101, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Maryland Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Md. Code Ann., Com. Law §13-101(h).

               Plaintiffs and the Class members are “[c]onsumer[s]” within the meaning of Md.

Code Ann., Com. Law §13-101(c)(1).

               The Ranitidine-Containing Products are “[m]erchandise” within the meaning of

Md. Code Ann., Com. Law §13-101(f).

               The Maryland Consumer Protection Act (“Maryland CPA”) prohibits “[u]nfair,

abusive, or deceptive trade practices.” Md. Code Ann., Com. Law §13-301.

               The Maryland CPA makes unlawful specific acts, including:

               (a)     “[f]alse, falsely disparaging, or misleading oral or written statement, visual
                       description, or other representation of any kind which has the capacity,
                       tendency, or effect of deceiving or misleading consumers” (Md. Code Ann.,
                       Com. Law §13-301(1));

               (b)     “[r]epresent[ing] that . . . [c]onsumer goods, consumer realty, or consumer
                       services have a sponsorship, approval, accessory, characteristic, ingredient,
                       use, benefit, or quantity which they do not have” (Md. Code Ann., Com.
                       Law §13-301(2)(i));

               (c)     “[r]epresent[ing] that . . . [c]onsumer goods, consumer realty, or consumer
                       services are of a particular standard, quality, grade, style, or model which
                       they are not” (Md. Code Ann., Com. Law §13-301(2)(iv));


                                                729
               (d)     “[f]ailure to state a material fact if the failure deceives or tends to deceive”
                       (Md. Code Ann., Com. Law §13-301(3));

               (e)     “[a]dvertis[ing] or offer[ing] of consumer goods, consumer realty, or
                       consumer services . . . [w]ithout intent to sell, lease, or rent them as
                       advertised or offered” (Md. Code Ann., Com. Law §13-301(5)(i)); and

               (f)     “[d]eception, fraud, false pretense, false premise, misrepresentation, or
                       knowing concealment, suppression, or omission of any material fact with
                       the intent that a consumer rely on the same in connection with . . . [t]he
                       promotion or sale of any consumer goods” (Md. Code Ann., Com. Law §13-
                       301(9)(i)).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Maryland CPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Maryland CPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised;

               (d)     failing to disclose that the Ranitidine-Containing Products are defective and
                       inherently dangerous in the course of the sale of the Ranitidine-Containing
                       Products; and



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               (e)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and the Class members relied on Defendants’ misrepresentations,

omissions, and concealments with respect to Ranitidine-Containing Products by purchasing and

continuing to purchase Ranitidine-Containing Products after Defendants’ misrepresentations,

omissions, and concealments were made.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

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                Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Maryland CPA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Maryland CPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Maryland CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or


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practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Maryland CPA.


                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Maryland Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,



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supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.


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               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.




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               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to


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comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


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                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Maryland Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



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otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Maryland Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




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assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


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Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;


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              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing




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Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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               22.     Causes of Action Brought on Behalf of the Massachusetts Class


                                Breach of Express Warranty
                            (Mass. Gen. Laws Ann. Ch. 106 §2-313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Massachusetts Class (for the

purpose of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Mass. Gen. Laws Ann. Ch. 106 §2-313 and

“sellers” of Ranitidine-Containing Products within the meaning of Mass. Gen. Laws Ann. Ch. 106

§2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Mass. Gen. Laws Ann. Ch. 106 §2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their


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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

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                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                   Breach of Implied Warranty
                               (Mass. Gen. Laws Ann. Ch. 106 §2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Massachusetts Class (for the

purpose of this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Mass. Gen. Laws Ann. Ch. 106 §2-314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


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               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


      Violation of the Deceptive Acts or Practices Prohibited by Massachusetts Law
                        (Mass. Gen. Laws Ann. ch. 93a, §1, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


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               This cause of action is brought on behalf of the Massachusetts Class (for the

purpose of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic

Manufacturer Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Mass. Gen. Laws Ann. ch. 93A, §1(a).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of Mass. Gen. Laws Ann. ch. 93A, §1(b).

               The Massachusetts consumer protection law (“Massachusetts Act”) prohibits

“[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct of any

trade or commerce.” Mass. Gen. Laws Ann. ch. 93A, §2(a).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Massachusetts Act by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Massachusetts Act.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.


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               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Massachusetts Act in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts concerning the dangers of Ranitidine-Containing Products because they possessed exclusive

knowledge, they intentionally concealed the dangers of Ranitidine-Containing Products from

Plaintiffs and the Class members, and/or they made misrepresentations that were rendered

misleading because they were contradicted by withheld facts.




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                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Massachusetts Act because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of Ranitidine-Containing Products’ defects became public.         In addition, on May 21, 2020,

Plaintiffs in MDL 2924 sent a notice letter pursuant to Mass. Gen. Laws Ann. ch. 93A, §9(3) to

Defendants. Because Defendants failed to adequately remedy their unlawful conduct within the

requisite time period, Plaintiffs seek all damages and relief to which Plaintiffs and the Class

members are entitled.




                                                751
               As a result of Defendants’ violations of the Massachusetts Act, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Massachusetts Act.


                                       Medical Monitoring
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Massachusetts Class (for the

purpose of this section, “Class”) against all Defendants.

               Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

their risk of developing various types of serious and potentially deadly cancers and caused them

bodily injury in the form of cellular, sub-cellular, and/or genetic injuries.

               At all relevant times Defendants had a duty to, inter alia:

               (a)     exercise reasonable care in the design, research, manufacture, labeling,
                       testing, marketing, advertisement, supply, promotion, packaging, warning,
                       sale, storage, handling, and distribution of Ranitidine-Containing Products,
                       including the duty to take all reasonable steps necessary to manufacture,
                       promote, and/or sell a product that was not unreasonably dangerous to
                       consumers and users of the product;

               (b)     to provide accurate, true, and correct information concerning the risks of
                       using Ranitidine-Containing Products and appropriate, complete, and
                       accurate warnings concerning the potential adverse effects of Ranitidine-
                       Containing Products – in particular, their ability to transform into the
                       carcinogenic compound, NDMA; and

               (c)     disclose the fact that Ranitidine-Containing Products contained elevated
                       levels of NDMA that rendered them unsafe and unfit for human
                       consumption.




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               Defendants breached these duties by, inter alia, failing to exercise ordinary care in

the design, research, development, manufacture, testing, labeling, marketing, supply, promotion,

advertisement, packaging, warning, sale, and distribution of Ranitidine-Containing Products, in

that Defendants manufactured and produced defective Ranitidine-Containing Products, which

carry the potential to transform into the carcinogenic compound NDMA; knew or had reason to

know of the defects inherent in their products; knew or had reason to know that consumer use of

the products created a significant risk of harm and unreasonably dangerous side effects, including

significantly increasing the risk of developing various types of serious and potentially deadly

cancers and causing bodily injury in the form of cellular, sub-cellular, and/or genetic injuries; and

failed to prevent or adequately warn of these risks and injuries. Indeed, Defendants deliberately

refused to test Ranitidine-Containing Products because they knew that the chemical posed serious

health risks to humans.

               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – of the hazards and dangers associated with Ranitidine-Containing Products.

Specifically, Defendants knew or should have known of the carcinogenic properties of NDMA

when Ranitidine-Containing Products are ingested and/or the elevated levels of NDMA that result

from the transport and storage of Ranitidine-Containing Products.

               Accordingly, at all relevant times, Defendants knew – or in the exercise of

reasonable care, should have known – that use of Ranitidine-Containing Products could cause or

be associated with Plaintiffs’ and Class members’ injuries, and thus, could create a dangerous and

unreasonable risk of injury to the end users of their products, including Plaintiffs and members of

the Class.




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               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – that it was foreseeable that consumers such as Plaintiffs and members of the

Class would suffer injuries in the form of cellular, sub-cellular, and/or genetic injuries that

significantly increased their risk of developing various types of serious and potentially deadly

cancers as a result of Defendants’ failure to exercise ordinary care in the manufacturing, marketing,

labeling, distribution, and sale of Ranitidine-Containing Products.

               Plaintiffs and members of the Class did not know the nature and extent of the

injuries that could result from the intended use of and/or exposure to Ranitidine-Containing

Products.

               Due to the unsafe levels of NDMA present in Ranitidine-Containing Products,

which present an unacceptable and increased risk of causing cancer, the FDA was compelled to

order the immediate ban of all Ranitidine-Containing Products on April 1, 2020.

               Had Defendants disclosed and not concealed the risks associated with the use of

Ranitidine-Containing Products, Plaintiffs and members of the Class would not have purchased or

consumed the Ranitidine-Containing Products, and therefore would have avoided such injury.

               The latent injuries from which Plaintiffs suffer require specialized testing (with

resultant treatment) that is not generally given to the public at large. The available monitoring

regime is specific for individuals exposed to products known to significantly increase the risk of

various cancers because of ingesting Ranitidine-Containing Products and is different from that

normally recommended in the absence of exposure to this risk of harm.

               The medical monitoring regime should include, but is not limited to, baseline tests

and diagnostic examination that will assist in early detection and diagnosing various cancers. This




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diagnostic program will facilitate treatment and interventions that will mitigate the development

of, and health effects associated with, various cancers.

               The available monitoring regime is reasonably necessary according to

contemporary scientific principles within the medical community specializing in the diagnosis and

treatment of cancers.

               By monitoring and testing Plaintiffs, the risk that Plaintiffs will suffer long-term

injuries, disease, and losses without adequate treatment will be significantly reduced.

               Plaintiffs, therefore, seek an injunction creating a Court-supervised, Defendant-

funded medical monitoring program which will facilitate the diagnoses of Plaintiffs for various

cancers. The medical monitoring should include a trust fund to pay for the medical monitoring and

diagnosis of Plaintiffs as frequently and appropriately as necessary.

               Accordingly, Defendants should be required to establish a medical monitoring

program that includes, among other things: (a) establishing a trust fund, in an amount to be

determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

notifying all Class members in writing that they may require frequent medical monitoring for the

purpose of diagnosis.

               Plaintiffs have an inadequate remedy at law in that monetary damages alone cannot

compensate them for the risk of long-term physical and economic losses due to ingesting

Ranitidine-Containing Products. Without a court-approved medical monitoring program as

described herein, or established by the Court, Plaintiffs and the Class members will continue to

face an unreasonable risk of injury and disability and remain undiagnosed.




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               23.     Causes of Action Brought on Behalf of the Michigan Class


                                    Breach of Express Warranty
                                 (Mich. Comp. Laws Ann. §440.2313)
                                      (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Michigan Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Mich. Comp. Laws Ann. §440.2313 and

“sellers” of Ranitidine-Containing Products within the meaning of Mich. Comp. Laws Ann.

§440.2313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Mich. Comp. Laws Ann. §440.2313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their


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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

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                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                    Breach of Implied Warranty
                                 (Mich. Comp. Laws Ann. §440.2314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Michigan Class (for the purpose of

this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Mich. Comp. Laws Ann. §440.2314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


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               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                  Violation of the Michigan Consumer Protection Act
                      (Mich. Comp. Laws Ann. §445.901, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


                                               759
               This cause of action is brought on behalf of the Michigan Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Mich. Comp. Laws Ann. §445.902(1)(d).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of Mich. Comp. Laws Ann. §445.902(1)(g).

               The Michigan Consumer Protection Act (“Michigan CPA”) prohibits “[u]nfair,

unconscionable, or deceptive methods, acts, or practices in the conduct of trade or commerce.”

Mich. Comp. Laws Ann. §445.903(1).

               The Michigan CPA makes unlawful specific acts, including:

               (a)     “[r]epresenting that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or quantities that they do not
                       have” (Mich. Comp. Laws Ann. §445.903(1)(c));

               (b)     “[r]epresenting that goods or services are of a particular standard, quality,
                       or grade, or that goods are of a particular style or model, if they are of
                       another” (Mich. Comp. Laws Ann. §445.903(1)(e)); and

               (c)     “[a]dvertising or representing goods or services with intent not to dispose
                       of those goods or services as advertised or represented” (Mich. Comp. Laws
                       Ann. §445.903(1)(g)).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Michigan CPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.




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               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Michigan CPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,   including    their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class



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members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Michigan CPA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Michigan CPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would




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not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Michigan CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Michigan CPA.

                24.     Causes of Action Brought on Behalf of the Minnesota Class


                                      Breach of Express Warranty
                                     (Minn. Stat. Ann. §336.2-313)
                                       (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the Minnesota Class (for the purpose

of this section, “Class”) against all Defendants.

                Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Minn. Stat. Ann. §336.2-313 and “sellers”

of Ranitidine-Containing Products within the meaning of Minn. Stat. Ann. §336.2-313.

                Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Minn. Stat. Ann. §336.2-313.

                In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for


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consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of


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        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                    (Minn. Stat. Ann. §336.2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Minnesota Class (for the purpose

of this section, “Class”) against all Defendants.




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               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Minn. Stat. Ann. §336.2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the


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Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


             Violation of the Minnesota Prevention of Consumer Fraud Act
                           (Minn. Stat. Ann. §325F.68, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Minnesota Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Minn. Stat. Ann. §325F.68(3).

               The Ranitidine-Containing Products are “[m]erchandise” within the meaning of

Minn. Stat. Ann. §325F.68(2).

               The Minnesota Prevention of Consumer Fraud Act (“Minnesota CFA”) prohibits

“act, use, or employment by any person of any fraud, false pretense, false promise,

misrepresentation, misleading statement or deceptive practice, with the intent that others rely

thereon in connection with the sale of any merchandise, whether or not any person has in fact been

misled, deceived, or damaged.” Minn. Stat. Ann. §325F.69(1). Prohibited practices include: (i)


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deceptive practices concerning the quality of goods or services pursuant to Minn. Stat. Ann.

§325D.44; (ii) fraud in connection with the sale of any merchandise pursuant to Minn. Stat. Ann.

§325F.69; and (iii) misrepresentation of product ingredients or quality pursuant to Minn. Stat. Ann.

§325D.13.

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Minnesota CFA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Minnesota CFA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive      acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.


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              The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

              Plaintiffs and the Class members relied on Defendants’ misrepresentations,

omissions, and concealments with respect to Ranitidine-Containing Products by purchasing and

continuing to purchase Ranitidine-Containing Products after Defendants’ misrepresentations,

omissions, and concealments were made.

              Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

              Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Minnesota CFA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts concerning the dangers of Ranitidine-Containing Products because they possessed exclusive

knowledge, they intentionally concealed the dangers of Ranitidine-Containing Products from

Plaintiffs and the Class members, and/or they made misrepresentations that were rendered

misleading because they were contradicted by withheld facts.

              Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Minnesota CFA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,


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concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Minnesota CFA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Minnesota CFA.


            Violation of the Minnesota Uniform Deceptive Trade Practices Act
                            (Minn. Stat. Ann. §325D.43, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the Minnesota Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).




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               The Minnesota Uniform Deceptive Trade Practices Act (“Minnesota UDTPA”)

prohibits deceptive trade practices “in the course of a business, vocation, or occupation.” Minn.

Stat. Ann. §325D.44, Subd. 1.

               The Minnesota UDTPA makes unlawful specific acts, including:

               (a)     “[r]epresent[ing] that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or quantities that they do not
                       have” (Minn. Stat. Ann. §325D.44, Subd. 1(5));

               (b)     “[r]epresent[ing] that goods or services are of a particular standard, quality,
                       or grade, or that goods are of a particular style or model, if they are of
                       another” (Minn. Stat. Ann. §325D.44, Subd. 1(7));

               (c)     “[a]dvertis[ing] goods or services with intent not to sell them as advertised”
                       (Minn. Stat. Ann. §325D.44, Subd. 1(9)); and

               (d)     “[e]ngag[ing] in any other conduct which similarly creates a likelihood of
                       confusion or of misunderstanding” (Minn. Stat. Ann. §325D.44, Subd.
                       1(13)).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Minnesota UDTPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Minnesota UDTPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;



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               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.




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                Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Minnesota UDTPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts concerning the dangers of Ranitidine-Containing Products because they possessed exclusive

knowledge, they intentionally concealed the dangers of Ranitidine-Containing Products from

Plaintiffs and the Class members, and/or they made misrepresentations that were rendered

misleading because they were contradicted by withheld facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Minnesota UDTPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Minnesota UDTPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or


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practices and awarding costs, attorneys’ fees, and any other just and proper relief available under

the Minnesota UDTPA.


                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Minnesota Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,



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supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.


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               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.




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               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to


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comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


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                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Minnesota Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               Manufacturer Defendants’ Ranitidine-Containing Products are inherently

dangerous and defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and

accordingly do not meet or perform to the expectations of ordinary consumers or health care

providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.




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               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Minnesota Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At



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all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.




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               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;


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              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-



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Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


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               25.     Causes of Action Brought on Behalf of the Mississippi Class


                                  Breach of Express Warranty
                                  (Miss. Code Ann. §75-2-313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Mississippi Class (for the purpose

of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Miss. Code Ann. §75-2-313 and “sellers”

of Ranitidine-Containing Products within the meaning of Miss. Code Ann. §75-2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Miss. Code Ann. §75-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their




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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

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                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   Plaintiffs and the Class members gave Defendants reasonable notice of their

breaches of express warranty and an opportunity to cure such breaches or, in the alternative, were

not required to do so because such an opportunity would be unnecessary and futile given that

Defendants are unable to cure the defect in Ranitidine-Containing Products.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                     (Miss. Code Ann. §75-2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Mississippi Class (for the purpose

of this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Miss. Code Ann. §75-2-314.




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               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and




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punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                                 Products Liability/Failure to Warn
                                    (Miss. Code Ann. §11-1-63)
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Mississippi Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,


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supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.


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               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.




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               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to


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comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


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                            Products Liability/Manufacturing Defect
                                  (Miss. Code Ann. §11-1-63)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Mississippi User Class (for the

purpose of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



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otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                 Products Liability/Design Defect
                                   (Miss. Code Ann. §11-1-63)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Mississippi Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




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assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


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Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;


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              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing




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Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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               26.     Causes of Action Brought on Behalf of the Missouri Class


                                  Breach of Express Warranty
                                  (Mo. Ann. Stat. §400.2-313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Missouri Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Mo. Ann. Stat. §400.2-313 and “sellers” of

Ranitidine-Containing Products within the meaning of Mo. Ann. Stat. §400.2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Mo. Ann. Stat. §400.2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their




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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

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                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                     (Mo. Ann. Stat. §400.2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Missouri Class (for the purpose of

this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Mo. Ann. Stat. §400.2-314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


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               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                 Violation of the Missouri Merchandising Practices Act
                            (Mo. Ann. Stat. §407.010, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


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               This cause of action is brought on behalf of the Missouri Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Mo. Ann. Stat. §407.010(5).

               Defendants were and are engaged in “[t]rade or commerce” within the meaning of

Mo. Ann. Stat. §407.010(7).

               The Missouri Merchandising Practices Act (“Missouri MPA”) prohibits “act, use

or employment by any person of any deception, fraud, false pretense, false promise,

misrepresentation, unfair practice or the concealment, suppression, or omission of any material

fact in connection with the sale or advertisement of any merchandise in trade or commerce.” Mo.

Ann. Stat. §407.020(1).

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Missouri MPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Missouri MPA.




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               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair or deceptive practices under the Missouri MPA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the


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Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Missouri MPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Missouri MPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Missouri MPA.




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                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Missouri Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous



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risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or


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instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and


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their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public




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service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Missouri Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



                                                 815
otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Missouri Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




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assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


                                               817
Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;


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              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing




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Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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               27.     Causes of Action Brought on Behalf of the Montana Class


                                  Breach of Express Warranty
                                  (Mont. Code Ann. §30-2-313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Montana Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Mont. Code Ann. §30-2-313 and “sellers”

of Ranitidine-Containing Products within the meaning of Mont. Code Ann. §30-2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Mont. Code Ann. §30-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their




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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

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                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                     (Mont. Code Ann. §30-2-314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Montana Class (for the purpose of

this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Mont. Code Ann. §30-2-314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


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               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


  Violation of the Montana Unfair Trade Practices and Consumer Protection Act of 1973
                          (Mont. Code Ann. §30-14-101, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


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               This cause of action is brought on behalf of the Montana Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Mont. Code Ann. §30-14-102(6).

               Plaintiffs and the Class members are “[c]onsumer[s]” within the meaning of Mont.

Code Ann. §30-14-102(1).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of Mont. Code Ann. §30-14-102(8).

               The Montana Unfair Trade Practices and Consumer Protection Act of 1973

(“Montana CPA”) prohibits “[u]nfair methods of competition and unfair or deceptive acts or

practices in the conduct of any trade or commerce.” Mont. Code Ann. §30-14-103.

               In the course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the Montana CPA by knowingly and intentionally misrepresenting, omitting,

concealing, and failing to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive business practices

prohibited by the Montana CPA.




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               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and the Class members relied on Defendants’ misrepresentations,

omissions, and concealments with respect to Ranitidine-Containing Products by purchasing and

continuing to purchase Ranitidine-Containing Products after Defendants’ misrepresentations,

omissions, and concealments were made.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.




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                Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Montana CPA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts concerning

the dangers of Ranitidine-Containing Products because they possessed exclusive knowledge, they

intentionally concealed the dangers of Ranitidine-Containing Products from Plaintiffs and the

Class members, and/or they made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Montana CPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Montana CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or


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practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Montana CPA.


                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Montana Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,



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supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.


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               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.




                                               830
               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to


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comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and the members of the Class would not: (a) been subjected

to the accumulation of NDMA in their bodies, including the resulting cellular damage, subcellular

damage, and related symptoms; and (b) sustained a significantly increased risk of developing

various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and the members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                                832
                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Montana Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



                                                 834
otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and the members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and the members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Montana Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




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assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


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Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;


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              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing




                                               838
Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and the members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and the members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




                                               839
                                       Medical Monitoring
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Montana Class (for the purpose of

this section, “Class”) against all Defendants.

               Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

their risk of developing various types of serious and potentially deadly cancers and caused them

bodily injury in the form of cellular, sub-cellular, and/or genetic injuries.

               At all relevant times Defendants had a duty to, inter alia:

               (a)     exercise reasonable care in the design, research, manufacture, labeling,
                       testing, marketing, advertisement, supply, promotion, packaging, warning,
                       sale, storage, handling, and distribution of Ranitidine-Containing Products,
                       including the duty to take all reasonable steps necessary to manufacture,
                       promote, and/or sell a product that was not unreasonably dangerous to
                       consumers and users of the product;

               (b)     to provide accurate, true, and correct information concerning the risks of
                       using Ranitidine-Containing Products and appropriate, complete, and
                       accurate warnings concerning the potential adverse effects of Ranitidine-
                       Containing Products – in particular, their ability to transform into the
                       carcinogenic compound, NDMA; and

               (c)     disclose the fact that Ranitidine-Containing Products contained elevated
                       levels of NDMA that rendered them unsafe and unfit for human
                       consumption.

               Defendants breached these duties by, inter alia, failing to exercise ordinary care in

the design, research, development, manufacture, testing, labeling, marketing, supply, promotion,

advertisement, packaging, warning, sale, and distribution of Ranitidine-Containing Products, in

that Defendants manufactured and produced defective Ranitidine-Containing Products, which

carry the potential to transform into the carcinogenic compound NDMA; knew or had reason to


                                                 840
know of the defects inherent in their products; knew or had reason to know that consumer use of

the products created a significant risk of harm and unreasonably dangerous side effects, including

significantly increasing the risk of developing various types of serious and potentially deadly

cancers and causing bodily injury in the form of cellular, sub-cellular, and/or genetic injuries; and

failed to prevent or adequately warn of these risks and injuries. Indeed, Defendants deliberately

refused to test Ranitidine-Containing Products because they knew that the chemical posed serious

health risks to humans.

               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – of the hazards and dangers associated with Ranitidine-Containing Products.

Specifically, Defendants knew or should have known of the carcinogenic properties of NDMA

when Ranitidine-Containing Products are ingested and/or the elevated levels of NDMA that result

from the transport and storage of Ranitidine-Containing Products.

               Accordingly, at all relevant times, Defendants knew – or in the exercise of

reasonable care, should have known – that use of Ranitidine-Containing Products could cause or

be associated with Plaintiffs’ and Class members’ injuries, and thus, could create a dangerous and

unreasonable risk of injury to the end users of their products, including Plaintiffs and members of

the Class.

               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – that it was foreseeable that consumers such as Plaintiffs and members of the

Class would suffer injuries in the form of cellular, sub-cellular, and/or genetic injuries that

significantly increased their risk of developing various types of serious and potentially deadly

cancers as a result of Defendants’ failure to exercise ordinary care in the manufacturing, marketing,

labeling, distribution, and sale of Ranitidine-Containing Products.


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               Plaintiffs and members of the Class did not know the nature and extent of the

injuries that could result from the intended use of and/or exposure to Ranitidine-Containing

Products.

               Due to the unsafe levels of NDMA present in Ranitidine-Containing Products,

which present an unacceptable and increased risk of causing cancer, the FDA was compelled to

order the immediate ban of all Ranitidine-Containing Products on April 1, 2020.

               Had Defendants disclosed and not concealed the risks associated with the use of

Ranitidine-Containing Products, Plaintiffs and members of the Class would not have purchased or

consumed the Ranitidine-Containing Products, and therefore would have avoided such injury.

               The latent injuries from which Plaintiffs suffer require specialized testing (with

resultant treatment) that is not generally given to the public at large. The available monitoring

regime is specific for individuals exposed to products known to significantly increase the risk of

various cancers because of ingesting Ranitidine-Containing Products and is different from that

normally recommended in the absence of exposure to this risk of harm.

               The medical monitoring regime should include, but is not limited to, baseline tests

and diagnostic examination that will assist in early detection and diagnosing various cancers. This

diagnostic program will facilitate treatment and interventions that will mitigate the development

of, and health effects associated with, various cancers.

               The available monitoring regime is reasonably necessary according to

contemporary scientific principles within the medical community specializing in the diagnosis and

treatment of cancers.

               By monitoring and testing Plaintiffs, the risk that Plaintiffs will suffer long-term

injuries, disease, and losses without adequate treatment will be significantly reduced.


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               Plaintiffs, therefore, seek an injunction creating a Court-supervised, Defendant-

funded medical monitoring program which will facilitate the diagnoses of Plaintiffs for various

cancers. The medical monitoring should include a trust fund to pay for the medical monitoring and

diagnosis of Plaintiffs as frequently and appropriately as necessary.

               Accordingly, Defendants should be required to establish a medical monitoring

program that includes, among other things: (a) establishing a trust fund, in an amount to be

determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

notifying all Class members in writing that they may require frequent medical monitoring for the

purpose of diagnosis.

               Plaintiffs have an inadequate remedy at law in that monetary damages alone cannot

compensate them for the risk of long-term physical and economic losses due to ingesting

Ranitidine-Containing Products. Without a court-approved medical monitoring program as

described herein, or established by the Court, Plaintiffs and Class members will continue to face

an unreasonable risk of injury and disability and remain undiagnosed.

               28.      Causes of Action Brought on Behalf of the Nebraska Class


                                  Breach of Express Warranty
                                  (Neb. Rev. Stat. Ann. §2-313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Nebraska Class (for the purpose of

this section, “Class”) against all Defendants.




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               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Neb. Rev. Stat. Ann. §2-313 and “sellers”

of Ranitidine-Containing Products within the meaning of Neb. Rev. Stat. Ann. §2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Neb. Rev. Stat. Ann. §2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the


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Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.




                                                  845
                                  Breach of Implied Warranty
                                  (Neb. Rev. Stat. Ann. §2-314)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Nebraska Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Neb. Rev. Stat. Ann. §2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to




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establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                  Violation of the Nebraska Consumer Protection Act
                         (Neb. Rev. Stat. Ann. §59-1601, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Nebraska Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Neb. Rev. Stat. Ann. §59-1601(1).


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               The Ranitidine-Containing Products are “[a]ssets” within the meaning of Neb. Rev.

Stat. Ann. §59-1601(3).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of Neb. Rev. Stat. Ann. §59-1601(2).

               The Nebraska Consumer Protection Act (“Nebraska CPA”) prohibits “[u]nfair

methods of competition and unfair or deceptive acts or practices in the conduct of any trade or

commerce.” Neb. Rev. Stat. Ann. §59-1602.

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the Nebraska CPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Nebraska CPA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,    including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were


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likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Nebraska CPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.




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                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Nebraska CPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Nebraska CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Nebraska CPA.


                            Strict Products Liability/Failure to Warn
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.




                                               850
               This cause of action is brought on behalf of the Nebraska Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.        Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.




                                                 851
               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.


                                               852
Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.


                                               853
               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,


                                                854
Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and the Class members would not have: (a) been subjected

to the accumulation of NDMA in their bodies, including the resulting cellular damage, subcellular

damage, and related symptoms; and (b) sustained a significantly increased risk of developing

various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and the Class members have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Nebraska Class (for the purpose of

this section, “Class”) against all Defendants.



                                                 855
               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.


                                               856
               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)     failure to follow cGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and the Class members would not have: (a) been subjected

to the accumulation of NDMA in their bodies, including the resulting cellular damage, subcellular

damage, and related symptoms; and (b) sustained a significantly increased risk of developing

various types of serious and potentially deadly cancers.




                                                857
               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and the Class members have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

                                                   Count II
                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Nebraska Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,



                                                 858
including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.




                                                859
              Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

              (a)     Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

              (b)     Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

              (c)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.




                                               860
               Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

               At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid


                                                861
(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and the Class members would not have: (a) been subjected

to the accumulation of NDMA in their bodies, including the resulting cellular damage, subcellular

damage, and related symptoms; and (b) sustained a significantly increased risk of developing

various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and the Class members have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               29.     Causes of Action Brought on Behalf of the Nevada Class


                                   Breach of Express Warranty
                                 (Nev. Rev. Stat. Ann. §104.2313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Nevada Class (for the purpose of

this section, “Class”) against all Defendants.


                                                 862
               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Nev. Rev. Stat. Ann. §104.2313 and

“sellers” of Ranitidine-Containing Products within the meaning of Nev. Rev. Stat. Ann.

§104.2313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Nev. Rev. Stat. Ann. §104.2313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.




                                                863
                   Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.

                                                  864
                                   Breach of Implied Warranty
                                 (Nev. Rev. Stat. Ann. §104.2314)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Nevada Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Nev. Rev. Stat. Ann. §104.2314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to




                                                 865
establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                 Violation of the Nevada Deceptive Trade Practices Act
                         (Nev. Rev. Stat. Ann. §598.0903, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Nevada Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).




                                               866
               The Nevada Deceptive Trade Practices Act (“Nevada DTPA”), prohibits the use of

“‘deceptive trade practices’ . . . in the course of . . . business or occupation.” Nev. Rev. Stat. Ann.

§598.0915.

               The Nevada DTPA makes unlawful specific acts, including:

               (a)     “[k]nowingly mak[ing] a false representation as to the characteristics,
                       ingredients, uses, benefits, alterations or quantities of goods or services for
                       sale or lease or a false representation as to the sponsorship, approval, status,
                       affiliation or connection of a person therewith” (Nev. Rev. Stat. Ann.
                       §598.0915(5));

               (b)     “[r]epresent[ing] that goods or services for sale or lease are of a particular
                       standard, quality or grade, or that such goods are of a particular style or
                       model, if he or she knows or should know that they are of another standard,
                       quality, grade, style or model” (Nev. Rev. Stat. Ann. §598.0915(7));

               (c)     “[a]dvertis[ing] goods or services with intent not to sell or lease them as
                       advertised” (Nev. Rev. Stat. Ann. §598.0915(9));

               (d)     “[k]nowingly mak[ing] any other false representation in a transaction”
                       (Nev. Rev. Stat. Ann. §598.0915(15)); and

               (e)     “[f]ail[ing] to disclose a material fact in connection with the sale or lease of
                       goods or services” (Nev. Rev. Stat. Ann. §598.0923(2)).

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the Nevada DTPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as




                                                 867
detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Nevada DTPA, including:

               (a)     representing that Ranitidine-Containing Products have characteristics, uses,
                       benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised;

               (d)     failing to disclose the NDMA danger in connection with the sale of the
                       Ranitidine-Containing Products; and

               (e)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.


                                               868
               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Nevada DTPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Nevada DTPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would


                                               869
not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Nevada DTPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Nevada DTPA.


                            Strict Products Liability/Failure to Warn
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the Nevada Class (for the purpose of

this section, “Class”) against all Defendants.

                At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.




                                                 870
               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including




                                               871
Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.




                                               872
               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated


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information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.




                                                874
               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Nevada Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial




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change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:


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               (a)     failure to follow cGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Nevada Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants



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were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:




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              (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                     in that they were hazardous and posed a grave risk of cancer when used in
                     a reasonably anticipated manner;

              (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                     used in a reasonably anticipated or intended manner;

              (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to transform into the carcinogenic compound NDMA within the
                     human body;

              (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to develop increasing levels of NDMA over time under anticipated
                     and expected storage and handling conditions;

              (e)    Defendants failed to provide accurate expiration dates on the product label;

              (f)    Defendants failed to provide accurate instructions concerning the stability
                     of the drug, including failing to provide accurate information about proper
                     temperature and light conditions for storage and distribution of the drug;

              (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                     effects that outweigh any potential utility stemming from the use of the
                     drug;

              (h)    Defendants knew or should have known at the time of marketing Ranitidine-
                     Containing Products that exposure to Ranitidine-Containing Products could
                     result in cancer and other severe illnesses and injuries;

              (i)    Defendants did not conduct adequate post-marketing surveillance of their
                     Ranitidine-Containing Products; and

              (j)    Defendants could have employed safer alternative designs and
                     formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.


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               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.




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               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not (a) been subjected to

the accumulation of NDMA in their bodies, including the resulting cellular damage, subcellular

damage, and related symptoms; and (b) sustained a significantly increased risk of developing

various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               30.     Causes of Action Brought on Behalf of the New Hampshire Class


                                    Breach of Express Warranty
                                 (N.H. Rev. Stat. Ann. §382-A:2-313)
                                      (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New Hampshire Class (for the

purpose of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of N.H. Rev. Stat. Ann. §382-A:2-313 and

“sellers” of Ranitidine-Containing Products within the meaning of N.H. Rev. Stat. Ann. §382-A:2-

313.


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               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of N.H. Rev. Stat. Ann. §382-A:2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,


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ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                    Breach of Implied Warranty
                                 (N.H. Rev. Stat. Ann. §382-A:2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.



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               This cause of action is brought on behalf of the New Hampshire Class (for the

purpose of this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

N.H. Rev. Stat. Ann. §382-A:2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.


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               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


               Violation of the New Hampshire Consumer Protection Act
                         (N.H. Rev. Stat. Ann. §358-A:1, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New Hampshire Class (for the

purpose of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic

Manufacturer Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of N.H. Rev. Stat. Ann. §358-A:1(I).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of N.H. Rev. Stat. Ann. §358-A:1(II).

               The New Hampshire Consumer Protection Act (“New Hampshire CPA”) prohibits

“any unfair method of competition or any unfair or deceptive act or practice in the conduct of any

trade or commerce.” N.H. Rev. Stat. Ann. §358-A:2.


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               The New Hampshire CPA makes unlawful specific acts, including:

               (a)     “[r]epresenting that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or quantities that they do not
                       have” (N.H. Rev. Stat. Ann. §358-A:2(V));

               (b)     “[r]epresenting that goods or services are of a particular standard, quality,
                       or grade, or that goods are of a particular style or model, if they are of
                       another.” (N.H. Rev. Stat. Ann. §358-A:2(VII)); and

               (c)     “[a]dvertising goods or services with intent not to sell them as advertised.”
                       (N.H. Rev. Stat. Ann. §358-A:2(IX)).

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the New Hampshire CPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the New Hampshire CPA, including:

               (a)     representing that Ranitidine-Containing Products have characteristics, uses,
                       benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not; and

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised.




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               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the New Hampshire CPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed


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exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of New

Hampshire CPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the New Hampshire CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the New Hampshire CPA.


                                               889
                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New Hampshire Class (for the

purpose of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous



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risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or


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instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and


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their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public




                                                893
service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New Hampshire Class (for the

purpose of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



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otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New Hampshire Class (for the

purpose of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




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assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


                                               898
Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;


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              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing




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Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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               31.     Causes of Action Brought on Behalf of the New Jersey Class


                                  Breach of Express Warranty
                                  (N.J. Stat. Ann. §12A:2-313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New Jersey Class (for the purpose

of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of N.J. Stat. Ann. §12A:2-313 and “sellers”

of Ranitidine-Containing Products within the meaning of N.J. Stat. Ann. §12A:2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of N.J. Stat. Ann. §12A:2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their




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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

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                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                     (N.J. Stat. Ann. §12A:2-314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the New Jersey Class (for the purpose

of this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

N.J. Stat. Ann. §12A:2-314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


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               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                  Violation of the New Jersey Consumer Fraud Act
                           (N.J. Stat. Ann. §56:8-1, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


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               This cause of action is brought on behalf of the New Jersey Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “person[s]” within the meaning

of N.J. Stat. Ann. §56:8-1(d).

               The Ranitidine-Containing Products are “merchandise” within the meaning of N.J.

Stat. Ann. §56:8-1(c).

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the New Jersey Consumer Fraud Act (“New Jersey CFA”)

by knowingly and intentionally misrepresenting, omitting, concealing, and failing to disclose

material facts regarding Ranitidine-Containing Products, including that such drugs were inherently

defective, unreasonably dangerous, and not fit to be used for their intended purpose, as detailed

above. N.J. Stat. Ann. §56:8-1, et seq.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the New Jersey CFA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’       unfair   or   deceptive   acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,


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had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the New Jersey CFA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.


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                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

New Jersey CFA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the New Jersey CFA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the New Jersey CFA.


                                 Products Liability/Failure to Warn
                                 New Jersey Products Liability Act
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.




                                                908
               This cause of action is brought on behalf of the New Jersey Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.




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               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.


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Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               The Ranitidine-Containing Products, because of their dangerous condition and

Defendants’ knowledge of such dangerous condition, would not be put on the market by a

reasonably prudent manufacturer or seller exercising reasonable and due care.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and


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their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public




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service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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                            Products Liability/Manufacturing Defect
                               New Jersey Products Liability Act
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New Jersey Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products, because of their dangerous condition and

Defendants’ knowledge of such dangerous condition, would not be put on the market by a

reasonably prudent manufacturer or seller.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.




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               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                 Products Liability/Design Defect
                                 New Jersey Products Liability Act
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New Jersey Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including


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Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous




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to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               The Ranitidine-Containing Products, because of their dangerous condition and

Defendants’ knowledge of such dangerous condition, would not be put on the market by a

reasonably prudent manufacturer or seller.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;


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              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.




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               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.




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               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               32.     Causes of Action Brought on Behalf of the New Mexico Class


                                  Breach of Express Warranty
                                  (N.M. Stat. Ann. §55-2-313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New Mexico Class (for the purpose

of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of N.M. Stat. Ann. §55-2-313 and “sellers” of

Ranitidine-Containing Products within the meaning of N.M. Stat. Ann. §55-2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of N.M. Stat. Ann. §55-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or


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promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and


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        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                     (N.M. Stat. Ann. §55-2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the New Mexico Class (for the purpose

of this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.



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               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

N.M. Stat. Ann. §55-2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.


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               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                Violation of the New Mexico Unfair Trade Practices Act
                           (N.M. Stat. Ann. §57-12-1, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New Mexico Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “person[s]” within the meaning

of N.M. Stat. Ann. §57-12-2(A).

               Defendants were and are engaged in “trade” or “commerce” within the meaning of

N.M. Stat. Ann. §57-12-2(C).

               The New Mexico Unfair Trade Practices Act (“New Mexico UTPA”) makes

unlawful “a false or misleading oral or written statement, visual description or other representation

of any kind knowingly made in connection with the sale, lease, rental or loan of goods or services

. . . by a person in the regular course of the person’s trade or commerce, that may, tends to or does

deceive or mislead any person.” N.M. Stat. Ann. §57-12-2(D). The New Mexico UTPA also

makes unlawful “an act or practice in connection with the sale, lease, rental, or loan, or in

connection with the offering for sale, lease, rental or loan, of any goods or services, . . . that to a

person’s detriment: (1) takes advantage of the lack of knowledge, ability, experience or capacity


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of a person to a grossly unfair degree; or (2) results in a gross disparity between the value received

by a person and the price paid.” N.M. Stat. Ann. §57-12-2(E).

               The New Mexico UTPA makes unlawful specific acts, including:

               (a)     “representing that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits or quantities that they do not
                       have” (N.M. Stat. Ann. §57-12-2(D)(5));

               (b)     “representing that goods or services are of a particular standard, quality or
                       grade or that goods are of a particular style or model if they are of another”
                       (N.M. Stat. Ann. §57-12-2(D)(7)); and

               (c)     “using exaggeration, innuendo or ambiguity as to a material fact . . . if doing
                       so deceives or tends to deceive” (N.M. Stat. Ann. §57-12-2(D)(14)).

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the New Mexico UTPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the New Mexico UTPA, including:

               (a)     representing that Ranitidine-Containing Products have characteristics, uses,
                       benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     using exaggeration and/or failing to state the material facts concerning the
                       Ranitidine-Containing Products in a manner that tended to deceive; and



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               (d)     acting in a manner that resulted in a gross disparity between the true value
                       of the Ranitidine-Containing Products and the price paid.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the New Mexico UTPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

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unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

New Mexico UTPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the New Mexico UTPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or




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practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the New Mexico UTPA.


                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New Mexico Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,



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supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.


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               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.




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               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to


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comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


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                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New Mexico Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



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otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New Mexico Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




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assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


                                               937
Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;


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              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing




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Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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               33.     Causes of Action Brought on Behalf of the New York Class


                                  Breach of Express Warranty
                                   (N.Y. U.C.C. Law §2-313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New York Class (for the purpose

of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of N.Y. U.C.C. Law §2-313 and “sellers” of

Ranitidine-Containing Products within the meaning of N.Y. U.C.C. Law §2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of N.Y. U.C.C. Law §2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their




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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               The express warranties Defendants created with respect to Ranitidine-Containing

Products were material to reasonable consumers, including Plaintiffs and the Class members, who

were intended beneficiaries of Defendants’ express warranties and who justifiably relied on

Defendants’ express warranties in connection with their decision to purchase Ranitidine-

Containing Products. Specifically, Plaintiffs and the Class members detrimentally relied on the

express warranties and representations of Defendants concerning the safety and/or risk profile of

Ranitidine-Containing Products in deciding to purchase the product. Plaintiffs and the Class

members reasonably relied upon Defendants to disclose known defects, risks, dangers, and side

effects of Ranitidine-Containing Products. Plaintiffs and the Class members would not have

purchased or used Ranitidine-Containing Products had Defendants properly disclosed the risks

associated with the product, either through advertising, labeling, or any other form of disclosure.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,




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ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                      (N.Y. U.C.C. Law §2-314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.



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               This cause of action is brought on behalf of the New York Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

N.Y. U.C.C. Law §2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.


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               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                Violation of New York Deceptive Acts and Practices Act
                               (N.Y. Gen. Bus. Law §349)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New York Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Plaintiffs and the Class members are “person[s]” within the meaning of N.Y. Gen.

Bus. Law §349(h). Defendants are each a “person, firm, corporation or association” within the

meaning of N.Y. Gen. Bus. Law §349(b).

               The New York Deceptive Acts and Practices Act (“New York DAPA”) prohibits

“[d]eceptive acts or practices in the conduct of any business, trade or commerce.” N.Y. Gen. Bus.

Law §349(a).




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               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the New York DAPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the New York DAPA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,    including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class




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members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the New York DAPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

New York DAPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and


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failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the New York DAPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the New York DAPA.


                   Violation of the New York False Advertising Act
                              (N.Y. Gen. Bus. Law §350)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the New York Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

                Defendants were and are engaged in “conduct of business, trade or commerce”

within the meaning of N.Y. Gen. Bus. Law §350.

                The New York False Advertising Act (“New York FAA”) prohibits “[f]alse

advertising in the conduct of any business, trade or commerce.” N.Y. Gen. Bus. Law §350. False

advertising includes “advertising, including labeling, of a commodity . . . if such advertising is


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misleading in a material respect,” taking into account “the extent to which the advertising fails to

reveal facts material in the light of . . . representations [made] with respect to the commodity.”

N.Y. Gen. Bus. Law §350-a(1).

               Defendants caused to be made or disseminated through New York and the United

States, through advertising, marketing, and other publications, statements that were untrue or

misleading, and which were known, or which by exercise of reasonable care should have been

known to Defendants, to be untrue and misleading to consumers, including Plaintiffs and the Class

members.

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the New York FAA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the New York FAA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,    including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,


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had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the New York FAA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.


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                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

New York FAA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of Ranitidine-Containing Products’ defects became public.         In addition, on May 21, 2020,

Plaintiffs in MDL 2924 sent a notice letter to Defendants. Because Defendants failed to adequately

remedy their unlawful conduct within the requisite time period, Plaintiffs seek all damages and

relief to which Plaintiffs and the Class members are entitled.

                As a result of Defendants’ violations of the New York FAA, as alleged herein,

Plaintiffs and the New York Class members seek an order enjoining Defendants’ unfair or


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deceptive acts or practices and awarding actual damages, costs, attorneys’ fees, and any other just

and proper relief available under the New York FAA.


                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New York Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,



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supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.


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               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.




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               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to


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comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


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                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New York Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



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otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the New York Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




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assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


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Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;


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              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing




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Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




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               34.     Causes of Action Brought on Behalf of the North Carolina Class


                                   Breach of Express Warranty
                                 (N.C. Gen. Stat. Ann. §25-2-313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the North Carolina Class (for the

purpose of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of N.C. Gen. Stat. Ann. §25-2-313 and

“sellers” of Ranitidine-Containing Products within the meaning of N.C. Gen. Stat. Ann. §25-2-

313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of N.C. Gen. Stat. Ann. §25-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their


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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               The express warranties Defendants created with respect to Ranitidine-Containing

Products were material to reasonable consumers, including Plaintiffs and the Class members, who

were intended beneficiaries of Defendants’ express warranties and who justifiably relied on

Defendants’ express warranties in connection with their decision to purchase Ranitidine-

Containing Products. Specifically, Plaintiffs and the Class members detrimentally relied on the

express warranties and representations of Defendants concerning the safety and/or risk profile of

Ranitidine-Containing Products in deciding to purchase the product. Plaintiffs and the Class

members reasonably relied upon Defendants to disclose known defects, risks, dangers, and side

effects of Ranitidine-Containing Products. Plaintiffs and the Class members would not have

purchased or used Ranitidine-Containing Products had Defendants properly disclosed the risks

associated with the product, either through advertising, labeling, or any other form of disclosure.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,




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ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                   (N.C. Gen. Stat. Ann. §25-2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.



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               This cause of action is brought on behalf of the North Carolina Class (for the

purpose of this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

N.C. Gen. Stat. Ann. §25-2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.


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               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


        Violation of the North Carolina Unfair and Deceptive Trade Practices Act
                           (N.C. Gen. Stat. Ann. §75-1.1, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the North Carolina Class (for the

purpose of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic

Manufacturer Defendants (for the purpose of this section, “Defendants”).

               Defendants were and are engaged in “commerce” within the meaning of N.C. Gen.

Stat. Ann. §75-1.1(b).

               The North Carolina Unfair and Deceptive Trade Practices Act (“North Carolina

UDTPA”) prohibits “[u]nfair methods of competition in or affecting commerce, and unfair or

deceptive acts or practices in or affecting commerce,” N.C. Gen. Stat. Ann. §75-1.1(a), and

provides a private right of action for any person injured “by reason of any act or thing done by any

other person, firm or corporation in violation of” the law. N.C. Gen. Stat. Ann. §75-16.


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               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the North Carolina UDTPA by knowingly and

intentionally misrepresenting, omitting, concealing, and failing to disclose material facts regarding

Ranitidine-Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the North Carolina UDTPA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’     unfair   or   deceptive    acts   or   practices,   including    their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class




                                                969
members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the North Carolina UDTPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

North Carolina UDTPA because they suffered ascertainable loss and actual damages as a direct

and proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and


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failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the North Carolina UDTPA, as alleged

herein, Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive

acts or practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper

relief available under the North Carolina UDTPA.


                                     Product Liability-Negligence
                                       (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the North Carolina Class (for the

purpose of this section, “Class”) against all Defendants.

                Defendants, directly or indirectly, caused Ranitidine-Containing Products to be

sold, distributed, marketed, promoted, and/or used by Plaintiffs and members of the Class.

                At all relevant times, Defendants had a duty to exercise reasonable care in the

design, research, manufacture, labeling, testing, marketing, advertisement, supply, promotion,

packaging, warning, sale, storage, handling, and distribution of Ranitidine-Containing Products so




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as to prevent its product from harming others, including the duty to take all reasonable steps

necessary to manufacture, promote, and/or sell a product that was not unreasonably dangerous.

               Defendants’ duty of care owed to consumers and the general public included

providing accurate, true, and correct information concerning the known or foreseeable risks of

using Ranitidine-Containing Products as directed and appropriate, complete, and accurate

warnings concerning the potential adverse effects of Ranitidine-Containing Products when used

as intended – in particular, their ability to transform into carcinogenic compound, NDMA.

Defendants had a duty to warn foreseeable OTC consumers and foreseeable prescription users’

physicians.

               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known—of the hazards and dangers associated with Ranitidine-Containing Products

when used as intended. Specifically, Defendants knew or should have known of the carcinogenic

properties of NDMA when Ranitidine-Containing Products are ingested and/or the elevated levels

of NDMA that result from the transport and storage of Ranitidine-Containing Products.

               Accordingly, at all relevant times, Defendants knew – or in the exercise of

reasonable care, should have known – that the NDMA in Ranitidine-Containing Products could

foreseeably cause or be associated with Plaintiffs’ and Class members’ injuries and, thus, could

create a dangerous and unreasonable risk of injury to the end users of their products, including

Plaintiffs and Class members.

               At the time Ranitidine-Containing Products left Defendants’ control, the lack of

adequate warning created an unreasonably dangerous condition that Defendants knew, or in the

exercise of ordinary care should have known, posed a substantial risk of harm to foreseeable users

and consumers.


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               Additionally, after Ranitidine-Containing Products left Defendants’ control,

Defendants became aware of or in the exercise of ordinary care should have known of additional

information indicating that Ranitidine-Containing Products posed a substantial risk of harm to

foreseeable users.

               At the time Ranitidine-Containing Products left Defendants’ control, Defendants

unreasonably failed to adopt a safer, practical, feasible, and otherwise reasonable alternative design

or formulation that could then have been reasonably adopted and that would have prevented or

substantially reduced the risk of harm without substantially impairing the usefulness, practicality,

or desirability of Ranitidine-Containing Products.

               Additionally, at the time Ranitidine-Containing Products left Defendants’ control,

the drugs’ design and/or formulation was so unreasonable that a reasonable person, aware of the

relevant facts, would not use or consume a product of this design.

               Defendants reasonably could have eliminated Ranitidine-Containing Products’

inherent toxicity without compromising the drugs’ usefulness by manufacturing Ranitidine-

Containing Products with a different formulation

               Defendants had no reason to believe that foreseeable users and consumers of

Ranitidine-Containing Products, including Plaintiffs and Class members, were aware of the

potential for ranitidine to transform into NDMA and/or of the magnitude of the risks associated

with Ranitidine-Containing Products when used as intended.

               As such, Defendants breached their duty of reasonable care and failed to exercise

ordinary care in the design, research, development, manufacture, testing, labeling, marketing,

supply, promotion, advertisement, packaging, warning, sale, and distribution of Ranitidine-

Containing Products in that Defendants manufactured and produced defective Ranitidine-


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Containing Products, which carry the potential to transform into the carcinogenic compound

NDMA; knew or had reason to know of the defects inherent in their products; knew or had reason

to know that consumer use of the products created a significant risk of harm and unreasonably

dangerous side effects when put to their intended use; knew or had reason to know that consumers

were unaware of the risks related to NDMA in Ranitidine-Containing Products; and failed to

prevent or adequately warn of these risks and injuries. Indeed, Defendants deliberately refused to

test Ranitidine-Containing Products because they knew that the chemical posed serious health risks

to humans.

               Outside of the labeling context, Defendants were negligent in their promotion of

Ranitidine-Containing Products by failing to prevent foreseeable harm by disclosing material risk

information as part of their promotion and marketing of Ranitidine-Containing Products through

the media of internet, television, print advertisements, etc. Nothing prevented Defendants from

presenting the truth concerning the risks associated with the use of Ranitidine-Containing Products

in their promotional efforts. Indeed, Defendants had a duty to disclose the truth regarding those

risks, outside of the context of labeling.

               Despite their ability and ample means to investigate, study, and test their products

and provide adequate warnings, Defendants failed to do so. Instead, Defendants wrongfully

concealed information and made further false and/or misleading statements concerning the safety

and use of Ranitidine-Containing Products.

               Defendants’ acts of negligence include, but are not limited to:

               (a)     Manufacturing, producing, formulating, creating, developing, designing,
                       selling, and/or distributing Ranitidine-Containing Products without
                       thorough and adequate pre- and post-market testing;

               (b)     Manufacturing, producing, promoting, formulating, creating, developing,
                       designing, selling, and/or distributing Ranitidine-Containing Products

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      while negligently and/or intentionally concealing and failing to disclose the
      results of trials, tests, and studies of Ranitidine-Containing Products and the
      carcinogenic potential of NDMA created in the human body as a result of
      ingesting Ranitidine-Containing Products, and, consequently, the risk of
      serious harm associated with human use of Ranitidine-Containing Products;

(c)   Failing to undertake sufficient studies and conduct necessary tests to
      determine whether Ranitidine-Containing Products were safe for their
      intended consumer use;

(d)   Failing to exercise reasonable and prudent care in the design, research,
      manufacture, and development of Ranitidine-Containing Products to avoid
      the risk of serious harm associated with the prevalent use of Ranitidine-
      Containing Products;

(e)   Failing to design and manufacture Ranitidine-Containing Products to ensure
      they were at least as safe and effective as other medications on the market
      intended to treat the same symptoms;

(f)   Failing to provide adequate instructions, guidelines, and safety precautions
      to those persons Defendants could reasonably foresee would use Ranitidine-
      Containing Products;

(g)   Failing to disclose to Plaintiffs and Class members, consumers, and the
      general public that use of Ranitidine-Containing Products presented severe
      risks of cancer;

(h)   Failing to warn Plaintiffs and members of the Class, consumers, and the
      general public that the products’ risk of harm was unreasonable and that
      safer and effective alternatives were available;

(i)   Failing to warn of or disclose Ranitidine-Containing Products’
      unreasonable risk to prescribing physicians of foreseeable users;

(j)   Systematically suppressing or downplaying contrary evidence about the
      risks, incidence, and prevalence of Ranitidine-Containing Products’ side
      effects;

(k)   Representing by and through statements in labels, publications, package
      inserts, and other written materials intended for consumers and the general
      public that Ranitidine-Containing Products were safe for their intended use
      when, in fact, Defendants knew, or should have known, the products were
      not safe for their intended purpose;

(l)   Declining to make or propose any changes to Ranitidine-Containing
      Products’ labeling or other promotional materials that would alert


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                      consumers and the general public, including Plaintiffs and Class members,
                      of the risks of Ranitidine-Containing Products;

               (m)    Advertising, marketing, and recommending use of the Zantac products,
                      while concealing and failing to disclose or warn of the dangers known by
                      Defendants to be associated with or caused by the use of or exposure to
                      Ranitidine-Containing Products;

               (n)    Continuing to disseminate information to consumers, which indicate or
                      imply that Defendants’ Ranitidine-Containing Products are safe for regular
                      consumer use; and/or

               (o)    Continuing the manufacture and sale of Ranitidine-Containing Products
                      with the knowledge that such products were unreasonably unsafe and
                      dangerous.

               Defendants were also negligent in that they labeled Ranitidine-Containing Products

in a false and misleading manner that omitted any mention of the drugs’ propensity to expose users

to NDMA and in that they failed to suggest or recommend a manner of using Ranitidine-

Containing Products so that they are not dangerous to users’ and consumers’ health when used as

labeled and directed, thereby manufacturing, repackaging, offering for sale, delivering, and/or

holding misbranded drugs in violation of 21 U.S.C. §§331, 352(a)(1), and 352(j) and N.C. Gen.

Stat. Ann. §§106-122(1) and -134(1), (10).

               Defendants further breached their duty of care and were negligent in that while

representing carcinogenic Ranitidine-Containing Products as safe, Defendants failed to employ

manufacturing methods that ensured Ranitidine-Containing Products met the quality and purity

characteristics they purported to possess, thereby manufacturing, repackaging, offering for sale,

selling, delivering, and/or holding adulterated drugs in violation of 21 U.S.C. §§331 and

351(a)(2)(B) and N.C. Gen. Stat. Ann. §§106-122(1) and -133(1)(e).




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               Defendants’ duties as set forth in the above-mentioned statutes parallel their

common-law duty to exercise reasonable care in the manufacture and labeling of Ranitidine-

Containing Products.

               The North Carolina and United States legislatures designed the above-mentioned

statutes to bolster consumer protection against dangerous pharmaceutical products and to

supplement common-law liability for manufacturers of adulterated or misbranded drugs.

               Plaintiffs and Class members, as purchasers and consumers of Ranitidine-

Containing Products in North Carolina, are within the specific class of persons that the above-

mentioned statutes were designed to protect.

               The harm that Plaintiffs and Class members suffered – namely, unknowingly

purchasing and consuming dangerous substances when using Ranitidine-Containing Products as

recommended – is that which the above-statutes contemplate and were designed to prevent.

               Defendants’ violations of the above-mentioned statutes were a direct and proximate

cause of and substantial factor in Plaintiffs’ and Class members’ purchasing and consuming

improperly labeled and manufactured Ranitidine-Containing Products and the resulting harm

therefrom, and constitute negligence per se.

               Additionally, Manufacturer Defendants breached their duty of care by failing to

follow cGMPs in the storing, handling, and warehousing of Ranitidine-Containing Products,

thereby increasing the risk that the drugs would produce NDMA during storage and/or transport,

in that Defendants failed to ensure that Ranitidine-Containing Products were stored, handled, and

warehoused under appropriate conditions of temperature, humidity, and light so that their identity,

strength, quality, and purity was not adversely affected, in violation of the cGMPs set forth in 21

C.F.R. §211.142(b).


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               Defendants knew—or in the exercise of reasonable care, should have known—that

it was foreseeable that consumers such as Plaintiffs and members of the Class would suffer injuries

as a natural and probable result of Defendants’ failure to exercise due care in the manufacturing,

marketing, labeling, distribution, and sale of Ranitidine-Containing Products.

               Plaintiffs and members of the Class did not know the nature and extent of the

injuries that could result from the intended use of and/or exposure to Ranitidine-Containing

Products.

               But for Defendants’ negligent acts, Plaintiffs and members of the Class would not

have purchased or consumed Ranitidine-Containing Products.

               Had Defendants exercised due care to warn prescribers of Ranitidine-Containing

Products’ unreasonable danger, Plaintiffs’ and Class members’ physicians would not have

prescribed them.

               Had Defendants disclosed and not misrepresented and concealed the risks

associated with the use of Ranitidine-Containing Products, Plaintiffs’ and Class members’

physicians would have read and heeded Defendants’ warnings and would not have prescribed

Ranitidine-Containing Products.

               Defendants’ negligence was the natural and probable cause of Plaintiffs’ and Class

members’ injuries. Had Defendants disclosed and not concealed the risks associated with the use

of Ranitidine-Containing Products, Plaintiffs and members of the Class would have read and

heeded Defendants’ warnings and would not have purchased or used the Ranitidine-Containing

Products and, therefore, would have avoided injury.

               As a direct and proximate result of Defendants’ failure to exercise reasonable care

in designing, manufacturing, distributing, and testing their products so that the products would be


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reasonably safe for foreseeable use, Plaintiffs and Class members been injured. They purchased

and ingested Ranitidine-Containing Products that were unsafe for human consumption as a result

of Defendants’ failures. Had Defendants exercised due care to design, manufacture, distribute,

and test a reasonably safe product, Plaintiffs and Class members would not have purchased or used

the Ranitidine-Containing Products that exposed them to the carcinogenic NDMA.

               As a direct and proximate result of Defendants’ failure to provide adequate

warnings of Ranitidine-Containing Products’ risks, Plaintiffs and Class members have been

injured. They purchased Ranitidine-Containing Products that are unsafe for human consumption

as a result of Defendants’ misrepresentations, omissions, and concealment of and/or failure to

timely disclose the dangerous safety and quality issues associated with the product caused by

Defendants’ conduct. Had Defendants not engaged in the deceptive acts and practices alleged

herein, Plaintiffs and Class members would not have purchased or used Ranitidine-Containing

Products.

               As a result of Defendants’ negligent conduct, Plaintiffs and members of the Class

have been injured because they purchased a drug they otherwise would not have purchased, did

not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and member of the Class would not have: (a) been subjected

to the accumulation of NDMA in their bodies, including the resulting cellular damage, subcellular

damage, and related symptoms; and (b) sustained a significantly increased risk of developing

various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and member of the Class have suffered physical injury, have a significantly increased risk of




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developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               35.     Causes of Action Brought on Behalf of the North Dakota Class


                                   Breach of Express Warranty
                                 (N.D. Cent. Code Ann. §41-02-30)
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the North Dakota Class (for the purpose

of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of N.D. Cent. Code Ann. §41-02-30 and

“sellers” of Ranitidine-Containing Products within the meaning of N.D. Cent. Code Ann. §41-02-

30.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of N.D. Cent. Code Ann. §41-02-30.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.


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               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

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discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                   (N.D. Cent. Code Ann. §41-02-31)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the North Dakota Class (for the purpose

of this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

N.D. Cent. Code Ann. §41-02-31.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not


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possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.




                                               983
                  Violation of the North Dakota Consumer Fraud Act
                           (N.D. Cent. Code Ann. §51-15-02)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the North Dakota Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of N.D. Cent. Code Ann. §51-15-01(4).

               The Ranitidine-Containing Products are “[m]erchandise” within the meaning of

N.D. Cent. Code Ann. §51-15-01(3).

               The North Dakota Consumer Fraud Act (“North Dakota CFA”) prohibits “[t]he act,

use, or employment by any person of any deceptive act or practice, fraud, false pretense, false

promise, or misrepresentation, with the intent that others rely thereon in connection with the sale

or advertisement of any merchandise, whether or not any person has in fact been misled, deceived,

or damaged thereby.” N.D. Cent. Code Ann. §51-15-02.

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the North Dakota CFA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such


                                                984
drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the North Dakota CFA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the North Dakota CFA in the course of their business.


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Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

North Dakota CFA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.




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               As a result of Defendants’ violations of the North Dakota CFA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the North Dakota CFA.


                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the North Dakota Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.



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               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by


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known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.




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               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise




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suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.


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               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the North Dakota Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their



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manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.




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               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the North Dakota Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including



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Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous




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to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

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              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an



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ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of


                                               998
developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               36.     Causes of Action Brought on Behalf of the Ohio Class


                                   Breach of Express Warranty
                                 (Ohio Rev. Code Ann. §1302.26)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Ohio Class (for the purpose of this

section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Ohio Rev. Code Ann. §1302.26 and

“sellers” of Ranitidine-Containing Products within the meaning of Ohio Rev. Code Ann. §1302.26.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Ohio Rev. Code Ann. §1302.26.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.




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               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

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discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                   (Ohio Rev. Code Ann. §1302.27)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Ohio Class (for the purpose of this

section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Ohio Rev. Code Ann. §1302.27.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not


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possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.




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                           Strict Products Liability/Failure to Warn
                                   Ohio Product Liability Act
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Ohio Class (for the purpose of this

section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous


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risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or


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instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and


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their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               A manufacturer exercising reasonable care would have provided the warning or

instruction to patients and healthcare provides, in light of the likelihood that the product would

cause harm and in light of the likely seriousness of that harm.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to


                                               1006
comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                               1007
                        Strict Products Liability/Manufacturing Defect
                                  Ohio Product Liability Act
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Ohio Class (for the purpose of this

section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




                                              1008
               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or healthcare providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products deviated in a material way from the design

specifications, formula, or performance standards of the manufacturer, or from otherwise identical

units manufactured to the same design specifications, formula, or performance standards.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.




                                                1009
               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                    Ohio Product Liability Act
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Ohio Class (for the purpose of this

section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including


                                               1010
Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous




                                              1011
to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

                                                1012
              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an



                                              1013
ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               Accordingly, in the state of technical, scientific, and medical knowledge at the time

the Ranitidine-Containing Products in question left the control of its manufacturer, the relevant

aspect of that product was incapable of being made safe.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,




                                               1014
subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               37.     Causes of Action Brought on Behalf of the Oklahoma Class


                                  Breach of Express Warranty
                                  (Okla. Stat. tit. 12A §2-313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Oklahoma Class (for the purpose

of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Okla. Stat. tit. 12A §2-313 and “sellers” of

Ranitidine-Containing Products within the meaning of Okla. Stat. tit. 12A §2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Okla. Stat. tit. 12A §2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for


                                                1015
their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

                                               1016
                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                     (Okla. Stat. tit. 12A §2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Oklahoma Class (for the purpose

of this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Okla. Stat. tit. 12A §2-314.


                                                  1017
               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and




                                               1018
punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                 Violation of the Oklahoma Consumer Protection Act
                            (Okla. Stat. tit. 15, §751, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the Oklahoma Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

                Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Okla. Stat. tit. 15, §752(1).

                Defendants were and are engaged in “[c]onsumer transaction[s]” within the

meaning of Okla. Stat. tit. 15, §752(2).

                The Ranitidine-Containing Products are “[m]erchandise” within the meaning of

Okla. Stat. tit. 15, §752(7).

                The Oklahoma Consumer Protection Act (“Oklahoma CPA”) prohibits numerous

unlawful acts, including misleading representations, false advertisements, and false statements.

Okla. Stat. tit. 15, §753.       The Oklahoma CPA defines “[d]eceptive trade practice” as “a

misrepresentation, omission or other practice that has deceived or . . . mislead a person to the

detriment of that person.” Okla. Stat. tit. 15, §752(13). The Oklahoma CPA defines “[u]nfair

trade practice” as “any practice which offends established public policy or if the practice is

immoral, unethical, oppressive, unscrupulous, or substantially injurious to consumers.” Okla. Stat.

tit. 15, §752(14).


                                               1019
               The Oklahoma CPA makes unlawful specific acts, including:

               (a)     “[m]ak[ing] a false representation, knowingly or with reason to know, as to
                       the characteristics, ingredients, uses, benefits, alterations, or quantities of
                       the subject of a consumer transaction” (Okla. Stat. tit. 15, §753(5));

               (b)     “[r]epresent[ing], knowingly or with reason to know, that the subject of a
                       consumer transaction is of a particular standard, style or model, if it is of
                       another” (Okla. Stat. tit. 15, §753(7));

               (c)     “[a]dvertis[ing], knowingly or with reason to know, the subject of a
                       consumer transaction with intent not to sell it as advertised” (Okla. Stat. tit.
                       15, §753(8)); and

               (d)     “[c]ommit[ing] an unfair or deceptive trade practice as defined in Section
                       752” (Okla. Stat. tit. 15, §753(20)).

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the Oklahoma CPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Oklahoma CPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and



                                                1020
               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Oklahoma CPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

                                               1021
unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of

Oklahoma CPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Oklahoma CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or




                                              1022
practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Oklahoma CPA.


                       Manufacturer’s Products Liability/Failure to Warn
                                  (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Oklahoma Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,



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supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.


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               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.




                                              1025
               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to


                                               1026
comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                               1027
                  Manufacturer’s Products Liability/Manufacturing Defect
                                 (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Oklahoma Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




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               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



                                                1029
otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                       Manufacturer’s Products Liability/Design Defect
                                 (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Oklahoma Purchaser Class and the

Oklahoma User Class (for the purpose of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




                                              1030
assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


                                              1031
Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;


                                                1032
              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing




                                              1033
Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




                                              1034
               38.     Causes of Action Brought on Behalf of the Oregon Class


                                  Breach of Express Warranty
                                 (Or. Rev. Stat. Ann. §72.3130)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Oregon Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Or. Rev. Stat. Ann. §72.3130 and “sellers”

of Ranitidine-Containing Products within the meaning of Or. Rev. Stat. Ann. §72.3130.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Or. Rev. Stat. Ann. §72.3130.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their




                                                 1035
purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                                               1036
                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   Plaintiffs and the Class members gave Defendants reasonable notice of their

breaches of express warranty and an opportunity to cure such breaches or, in the alternative, were

not required to do so because such an opportunity would be unnecessary and futile given that

Defendants are unable to cure the defect in Ranitidine-Containing Products.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                    (Or. Rev. Stat. Ann. §72.3140)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Oregon Class (for the purpose of

this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Or. Rev. Stat. Ann. §72.3140.




                                                  1037
               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and




                                               1038
punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                 Violation of the Oregon Unlawful Trade Practices Act
                         (Or. Rev. Stat. Ann. §646.605, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Oregon Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Or. Rev. Stat. Ann. §646.605(4).

               The Ranitidine-Containing Products are “goods” within the meaning of Or. Rev.

Stat. Ann. §646.605(6).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of Or. Rev. Stat. Ann. §646.605(8).

               The Oregon Unlawful Trade Practices Act (“Oregon UTPA”) prohibits “unlawful

practice . . . in the course of the person’s business.” Or. Rev. Stat. Ann. §646.608(1).

               The Oregon UTPA makes unlawful specific acts, including:

               (a)     “[r]epresent[ing] that real estate, goods or services have sponsorship,
                       approval, characteristics, ingredients, uses, benefits, quantities or qualities
                       that the real estate, goods or services do not have” (Or. Rev. Stat. Ann.
                       §646.608(1)(e));

               (b)     “[r]epresent[ing] that real estate, goods or services are of a particular
                       standard, quality, or grade, or that real estate or goods are of a particular
                       style or model, if the real estate, goods or services are of another” (Or. Rev.
                       Stat. Ann. §646.608(1)(g));


                                                1039
               (c)     “[a]dvertis[ing] real estate, goods or services with intent not to provide the
                       real estate, goods or services as advertised” (Or. Rev. Stat. Ann.
                       §646.608(1)(i)); and

               (d)     “[e]ngag[ing] in any other unfair or deceptive conduct in trade or
                       commerce” (Or. Rev. Stat. Ann. §646.608(1)(u)).

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the Oregon UTPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Oregon UTPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.




                                               1040
               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Oregon UTPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made


                                              1041
misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Oregon UTPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Oregon UTPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Oregon UTPA.




                                              1042
                           Strict Products Liability/Failure to Warn
                                  (Or. Rev. Stat. Ann. §30.920)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Oregon Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous


                                                 1043
risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or


                                               1044
instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and


                                              1045
their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public




                                               1046
service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




                                               1047
                        Strict Products Liability/Manufacturing Defect
                                 (Or. Rev. Stat. Ann. §30.920)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Oregon Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




                                                 1048
               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



                                                1049
otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                  (Or. Rev. Stat. Ann. §30.920)
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Oregon Purchaser Class and the

Oregon User Class (for the purpose of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




                                              1050
assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


                                              1051
Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;


                                                1052
              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing




                                              1053
Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




                                              1054
               39.     Causes of Action Brought on Behalf of the Pennsylvania Class


                                  Breach of Express Warranty
                                      (13 Pa. C.S. §2313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Pennsylvania Class (for the purpose

of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of 13 Pa. C.S. §2313 and “sellers” of

Ranitidine-Containing Products within the meaning of 13 Pa. C.S. §2313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of 13 Pa. C.S. §2313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their




                                                1055
purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                                               1056
                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                         (13 Pa. C.S. §2314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Pennsylvania Class (for the purpose

of this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

13 Pa. C.S. §2314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


                                                  1057
               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


   Violation of the Pennsylvania Unfair Trade Practices and Consumer Protection Law
                               (73 Pa. C.S. §201-1, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


                                               1058
               This cause of action is brought on behalf of the Pennsylvania Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of 73 Pa. C.S. §201-2(2).

               Plaintiffs and Class members purchased the Ranitidine-Containing Products

“primarily for personal, family or household purposes” within the meaning of 73 Pa. C.S. §201-

9.2(a).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of 73 Pa. C.S. §201-2(3).

               The Pennsylvania Unfair Trade Practices and Consumer Protection Law

(“Pennsylvania CPL”) prohibits “unfair or deceptive acts or practices in the conduct of any trade

or commerce.” 73 Pa. C.S. §201-3.

               The Pennsylvania CPL makes unlawful specific acts, including:

               (a)    “[r]epresenting that goods or services have sponsorship, approval,
                      characteristics, ingredients, uses, benefits or quantities that they do not
                      have” (73 Pa. C.S. §201-2(4)(v));

               (b)    “[r]epresenting that goods or services are of a particular standard, quality or
                      grade, or that goods are of a particular style or model, if they are of another”
                      (73 Pa. C.S. §201-2(4)(vii));

               (c)    “[a]dvertising goods or services with intent not to sell them as advertised”
                      (73 Pa. C.S. §201-2(4)(ix)); and

               (d)    “[e]ngaging in any other fraudulent or deceptive conduct which creates a
                      likelihood of confusion or of misunderstanding” (73 Pa. C.S. §201-
                      2(4)(xxi)).

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the Pennsylvania CPL by knowingly and intentionally

                                               1059
misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Pennsylvania CPL, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other fraudulent or deceptive conduct which creates a
                       likelihood of confusion or of misunderstanding.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,    including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.



                                               1060
               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Pennsylvania CPL in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Pennsylvania CPL because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,


                                              1061
including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Pennsylvania CPL, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Pennsylvania CPL.


                            Strict Products Liability/Failure to Warn
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the Pennsylvania Class (for the purpose

of this section, “Class”) against all Defendants.

                At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they


                                                1062
do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.


                                               1063
               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made the Defendants’ Ranitidine Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used




                                              1064
as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended and reasonably foreseeable uses.




                                              1065
               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants disseminated information

that was inaccurate, false, and misleading, and which failed to communicate accurately or

adequately the comparative severity, duration, and extent of the risk of injuries with use of and/or

exposure to Ranitidine-Containing Products; continued to aggressively promote the efficacy of

their Ranitidine-Containing Products, even after they knew or should have known of the

unreasonable risks from use or exposure; and concealed, downplayed, or otherwise suppressed,

through aggressive marketing and promotion, any information or research about the risks and

dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. The Defendants were able, in accord with federal law,

to comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But the Defendants did not disclose

these known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.




                                               1066
               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendant’s actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Pennsylvania Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, the Manufacturer Defendants designed,

manufactured, tested, marketed, sold, handled, distributed, and stored the Ranitidine-Containing

Products ingested by Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial


                                                1067
change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by the Manufacturer Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by the Manufacturer Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that the Manufacturer Defendants deviated materially from

their design, manufacturing, handling, and storage specifications and/or such design, manufacture,

storage, and handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               The Manufacturer Defendants’ Ranitidine-Containing Products are inherently

dangerous and defective, unfit and unsafe for their intended and reasonably foreseeable uses, and

accordingly do not meet or perform to the expectations of ordinary consumers or health care

providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the




                                              1068
utility of the Ranitidine-Containing Products because of the Manufacturer Defendants’

manufacturing defects, which included but were not limited to:

               (a)    failure to follow cGMPs;

               (b)    failure to clean and test recovered and/or recycled solvents;

               (c)    failure to adequately inspect/test the drugs during the manufacturing
                      process;

               (d)    failure to implement procedures that would reduce or eliminate NDMA
                      levels in Ranitidine-Containing Products;

               (e)    failure to implement appropriate quality control systems, distribution,
                      storage, and handling instructions and storage and distribution conditions
                      for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in the Manufacturer Defendants’ Ranitidine-Containing

Products were substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of the Manufacturing Defendants’ conduct

described herein, Plaintiffs and members of the Class have been injured because they purchased a

defective drug they otherwise would not have purchased, did not receive the benefit of the bargain,

and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendant’s actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.



                                              1069
                             Strict Products Liability/Design Defect
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Pennsylvania Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of these Defendants.

At all relevant times, the Defendants designed, researched, developed, manufactured, produced,

tested, assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed

the Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, the Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, these Defendants’ Ranitidine-Containing Products reached

the intended consumers, handlers, and users or other persons coming into contact with these

products, including Plaintiffs and the Class members, without substantial change in their

anticipated and expected condition as designed, manufactured, sold, distributed, labeled, and

marketed by the Defendants. At all relevant times, these Defendants registered, researched,

manufactured, distributed, marketed, and sold Ranitidine-Containing Products and aimed at a




                                                1070
consumer market. These Defendants were at all relevant times involved in the retail and promotion

of Ranitidine-Containing Products marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               The Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by these

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               The Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by these

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:




                                                1071
              (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                     in that they were hazardous and posed a grave risk of cancer when used in
                     a reasonably anticipated manner;

              (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                     used in a reasonably anticipated or intended manner;

              (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to transform into the carcinogenic compound NDMA within the
                     human body;

              (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to develop increasing levels of NDMA over time under anticipated
                     and expected storage and handling conditions;

              (e)    Defendants failed to provide accurate expiration dates on the product label;

              (f)    Defendants failed to provide accurate instructions concerning the stability
                     of the drug, including failing to provide accurate information about proper
                     temperature and light conditions for storage and distribution of the drug;

              (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                     effects that outweigh any potential utility stemming from the use of the
                     drug;

              (h)    Defendants knew or should have known at the time of marketing Ranitidine-
                     Containing Products that exposure to Ranitidine-Containing Products could
                     result in cancer and other severe illnesses and injuries;

              (i)    Defendants did not conduct adequate post-marketing surveillance of their
                     Ranitidine-Containing Products; and

              (j)    Defendants could have employed safer alternative designs and
                     formulations.

              Plaintiffs and the Class members used and/or were exposed to the Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of the Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.


                                              1072
               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

the Defendants’ suppression or obfuscation of scientific information linking Ranitidine-

Containing Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by the Defendants’ Ranitidine-Containing Products far

outweighed their benefit, rendering each Defendants’ product dangerous to an extent beyond that

which an ordinary consumer would contemplate.            The Defendants’ Ranitidine-Containing

Products were and are more dangerous than alternative products, and these Defendants could have

designed Ranitidine-Containing Products to make them less dangerous. Indeed, at the time the

Manufacturing Defendants designed Ranitidine-Containing Products, the state of the industry’s

scientific knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of the Defendants’

Ranitidine-Containing Products. For example, the Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in the Defendants’ Ranitidine-Containing Products were substantial

factors in causing Plaintiffs’ and the Class members’ injuries.




                                               1073
               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendant’s actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                       Medical Monitoring
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Pennsylvania Class (for the purpose

of this section, “Class”) against all Defendants.

               Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

their risk of developing various types of serious and potentially deadly cancers and caused them

bodily injury in the form of cellular, sub-cellular, and/or genetic injuries.

               At all relevant times Defendants had a duty to, inter alia:

               (a)     exercise reasonable care in the design, research, manufacture, labeling,
                       testing, marketing, advertisement, supply, promotion, packaging, warning,


                                                1074
                       sale, storage, handling, and distribution of Ranitidine-Containing Products,
                       including the duty to take all reasonable steps necessary to manufacture,
                       promote, and/or sell a product that was not unreasonably dangerous to
                       consumers and users of the product;

               (b)     to provide accurate, true, and correct information concerning the risks of
                       using Ranitidine-Containing Products and appropriate, complete, and
                       accurate warnings concerning the potential adverse effects of Ranitidine-
                       Containing Products – in particular, their ability to transform into the
                       carcinogenic compound, NDMA; and

               (c)     disclose the fact that Ranitidine-Containing Products contained elevated
                       levels of NDMA that rendered them unsafe and unfit for human
                       consumption.

               Defendants breached these duties by, inter alia, failing to exercise ordinary care in

the design, research, development, manufacture, testing, labeling, marketing, supply, promotion,

advertisement, packaging, warning, sale, and distribution of Ranitidine-Containing Products, in

that Defendants manufactured and produced defective Ranitidine-Containing Products, which

carry the potential to transform into the carcinogenic compound NDMA; knew or had reason to

know of the defects inherent in their products; knew or had reason to know that consumer use of

the products created a significant risk of harm and unreasonably dangerous side effects, including

significantly increasing the risk of developing various types of serious and potentially deadly

cancers and causing bodily injury in the form of cellular, sub-cellular, and/or genetic injuries; and

failed to prevent or adequately warn of these risks and injuries. Indeed, Defendants deliberately

refused to test Ranitidine-Containing Products because they knew that the chemical posed serious

health risks to humans.

               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – of the hazards and dangers associated with Ranitidine-Containing Products.

Specifically, Defendants knew or should have known of the carcinogenic properties of NDMA




                                               1075
when Ranitidine-Containing Products are ingested and/or the elevated levels of NDMA that result

from the transport and storage of Ranitidine-Containing Products.

               Accordingly, at all relevant times, Defendants knew – or in the exercise of

reasonable care, should have known – that use of Ranitidine-Containing Products could cause or

be associated with Plaintiffs’ and Class members’ injuries, and thus, could create a dangerous and

unreasonable risk of injury to the end users of their products, including Plaintiffs and members of

the Class.

               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – that it was foreseeable that consumers such as Plaintiffs and members of the

Class would suffer injuries in the form of cellular, sub-cellular, and/or genetic injuries that

significantly increased their risk of developing various types of serious and potentially deadly

cancers as a result of Defendants’ failure to exercise ordinary care in the manufacturing, marketing,

labeling, distribution, and sale of Ranitidine-Containing Products.

               Plaintiffs and members of the Class did not know the nature and extent of the

injuries that could result from the intended use of and/or exposure to Ranitidine-Containing

Products.

               Due to the unsafe levels of NDMA present in Ranitidine-Containing Products,

which present an unacceptable and increased risk of causing cancer, the FDA was compelled to

order the immediate ban of all Ranitidine-Containing Products on April 1, 2020.

               Had Defendants disclosed and not concealed the risks associated with the use of

Ranitidine-Containing Products, Plaintiffs and members of the Class would not have purchased or

consumed the Ranitidine-Containing Products, and therefore would have avoided such injury.




                                               1076
               The latent injuries from which Plaintiffs suffer require specialized testing (with

resultant treatment) that is not generally given to the public at large. The available monitoring

regime is specific for individuals exposed to products known to significantly increase the risk of

various cancers because of ingesting Ranitidine-Containing Products and is different from that

normally recommended in the absence of exposure to this risk of harm.

               The medical monitoring regime should include, but is not limited to, baseline tests

and diagnostic examination that will assist in early detection and diagnosing various cancers. This

diagnostic program will facilitate treatment and interventions that will mitigate the development

of, and health effects associated with, various cancers.

               The available monitoring regime is reasonably necessary according to

contemporary scientific principles within the medical community specializing in the diagnosis and

treatment of cancers.

               By monitoring and testing Plaintiffs, the risk that Plaintiffs will suffer long-term

injuries, disease, and losses without adequate treatment will be significantly reduced.

               Plaintiffs, therefore, seek an injunction creating a Court-supervised, Defendant-

funded medical monitoring program which will facilitate the diagnoses of Plaintiffs for various

cancers. The medical monitoring should include a trust fund to pay for the medical monitoring and

diagnosis of Plaintiffs as frequently and appropriately as necessary.

               Accordingly, Defendants should be required to establish a medical monitoring

program that includes, among other things: (a) establishing a trust fund, in an amount to be

determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)




                                               1077
notifying all Class members in writing that they may require frequent medical monitoring for the

purpose of diagnosis.

               Plaintiffs have an inadequate remedy at law in that monetary damages alone cannot

compensate them for the risk of long-term physical and economic losses due to ingesting

Ranitidine-Containing Products. Without a court-approved medical monitoring program as

described herein, or established by the Court, Plaintiffs and Class members will continue to face

an unreasonable risk of injury and disability and remain undiagnosed.

               40.      Causes of Action Brought on Behalf of the Puerto Rico Class


                                  Breach of Express Warranty
                             (P.R. Laws. Ann. Tit. 31, §3841, et seq.)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Puerto Rico Class (for the purpose

of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of P.R. Laws. Ann. Tit. 31, §3841, et seq. and

“sellers” of Ranitidine-Containing Products within the meaning of P.R. Laws. Ann. Tit. 31, §3841,

et seq.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of P.R. Laws. Ann. Tit. 31, §3841, et seq.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or


                                                1078
promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and


                                               1079
        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                    Breach of Implied Warranty
                               (P.R. Laws. Ann. Tit. 31, §3841, et seq.)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Puerto Rico Class (for the purpose

of this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.



                                                  1080
               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

P.R. Laws. Ann. Tit. 31, §3841, et seq.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.


                                               1081
               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Puerto Rico Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.



                                                1082
               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by


                                               1083
known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.




                                              1084
               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise




                                               1085
suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.



                                               1086
               This cause of action is brought on behalf of the Puerto Rico Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved


                                                1087
Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                                                1088
               This cause of action is brought on behalf of the Puerto Rico Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.


                                                1089
               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing


                                                1090
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.



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               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.




                                              1092
               41.     Causes of Action Brought on Behalf of the Rhode Island Class


                                   Breach of Express Warranty
                                 (R.I. Gen. Laws Ann. §6A-2-313)
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Rhode Island Class (for the purpose

of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of R.I. Gen. Laws Ann. §6A-2-313 and

“sellers” of Ranitidine-Containing Products within the meaning of R.I. Gen. Laws Ann. §6A-2-

313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of R.I. Gen. Laws Ann. §6A-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their


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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

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                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                   (R.I. Gen. Laws Ann. §6A-2-314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Rhode Island Class (for the purpose

of this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

R.I. Gen. Laws Ann. §6A-2-314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


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               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.



                                               1096
               This cause of action is brought on behalf of the Rhode Island Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.        Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.




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               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.


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Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.


                                              1099
               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,


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Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Rhode Island Class (for the purpose

of this section, “Class”) against all Defendants.



                                                1101
               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Manufacturer Defendants’ Ranitidine-Containing Products are inherently

dangerous and defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and

accordingly do not meet or perform to the expectations of ordinary consumers or health care

providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved




                                              1102
Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,




                                                1103
subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Rhode Island Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.



                                                1104
               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.




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              At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

              Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

              (a)     Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

              (b)     Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

              (c)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

                                              1106
               (j)    Defendants could have employed safer alternative designs and
                      formulations.

               Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

               At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

                                               1107
Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               42.     Causes of Action Brought on Behalf of the South Carolina Class


                                  Breach of Express Warranty
                                  (S.C. Code Ann. §36-2-313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.




                                              1108
               This cause of action is brought on behalf of the South Carolina Class (for the

purpose of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of S.C. Code Ann. §36-2-313 and “sellers” of

Ranitidine-Containing Products within the meaning of S.C. Code Ann. §36-2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of S.C. Code Ann. §36-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.


                                               1109
                   Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.

                                                  1110
                                  Breach of Implied Warranty
                                  (S.C. Code Ann. §36-2-314)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the South Carolina Class (for the

purpose of this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

S.C. Code Ann. §36-2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to




                                               1111
establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


               Violation of the South Carolina Unfair Trade Practices Act
                             (S.C. Code Ann. §39-5-10, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the South Carolina Class (for the

purpose of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic

Manufacturer Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of S.C. Code Ann. §39-5-10(a).


                                               1112
               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of S.C. Code Ann. §39-5-10(b).

               The South Carolina Unfair Trade Practices Act (“South Carolina UTPA”) prohibits

“unfair or deceptive acts or practices in the conduct of any trade or commerce.” S.C. Code Ann.

§39-5-20(a).

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the South Carolina UTPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the South Carolina UTPA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,    including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class




                                               1113
members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the South Carolina UTPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

South Carolina UTPA because they suffered ascertainable loss and actual damages as a direct and


                                              1114
proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the South Carolina UTPA, as alleged

herein, Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive

acts or practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper

relief available under the South Carolina UTPA.


                            Strict Products Liability/Failure to Warn
                                    (S.C. Code Ann. §15-73-10)
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the South Carolina Class (for the

purpose of this section, “Class”) against all Defendants.




                                               1115
               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.


                                               1116
               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.




                                              1117
               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate


                                              1118
information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment


                                               1119
of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                  (S.C. Code Ann. §15-73-10)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the South Carolina Class (for the

purpose of this section, “Class”) against all Defendants.




                                               1120
               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.


                                              1121
               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)     failure to follow cGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.




                                               1122
               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                   (S.C. Code Ann. §15-73-10)
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the South Carolina Class (for the

purpose of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,


                                               1123
including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.




                                                1124
              Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

              (a)     Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

              (b)     Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

              (c)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.




                                              1125
               Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

               At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid


                                               1126
(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               43.     Causes of Action Brought on Behalf of the South Dakota Class


                                   Breach of Express Warranty
                                 (S.D. Codified Law §57A-2-313)
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the South Dakota Class (for the purpose

of this section, “Class”) against all Defendants.


                                                1127
               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of S.D. Codified Law §57A-2-313 and

“sellers” of Ranitidine-Containing Products within the meaning of S.D. Codified Law §57A-2-

313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of S.D. Codified Law §57A-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.




                                               1128
               The express warranties Defendants created with respect to Ranitidine-Containing

Products were material to reasonable consumers, including Plaintiffs and the Class members, who

were intended beneficiaries of Defendants’ express warranties and who justifiably relied on

Defendants’ express warranties in connection with their decision to purchase Ranitidine-

Containing Products. Specifically, Plaintiffs and the Class members detrimentally relied on the

express warranties and representations of Defendants concerning the safety and/or risk profile of

Ranitidine-Containing Products in deciding to purchase the product. Plaintiffs and the Class

members reasonably relied upon Defendants to disclose known defects, risks, dangers, and side

effects of Ranitidine-Containing Products. Plaintiffs and the Class members would not have

purchased or used Ranitidine-Containing Products had Defendants properly disclosed the risks

associated with the product, either through advertising, labeling, or any other form of disclosure.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.       Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

                                               1129
                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                      Breach of Implied Warranty
                                    (S.D. Codified Law §57A-2-314)
                                        (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the South Dakota Class (for the purpose

of this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

S.D. Codified Law §57A-2-314.


                                                  1130
               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and




                                               1131
punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


              Violation of the South Dakota Deceptive Trade Practices and
                                Consumer Protection Law
                           (S.D. Codified Law §37-24-6, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the South Dakota Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of S.D. Codified Law §37-24-1(8).

               The Ranitidine-Containing Products are “[m]erchandise” within the meaning of

S.D. Codified Law §37-24-1(7).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of S.D. Codified Law §37-24-1(13).

               The South Dakota Deceptive Trade Practices and Consumer Protection Law

(“South Dakota CPA”) prohibits “deceptive act[s] or practice[s,]” which are defined to include

“[k]knowingly act, use, or employ any deceptive act or practice, fraud, false pretense, false

promises, or misrepresentations or to conceal, suppress, or omit any material fact in connection

with the sale or advertisement of any merchandise, regardless of whether any person has in fact

been misled, deceived, or damaged thereby.” S.D. Codified Law §37-24-6(1).




                                              1132
               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the South Dakota CPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the South Dakota CPA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,    including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class




                                               1133
members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the South Dakota CPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

South Dakota CPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and


                                              1134
failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the South Dakota CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the South Dakota CPA.


                            Strict Products Liability/Failure to Warn
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the South Dakota Class (for the purpose

of this section, “Class”) against all Defendants.

                At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of




                                                1135
Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.




                                               1136
               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used




                                              1137
as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.




                                              1138
               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.




                                               1139
               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the South Dakota Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.




                                                1140
               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the


                                              1141
utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)     failure to follow cGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.



                                               1142
                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the South Dakota Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants



                                                1143
were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:




                                                1144
              (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                     in that they were hazardous and posed a grave risk of cancer when used in
                     a reasonably anticipated manner;

              (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                     used in a reasonably anticipated or intended manner;

              (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to transform into the carcinogenic compound NDMA within the
                     human body;

              (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to develop increasing levels of NDMA over time under anticipated
                     and expected storage and handling conditions;

              (e)    Defendants failed to provide accurate expiration dates on the product label;

              (f)    Defendants failed to provide accurate instructions concerning the stability
                     of the drug, including failing to provide accurate information about proper
                     temperature and light conditions for storage and distribution of the drug;

              (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                     effects that outweigh any potential utility stemming from the use of the
                     drug;

              (h)    Defendants knew or should have known at the time of marketing Ranitidine-
                     Containing Products that exposure to Ranitidine-Containing Products could
                     result in cancer and other severe illnesses and injuries;

              (i)    Defendants did not conduct adequate post-marketing surveillance of their
                     Ranitidine-Containing Products; and

              (j)    Defendants could have employed safer alternative designs and
                     formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.


                                              1145
               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.




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               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               44.     Causes of Action Brought on Behalf of the Tennessee Class


                                  Breach of Express Warranty
                                  (Tenn. Code Ann. §47-2-313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Tennessee Class (for the purpose

of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Tenn. Code Ann. §47-2-313 and “sellers”

of Ranitidine-Containing Products within the meaning of Tenn. Code Ann. §47-2-313.




                                                1147
               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Tenn. Code Ann. §47-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,


                                               1148
ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                     (Tenn. Code Ann. §47-2-314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.



                                                  1149
               This cause of action is brought on behalf of the Tennessee Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Tenn. Code Ann. §47-2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.


                                                1150
               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


              Violation of the Tennessee Consumer Protection Act of 1977
                          (Tenn. Code Ann. §47-18-101, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Tennessee Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Tenn. Code Ann. §47-18-103(14).

               Plaintiffs and the Class members are “[c]onsumer[s]” within the meaning of Tenn.

Code Ann. §47-18-103(3).

               The Ranitidine-Containing Products are “[g]oods” within the meaning of Tenn.

Code Ann. §47-18-103(8).




                                               1151
               Defendants were and are engaged in “[t]rade” or “commerce” or “consumer

transaction[s]” within the meaning of Tenn. Code Ann. §47-18-103(20).

               The Tennessee Consumer Protection Act of 1977 (“Tennessee CPA”) prohibits

“[u]nfair or deceptive acts or practices affecting the conduct of any trade or commerce.” Tenn.

Code Ann. §47-18-104(a).

               The Tennessee CPA makes unlawful specific acts, including:

               (a)     “[r]epresenting that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or quantities that they do not
                       have” (Tenn. Code Ann. §47-18-104(b)(5));

               (b)     “[r]epresenting that goods or services are of a particular standard, quality or
                       grade, or that goods are of a particular style or model, if they are of another”
                       (Tenn. Code Ann. §47-18-104(b)(7)); and

               (c)     “[a]dvertising goods or services with intent not to sell them as advertised”
                       (Tenn. Code Ann. §47-18-104(b)(9)).

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the Tennessee CPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Tennessee CPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;


                                                1152
               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not; and

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Tennessee CPA in the course of their business.


                                              1153
Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Tennessee CPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and the Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.




                                              1154
               As a result of Defendants’ violations of the Tennessee CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Tennessee CPA.


                               Products Liability/Failure to Warn
                             Tennessee Products Liability Act of 1978
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Tennessee Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.


                                                1155
               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by


                                               1156
known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               The Ranitidine-Containing Products, because of their dangerous condition and

Defendants’ knowledge of such dangerous condition, would not be put on the market by a

reasonably prudent manufacturer or seller.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.




                                              1157
               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               Additionally, Defendants further breached their duty of to warn of Ranitidine-

Containing Products’ risks because they labeled Ranitidine-Containing Products in a false and

misleading manner that omitted any mention of the drugs’ propensity to expose users to NDMA

and failed to suggest or recommend a manner of using Ranitidine-Containing Products so that they

are not dangerous to consumers’ health when used as labeled and directed, thereby manufacturing,

repackaging, offering for sale, delivering, and/or holding misbranded drugs in violation of 21

U.S.C. §§331, 352(a)(1), (j) and Tenn. Code Ann. §§53-1-103(a)(1) & 53-1-109(a)(1),(10).


                                              1158
               Defendants’ duties as set forth in the above-mentioned statutes parallel their state

common-law duty to exercise reasonable care in the warning and labeling of Ranitidine-

Containing Products.

               The Tennessee and United States legislatures designed the above-mentioned

statutes to bolster consumer protection against dangerous pharmaceutical products and to

supplement common-law liability for manufacturers of defectively designed and misbranded

drugs.

               Plaintiffs and Class members, as purchasers and consumers of Ranitidine-

Containing Products in Tennessee, are within the specific class of persons that the above-

mentioned statutes were designed to protect.

               The harm that Plaintiffs and Class members suffered – namely, unknowingly

purchasing and consuming dangerous substances when using Ranitidine-Containing Products as

recommended – is that which the above-statutes contemplate and were designed to prevent.

               Defendants’ violations of the above-mentioned statutes were a direct and proximate

cause of Plaintiffs’ and Class members’ purchasing and consuming improperly labeled Ranitidine-

Containing Products and the resulting harm therefrom, and constitute negligence per se.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known


                                               1159
of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,




                                               1160
subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               Plaintiffs and Class members seek to recover reasonable compensatory damages in

an amount to be determined by a jury at trial.


                            Products Liability/Manufacturing Defect
                            Tennessee Products Liability Act of 1978
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Tennessee Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, Defendants had a continuing duty to exercise reasonable care

in manufacturing Ranitidine-Containing Products to prevent harm to foreseeable users and

consumers, including Plaintiffs and Class members.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial




                                                 1161
change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products, because of their dangerous condition and

Defendants’ knowledge of such dangerous condition, would not be put on the market by a

reasonably prudent manufacturer or seller.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and


                                              1162
treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               Defendants further breached their duty of reasonable care and manufactured

Ranitidine-Containing Products in an unreasonably dangerous condition, in that while representing

carcinogenic Ranitidine-Containing Products as safe, Defendants failed to employ manufacturing

methods to assure Ranitidine-Containing Products met the quality and purity characteristics they

purported to possess, thereby manufacturing, repackaging, offering for sale, selling, delivering,

and/or holding adulterated drugs in violation of 21 U.S.C. §§331, & 351(a)(2)(B) and Tenn. Code

Ann. §53-1-103(a)(1).

               Defendants’ duties as specified in the above-mentioned statutes parallel their

common-law duty to exercise reasonable care in manufacturing Ranitidine-Containing Products.

               The Tennessee and United States legislatures designed the above-mentioned

statutes to protect pharmaceutical consumers by bolstering consumer protection against dangerous

pharmaceutical products and supplementing common-law liability for manufacturers of

adulterated drugs.



                                                1163
               Plaintiffs and Class members, as purchasers and consumers of Ranitidine-

Containing Products in Tennessee, are within the specific class of persons that the above-

mentioned statutes were designed to protect.

               The harm that Plaintiffs and Class members suffered – namely, unknowingly

purchasing and consuming dangerous substances when using Ranitidine-Containing Products as

recommended – is that which the above-statutes contemplate and were designed to prevent.

               Defendants’ violations of the above-mentioned statutes were a direct and proximate

cause of Plaintiffs’ and Class members’ purchasing and consuming improperly manufactured and

defective Ranitidine-Containing Products and the resulting harm therefrom, and constitute

negligence per se.

               Additionally, Manufacturer Defendants breached their duty to manufacture a safe

product by failing to follow cGMPs in the storing, handling, and warehousing of Ranitidine-

Containing Products, thereby increasing the risk that the drugs would produce NDMA during

storage and/or transport, in that Defendants failed to ensure that Ranitidine-Containing Products

were stored, handled, and warehoused under appropriate conditions of temperature, humidity, and

light so that their identity, strength, quality, and purity was not adversely affected, in violation of

the cGMPs set forth in 21 C.F.R. §211.142(b).

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.


                                                1164
               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               Plaintiffs and Class members seek to recover reasonable compensatory damages in

an amount to be determined by a jury at trial.


                               Products Liability/Design Defect
                            Tennessee Products Liability Act of 197
                                  (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Tennessee Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




                                                 1165
assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants had a continuing duty to exercise reasonable care

in manufacturing, designing, and labeling Ranitidine-Containing Products to prevent harm to

foreseeable users and consumers, including Plaintiffs and Class members.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous




                                              1166
to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               The Ranitidine-Containing Products, because of their dangerous condition and

Defendants’ knowledge of such dangerous condition, would not be put on the market by a

reasonably prudent manufacturer or seller.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;


                                                1167
              (d)      Defendants did not sufficiently test, investigate, or study their Ranitidine-
                       Containing Products and, specifically, the ability for Ranitidine-Containing
                       Products to develop increasing levels of NDMA over time under anticipated
                       and expected storage and handling conditions;

              (e)      Defendants failed to provide accurate expiration dates on the product label;

              (f)      Defendants failed to provide accurate instructions concerning the stability
                       of the drug, including failing to provide accurate information about proper
                       temperature and light conditions for storage and distribution of the drug;

              (g)      exposure to Ranitidine-Containing Products presents a risk of harmful side
                       effects that outweigh any potential utility stemming from the use of the
                       drug;

              (h)      Defendants knew or should have known at the time of marketing Ranitidine-
                       Containing Products that exposure to Ranitidine-Containing Products could
                       result in cancer and other severe illnesses and injuries;

              (i)      Defendants did not conduct adequate post-marketing surveillance of their
                       Ranitidine-Containing Products; and

              (j)      Defendants could have employed safer alternative designs and
                       formulations.

              Defendants further breached their duty of care and designed a defective product

because they labeled Ranitidine-Containing Products in a false and misleading manner that omitted

any mention of the drugs’ propensity to expose users to NDMA and failed to suggest or

recommend a manner of using Ranitidine-Containing Products so that they are not dangerous to

consumers’ health when used as labeled and directed, thereby manufacturing, repackaging,

offering for sale, delivering, and/or holding misbranded drugs in violation of 21 U.S.C. §§331,

352(a)(1), (j) and Tenn. Code Ann. §§53-1-103(a)(1) & 53-1-109(a)(1),(10).

              Defendants’ duties as set forth in the above-mentioned statutes parallel their state

common-law duty to exercise reasonable care in the designing and labeling of Ranitidine-

Containing Products.




                                               1168
               The Tennessee and United States legislatures designed the above-mentioned

statutes to bolster consumer protection against dangerous pharmaceutical products and to

supplement common-law liability for manufacturers of defectively designed and misbranded

drugs.

               Plaintiffs and Class members, as purchasers and consumers of Ranitidine-

Containing Products in Tennessee, are within the specific class of persons that the above-

mentioned statutes were designed to protect.

               The harm that Plaintiffs and Class members suffered – namely, unknowingly

purchasing and consuming dangerous substances when using Ranitidine-Containing Products as

recommended – is that which the above-statutes contemplate and were designed to prevent.

               Defendants’ violations of the above-mentioned statutes were a direct and proximate

cause of Plaintiffs’ and Class members’ purchasing and consuming improperly labeled and

designed Ranitidine-Containing Products and the resulting harm therefrom, and constitute

negligence per se.

               Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

               At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.


                                               1169
               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.




                                              1170
               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               Plaintiffs and Class members seek to recover reasonable compensatory damages in

an amount to be determined by a jury at trial.

               45.     Causes of Action Brought on Behalf of the Texas Class


                                 Breach of Express Warranty
                             (Tex. Bus. & Com. Code Ann. §2.313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Texas Class (for the purpose of this

section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Tex. Bus. & Com. Code Ann. §2.313 and

“sellers” of Ranitidine-Containing Products within the meaning of Tex. Bus. & Com. Code Ann.

§2.313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Tex. Bus. & Com. Code Ann. §2.313.


                                                 1171
               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               The express warranties Defendants created with respect to Ranitidine-Containing

Products were material to reasonable consumers, including Plaintiffs and the Class members, who

were intended beneficiaries of Defendants’ express warranties and who justifiably relied on

Defendants’ express warranties in connection with their decision to purchase Ranitidine-

Containing Products. Specifically, Plaintiffs and the Class members detrimentally relied on the

express warranties and representations of Defendants concerning the safety and/or risk profile of

Ranitidine-Containing Products in deciding to purchase the product. Plaintiffs and the Class


                                               1172
members reasonably relied upon Defendants to disclose known defects, risks, dangers, and side

effects of Ranitidine-Containing Products. Plaintiffs and the Class members would not have

purchased or used Ranitidine-Containing Products had Defendants properly disclosed the risks

associated with the product, either through advertising, labeling, or any other form of disclosure.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.       Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.




                                               1173
                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                 (Tex. Bus. & Com. Code Ann. §2.314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Texas Class (for the purpose of this

section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Tex. Bus. & Com. Code Ann. §2.314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


                                                   1174
               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


       Violation of the Texas Deceptive Trade Practices-Consumer Protection Act
                       (Tex. Bus. & Com. Code Ann. §17.41, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


                                               1175
               This cause of action is brought on behalf of the Texas Class (for the purpose of this

section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Tex. Bus. & Com. Code Ann. §17.45(3).

               Plaintiffs and the Class members are “[c]onsumer[s]” within the meaning of Tex.

Bus. & Com. Code Ann. §17.45(4).

               The Ranitidine-Containing Products are “[g]oods” within the meaning of Tex. Bus.

& Com. Code Ann. §17.45(1).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of Tex. Bus. & Com. Code Ann. §17.45(6).

               The Texas Deceptive Trade Practices-Consumer Protection Act (“Texas DTPA”)

prohibits “[f]alse, misleading, or deceptive acts or practices in the conduct of any trade or

commerce,” Tex. Bus. & Com. Code Ann. §17.46(a), and an “[u]nconscionable action or course

of action,” which means “an act or practice which, to a consumer’s detriment, takes advantage of

the lack of knowledge, ability, experience, or capacity of the consumer to a grossly unfair degree.”

Tex. Bus. & Com. Code Ann. §§17.45(5) and 17.50(a)(3).

               The Texas DTPA makes unlawful specific acts, including:

               (a)     “representing that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or quantities that they do not
                       have” (Tex. Bus. & Com. Code Ann. §17.46(5));

               (b)     “representing that goods or services are of a particular standard, quality, or
                       grade, or that goods are of a particular style or model, if they are of another”
                       (Tex. Bus. & Com. Code Ann. §17.46(7)); and

               (c)     “advertising goods or services with intent not to sell them as advertised”
                       (Tex. Bus. & Com. Code Ann. §17.46(9)).

                                                1176
               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the Texas DTPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Texas DTPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not; and

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,    including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

                                               1177
               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Texas DTPA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts regarding

Ranitidine-Containing Products, including that such drugs were defective, unreasonably

dangerous, and not fit to be used for their intended purpose because they possessed exclusive

knowledge, they intentionally concealed the facts regarding Ranitidine-Containing Products,

including that such drugs were defective, unreasonably dangerous, and not fit to be used for their

intended purpose from Plaintiffs and the Class members, and/or they made misrepresentations that

were rendered misleading because they were contradicted by withheld facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Texas DTPA because they suffered ascertainable loss and actual damages as a direct and proximate

result of Defendants’ knowing and intentional misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were inherently defective, unreasonably dangerous, and not fit to be used for their intended


                                              1178
purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-Containing Products

in reliance on Defendants’ misrepresentations, omissions, concealments, and failures to disclose

material facts regarding Ranitidine-Containing Products. Had Defendants not engaged in the

deceptive acts and practices alleged herein, Plaintiffs and Class Members would not have

purchased the drug, and, thus, they did not receive the benefit of the bargain and/or suffered out-

of-pocket loss.

                  Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                  Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of Ranitidine-Containing Products’ defects became public.         In addition, on May 21, 2020,

Plaintiffs in MDL 2924 sent a notice letter pursuant to Tex. Bus. & Com. Code Ann. §17.505(a)

to Defendants. Because Defendants failed to adequately remedy their unlawful conduct within the

requisite time period, Plaintiffs seek all damages and relief to which Plaintiffs and the Class

members are entitled.

                  As a result of Defendants’ violations of the Texas DTPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Texas DTPA.




                                               1179
                                 Products Liability/Failure to Warn
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Texas Class (for the purpose of this

section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous



                                               1180
risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or


                                               1181
instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and


                                              1182
their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug.          Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public




                                               1183
service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




                                               1184
                            Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Texas Class (for the purpose of this

section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, Defendants had a continuing duty to exercise reasonable care

in manufacturing Ranitidine-Containing Products to prevent harm to foreseeable users and

consumers, including Plaintiffs and Class members.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,



                                               1185
manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Manufacturer Defendants’ Ranitidine-Containing Products are inherently

dangerous and defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and

accordingly do not meet or perform to the expectations of ordinary consumers or health care

providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.




                                                1186
               The Ranitidine-Containing Products, because of their dangerous condition and

Defendants’ knowledge of such dangerous condition, would not be manufactured by a reasonably

prudent manufacturer or seller exercising reasonable and due care.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                 Products Liability/Design Defect
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Texas Class (for the purpose of this

section, “Class”) against all Defendants.



                                               1187
               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants had a duty to exercise reasonable care in

manufacturing, designing, and labeling Ranitidine-Containing Products to prevent harm to

foreseeable users and consumers, including Plaintiffs and Class members.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.




                                              1188
               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

                                                1189
              (c)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

                                              1190
               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The Ranitidine-Containing Products, because of their dangerous condition and

Defendants’ knowledge of such dangerous condition, would not be put on the market by a

reasonably prudent manufacturer or seller exercising reasonable and due care.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they


                                              1191
otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               46.     Causes of Action Brought on Behalf of the Utah Class


                                  Breach of Express Warranty
                                 (Utah Code Ann. §70A-2-313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Utah Class (for the purpose of this

section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Utah Code Ann. §70A-2-313 and “sellers”

of Ranitidine-Containing Products within the meaning of Utah Code Ann. §70A-2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Utah Code Ann. §70A-2-313.




                                               1192
               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               The express warranties Defendants created with respect to Ranitidine-Containing

Products were material to reasonable consumers, including Plaintiffs and the Class members, who

were intended beneficiaries of Defendants’ express warranties and who justifiably relied on

Defendants’ express warranties in connection with their decision to purchase Ranitidine-

Containing Products. Specifically, Plaintiffs and the Class members detrimentally relied on the

express warranties and representations of Defendants concerning the safety and/or risk profile of

Ranitidine-Containing Products in deciding to purchase the product. Plaintiffs and the Class


                                               1193
members reasonably relied upon Defendants to disclose known defects, risks, dangers, and side

effects of Ranitidine-Containing Products. Plaintiffs and the Class members would not have

purchased or used Ranitidine-Containing Products had Defendants properly disclosed the risks

associated with the product, either through advertising, labeling, or any other form of disclosure.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.       Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.




                                               1194
                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                      Breach of Implied Warranty
                                     (Utah Code Ann. §70A-2-314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Utah Class (for the purpose of this

section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiff and member of the Class and were in the business

of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Utah Code Ann. §70A-2-314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


                                                  1195
               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                  Violation of the Utah Consumer Sales Practices Act
                          (Utah. Code Ann. §13-11-1, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


                                               1196
               This cause of action is brought on behalf of the Utah Class (for the purpose of this

section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants are “[s]upplier[s]” within the meaning of Utah Code Ann. §13-11-3(6).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Utah Code Ann. §13-11-3(5).

               Defendants were and are engaged in “consumer transactions” within the meaning

of Utah Code Ann. §13-11-3(2)(a).

               The Utah Consumer Sales Practices Act (“Utah CSPA”) prohibits any “deceptive

act or practice by a supplier in connection with a consumer transaction.” Utah Code Ann. §13-11-

4(1). “An unconscionable act or practice by a supplier in connection with a consumer transaction”

also violates the Utah CSPA. Utah Code Ann. §13-11-5(1).

               The Utah CSPA makes unlawful specific acts, including:

               (a)     “indicat[ing] that the subject of a consumer transaction has sponsorship,
                       approval, performance characteristics, accessories, uses, or benefits, if it has
                       not” (Utah Code Ann. §13-11-4(2)(a)); and

               (b)     “indicat[ing] that the subject of a consumer transaction is of a particular
                       standard, quality, grade, style, or model, if it is not” (Utah Code Ann. §13-
                       11-4(2)(b)).

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the Utah CSPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.




                                                1197
               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Utah CSPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have; and

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,   including    their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.




                                               1198
               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Utah CSPA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts regarding

Ranitidine-Containing Products, including that such drugs were defective, unreasonably

dangerous, and not fit to be used for their intended purpose because they possessed exclusive

knowledge, they intentionally concealed the facts regarding Ranitidine-Containing Products,

including that such drugs were defective, unreasonably dangerous, and not fit to be used for their

intended purpose from Plaintiffs and the Class members, and/or they made misrepresentations that

were rendered misleading because they were contradicted by withheld facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Utah CSPA because they suffered ascertainable loss and actual damages as a direct and proximate

result of Defendants’ knowing and intentional misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were inherently defective, unreasonably dangerous, and not fit to be used for their intended

purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-Containing Products

in reliance on Defendants’ misrepresentations, omissions, concealments, and failures to disclose

material facts regarding Ranitidine-Containing Products. Had Defendants not engaged in the

deceptive acts and practices alleged herein, Plaintiffs and Class members would not have




                                              1199
purchased the drug, and, thus, they did not receive the benefit of the bargain and/or suffered out-

of-pocket loss.

                  Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                  As a result of Defendants’ violations of the Utah CSPA, as alleged herein, Plaintiffs

and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or practices

and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief available

under the Utah CSPA.


                   Violation of the Utah Truth in Advertising Law
                         (Utah Code Ann. §13-11a-1, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
                  Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                  This cause of action is brought on behalf of the Utah Class (for the purpose of this

section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

                  Defendants are “[s]uppliers” within the meaning of Utah Code Ann. §13-11a-2(17).

                  Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Utah Code Ann. §13-11a-2(7).

                  The Ranitidine-Containing Products are “goods” within the meaning of Utah Code

Ann. §13-11a-2(4).

                  The Utah Truth in Advertising Law (“Utah TAL”) prohibits any deceptive practice

undertaken “in the course of a person’s business.” Utah Code Ann. §13-11a-3(1).


                                                  1200
               The Utah TAL makes unlawful specific acts, including:

               (a)     “represent[ing] that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or qualities that they do not have”
                       (Utah Code Ann. §13-11a-3(1)(e));

               (b)     “represent[ing] that goods or services are of a particular standard, quality,
                       or grade, or that goods are of a particular style or model, if they are of
                       another” (Utah Code Ann. §13-11a-3(1)(g));

               (c)     “advertis[ing] goods or services with intent not to sell them as advertised”
                       (Utah Code Ann. §13-11a-3(1)(i)); and

               (d)     “engag[ing] in any other conduct which similarly creates a likelihood of
                       confusion or of misunderstanding” (Utah Code Ann. §13-11a-3(1)(t)).

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the Utah TAL by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Utah TAL, including:

               (a)     representing that Ranitidine-Containing Products were both safe and
                       effective for the lifetime of the product, when in fact, they were not;

               (b)     representing that consumption of Ranitidine-Containing Products had
                       characteristics, ingredients, uses, benefits, or qualities that they do not have;

               (c)     representing that Ranitidine-Containing Products are of a particular
                       standard, quality, or grade when they are not;




                                                1201
               (d)     advertising Ranitidine-Containing Products with the intent not to sell them
                       as advertised; and

               (e)     engaging in any other conduct that creates a likelihood of confusion.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including    their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had



                                              1202
concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

                  Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Utah TAL in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts regarding

Ranitidine-Containing Products, including that such drugs were defective, unreasonably

dangerous, and not fit to be used for their intended purpose because they possessed exclusive

knowledge, they intentionally concealed the facts regarding Ranitidine-Containing Products,

including that such drugs were defective, unreasonably dangerous, and not fit to be used for their

intended purpose from Plaintiffs and the Class members, and/or they made misrepresentations that

were rendered misleading because they were contradicted by withheld facts.

                  Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Utah TAL because they suffered ascertainable loss and actual damages as a direct and proximate

result of Defendants’ knowing and intentional misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were inherently defective, unreasonably dangerous, and not fit to be used for their intended

purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-Containing Products

in reliance on Defendants’ misrepresentations, omissions, concealments, and failures to disclose

material facts regarding Ranitidine-Containing Products. Had Defendants not engaged in the

deceptive acts and practices alleged herein, Plaintiffs and Class members would not have

purchased the drug, and, thus, they did not receive the benefit of the bargain and/or suffered out-

of-pocket loss.




                                                 1203
                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of Ranitidine-Containing Products’ defects became public.         In addition, on May 21, 2020,

Plaintiffs in MDL 2924 sent a notice letter to Defendants. Because Defendants failed to adequately

remedy their unlawful conduct within the requisite time period, Plaintiffs seek all damages and

relief to which Plaintiffs and the Class members are entitled.

                As a result of Defendants’ violations of the Utah TAL, as alleged herein, Plaintiffs

and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or practices

and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief available

under the Utah TAL.


                            Strict Products Liability/Failure to Warn
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the Utah Class (for the purpose of this

section, “Class”) against all Defendants.

                At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and



                                               1204
unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they




                                               1205
knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.




                                              1206
               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               The product was dangerous to an extent beyond which would be contemplated by

the ordinary and prudent buyer, consumer, or user of that product in that community considering

the product’s characteristics, propensities, risks, dangers, and uses together with any actual

knowledge, training, or experience possessed by that particular buyer, user, or consumer, including

any healthcare provider.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know




                                              1207
about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.


                                               1208
               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.



                                               1209
               This cause of action is brought on behalf of the Utah Class (for the purpose of this

section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved


                                              1210
Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The product was dangerous to an extent beyond which would be contemplated by

the ordinary and prudent buyer, consumer, or user of that product in that community considering

the product’s characteristics, propensities, risks, dangers, and uses together with any actual

knowledge, training, or experience possessed by that particular buyer, user, or consumer, including

any healthcare provider.

               The methods and techniques of manufacturing, inspecting and testing the product

were not in conformity with government standards established for the pharmaceutical industry

which were in existence at the time the plans or designs for the product or the methods and

techniques of manufacturing, inspecting and testing the product were adopted.



                                                1211
               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Utah Class (for the purpose of this

section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream


                                               1212
of commerce. These actions were under the ultimate control and supervision of these Defendants.

At all relevant times, the Defendants designed, researched, developed, manufactured, produced,

tested, assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed

the Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, the Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, these Defendants’ Ranitidine-Containing Products reached

the intended consumers, handlers, and users or other persons coming into contact with these

products, including Plaintiffs and the Class members, without substantial change in their

anticipated and expected condition as designed, manufactured, sold, distributed, labeled, and

marketed by the Defendants. At all relevant times, these Defendants registered, researched,

manufactured, distributed, marketed, and sold Ranitidine-Containing Products and aimed at a

consumer market. These Defendants were at all relevant times involved in the retail and promotion

of Ranitidine-Containing Products marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               The Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by these

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.


                                              1213
               The Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by these

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;


                                                1214
              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to the Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of the Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

the Defendants’ suppression or obfuscation of scientific information linking Ranitidine-

Containing Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by the Defendants’ Ranitidine-Containing Products far

outweighed their benefit, rendering each Defendants’ product dangerous to an extent beyond that

which an ordinary consumer would contemplate.           The Defendants’ Ranitidine-Containing

Products were and are more dangerous than alternative products, and these Defendants could have



                                              1215
designed Ranitidine-Containing Products to make them less dangerous. Indeed, at the time the

Manufacturing Defendants designed Ranitidine-Containing Products, the state of the industry’s

scientific knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of the Defendants’

Ranitidine-Containing Products. For example, the Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in the Defendants’ Ranitidine-Containing Products were substantial

factors in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                               1216
                                       Medical Monitoring
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Utah Class (for the purpose of this

section, “Class”) against all Defendants.

               Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

their risk of developing various types of serious and potentially deadly cancers and caused them

bodily injury in the form of cellular, sub-cellular, and/or genetic injuries.

               At all relevant times Defendants had a duty to, inter alia:

               (a)     exercise reasonable care in the design, research, manufacture, labeling,
                       testing, marketing, advertisement, supply, promotion, packaging, warning,
                       sale, storage, handling, and distribution of Ranitidine-Containing Products,
                       including the duty to take all reasonable steps necessary to manufacture,
                       promote, and/or sell a product that was not unreasonably dangerous to
                       consumers and users of the product;

               (b)     to provide accurate, true, and correct information concerning the risks of
                       using Ranitidine-Containing Products and appropriate, complete, and
                       accurate warnings concerning the potential adverse effects of Ranitidine-
                       Containing Products – in particular, their ability to transform into the
                       carcinogenic compound, NDMA; and

               (c)     disclose the fact that Ranitidine-Containing Products contained elevated
                       levels of NDMA that rendered them unsafe and unfit for human
                       consumption.

               Defendants breached these duties by, inter alia, failing to exercise ordinary care in

the design, research, development, manufacture, testing, labeling, marketing, supply, promotion,

advertisement, packaging, warning, sale, and distribution of Ranitidine-Containing Products, in

that Defendants manufactured and produced defective Ranitidine-Containing Products, which

carry the potential to transform into the carcinogenic compound NDMA; knew or had reason to


                                                1217
know of the defects inherent in their products; knew or had reason to know that consumer use of

the products created a significant risk of harm and unreasonably dangerous side effects, including

significantly increasing the risk of developing various types of serious and potentially deadly

cancers and causing bodily injury in the form of cellular, sub-cellular, and/or genetic injuries; and

failed to prevent or adequately warn of these risks and injuries. Indeed, Defendants deliberately

refused to test Ranitidine-Containing Products because they knew that the chemical posed serious

health risks to humans.

               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – of the hazards and dangers associated with Ranitidine-Containing Products.

Specifically, Defendants knew or should have known of the carcinogenic properties of NDMA

when Ranitidine-Containing Products are ingested and/or the elevated levels of NDMA that result

from the transport and storage of Ranitidine-Containing Products.

               Accordingly, at all relevant times, Defendants knew – or in the exercise of

reasonable care, should have known – that use of Ranitidine-Containing Products could cause or

be associated with Plaintiffs’ and Class members’ injuries, and thus, could create a dangerous and

unreasonable risk of injury to the end users of their products, including Plaintiffs and members of

the Class.

               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – that it was foreseeable that consumers such as Plaintiffs and members of the

Class would suffer injuries in the form of cellular, sub-cellular, and/or genetic injuries that

significantly increased their risk of developing various types of serious and potentially deadly

cancers as a result of Defendants’ failure to exercise ordinary care in the manufacturing, marketing,

labeling, distribution, and sale of Ranitidine-Containing Products.


                                               1218
               Plaintiffs and members of the Class did not know the nature and extent of the

injuries that could result from the intended use of and/or exposure to Ranitidine-Containing

Products.

               Due to the unsafe levels of NDMA present in Ranitidine-Containing Products,

which present an unacceptable and increased risk of causing cancer, the FDA was compelled to

order the immediate ban of all Ranitidine-Containing Products on April 1, 2020.

               Had Defendants disclosed and not concealed the risks associated with the use of

Ranitidine-Containing Products, Plaintiffs and members of the Class would not have purchased or

consumed the Ranitidine-Containing Products, and therefore would have avoided such injury.

               The latent injuries from which Plaintiffs suffer require specialized testing (with

resultant treatment) that is not generally given to the public at large. The available monitoring

regime is specific for individuals exposed to products known to significantly increase the risk of

various cancers because of ingesting Ranitidine-Containing Products and is different from that

normally recommended in the absence of exposure to this risk of harm.

               The medical monitoring regime should include, but is not limited to, baseline tests

and diagnostic examination that will assist in early detection and diagnosing various cancers. This

diagnostic program will facilitate treatment and interventions that will mitigate the development

of, and health effects associated with, various cancers.

               The available monitoring regime is reasonably necessary according to

contemporary scientific principles within the medical community specializing in the diagnosis and

treatment of cancers.

               By monitoring and testing Plaintiffs, the risk that Plaintiffs will suffer long-term

injuries, disease, and losses without adequate treatment will be significantly reduced.


                                               1219
               Plaintiffs, therefore, seek an injunction creating a Court-supervised, Defendant-

funded medical monitoring program which will facilitate the diagnoses of Plaintiffs for various

cancers. The medical monitoring should include a trust fund to pay for the medical monitoring and

diagnosis of Plaintiffs as frequently and appropriately as necessary.

               Accordingly, Defendants should be required to establish a medical monitoring

program that includes, among other things: (a) establishing a trust fund, in an amount to be

determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

notifying all Class members in writing that they may require frequent medical monitoring for the

purpose of diagnosis.

               Plaintiffs have an inadequate remedy at law in that monetary damages alone cannot

compensate them for the risk of long-term physical and economic losses due to ingesting

Ranitidine-Containing Products. Without a court-approved medical monitoring program as

described herein, or established by the Court, Plaintiffs and Class members will continue to face

an unreasonable risk of injury and disability and remain undiagnosed.

               47.      Causes of Action Brought on Behalf of the Vermont Class


                                  Breach of Express Warranty
                                  (Vt. Stat. Ann. tit. 9A §2-313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Vermont Class (for the purpose of

this section, “Class”) against all Defendants.




                                                 1220
               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Vt. Stat. Ann. tit. 9A §2-313 and “sellers”

of Ranitidine-Containing Products within the meaning of Vt. Stat. Ann. tit. 9A §2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Vt. Stat. Ann. tit. 9A §2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the


                                                1221
Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.




                                                  1222
                                  Breach of Implied Warranty
                                  (Vt. Stat. Ann. tit. 9A §2-314)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Vermont Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Vt. Stat. Ann. tit. 9A §2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to




                                                 1223
establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                   Violation of the Vermont Consumer Fraud Act
                         (Vt. Stat. Ann. tit. 9, §2451, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Vermont Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants are “[s]eller[s]” within the meaning of Vt. Stat. Ann. tit. 9, §2451a(c).




                                               1224
                Plaintiffs and the Class members are “[c]onsumer[s]” within the meaning of Vt.

Stat. Ann. tit. 9, §2451a(a).

                The Ranitidine-Containing Products are “[g]oods” within the meaning of Vt. Stat.

Ann. tit. 9, §2451a(b).

                The Vermont consumer fraud act (“Vermont CFA”) prohibits “[u]nfair methods of

competition in commerce and unfair or deceptive acts or practices in commerce.” Vt. Stat. Ann.

tit. 9, §2453(a).

                In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the Vermont CFA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

                Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Vermont CFA.

                Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

                Defendants’     unfair   or   deceptive   acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were


                                                1225
likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Vermont CFA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts regarding

Ranitidine-Containing Products, including that such drugs were defective, unreasonably

dangerous, and not fit to be used for their intended purpose because they possessed exclusive

knowledge, they intentionally concealed the facts regarding Ranitidine-Containing Products,

including that such drugs were defective, unreasonably dangerous, and not fit to be used for their

intended purpose from Plaintiffs and the Class members, and/or they made misrepresentations that

were rendered misleading because they were contradicted by withheld facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Vermont CFA because they suffered ascertainable loss and actual damages as a direct and


                                              1226
proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Vermont CFA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Vermont CFA.


                            Strict Products Liability/Failure to Warn
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the Vermont Class (for the purpose of

this section, “Class”) against all Defendants.




                                                 1227
               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.


                                               1228
               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.




                                              1229
               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate


                                              1230
information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment


                                               1231
of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Vermont Class (for the purpose of

this section, “Class”) against all Defendants.




                                                 1232
               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.


                                              1233
               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)     failure to follow cGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.




                                               1234
               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Vermont Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,



                                                 1235
including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.




                                                1236
              Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

              (a)     Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

              (b)     Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

              (c)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

              (d)     Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.




                                              1237
               Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

               At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid


                                               1238
(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               48.     Causes of Action Brought on Behalf of the Virginia Class


                                  Breach of Express Warranty
                                   (Va. Code Ann. §8.2-313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Virginia Class (for the purpose of

this section, “Class”) against all Defendants.


                                                 1239
               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Va. Code Ann. §8.2-313 and “sellers” of

Ranitidine-Containing Products within the meaning of Va. Code Ann. §8.2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Va. Code Ann. §8.2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the


                                               1240
Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.




                                                  1241
                                  Breach of Implied Warranty
                                   (Va. Code Ann. §8.2-314)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Virginia Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiff and member of the Class and were in the business

of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Va. Code Ann. §8.2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to




                                                 1242
establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                  Violation of the Virginia Consumer Protection Act
                          (Va. Code Ann. §59.1-196, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Virginia Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Va. Code Ann. §59.1-198.


                                               1243
                Defendants were and are “[s]upplier[s]” within the meaning of Va. Code Ann.

§59.1-198.

                The Ranitidine-Containing Products are “[g]oods” within the meaning of Va. Code

Ann. §59.1-198.

                Defendants were and are engaged in “[c]onsumer transaction[s]” within the

meaning of Va. Code Ann. §59.1-198.

                The Virginia Consumer Protection Act (“Virginia CPA”) prohibits “fraudulent acts

or practices committed by a supplier in connection with a consumer transaction.” Va. Code Ann.

§59.1-200(A).

                The Virginia CPA makes unlawful specific acts, including:

                (a)    “[m]isrepresenting that goods or services have certain quantities,
                       characteristics, ingredients, uses, or benefits” (Va. Code Ann. §59.1-
                       200(A)(5));

                (b)    “[m]isrepresenting that goods or services are of a particular standard,
                       quality, grade, style, or model” (Va. Code Ann. §59.1-200(A)(6));

                (c)    “[a]dvertising goods or services with intent not to sell them as advertised,
                       or with intent not to sell at the price or upon the terms advertised” (Va. Code
                       Ann. §59.1-200(A)(8)); and

                (d)    “[u]sing any other deception, fraud, false pretense, false promise, or
                       misrepresentation in connection with a consumer transaction” (Va. Code
                       Ann. §59.1-200(A)(14)).

                In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the Virginia CPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.




                                                1244
               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Virginia CPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in the conduct of trade or commerce.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,   including    their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class



                                               1245
members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Virginia CPA in the course of their business. Specifically,

Defendants owed Plaintiffs and Class members a duty to disclose all the material facts regarding

Ranitidine-Containing Products, including that such drugs were defective, unreasonably

dangerous, and not fit to be used for their intended purpose because they possessed exclusive

knowledge, they intentionally concealed the facts regarding Ranitidine-Containing Products,

including that such drugs were defective, unreasonably dangerous, and not fit to be used for their

intended purpose from Plaintiffs and the Class members, and/or they made misrepresentations that

were rendered misleading because they were contradicted by withheld facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Virginia CPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not


                                               1246
engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of Ranitidine-Containing Products’ defects became public.         In addition, on May 21, 2020,

Plaintiffs in MDL 2924 sent a notice letter to Defendants. Because Defendants failed to adequately

remedy their unlawful conduct within the requisite time period, Plaintiffs seek all damages and

relief to which Plaintiffs and the Class members are entitled.

                As a result of Defendants’ violations of the Virginia CPA, as alleged herein,

Plaintiffs and the Class members seek an order awarding actual damages, costs, attorneys’ fees,

and any other just and proper relief available under the Virginia CPA.

                49.     Causes of Action Brought on Behalf of the Washington Class


                                   Breach of Express Warranty
                                 (Wash. Rev. Code Ann. §62A 2-313)
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the Washington Class (for the purpose

of this section, “Class”) against all Defendants.


                                                1247
               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Wash. Rev. Code Ann. §62A.2-313 and

“sellers” of Ranitidine-Containing Products within the meaning of Wash. Rev. Code Ann. §62A.2-

313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Wash. Rev. Code Ann. §62A.2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.




                                               1248
                   Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.          Specifically, Defendants breached the express

warranties in the following ways:

        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.

                                                  1249
                                   Breach of Implied Warranty
                                 (Wash. Rev. Code Ann. §62A.2-314)
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Washington Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiff and member of the Class and were in the business

of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Wash. Rev. Code Ann. §62A 2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to




                                                1250
establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                 Violation of the Washington Consumer Protection Act
                       (Wash. Rev. Code Ann. §19.86.010, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Washington Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Wash. Rev. Code Ann. §19.86.010(1).


                                               1251
               The Ranitidine-Containing Products are “[a]ssets” within the meaning of Wash.

Rev. Code Ann. §19.86.010(3).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of Wash. Rev. Code Ann. §19.86.010(2).

               The Washington Consumer Protection Act (“Washington CPA”) prohibits “[u]nfair

methods of competition and unfair or deceptive acts or practices in the conduct of any trade or

commerce.” Wash. Rev. Code Ann. §19.86.020.

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the Washington CPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Washington CPA.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,    including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were


                                               1252
likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Washington CPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.




                                              1253
                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Washington CPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Washington CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Washington CPA.


                            Strict Products Liability/Failure to Warn
                                Washington Product Liability Act
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.




                                              1254
               This cause of action is brought on behalf of the Washington Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.        Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.




                                                1255
               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At the time of manufacture, the likelihood that the product would cause the

claimant’s harm or similar harms, and the seriousness of those harms, rendered the warnings or

instructions of the Defendants inadequate and the Defendants could have provided the warnings

or instructions regarding the risk of harm.

               A reasonably prudent manufacturer should have learned about a danger connected

with the Ranitidine-Containing Products after they were manufactured. Accordingly, Defendants

were under a duty to act with regard to issuing warnings or instructions concerning the danger in

the manner that a reasonably prudent manufacturer would act in the same or similar circumstances

but failed to exercise reasonable care to inform product users and healthcare providers.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their


                                              1256
drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.


                                              1257
               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise




                                               1258
suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.


                                               1259
               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                               Washington Product Liability Act
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Washington Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their


                                                1260
manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.




                                                1261
               Accordingly, the product deviated in a material way from the design specifications

or performance standards of the Defendants and/or deviated in some material way from otherwise

identical units of the same product line.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                               Washington Product Liability Act
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Washington Class (for the purpose

of this section, “Class”) against all Defendants.


                                                1262
               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


                                              1263
Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous, and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing

                                                1264
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.


                                              1265
               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               At the time of manufacture, the likelihood that the Ranitidine-Containing Products

would cause Plaintiffs’ and members’ of the class harm or similar harms, and the seriousness of

those harms, outweighed the burden on the defendants to design a product that would have

prevented those harms and the adverse effect that an alternative design that was practical and

feasible would have on the usefulness of the product.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they




                                              1266
otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

               50.     Causes of Action Brought on Behalf of the West Virginia Class


                                  Breach of Express Warranty
                                 (W. Va. Code Ann. §46-2-313)
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the West Virginia Class (for the purpose

of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of W. Va. Code Ann. §46-2-313 and “sellers”

of Ranitidine-Containing Products within the meaning of W. Va. Code Ann. §46-2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of W. Va. Code Ann. §46-2-313.




                                                1267
               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their

purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:


                                               1268
        Defendants represented through their labeling, advertising, and marketing materials
        that Ranitidine-Containing Products were safe, and intentionally withheld and
        concealed information about the risks of serious injury associated with use of
        Ranitidine-Containing Products and by expressly limiting the risks associated with
        use within their warnings and labels; and

        Defendants represented that Ranitidine-Containing Products were safe for use and
        intentionally concealed information that demonstrated that they had carcinogenic
        properties, and that Ranitidine-Containing Products, therefore, were not safer than
        alternatives available on the market.

                   Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                      Breach of Implied Warranty
                                     (W. Va. Code Ann. §46-2-314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the West Virginia Class (for the purpose

of this section, “Class”) against all Defendants.



                                                   1269
               At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

               Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

W. Va. Code Ann. §46-2-314.

               Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.

               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the


                                               1270
Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


           Violation of the West Virginia Consumer Credit and Protection Act
                          (W. Va. Code Ann. §46A-1-101, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the West Virginia Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of W. Va. Code Ann. §46A-1-102(31).

               Plaintiffs and the Class members are “[c]onsumer[s]” within the meaning of W. Va.

Code Ann. §§46A-1-102(12) and 46A-6-102(2).

               The OTC Ranitidine-Containing Products are “[g]oods” within the meaning of W.

Va. Code Ann. §46A-1-102(21).

               Defendants were and are engaged in “[t]rade” or “commerce” within the meaning

of W. Va. Code Ann. §46A-6-102(6).




                                               1271
               The West Virginia Consumer Credit and Protection Act (“West Virginia CCPA”)

prohibits “[u]nfair methods of competition and unfair or deceptive acts of practices in the conduct

of any trade or commerce.” W. Va. Code Ann. §46A-6-104.

               The West Virginia CCPA makes unlawful specific acts, including:

               (a)     “[r]epresenting that goods or services have sponsorship, approval,
                       characteristics, ingredients, uses, benefits or quantities that they do not
                       have” (W. Va. Code Ann. §46A-6-102(7)(E));

               (b)     “[r]epresenting that goods or services are of a particular standard, quality or
                       grade, or that goods are of a particular style or model, if they are of another”
                       (W. Va. Code Ann. §46A-6-102(7)(G));

               (c)     “[a]dvertising goods or services with intent not to sell them as advertised”
                       (W. Va. Code Ann. §46A-6-102(7)(I));

               (d)     “[e]ngaging in any other conduct which similarly creates a likelihood of
                       confusion or of misunderstanding” (W. Va. Code Ann. §46A-6-102(7)(L));
                       and

               (e)     “[t]he act, use or employment by any person of any deception, fraud, false
                       pretense, false promise or misrepresentation, or the concealment,
                       suppression or omission of any material fact with intent that others rely
                       upon such concealment, suppression or omission, in connection with the
                       sale or advertisement of any goods or services, whether or not any person
                       has in fact been misled, deceived or damaged thereby” (W. Va. Code Ann.
                       §46A-6-102(7)(M)).

               In the course of their business, Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the West Virginia CCPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding OTC

Ranitidine-Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding OTC Ranitidine-Containing Products, including

that such drugs were defective, unreasonably dangerous, and not fit to be used for their intended


                                                1272
purpose, as detailed above, Defendants engaged in one or more unfair or deceptive acts or practices

in the conduct of trade or commerce, in violation of the West Virginia CCPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other conduct which similarly creates a likelihood of
                       confusion or of misunderstanding.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of OTC Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or    deceptive   acts   or   practices,   including    their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of OTC Ranitidine-

Containing Products.

               The facts regarding OTC Ranitidine-Containing Products that Defendants

knowingly and intentionally misrepresented, omitted, concealed, and failed to disclose would be

considered material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the

Class members, who consider such facts to be important to their purchase decisions with respect

to OTC Ranitidine-Containing Products.




                                               1273
               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the West Virginia CCPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding OTC Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding OTC Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

West Virginia CCPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding OTC Ranitidine-Containing

Products, including that such drugs were inherently defective, unreasonably dangerous, and not fit

to be used for their intended purpose. Specifically, Plaintiffs and the Class members purchased

OTC Ranitidine-Containing Products in reliance on Defendants’ misrepresentations, omissions,

concealments, and failures to disclose material facts regarding OTC Ranitidine-Containing

Products. Had Defendants not engaged in the deceptive acts and practices alleged herein, Plaintiffs


                                              1274
and Class members would not have purchased the drug, and, thus, they did not receive the benefit

of the bargain and/or suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of OTC Ranitidine-Containing Products’ defects became public. In addition, on May 21, 2020,

Plaintiffs in MDL 2924 sent a notice letter pursuant to W. Va. Code Ann. §46A-6-106(c) to

Defendants. Because Defendants failed to adequately remedy their unlawful conduct within the

requisite time period, Plaintiffs seek all damages and relief to which Plaintiffs and the Class

members are entitled.

                As a result of Defendants’ violations of the West Virginia CCPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the West Virginia CCPA.


                            Strict Products Liability/Failure to Warn
                                     (Against All Defendants)
                Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                This cause of action is brought on behalf of the West Virginia Class (for the purpose

of this section, “Class”) against all Defendants.



                                                1275
               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.


                                               1276
               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.




                                              1277
               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               The Ranitidine-Containing Products, because of their dangerous condition and

Defendants’ knowledge of such dangerous condition, would not be put on the market by a

reasonably prudent manufacturer or seller.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know




                                              1278
about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.


                                               1279
               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.



                                               1280
               This cause of action is brought on behalf of the West Virginia Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.




                                                1281
               The Ranitidine-Containing Products, because of their dangerous condition and

Defendants’ knowledge of such dangerous condition, would not be put on the market by a

reasonably prudent manufacturer or seller.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



                                                1282
otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the West Virginia Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




                                                1283
assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.




                                              1284
               The Ranitidine-Containing Products, because of their dangerous condition and

Defendants’ knowledge of such dangerous condition, would not be put on the market by a

reasonably prudent manufacturer or seller.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

                                                1285
              (e)     Defendants failed to provide accurate expiration dates on the product label;

              (f)     Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

              (g)     exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;

              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.




                                              1286
               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.


                                              1287
               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                                       Medical Monitoring
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the West Virginia Class (for the purpose

of this section, “Class”) against all Defendants.

               Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased

their risk of developing various types of serious and potentially deadly cancers and caused them

bodily injury in the form of cellular, sub-cellular, and/or genetic injuries.

               At all relevant times Defendants had a duty to, inter alia:

               (a)     exercise reasonable care in the design, research, manufacture, labeling,
                       testing, marketing, advertisement, supply, promotion, packaging, warning,
                       sale, storage, handling, and distribution of Ranitidine-Containing Products,
                       including the duty to take all reasonable steps necessary to manufacture,
                       promote, and/or sell a product that was not unreasonably dangerous to
                       consumers and users of the product;

               (b)     to provide accurate, true, and correct information concerning the risks of
                       using Ranitidine-Containing Products and appropriate, complete, and
                       accurate warnings concerning the potential adverse effects of Ranitidine-
                       Containing Products – in particular, their ability to transform into the
                       carcinogenic compound, NDMA; and

               (c)     disclose the fact that Ranitidine-Containing Products contained elevated
                       levels of NDMA that rendered them unsafe and unfit for human
                       consumption.




                                                1288
               Defendants breached these duties by, inter alia, failing to exercise ordinary care in

the design, research, development, manufacture, testing, labeling, marketing, supply, promotion,

advertisement, packaging, warning, sale, and distribution of Ranitidine-Containing Products, in

that Defendants manufactured and produced defective Ranitidine-Containing Products, which

carry the potential to transform into the carcinogenic compound NDMA; knew or had reason to

know of the defects inherent in their products; knew or had reason to know that consumer use of

the products created a significant risk of harm and unreasonably dangerous side effects, including

significantly increasing the risk of developing various types of serious and potentially deadly

cancers and causing bodily injury in the form of cellular, sub-cellular, and/or genetic injuries; and

failed to prevent or adequately warn of these risks and injuries. Indeed, Defendants deliberately

refused to test Ranitidine-Containing Products because they knew that the chemical posed serious

health risks to humans.

               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – of the hazards and dangers associated with Ranitidine-Containing Products.

Specifically, Defendants knew or should have known of the carcinogenic properties of NDMA

when Ranitidine-Containing Products are ingested and/or the elevated levels of NDMA that result

from the transport and storage of Ranitidine-Containing Products.

               Accordingly, at all relevant times, Defendants knew – or in the exercise of

reasonable care, should have known – that use of Ranitidine-Containing Products could cause or

be associated with Plaintiffs’ and Class members’ injuries, and thus, could create a dangerous and

unreasonable risk of injury to the end users of their products, including Plaintiffs and members of

the Class.




                                               1289
               At all relevant times, Defendants knew – or in the exercise of reasonable care,

should have known – that it was foreseeable that consumers such as Plaintiffs and members of the

Class would suffer injuries in the form of cellular, sub-cellular, and/or genetic injuries that

significantly increased their risk of developing various types of serious and potentially deadly

cancers as a result of Defendants’ failure to exercise ordinary care in the manufacturing, marketing,

labeling, distribution, and sale of Ranitidine-Containing Products.

               Plaintiffs and members of the Class did not know the nature and extent of the

injuries that could result from the intended use of and/or exposure to Ranitidine-Containing

Products.

               Due to the unsafe levels of NDMA present in Ranitidine-Containing Products,

which present an unacceptable and increased risk of causing cancer, the FDA was compelled to

order the immediate ban of all Ranitidine-Containing Products on April 1, 2020.

               Had Defendants disclosed and not concealed the risks associated with the use of

Ranitidine-Containing Products, Plaintiffs and members of the Class would not have purchased or

consumed the Ranitidine-Containing Products, and therefore would have avoided such injury.

               The latent injuries from which Plaintiffs suffer require specialized testing (with

resultant treatment) that is not generally given to the public at large. The available monitoring

regime is specific for individuals exposed to products known to significantly increase the risk of

various cancers because of ingesting Ranitidine-Containing Products and is different from that

normally recommended in the absence of exposure to this risk of harm.

               The medical monitoring regime should include, but is not limited to, baseline tests

and diagnostic examination that will assist in early detection and diagnosing various cancers. This




                                               1290
diagnostic program will facilitate treatment and interventions that will mitigate the development

of, and health effects associated with, various cancers.

               The available monitoring regime is reasonably necessary according to

contemporary scientific principles within the medical community specializing in the diagnosis and

treatment of cancers.

               By monitoring and testing Plaintiffs, the risk that Plaintiffs will suffer long-term

injuries, disease, and losses without adequate treatment will be significantly reduced.

               Plaintiffs, therefore, seek an injunction creating a Court-supervised, Defendant-

funded medical monitoring program which will facilitate the diagnoses of Plaintiffs for various

cancers. The medical monitoring should include a trust fund to pay for the medical monitoring and

diagnosis of Plaintiffs as frequently and appropriately as necessary.

               Accordingly, Defendants should be required to establish a medical monitoring

program that includes, among other things: (a) establishing a trust fund, in an amount to be

determined, to pay for the medical monitoring of everyone who has taken Ranitidine-Containing

Products for the purpose of diagnosis, as frequently and appropriately as necessary; and (b)

notifying all Class members in writing that they may require frequent medical monitoring for the

purpose of diagnosis.

               Plaintiffs have an inadequate remedy at law in that monetary damages alone cannot

compensate them for the risk of long-term physical and economic losses due to ingesting

Ranitidine-Containing Products.     Without a court-approved medical monitoring program as

described herein, or established by the Court, Plaintiffs and the Class members will continue to

face an unreasonable risk of injury and disability and remain undiagnosed.




                                               1291
               51.     Causes of Action Brought on Behalf of the Wisconsin Class


                                  Breach of Express Warranty
                                   (Wis. Stat. Ann. §402.313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Wisconsin Class (for the purpose

of this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Wis. Stat. Ann. §402.313 and “sellers” of

Ranitidine-Containing Products within the meaning of Wis. Stat. Ann. §402.313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Wis. Stat. Ann. §402.313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their




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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                                               1293
                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                      (Wis. Stat. Ann. §402.314)
                                       (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Wisconsin Class (for the purpose

of this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Wis. Stat. Ann. §402.314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


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               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                Violation of the Wisconsin Deceptive Trade Practices Act
                             (Wis. Stat. Ann. §100.18, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


                                               1295
               This cause of action is brought on behalf of the Wisconsin Class (for the purpose

of this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants are “person[s], firm[s], corporation[s] or association[s]” within the

meaning of Wis. Stat. Ann. §100.18(1).

               Plaintiffs and the Class members are members of “the public” within the meaning

of Wis. Stat. Ann. §100.18(1).

               The Ranitidine-Containing Products are “merchandise” within the meaning of Wis.

Stat. Ann. §100.18(1).

               The Wisconsin Deceptive Trade Practices Act (“Wisconsin DTPA”) prohibits any

“assertion, representation or statement of fact which is untrue, deceptive or misleading.” Wis.

Stat. Ann. §100.18(1).

               Defendants, directly or through their agents, employees, and/or subsidiaries,

violated the Wisconsin DTPA by knowingly and intentionally misrepresenting, omitting,

concealing, and failing to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Wisconsin DTPA.




                                                 1296
               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               Defendants’    unfair   or   deceptive    acts   or   practices,   including   their

misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and the Class

members, about the inherently defective and unreasonably dangerous nature of Ranitidine-

Containing Products.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Wisconsin DTPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed


                                              1297
exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.

                Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Wisconsin DTPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

                Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

                As a result of Defendants’ violations of the Wisconsin DTPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Wisconsin DTPA.


                                              1298
                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Wisconsin Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.

               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous



                                                1299
risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including

Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or


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instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and


                                              1301
their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated

information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public




                                               1302
service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.

               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




                                               1303
                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Wisconsin Class (for the purpose

of this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial

change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.




                                                1304
               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:

               (a)      failure to follow cGMPs;

               (b)      failure to clean and test recovered and/or recycled solvents;

               (c)      failure to adequately inspect/test the drugs during the manufacturing
                        process;

               (d)      failure to implement procedures that would reduce or eliminate NDMA
                        levels in Ranitidine-Containing Products; and

               (e)      failure to implement appropriate quality control systems, distribution,
                        storage, and handling instructions and storage and distribution conditions
                        for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they



                                                1305
otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Wisconsin Class (for the purpose

of this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,




                                                1306
assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants

were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by


                                              1307
Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:

               (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                      in that they were hazardous and posed a grave risk of cancer when used in
                      a reasonably anticipated manner;

               (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                      used in a reasonably anticipated or intended manner;

               (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to transform into the carcinogenic compound NDMA within the
                      human body;

               (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                      Containing Products and, specifically, the ability for Ranitidine-Containing
                      Products to develop increasing levels of NDMA over time under anticipated
                      and expected storage and handling conditions;

               (e)    Defendants failed to provide accurate expiration dates on the product label;

               (f)    Defendants failed to provide accurate instructions concerning the stability
                      of the drug, including failing to provide accurate information about proper
                      temperature and light conditions for storage and distribution of the drug;

               (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                      effects that outweigh any potential utility stemming from the use of the
                      drug;


                                                1308
              (h)     Defendants knew or should have known at the time of marketing Ranitidine-
                      Containing Products that exposure to Ranitidine-Containing Products could
                      result in cancer and other severe illnesses and injuries;

              (i)     Defendants did not conduct adequate post-marketing surveillance of their
                      Ranitidine-Containing Products; and

              (j)     Defendants could have employed safer alternative designs and
                      formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.

              Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

              The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

              The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing




                                              1309
Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




                                              1310
               52.     Causes of Action Brought on Behalf of the Wyoming Class


                                   Breach of Express Warranty
                                  (Wyo. Stat. Ann. §34.1-2-313)
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Wyoming Class (for the purpose of

this section, “Class”) against all Defendants.

               Defendants are, and at all relevant times were, “merchants” with respect to

Ranitidine-Containing Products within the meaning of Wyo. Stat. Ann. §34.1-2-313 and “sellers”

of Ranitidine-Containing Products within the meaning of Wyo. Stat. Ann. §34.1-2-313.

               Plaintiffs and the Class members are, and at all relevant times were, “buyers” within

the meaning of Wyo. Stat. Ann. §34.1-2-313.

               In connection with their sale of Ranitidine-Containing Products, by and through

statements in labels, publications, package inserts, and other written materials intended for

consumers and the general public, Defendants made certain express affirmations of fact and/or

promises relating to the Ranitidine-Containing Products to Plaintiffs and the Class members, as

alleged herein, including that such drugs were safe for human consumption and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include incomplete

warnings and instructions that purport, but fail, to include the complete array of risks associated

with use of and/or exposure to Ranitidine-Containing Products.

               Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

Products with such express affirmations of fact and/or promises in such a way as to induce their




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purchase or use by Plaintiffs and the Class members, thereby making an express warranty that

Ranitidine-Containing Products would conform to the representations.

               Defendants’ affirmations of fact and/or promises about Ranitidine-Containing

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain, thus creating an

express warranty that the goods would conform to the representations.

               Despite the express warranties Defendants created with respect to Ranitidine-

Containing Products, Defendants delivered Ranitidine-Containing Products to Plaintiffs and the

Class members that did not conform to Defendants’ express warranties in that such drugs were

defective, dangerous, and unfit for use, did not contain labels representing the true and adequate

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose.        Specifically, Defendants breached the express

warranties in the following ways:

       Defendants represented through their labeling, advertising, and marketing materials
       that Ranitidine-Containing Products were safe, and intentionally withheld and
       concealed information about the risks of serious injury associated with use of
       Ranitidine-Containing Products and by expressly limiting the risks associated with
       use within their warnings and labels; and

       Defendants represented that Ranitidine-Containing Products were safe for use and
       intentionally concealed information that demonstrated that they had carcinogenic
       properties, and that Ranitidine-Containing Products, therefore, were not safer than
       alternatives available on the market.

               Defendants had sole access to material facts concerning the nature of the risks

associated with their Ranitidine-Containing Products, as expressly stated within their warnings

and labels, and knew that consumers and users such as Plaintiffs could not have reasonably

discovered that the risks expressly included in Ranitidine-Containing Products’ warnings and

labels were inadequate and inaccurate.

                                               1312
                   As a direct and proximate result of Defendants’ breaches of express warranties, as

alleged herein, Plaintiffs and the Class members sustained an economic loss in an amount to be

proven at trial.

                   As a result of Defendants’ breaches of express warranties, as alleged herein,

Plaintiffs and the Class members seek an order awarding compensatory and punitive damages,

costs, attorneys’ fees, and any other just and proper relief available under the law.


                                     Breach of Implied Warranty
                                    (Wyo. Stat. Ann. §34.1-2-314)
                                      (Against All Defendants)
                   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

                   This cause of action is brought on behalf of the Wyoming Class (for the purpose of

this section, “Class”) against all Defendants.

                   At all relevant times, Defendants were merchants with respect to Ranitidine-

Containing Products which were sold to Plaintiffs and members of the Class and were in the

business of selling such products.

                   Each Ranitidine-Containing Product sold by Defendants comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Wyo. Stat. Ann. §34.1-2-314.

                   Defendants breached their implied warranty of merchantability because their

products were not in merchantable condition when sold, were defective when sold, did not conform

to the promises and affirmations of fact made on the products’ containers or labels, and/or do not

possess even the most basic degree of fitness for ordinary use, i.e., as consumer medication

intended for human consumption.


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               Defendants’ Ranitidine-Containing Products are not fit for their intended use – or

any use – because they have dangerous propensities when used as intended, and their use carries

an increased risk of developing severe injuries.

               Plaintiffs and each member of the Class have had sufficient direct dealings with

either Defendants or their agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between Defendants, on the one hand, and Plaintiffs and each member

of the Class, on the other hand.

               Further, Plaintiffs and each member of the Class were the intended third-party

beneficiaries of the implied warranties made by Defendants to purchasers of their Ranitidine-

Containing Products.

               Plaintiffs and the members of the Class were injured as a direct and proximate result

of Defendants’ breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendants’ breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of Ranitidine-Containing Products,

they would not have purchased such drugs.

               As a result of Defendants’ breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class members seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.


                  Violation of the Wyoming Consumer Protection Act
                          (Wyo. Stat. Ann. §40-12-101, et seq.)
 (Against Brand-Name Manufacturer Defendants and Generic Manufacturer Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.


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               This cause of action is brought on behalf of the Wyoming Class (for the purpose of

this section, “Class”) against Brand-Name Manufacturer Defendants and Generic Manufacturer

Defendants (for the purpose of this section, “Defendants”).

               Defendants, Plaintiffs, and the Class members are “[p]erson[s]” within the meaning

of Wyo. Stat. Ann. §40-12-102(a)(i).

               The Ranitidine-Containing Products are “[m]erchandise” within the meaning of

Wyo. Stat. Ann. §40-12-102(a)(vi).

               Defendants were and are engaged in “[c]onsumer transactions” within the meaning

of Wyo. Stat. Ann. §40-12-102(a)(ii). These consumer transactions occurred “in the course of

[Defendants’] business” under Wyo. Stat. Ann. §40-12-105(a).

               The Wyoming Consumer Protection Act (“Wyoming CPA”) prohibits deceptive

trade practices knowingly used “in the course of . . . business and in connection with a consumer

transaction.” Wyo. Stat. Ann. §40-12-105(a).

               The Wyoming CPA makes unlawful specific acts, including:

               (a)    “[r]epresent[ing] that merchandise has a source, origin, sponsorship,
                      approval, accessories or uses it does not have” (Wyo. Stat. Ann. §40-12-
                      105(a)(i));

               (b)    “[r]epresent[ing] that merchandise is of a particular standard, grade, style or
                      model, if it is not” (Wyo. Stat. Ann. §40-12-105(a)(iii));

               (c)    “[a]dvertis[ing] merchandise with intent not to sell it as advertised” (Wyo.
                      Stat. Ann. §40-12-105(a)(x)); and

               (d)    “[e]ngag[ing] in unfair or deceptive acts or practices” (Wyo. Stat. Ann. §40-
                      12-105(a)(xv)).

               In the course of their business Defendants, directly or through their agents,

employees, and/or subsidiaries, violated the Wyoming CPA by knowingly and intentionally

misrepresenting, omitting, concealing, and failing to disclose material facts regarding Ranitidine-

                                               1315
Containing Products, including that such drugs were inherently defective, unreasonably

dangerous, and not fit to be used for their intended purpose, as detailed above.

               Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

drugs were defective, unreasonably dangerous, and not fit to be used for their intended purpose, as

detailed above, Defendants engaged in one or more unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Wyoming CPA, including:

               (a)     representing that the Ranitidine-Containing Products have characteristics,
                       uses, benefits, and qualities which they do not have;

               (b)     representing that the Ranitidine-Containing Products are of a particular
                       standard, quality, and grade when they are not;

               (c)     advertising the Ranitidine-Containing Products with the intent not to sell
                       them as advertised; and

               (d)     engaging in any other unconscionable, false, misleading, or deceptive act or
                       practice in connection with a consumer transaction.

               Defendants’ misrepresentations and omissions regarding the inherently defective

and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

Plaintiffs and the Class members in a uniform manner.

               The facts regarding Ranitidine-Containing Products that Defendants knowingly and

intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

material by a reasonable consumer, and they were, in fact, material to Plaintiffs and the Class

members, who consider such facts to be important to their purchase decisions with respect to

Ranitidine-Containing Products.

               Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Wyoming CPA because they suffered ascertainable loss and actual damages as a direct and



                                               1316
proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

including that such drugs were inherently defective, unreasonably dangerous, and not fit to be used

for their intended purpose. Specifically, Plaintiffs and the Class members purchased Ranitidine-

Containing Products in reliance on Defendants’ misrepresentations, omissions, concealments, and

failures to disclose material facts regarding Ranitidine-Containing Products. Had Defendants not

engaged in the deceptive acts and practices alleged herein, Plaintiffs and Class members would

not have purchased the drug, and, thus, they did not receive the benefit of the bargain and/or

suffered out-of-pocket loss.

               Plaintiffs and Class members had no way of discerning that Defendants’

representations were false and misleading, or otherwise learning the facts that Defendants had

concealed or failed to disclose. Plaintiffs and Class members did not, and could not, unravel

Defendants’ deception on their own.

               Defendants had an ongoing duty to Plaintiffs and the Class members to refrain from

unfair and deceptive practices under the Wyoming CPA in the course of their business.

Specifically, Defendants owed Plaintiffs and Class members a duty to disclose all the material

facts regarding Ranitidine-Containing Products, including that such drugs were defective,

unreasonably dangerous, and not fit to be used for their intended purpose because they possessed

exclusive knowledge, they intentionally concealed the facts regarding Ranitidine-Containing

Products, including that such drugs were defective, unreasonably dangerous, and not fit to be used

for their intended purpose from Plaintiffs and the Class members, and/or they made

misrepresentations that were rendered misleading because they were contradicted by withheld

facts.


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               Defendants were provided notice of the issues raised in this count and this

Complaint by the FDA investigations, the numerous complaints filed against them, and the many

individual notice letters sent by Plaintiffs within a reasonable amount of time after the allegations

of Ranitidine-Containing Products’ defects became public.          In addition, on May 21, 2020,

Plaintiffs in MDL 2924 sent a notice letter pursuant to Wyo. Stat. Ann. §40-12-109 to Defendants.

Because Defendants failed to adequately remedy their unlawful conduct within the requisite time

period, Plaintiffs seek all damages and relief to which Plaintiffs and the Class members are entitled.

               Pursuant to Wyo. Stat. Ann. §40-12-108(a)–(b), Plaintiffs and the Class members

seek an order enjoining Defendants’ unfair or deceptive acts or practices and awarding damages

and any other just and proper relief available under the Wyoming CPA.


                           Strict Products Liability/Failure to Warn
                                    (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Wyoming Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of researching, testing,

developing, designing, manufacturing, labeling, marketing, selling, inspecting, handling, storing,

distributing, and/or promoting Ranitidine-Containing Products, which are defective and

unreasonably dangerous to consumers, including Plaintiffs and members of the Class, because they

do not contain adequate warnings or instructions concerning the dangerous characteristics of

Ranitidine-Containing Products and NDMA. These actions were under the ultimate control and

supervision of Defendants.



                                                 1318
               Defendants researched, tested, developed, designed, manufactured, labeled,

marketed, sold, inspected, handled, stored, distributed, and promoted, and otherwise released into

the stream of commerce their Ranitidine-Containing Products, and in the course of same, directly

advertised or marketed the products to consumers and end users, including Plaintiffs and members

of the Class, and therefore had a duty to warn of the risks associated with the use of Ranitidine-

Containing Products.

               At all relevant times, Defendants had a duty to properly test, develop, design,

manufacture, inspect, package, label, market, promote, sell, handle, store, distribute, maintain,

supply, provide proper warnings, and take such steps as necessary to ensure their Ranitidine-

Containing Products did not cause users and consumers to suffer from unreasonable and dangerous

risks. Defendants had a continuing duty to warn Plaintiffs and members of the Class of dangers

associated with Ranitidine-Containing Products.       Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the field.

               Defendants had a continuing duty to provide appropriate and accurate instructions

regarding the proper expiration and retest dates, as well as storage and handling of Ranitidine-

Containing Products.

               At the time of manufacture, Defendants could have provided the warnings or

instructions regarding the full and complete risks of Ranitidine-Containing Products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products in the absence of such warnings and/or instructions.

               At all relevant times, Defendants failed and deliberately refused to investigate,

study, test, or promote the safety of, or to minimize the dangers to users and consumers, including




                                               1319
Plaintiffs and members of the Class, of their product and to those who would and did foreseeably

use or be harmed by Defendants’ Ranitidine-Containing Products.

               Even though Defendants knew or should have known that Ranitidine-Containing

Products posed a grave risk of harm, they failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure to the drugs. The dangerous propensities of their

drugs and the carcinogenic characteristics of NDMA, as described above, were known to

Defendants, or scientifically knowable to Defendants through appropriate research and testing by

known methods, at the time they distributed, supplied, or sold the product, and were not known to

end users and consumers, such as Plaintiffs and members of the Class.

               Defendants knew or should have known that their products created significant risks

of serious bodily harm to consumers, as alleged herein. Defendants failed to adequately warn or

instruct consumers, i.e., the reasonably foreseeable users, and physicians of the risks of exposure

to their Ranitidine-Containing Products. Defendants failed to warn and wrongfully concealed

information concerning the dangerous level of NDMA in their Ranitidine-Containing Products.

Defendants made false and/or misleading statements concerning the safety of Ranitidine-

Containing Products.

               At all relevant times, the failure to provide these adequate warnings and/or

instructions made Defendants’ Ranitidine-Containing Products unreasonably dangerous.

               Without adequate warnings and/or instructions, the Ranitidine-Containing Products

were more dangerous than an ordinary consumer and healthcare provider would expect when used

as intended or in a manner reasonably foreseeable to Defendants and created risks to the health

and safety of consumers which far outweigh their utility.




                                              1320
               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and members of the Class, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, and marketed by Defendants.

               Plaintiffs and members of the Class used and/or were exposed to Defendants’

Ranitidine-Containing Products without having knowledge of their dangerous characteristics.

               At all relevant times, Plaintiffs and members of the Class used and/or were exposed

to the use of Defendants’ Ranitidine-Containing Products while using them for their intended or

reasonably foreseeable purposes.

               Plaintiffs and members of the Class could not have reasonably discovered the

defects and risks associated with Ranitidine-Containing Products prior to, or at the time of, each

Plaintiff and member of the Class consuming the drug. Plaintiffs and members of the Class, and

their physicians, relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ Ranitidine-Containing

Products.

               Defendants knew or should have known that the minimal warnings disseminated

with their Ranitidine-Containing Products were inadequate, failed to communicate adequate

information on the dangers and safe use/exposure, and failed to communicate warnings and

instructions that were appropriate and adequate to render the products safe for their ordinary,

intended, and reasonably foreseeable uses.

               The information that Defendants did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

and members of the Class to avoid using the drug. Instead, Defendants: (a) disseminated


                                              1321
information that was inaccurate, false, and misleading, and which failed to communicate

accurately or adequately the comparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Ranitidine-Containing Products; (b) continued to aggressively promote

the efficacy of their Ranitidine-Containing Products, even after they knew or should have known

of the unreasonable risks from use or exposure; and (c) concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of ingesting Ranitidine-Containing Products.

               This alleged failure to warn is not limited to the information contained on

Ranitidine-Containing Products’ labeling. Defendants were able, in accord with federal law, to

comply with relevant state law by disclosing the known risks associated with Ranitidine-

Containing Products through other non-labeling mediums, i.e., promotion, advertisements, public

service announcements, and/or public information sources. But, Defendants did not disclose these

known risks through any medium.

               Had Defendants provided adequate warnings and instructions and properly

disclosed and disseminated the risks associated with their Ranitidine-Containing Products,

Plaintiffs and members of the Class, could have avoided the risk of developing injuries and could

have obtained or used alternative medication. However, as a result of Defendants’ concealment

of the dangers posed by their Ranitidine-Containing Products, Plaintiffs and members of the Class

could not have averted their injuries.

               Defendants’ lack of adequate warnings and instructions accompanying their

Ranitidine-Containing Products was a substantial factor in causing Plaintiffs’ injuries.




                                               1322
               As a result of Defendants’ conduct described herein, Plaintiffs and members of the

Class have been injured because they purchased a drug they otherwise would not have purchased,

did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.


                        Strict Products Liability/Manufacturing Defect
                                   (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Wyoming Class (for the purpose of

this section, “Class”) against all Defendants.

               At all times herein mentioned, Defendants designed, manufactured, tested,

marketed, sold, handled, distributed, and stored the Ranitidine-Containing Products ingested by

Plaintiffs.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were expected to and did reach Plaintiffs and members of the Class without a substantial




                                                 1323
change in their anticipated or expected condition as manufactured, handled, distributed, stored,

and sold by Defendants.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were used in a manner that was foreseeable and intended by Defendants.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class were not reasonably safe for their intended use and were defective with respect to their

manufacture, as described herein, in that Defendants deviated materially from their design,

manufacturing, handling, and storage specifications and/or such design, manufacture, storage, and

handling posed an unreasonable risk of harm to Plaintiffs and members of the Class.

               Defendants’ Ranitidine-Containing Products are inherently dangerous and

defective, unfit, and unsafe for their intended and reasonably foreseeable uses, and accordingly do

not meet or perform to the expectations of ordinary consumers or health care providers.

               The Ranitidine-Containing Products ingested by Plaintiffs and members of the

Class further contained manufacturing defects, in that they were not the bioequivalent to approved

Zantac, thereby rendering these products unreasonably dangerous to patients such as Plaintiffs and

members of the Class.

               The Ranitidine-Containing Products create risks to the health and safety of

consumers that are far more significant and devastating than the risks posed by other products and

treatments available to treat the corresponding medical conditions, and which far outweigh the

utility of the Ranitidine-Containing Products because of Defendants’ manufacturing defects,

which included, but were not limited to:


                                              1324
               (a)     failure to follow cGMPs;

               (b)     failure to clean and test recovered and/or recycled solvents;

               (c)     failure to adequately inspect/test the drugs during the manufacturing
                       process;

               (d)     failure to implement procedures that would reduce or eliminate NDMA
                       levels in Ranitidine-Containing Products; and

               (e)     failure to implement appropriate quality control systems, distribution,
                       storage, and handling instructions and storage and distribution conditions
                       for the active pharmaceutical ingredient and the finished drug.

               The manufacturing defects in Defendants’ Ranitidine-Containing Products were

substantial factors in causing Plaintiffs’ and Class members’ injuries.

               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.




                                               1325
                             Strict Products Liability/Design Defect
                                     (Against All Defendants)
               Plaintiffs incorporate the preceding allegations in paragraphs 1 through 748 as

though fully set forth herein.

               This cause of action is brought on behalf of the Wyoming Class (for the purpose of

this section, “Class”) against all Defendants.

               At all relevant times, Defendants engaged in the business of developing, designing,

manufacturing, marketing, selling, handling, storing, distributing, and promoting Ranitidine-

Containing Products, which are defective and unreasonably dangerous to consumers, including

Plaintiffs and the Class members, thereby placing Ranitidine-Containing Products into the stream

of commerce. These actions were under the ultimate control and supervision of Defendants. At

all relevant times, Defendants designed, researched, developed, manufactured, produced, tested,

assembled, labeled, advertised, promoted, marketed, sold, handled, stored, and distributed the

Ranitidine-Containing Products used by Plaintiffs and the Class members, as described herein.

               At all relevant times, Defendants’ Ranitidine-Containing Products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public.

               At all relevant times, Defendants’ Ranitidine-Containing Products reached the

intended consumers, handlers, and users or other persons coming into contact with these products,

including Plaintiffs and the Class members, without substantial change in their anticipated and

expected condition as designed, manufactured, sold, distributed, labeled, and marketed by

Defendants. At all relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Ranitidine-Containing Products and aimed at a consumer market. Defendants



                                                 1326
were, at all relevant times, involved in the retail and promotion of Ranitidine-Containing Products

marketed and sold.

               At all relevant times, the medications ingested by Plaintiffs and members of the

Class were shipped and stored in compliance with Defendants’ express written instructions.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control of

Defendants’ manufacturers and/or distributors, they were unreasonably dangerous and dangerous

to an extent beyond that which an ordinary consumer would contemplate because of their inherent

susceptibility to form NDMA.

               Defendants’ Ranitidine-Containing Products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands of

Defendants’ manufacturers and/or distributors, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

               At all relevant times, Defendants knew or had reason to know that Ranitidine-

Containing Products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Defendants.

               Therefore, at all relevant times, Defendants’ Ranitidine-Containing Products, as

researched, tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold, and marketed by Defendants were defective in design and formulation, in one or

more of the following ways:




                                                1327
              (a)    Defendants’ Ranitidine-Containing Products were unreasonably dangerous
                     in that they were hazardous and posed a grave risk of cancer when used in
                     a reasonably anticipated manner;

              (b)    Defendants’ Ranitidine-Containing Products were not reasonably safe when
                     used in a reasonably anticipated or intended manner;

              (c)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to transform into the carcinogenic compound NDMA within the
                     human body;

              (d)    Defendants did not sufficiently test, investigate, or study their Ranitidine-
                     Containing Products and, specifically, the ability for Ranitidine-Containing
                     Products to develop increasing levels of NDMA over time under anticipated
                     and expected storage and handling conditions;

              (e)    Defendants failed to provide accurate expiration dates on the product label;

              (f)    Defendants failed to provide accurate instructions concerning the stability
                     of the drug, including failing to provide accurate information about proper
                     temperature and light conditions for storage and distribution of the drug;

              (g)    exposure to Ranitidine-Containing Products presents a risk of harmful side
                     effects that outweigh any potential utility stemming from the use of the
                     drug;

              (h)    Defendants knew or should have known at the time of marketing Ranitidine-
                     Containing Products that exposure to Ranitidine-Containing Products could
                     result in cancer and other severe illnesses and injuries;

              (i)    Defendants did not conduct adequate post-marketing surveillance of their
                     Ranitidine-Containing Products; and

              (j)    Defendants could have employed safer alternative designs and
                     formulations.

              Plaintiffs and the Class members used and/or were exposed to Defendants’

Ranitidine-Containing Products without knowledge of Zantac’s dangerous characteristics.

              At all times relevant to this litigation, Plaintiffs and the Class members used and/or

were exposed to the use of Defendants’ Ranitidine-Containing Products in an intended or

reasonably foreseeable manner without knowledge of Zantac’s dangerous characteristics.


                                              1328
               Plaintiffs and the Class members could not reasonably have discovered the defects

and risks associated with Ranitidine-Containing Products before or at the time of exposure due to

Defendants’ suppression or obfuscation of scientific information linking Ranitidine-Containing

Products to cancer.

               The Ranitidine-Containing Products were more dangerous than an ordinary

consumer and healthcare provider would expect when used as intended or in a manner reasonably

foreseeable to Defendants.

               The harm caused by Defendants’ Ranitidine-Containing Products far outweighed

their benefit, rendering each Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Ranitidine-Containing Products were and are

more dangerous than alternative products, and Defendants could have designed Ranitidine-

Containing Products to make them less dangerous. Indeed, at the time the Manufacturing

Defendants designed Ranitidine-Containing Products, the state of the industry’s scientific

knowledge was such that a safer, less risky design or formulation was attainable.

               At the time Ranitidine-Containing Products left Defendants’ control, there was a

practical, technically feasible, and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendants’

Ranitidine-Containing Products.     For example, Defendants could have added ascorbic acid

(Vitamin C) to each dose of Ranitidine-Containing Products, which is known to scavenge nitrites

and reduce the ability of the body to recombine ranitidine into NDMA.

               The defects in Defendants’ Ranitidine-Containing Products were substantial factors

in causing Plaintiffs’ and the Class members’ injuries.




                                              1329
               As a direct and proximate result of Defendants’ conduct described herein, Plaintiffs

and members of the Class have been injured because they purchased a defective drug they

otherwise would not have purchased, did not receive the benefit of the bargain, and/or suffered

out-of-pocket loss.

               Accordingly, Plaintiffs and members of the Class would not have: (a) been

subjected to the accumulation of NDMA in their bodies, including the resulting cellular damage,

subcellular damage, and related symptoms; and (b) sustained a significantly increased risk of

developing various types of serious and potentially deadly cancers.

               As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs

and members of the Class have suffered physical injury, have a significantly increased risk of

developing serious and potentially deadly cancers, and have suffered and will suffer economic

losses and expenses associated with ongoing medical monitoring.

IX.    EXEMPLARY/PUNITIVE DAMAGES ALLEGATIONS

               Defendants’ conduct, as described above, was wanton, willful, and malicious, and

carried out with conscious, reckless, and flagrant disregard for the rights, health, welfare, and

safety of others, including Plaintiffs and Class members. Defendants risked the lives of consumers

and users of their products, including Plaintiffs and members of the Class, with full knowledge of,

and deliberate and utter indifference to, Ranitidine-Containing Products’ defects, the dangers they

posed, and the harm that was substantially certain to result. Defendants’ officers, directors, and/or

managing agents authorized and participated in Defendants’ practice of concealing the known risks

and exposing unsuspecting purchasers and users of Ranitidine-Containing Products to excessive

levels of NDMA, a known carcinogen, in defiance of the law, statutes, and regulations meant to

govern Defendants’ conduct and protect consumers.


                                               1330
                Since introducing Ranitidine-Containing Products to the market, Defendants made

conscious decisions not to test, redesign, re-label, properly manufacture, warn, or inform the

unsuspecting public, including Plaintiffs and Class members, of Ranitidine-Containing Products’

unreasonably dangerous condition. Defendants concealed material facts and deliberately crafted

their labels, marketing, and promotion to mislead consumers, knowing they could profit by

convincing consumers that ranitidine was harmless to humans and that full disclosure of the true

risks of ranitidine would limit the amount of money Defendants would make from selling the drug.

Defendants’ objective was accomplished not only through misleading labels, but through a

comprehensive scheme of selective, misleading research and testing, false advertising, and

deceptive omissions. While failing to take any reasonable steps to prevent harm, Defendants

deliberately and persistently distributed Ranitidine-Containing Products and encouraged

consumers of Ranitidine-Containing Products to unknowingly purchase and ingest carcinogenic

NDMA through Defendants’ products, all for Defendants’ immense profit and enrichment.

                Accordingly, as provided by law, Defendants’ willful, wanton, reckless,

outrageous, and malicious conduct warrants an award of punitive or exemplary damages.

                                     PRAYER FOR RELIEF

         Plaintiffs, on behalf of themselves and the proposed classes, respectfully request that the

Court:

         A.     Determine that this action may be maintained as a class action pursuant to Federal

Rules of Civil Procedure 23(a), 23(b)(2), 23(b)(3), and/or 23(c)(4), direct that reasonable notice of

this action be given to the Class, appoint Plaintiffs as named representatives of the Class, and

appoint Plaintiffs’ counsel as Class counsel;

         B.     Enter judgment against Defendants and in favor of Plaintiffs and the Class;


                                                1331
       C.      Award damages (including actual, nominal, presumed, statutory, punitive, and

treble damages as provided by law) and restitution to the Class in an amount to be determined at

trial, plus interest, in accordance with law;

       D.      Order disgorgement of Defendants’ profits;

       E.      Order any and all appropriate preliminary and/or final injunctive or equitable relief

against the conduct of Defendants described herein;

       F.      Award Plaintiffs and the Class their costs of suit, including reasonable attorneys’

fees as provided by law;

       G.      Award such further and additional relief as is necessary to redress the harm caused

by Defendants’ unlawful conduct and as the Court may deem just and proper under the

circumstances; and

       H.      Award any other relief that is deemed just and proper.

                                         JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs, on behalf of themselves and the

Class(es), demand a trial by jury on all issues to triable.


DATED: June 22, 2020




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                                      Respectfully submitted,
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                       Plaintiffs’ Leadership Development Committee




                                           -3-
                                CERTIFICATE OF SERVICE

       I hereby certify that on June 22, 2020, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF and that the foregoing document is being served on all

counsel of record or parties registered to receive CM/ECF Electronic Filings.




                                                            /s/ Robert C. Gilbert
                                                           ROBERT C. GILBERT




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